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   7

   8                          UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   MATTHEW JONES; THOMAS FURRH;                       Case No.: 3:19-cv-01226-L-AHG
       KYLE YAMAMOTO; PWGG, L.P. (d.b.a.
  12   POWAY WEAPONS AND GEAR and                         Hon. M. James Lorenz and Magistrate
  13   PWG RANGE); NORTH COUNTY                           Judge Allison H. Goddard
       SHOOTING CENTER, INC.; BEEBE
  14   FAMILY ARMS AND MUNITIONS LLC                      DECLARATION OF JOHN LOTT IN
  15   (d.b.a. BFAM and BEEBE FAMILY                      SUPPORT OF PLAINTIFFS’
       ARMS AND MUNITIONS); FIREARMS                      MOTION FOR PRELIMINARY
  16   POLICY COALITION, INC.; FIREARMS                   INJUNCTION
  17   POLICY FOUNDATION; CALIFORNIA
       GUN RIGHTS FOUNDATION (formerly,
  18   THE CALGUNS FOUNDATION); and                       Complaint Filed: July 1, 2019
  19   SECOND AMENDMENT                                   Second Amended Complaint Filed:
       FOUNDATION,                                        November 8, 2019
  20
                                  Plaintiffs,
  21   v.                                                  Date: Monday, December 16, 2019
                                                           Time: 10:30 a.m.
  22   XAVIER BECERRA, in his official
                                                           Courtroom: Dept. 5B (5th Floor)
       capacity as Attorney General of the
  23
       State of California, et al.,
  24                                                  No oral argument should be heard

  25
                                         Defendants. unless ordered by the Court

  26

  27

  28
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   I, John R. Lott, Jr., declare as follows:
   2
             I am not a party to the captioned action, am over the age of 18, have personal
   3

   4
       knowledge of the facts stated herein, and am competent to testify as to the matters

   5   stated and the opinions rendered below.
   6
                                       Background/Qualifications
   7

   8         1.     I reside in Burke, Virginia, and am an economist. I graduated with a

   9   bachelor’s degree in economics from the University of California Los Angeles
  10
       (UCLA) in 1980. I obtained my master’s degree in economics from UCLA in 1982;
  11

  12   and my PhD in economics from UCLA in 1984. I have held research and/or teaching

  13   positions at various higher education academic institutions, including the University
  14
       of Chicago, Yale University, the Wharton School of the University of Pennsylvania,
  15

  16   Stanford University, and Rice University; and was the chief economist at the United

  17   States Sentencing Commission during 1988-1989.
  18
             2.     I have authored numerous academic and popular publications. For
  19

  20   example, I have authored (a) nine books, including More Guns, Less Crime, The Bias
  21   Against Guns, and Freedomnomics; and (b) more than 100 articles in peer-reviewed
  22
       academic journals.
  23

  24         3.     I am also the founder and president of the Crime Prevention Research
  25   Center (CPRC). CPRC is a research and education organization dedicated to
  26
       conducting academic quality research on the relationship between laws regulating the
  27

  28   ownership or use of guns, crime, and public safety; educating the public on the results
                                                        1
                          DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   of such research; and supporting other organizations, projects, and initiatives that are
   2
       organized and operated for similar purposes. CPRC has section 501(c)(3) status and
   3

   4   does not accept donations from gun or ammunition makers or organizations such as

   5   the National Rifle Association (NRA) or any other organizations involved in the gun
   6
       control debate on either side of the issue.
   7

   8         4.     CPRC’s goal is to provide an objective and accurate scientific evaluation

   9   of both the costs and benefits of gun ownership as well as policing activities.
  10
       CPRC’s core activities include:
  11

  12          (a)   Conducting and publishing academic quality research on the
                    relationship between laws regulating the ownership or use of guns,
  13                crime, and public safety.
  14
             (b)    Supporting affiliated academics in conducting and publishing
  15                similar research by means such as providing direct financial
                    support, sharing data, and providing technical assistance.
  16

  17         (c)    Educating the public, journalists, and policy makers on the results
                    of research on these issues through books, public lectures,
  18                newspaper columns, academic seminars, information briefings, and
  19                other means.

  20         (d)    Making research and data available to researchers, the public,
                    policy makers, and journalists by maintaining a comprehensive
  21
                    website.
  22
             (e)    Engaging in other related activities consistent with the mission
  23                and goals of CPRC.
  24
             5.     Attached hereto as Exhibit 1 is a true and correct copy of my
  25
       Curriculum Vitae. It describes my education, awards, fellowships, work experience,
  26

  27   research, books and publications, presentations, and legislative and court testimony.
  28
                                                       2
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1                     Gun Law Bans Based on Age are not Justified
   2
             6.     The 19-year old’s attack at the high school in Parkland, Florida have
   3

   4
       prompted states such as Florida and California to raise the minimum age for

   5   purchasing or possessing firearms to 21. The two other often-cited examples are the
   6
       20-year-old in 2012 that shot and killed kids and adults at Sandy Hook Elementary
   7

   8   School in Newtown, Connecticut, and the 1999 shootings by two high school students

   9   at Columbine High School in Colorado.                  Tragedies no doubt.           They garner
  10
       considerable media attention for long press periods. As such, school shootings are
  11

  12   viewed as a widespread problem requiring legislative bodies to “do something.”

  13   However, in my opinion, and based on my background, qualifications, and
  14
       experience, no credible evidence exists to support the proposition that raising the age
  15

  16   to purchase or acquire a firearm will make any difference in curtailing such mass

  17   shootings. The reasons supporting my opinion are described below.
  18
                             Criminals Buy Guns from Other Sources
  19

  20         7.     First, the criminals do not buy their firearms legally. In determining
  21   where criminals obtain their firearms, the U.S. Bureau of Justice Statistics primarily
  22
       relies on surveys of state and federal prisoners who possessed a firearm during the
  23

  24
       offense for which they are serving time. The surveys provide remarkably consistent

  25   results over time, with very few guns obtained through retail sources (i.e., a gun shop,
  26
       pawn gun, flea market, or gun show). The latest survey in 2016 showed that among
  27
       the prisoners who had a gun during their offense, approximately 90% did not obtain it
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                                                       3
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   from retail sources, with just 0.4% from flea markets, 0.8% through gun shows, and
   2
       slightly more, 1.6%, from pawn shops and 7.5% from gun shops/stores.1                     Attached
   3

   4
       hereto as Exhibit 2 is a true and correct copy of Alper, et al. (2019).

   5         8.     Interestingly, among the prisoners that obtained a firearm during their
   6
       offense, more than half (56%) had either stolen it (6%), found it at the scene of a
   7

   8   crime (7%), or obtained it off the street or from the underground market (43%). The

   9   remainder includes 1.6% obtained in theft from a family member or a friend, 1.5%
  10
       from burglaries, 0.2% in theft from retail sources, and 3% in other unspecified thefts.
  11

  12   (See Exhibit 2, Alper, et al. 2019 [Table 5].)

  13                        Criminals are Still Going to Obtain Guns
  14
             9.     Second, even if all sources for obtaining firearms were closed off to
  15

  16   people 18-to-20 years of age, it is unlikely that such laws would stop the vast

  17   majority of criminals in that age group from acquiring guns. Take Mexico where
  18
       there has been only one-gun store in the country since 1972; where only about 1% of
  19

  20   Mexican adults have licenses to legally own guns, with the most powerful legally
  21   owned firearms are .22-caliber rifles, hardly the type of weapon used by criminals.
  22
       Despite that, in 2019, Mexico has a murder rate that is more than five (5) times the
  23

  24
       1
          See Mariel Alper and Lauren Glaze, Special Report, “Source and Use of Firearms
  25
       Involved in Crimes: Survey of Prison Inmates, 2016,” U.S. Department of Justice,
  26   Office of Justice Programs, Jan. 2019 [Alper, et al. 2016]; and for numbers in 2001,
       see Caroline Wolf Harlow, Special Report, “Firearm Use by Offenders,” U.S.
  27
       Department of Justice, Office of Justice Programs, November 2001
  28   [https://www.bjs.gov/content/pub/pdf/fuo.pdf], last accessed Aug. 2019.)
                                                4
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   U.S. rate.2 The point is simple — criminals have guns and they get them illegally,
   2
       primarily from drug dealers; and it is just as difficult to stop criminals from obtaining
   3

   4
       guns as it is to stop drug dealers from obtaining illegal drugs. The age of the criminal

   5   has nothing to do with illegally obtaining firearms. Attached hereto as Exhibit 3 are
   6
       a true and correct copies of the article from the Associated Press (2019) and the FBI’s
   7

   8   crime report (2017) [see footnote 2, above].)

   9                Age is not a Significant Factor in Mass Public Shootings
  10
             10.    Third, of all the mass public shootings over that past 21 years, the
  11

  12   average age of the shooters is approximately 33.5 years. Thirty-three (33) years of

  13   age is also the median age for shooters; therefore, more than half the shooters were
  14
       over the age of 30 and 80% were at least 21 years of age.3 So, age is not
  15

  16   determinative. Our CPRC research is substantiated by the Rockefeller Institute of

  17   Government. It recently found that the average age of mass shooters in the past 50
  18
       2
  19       Associated Press, “Mexico sets 1st half murder record, up 5.3%,” July 22, 2019
  20
       (https://www.apnews.com/c197a3ee34834ea69f745975fa632ea2). Compare these
       numbers to the FBI Uniform Crime Report for 2017 (https://ucr.fbi.gov/crime-in-the-
  21   u.s/2017/crime-in-the-u.s.-2017/topic-pages/tables/table-1).
  22
             3
                 The Crime Prevention Research Center’s website contains the Excel file with
  23
       our        detailed      information        on        mass       public        shootings
  24   (https://crimeresearch.org/2019/07/breaking-down-mass-public-shooting-data-from-
       1998-though-june-2019-info-on-weapons-used-gun-free-zones-racial-age-and-
  25
       gender-demographics/ ). Mass public shootings are defined as those cases where four
  26   or more people are killed at one point in time in a public place and not involving
       some other type of crime such as a gang fight or a robbery. This definition follows
  27
       the traditional FBI definition. Our Excel file is incorporated by this reference.
  28
                                                       5
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   years is 33.4 years old,4 confirming that age is not determinative. Attached hereto as
   2
       Exhibit 4 is a true and correct copy of Formica, et al. (2018). Our age distribution
   3

   4
       statistics are shown graphically below.

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          Jaclyn Schildkraut, Margaret K. Formica, Jim Malatros. Rockefeller Institute of
  26
       Government, Regional Gun Violence Research Consortium, “Can Mass Shootings be
  27   Stopped? To Address the Problem, We Must Better Understand the Phenomenon,”
       May      22,    2018    (Formica,    et   al.   2018)      (https://rockinst.org/wp-
  28
       content/uploads/2018/05/5-22-18-Mass-Shootings-Brief.pdf).
                                               6
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1                       Comparisons to Crime Statistics are Skewed
   2
              11.   Fourth, while persons 18-to-20 commit murders at a higher rate
   3

   4
       comparatively, the same can be said of persons 21-to-25, who commit murders at a

   5   higher rate than people in the 26-30 age range. Persons 36-45 commit crimes at a
   6
       considerably higher rate than those 46-50. (This finding does not mean we ought to
   7

   8   ban firearms purchased or acquired by people 36 through 45.) The same is true for

   9   persons 51-55, who commit crimes at a higher rate than do persons over 56. Same
  10
       for persons 61-to-65 — they commit crimes at a higher rate than do persons over 65.
  11

  12   Similar findings were made by other researchers.5 Attached hereto as Exhibit 5 is a

  13   true and correct copy of Lott and Whitley (2006) and FBI UCR (2018).6
  14
              12.   The same point also can be made based on race. For example, the claim
  15

  16   that these shooters are overwhelmingly white is misleading. While white males

  17   (excluding those from Middle Eastern descent) make up the majority of mass public
  18
       shootings, that is 6.4% below their share of the U.S. population. Hispanics are even
  19

  20   much lower than their percentage of the U.S. population. By contrast, those of Middle
  21   Eastern descent, Asians, blacks, and American Indians are all above their shares of
  22
       the population.
  23

  24

  25   5
           John R. Lott, Jr., Freedomnomics.
  26   6
           John R. Lott, Jr. and John E Whitley, Abortion and Crime: Unwanted children and out-
  27   of-wedlock births,” Economic Inquiry, 2006. FBI, Uniform Crime Report. Crime in the
       United States, 2017, Table 3 (https://ucr.fbi.gov/crime-in-the-u.s/2017/crime-in-the-u.s.-
  28   2017/tables/expanded-homicide-data-table-3.xls).
                                                      7
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1           13.    One thing is clear — mass public shooters are overwhelmingly male,
   2
       with 96% of the shooters being male. See data from the Crime Prevention Research
   3

   4
       Center’s      website    (https://crimeresearch.org/2019/07/breaking-down-mass-public-

   5   shooting-data-from-1998-though-june-2019-info-on-weapons-used-gun-free-zones-
   6
       racial-age-and-gender-demographics/).7 However, the rights of such groups by age,
   7

   8   race, and sex should not be forfeited because of the unlawful behavior by other

   9   persons of the same age, race, or sex. This is particularly the case when young
  10
       adults’ use or possession of firearms is made criminal even where they have a
  11

  12   legitimate purpose for their use or possession. Indeed, the State of California has not

  13   banned the purchase, sale, or transfer of a firearm based on race or sex; it should not
  14
       do so on the basis of age. Below is the breakdown by race of mass public shooters
  15

  16   from 1998 to November 2018. Also presented is our gender-based demographics. 8

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       7
           See also Alper, et al. (2019).
       8
         And see https://crimeresearch.org/2018/11/the-racial-and-gender-demographics-of-
  27
       mass-public-shooters-middle-eastern-people-asians-blacks-and-american-indians-
  28   overrepresented-hispanics-most-underrepresented/
                                                8
                           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                     Unsupported Justifications for the Age-Based Gun Ban
   18

   19         14.      California’s age-based gun ban is justified by reference to other
   20
        legislation where law makers have limited the ability of persons under the age of 21
   21
        to engage in activities that are otherwise lawful such as the use of alcohol or
   22

   23   marijuana; or renting a car. However, these laws do not cause a forfeiture of an
   24
        enumerated right conferred to individuals under the Second Amendment. So, in my
   25
        opinion, the legislative comparisons are unsupported.
   26

   27

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                                                       10
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1            15.   Further, California’s age-based gun ban will not result in less crime. In
    2
        fact, based on my research, every place that has banned guns (either all guns or all
    3

    4
        handguns) has seen murder rates go up.                 Examples include Chicago, Illinois,

    5   Washington D.C., and island nations such as England, Jamaica, Ireland, Venezuela,
    6
        and obscure places like the Solomon Islands. Support for my opinion is found at
    7

    8   https://crimeresearch.org/2016/04/murder-and-homicide-rates-before-and-after-gun-

    9   bans/.
   10
                 16.   Supporters of California’s age-based gun ban have stated that mass
   11

   12
        public shootings carried out at schools are generally committed by people “under 21.”

   13   This is misleading and inaccurate. Of the 74 people who have committed mass
   14
        public shootings since 1998, 10 were under the age of 21. Five were under 18,
   15

   16
        making them too young to purchase a gun under already existing law. Further, even

   17   in the five cases where raising the age limit could conceivably have made an impact,
   18
        it is likely that the shooters would have illegally obtained the firearm like so many
   19
        other attackers do (see results of research, above). Additionally, if one separates out
   20

   21   school shootings, there were eight K-12 mass public shootings where at least four
   22
        people were killed, but only three of those involved killers between the ages of 18
   23
        and 20 (Columbine, 1999; Newtown, 2012; and Parkland, 2018). There was one of
   24

   25   these on average every 2.7 years, and before this period, they were much rarer. The
   26
        college mass public shooters were 23 years-old (Virginia Tech, 2007); 27 (Northern
   27
        Illinois University, 2008); 40 (near the University of Washington, 2012); and 43
   28
                                                        11
                           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1   (Oikos University, 2012). As stated above, of all the mass public shooters, the
    2
        average age is 33.5 years-old; and the median age 33.
    3

    4
              17.   Another justification for California’s age-based gun ban is that 18 to 20-

    5   year old adults should not be allowed to purchase a firearm due to their “immaturity”
    6
        and “impulsive or reckless behavior.” This justification is often cited in conjunction
    7

    8   with the claim that young adults in California cannot buy alcohol or rent a car due to

    9   their “maturity” and “impulsive behavior.”9 The above-referenced committee report
   10
        cites no supporting evidence for the claim. Further, these same young adults are
   11

   12   considered mature enough to vote and register to train and serve in the U.S. armed

   13   forces.
   14
              18.   One way to look at this is the behavior of 18 to 20-year-old concealed
   15

   16   handgun permit holders. Michigan and Texas grant to 18-to-20-year-olds and provide

   17   data by year of age of permit holders, though relatively few permits are granted (for
   18
        2018, 322 permits).10 For 18-to-20-year-olds in Texas who were granted such a
   19

   20   permit in 2018, only 5 of 322 were revoked (0.015%) and zero were suspended. See
   21   Exhibit 7, which is a true and correct copy of the 2018 Texas Department of Public
   22

   23

   24

   25

   26   9
              See Exhibit 6, which is a true and correct copy of a portion of SB 1100’s
   27   legislative history (Senate Committee on Public Safety, Bill No. 1100, Author:
        Portantino, Hearing Date: April 17, 2018, p. 7).
   28
                                                     12
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    1   Safety, Regulatory Services Division, Handgun Licensing Program, Demographic
    2
        Information by Age, Licenses: Issued, Revoked, and Suspended.11
    3

    4
                19.   Nevada doesn’t grant permits to 18 to 20-year-olds, but it is still possible

    5   to make a comparison between 21 and 22-year-olds and those who are older. To
    6
        make things comparable with Michigan and Texas, the data for all three states are
    7

    8   reported the same way. Unlike Michigan and Texas, the revocation rate for college

    9   age permit holders is higher than it is for those who are older than college students,
   10
        but the difference is very small – just 0.025% and only about a fifth to the differences
   11

   12   that go the other way for Michigan and Texas. Yet, even though the revocation rate

   13   for college age permit holders in Nevada is higher than for other states, it is still
   14
        lower than the revocation rate for older adults in Michigan and Texas.
   15

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        11
   27        See also 2018 Texas Department of Public Safety, Regulatory Services Division,
        Handgun Licensing Program, Conviction Rates for Handgun License Holders
   28   (https://www.dps.texas.gov/RSD/LTC/Reports/ConvictionRatesReport2018.pdf).
                                                        13
                           DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                       DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1         20.   A further justification is that California’s age-based gun ban is needed
    2
        because young adults “under 21” are disproportionally linked to crime. Above, I
    3
        have already addressed why this data is skewed. Also, this comparison is grossly
    4

    5   overbroad. Is the next step for the state of California to ban gun ownership for blacks
    6
        based on blacks committing crime at relatively high rates?
    7

    8
              21.   While some young people commit crimes at relatively high rates, the

    9   victims of crime also tend to be relatively young and thus would benefit from the
   10
        ability to defend themselves. See, attached hereto as Exhibit 8, which is a true and
   11

   12
        correct copy of the FBI, Uniform Crime Report. Crime in the United States, 2017,

   13   Table 2.
   14
              22.   The basic premise of our laws is that a democratic society prefers to
   15

   16   punish the few that commit crimes after they violate the law, instead of punishing the

   17   few and all others beforehand. Those “others” also may indeed have good and lawful
   18
        reasons for desiring to own or possess a firearm, but the ban’s net includes them
   19

   20   as well.

   21         I declare under penalty of perjury that the foregoing is true and correct.
   22
        Executed within the United States on September __,
                                                       15 2019.
   23

   24                                              ___________________________________
   25                                              John R. Lott, Jr.
   26

   27

   28
                                                       15
                          DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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    1                                    EXHIBITS
    2
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    3   Exhibit    Description                                          Page(s)
    4
                   John R. Lott                                         0001 - 0124
    5   1
                   Curriculum Vitae
    6              Mariel Alper and Lauren Glaze                        0125 - 0145
                   “Source and Use of Firearms Involved in
    7   2          Crimes: Survey of Prison Inmates, 2016”
    8              U.S. Department of Justice, Office of
                   Justice Programs, (2019)
    9              Associated Press                                     0146 - 0151
   10              “Mexico sets 1st half murder record, up
        3          5.3%” ( 2019);
   11
                   FBI Uniform Crime Report for 2017
   12              Margaret K. Formica, et al.                          0152 - 0168
   13              “Can Mass Shootings be Stopped? To
        4
                   Address the Problem, We Must Better
   14              Understand the Phenomenon” (2018)
   15              John R. Lott, Jr. and John E Whitley                 0169 - 0191
                   Abortion and Crime: Unwanted children
   16
        5          and out-of-wedlock births (2006);
   17               FBI, Uniform Crime Report
   18              Crime in the United States (2017)
                   SB 1100’s Legislative History                        0192 - 0199
   19   6          Senate Committee on Public Safety
   20              Bill No. 1100 (2018)
                   2018 Texas Department of Public Safety,              0200 - 0203
   21
                   Regulatory Services Division, Handgun
   22   7          Licensing Program, Demographic
                   Information by Age, Licenses:
   23
                   Issued, Revoked, and Suspended
   24              FBI, Uniform Crime Report                            0204 - 0205
        8
                   Crime in the United States (2017)Table 2
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                       DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                                                                               November 20, 2016
                                       Curriculum Vitae

                                       JOHN R. LOTT, JR.

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TELEPHONE:          Cell Telephone: (484) 802-5373

E-MAIL:             johnrlott@crimeresearch.org

BIRTH DATE:         May 8, 1958    PLACE: Detroit, Michigan      CITIZENSHIP: USA

DEGREES:            Ph.D.: UCLA, September 1984, Economics
                    MA: UCLA, 1982, Economics
                    BA: UCLA, 1980, Economics, Magna cum laude

DISSERTATION:       “Alternative Explanations for Public Provision of Education”
                     CHAIRMAN: Harold Demsetz

RANKINGS:          Number 27 among Economics, Law, and Business researchers in terms of
                        lifetime downloads of papers at the Social Science Research Network
                    Worldwide Rankings of Economists and Economics Departments: 1969-2000
                        by Tom Coupe listed me 26th worldwide in terms of quality adjusted total
                        academic journal output, 4th in terms of total research output, and 86th in
                        terms of citations.
                   Listed in various editions of “Who’s Who in Economics” by Mark Blaug and
                        Howard Vane.

AWARDS AND FELLOWSHIPS:
                 Senior Research Scholar, School of Law, Yale University __ Sept. 1999 to
                        August 2001.

                    The John M. Olin Law and Economics Fellow, School of Law, University of
                           Chicago __ September 1995 to August 1999.

                    The John M. Olin Visiting Assistant Professor, The George J. Stigler Center for
                           the Study of the Economy and the State, Graduate School of Business,
                           University of Chicago __ July 1994 to August 1995.

                    The John M. Olin Visiting Fellow, Cornell University Law School, March 1994.

                    Winner of the Duncan Black Award presented by the Public Choice Society for
                          the best Public Choice paper of the year for 1992.

                    The John M. Olin National Fellow, Hoover Institution, Stanford University __
                           September 1986 to August 1987.

                    Honorable Mention, Outstanding Doctoral Dissertation Contest in Government
                          Finance and Taxation sponsored by the National Tax Association and
                          the Tax Institute of America, 1984.

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                                                                        John R. Lott, Jr. Page 2
AWARDS AND FELLOWSHIPS (CONTINUED):

                    Weaver Fellowship, Intercollegiate Studies Institute, 1980-1981.
WORK EXPERIENCE:

           President, Crime Prevention Research Center -- August 5, 2013 to Present.
           Columnist, Fox News -- March 3, 2008 to Present.
           Contributor, Fox News -- March 3, 2008 to November 11, 2013.
           Senior Editorial Writer for Economics, Washington Times -- February 2009 to December
              1, 2010.
           Senior Research Scientist, University of Maryland Foundation, University of Maryland at
              College Park -- July 2007 to June 2009.
           The Dean’s Visting Professor, State University of New York at Binghamton – August
              2006 to July 2007.
           Resident Scholar, American Enterprise Institute __ September 2001 to July 2006.
           Senior Research Scholar, School of Law, Yale University __ September 1999 to August
              2001.
           The John M. Olin Law and Economics Fellow, School of Law, University of Chicago __
                 September 1995 to August 1999.
           The John M. Olin Visiting Assistant Professor, The George J. Stigler Center for the Study
                 of the Economy and the State, Graduate School of Business, University of Chicago
                 __ July 1994 to August 1995.
           The John M. Olin Visiting Fellow, Cornell University Law School, March 1994.
           The Carl D. Covitz Term Assistant Professor, The Wharton School, University of
                 Pennsylvania __ July 1991 to June 1995.
           Visiting Assistant Professor, John E. Anderson Graduate School of Management,
                 University of California at Los Angeles __ July 1989 to June 1991.
           Chief Economist (GS-15, Step 6), United States Sentencing Commission, Washington,
                 D.C. __ February 1988 to August 1989.
           Visiting Assistant Professor, Department of Economics, Rice University __ July 1987 to
                 June 1988.
           The John M. Olin National Fellow, Hoover Institution, Stanford University __ September
                 1986 to August 1987.
           Visiting Assistant Professor, Department of Economics, Texas A&M University __
                 August 1984 to June 1986.
           Lecturer, Department of Economics, California State University, Northridge __ August
                 1983 to June 1984.

FIELDS OF INTEREST FOR RESEARCH:

           Law and Economics, Public Choice, Industrial Organization, Labor, Public Finance,
                Microeconomic Theory, Environmental Regulation




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                                                                           John R. Lott, Jr. Page 3

COURSES TAUGHT (PARTIAL LIST):

            Managerial Economics (MBA), Legal Environment of Business (MBA), Environmental
                Regulation (MBA), White Collar Crime and Corporate Criminal Penalties (MBA),
                Public Choice (Graduate), Microeconomics (Principles, Intermediate, and MBA),
                Macroeconomics (Principles, Intermediate, and MBA), Money and Banking
                (Undergraduate), Issues in Deterrence (Law), Empirical Law and Economics (Law),
                Cost-Benefit Analysis (Undergraduate, MBA, Graduate), Political Economy of the
                Public Sector (MBA), Economics of the Nonprofit Sector (MBA), Research
                Seminar for Law Students

OTHER AFFILIATIONS:
           Adjunct Scholar, American Enterprise Institute, January 1995 to August 2001.
           Member, The Mont Pelerin Society, September 1990 to present.
           Associate, Political Economy Research Center, March 1987 to present.
           Member, National Policy Forum, Economic Growth and Workplace Opportunity, January
                  1994 to 1996.

EDITORIAL ACTIVITY AND OTHER PROFESSIONAL POSITIONS:
           Coeditor, Economic Inquiry, November 1996 to August 1998.
           Editorial Board, Regulation, July 1989 to 2006.
           Editorial Board, Public Choice, March 1994 to December 2003.
           Editorial Board, Managerial and Decision Economics, January 1994 to July 1998.
           Co-editor, Special Issue of Journal of Law and Economics on Penalties: Public and
                  Private, 1999.
           Co-editor, Special Issue of Economic Inquiry in Honor of Armen Alchian’s 80th
                  Birthday, July 1996.
           Special Editor, Managerial and Decision Economics, special issue on “The Economics
                  of Corporate Crime,” July-August 1996.
           Nominating Committee for Presidency and Board of Directors of Western Economic
                  Association, Western Economic Association, 1996.

OTHER ACTIVITIES (UNPAID):

            Board of Advisers, Business & Media Institute, May, 2008 to present.
            Wrote the Statistical Report for the Minority members of the U.S. Commission on Civil
                   Rights on the “Probe of Election Practices in Florida During the 2000 Presidential
                   Election.”
            Served as a Statistical expert for USA Today in evaluating the precinct level data that they
                   had put together after the Florida Presidential Election in 2000.
            Advisor to the Allied Pilots Association and the Airline Pilots Security Alliance on the
                   issue of arming pilots in the cockpit: January 2002 to present.
            Served as the statistical expert for the challenge by Senator Mitch McConnell against
                   McCain-Feingold campaign finance regulations.

OTHER ACTIVITIES (PAID):

            Consultant, Federal Trade Commission, April 17, 2002 to July 1, 2003.




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                                                                        John R. Lott, Jr. Page 4
BOOKS:
           Uncertainty and Economic Evolution: Essays in Honor of Armen Alchian, edited volume,
               Routledge Press: New York (1997).

           More Guns, Less Crime: Analyzing Crime and Gun Control Laws, University of Chicago
               Press: Chicago, Illinois (1998), translated into Portuguese (1999), Russian (2004),
               and German (2017). Second edition published 2000, third edition published May,
               2010.

           Are Predatory Commitments Credible?: Who Should the Courts Believe?, University of
                Chicago Press: Chicago, Illinois (1999).

           The Bias Against Guns: Why Almost Everything You've Heard About Gun Control Is
                Wrong, Regnery Press, Washington, DC (2003) translated into Portuguese (Brazil
                and Portugal).

           Freedomnomics: Why the Free Market Works and Other Half-Baked Theories Don’t,
                Regnery Press, Washington, DC (2007), translated into Portuguese (Brazil and
                Portugal), Chinese, and Korean.

           Straight Shooting: Firearms, Economics and Public Policy, Merril Press: Seattle,
                 Washington, (2010).

           Debacle: Obama's War on Jobs and Growth and What We Can Do Now to Regain Our
               Future, co-authored with Grover Norquist, John Wiley & Sons: New York, NY
               (March, 2012).

           At the Brink, Regnery Press, Washington, DC (February 9, 2013)

           Dumbing Down the Courts: How Politics Keeps the Smartest Judges Off the Bench,
               Hillcrest Media: Minneapolis, MN (September 8, 2013).

           The War on Guns, Regnery Press, Washington, DC (2016)

PUBLICATIONS:

      LAW AND ECONOMICS:

           (1) “Licensing and Nontransferable Rents,” American Economic Review, Vol. 77, no. 3,
                June 1987: 453-455; “Licensing and Nontransferable Rents: Reply,” American
                Economic Review, Vol. 79, no. 4, September 1989: 910-912.




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                                                                      John R. Lott, Jr. Page 5

      LAW AND ECONOMICS (CONTINUED):

           (2) “Juvenile Delinquency and Education: A Comparison of Public and Private
                Provision,” International Review of Law and Economics, Vol.7, no. 2, December
                1987: 163-175.

          (3) “Should the Wealthy Be Able to ‘Buy Justice’?” Journal of Political Economy, Vol.
               95, no. 6, December 1987: 1307-1316.

          (4) “Why Comply: The One-Sided Enforcement of Price Controls and Victimless Crime
               Laws,” co-authored with Russell Roberts, Journal of Legal Studies, Vol. 18, no. 2,
               June 1989: 403-414, reprinted in The Economics of Corruption and Illegal
               Markets, edited by Gianluca Fiorentini and Stefano Zamagni, Cheltenham, U.K.:
               Edward Elgar Publishing Limited, forthcoming.

          (5) “A Transaction Costs Explanation For Why the Poor are More Likely to Commit
               Crime,” Journal of Legal Studies, Vol. 19, no. 1, January 1990: 243-245.

           (6) “Optimal Penalties Versus Minimizing the Level of Crime: Does it Matter Who is
                Correct?” Boston University Law Review, invited conference volume on the United
                States Sentencing Commission’s proposed Organizational Sanctions, March 1991:
                439-446.

          (7) “An Attempt at Measuring the Total Monetary Penalty from Drug Convictions: The
               Importance of an Individual’s Reputation,” Journal of Legal Studies, Vol. 21, no.
               1, January 1992: 159-187, reprinted in The Economics of Corruption and Illegal
               Markets, edited by Gianluca Fiorentini and Stefano Zamagni, Cheltenham, U.K.:
               Edward Elgar Publishing Limited, forthcoming.

           (8) “Low-Probability-High-Penalty Enforcement Strategies and the Efficient Operation
                of the Plea Bargaining System,” co-authored with Bruce H. Kobayashi,
                International Review of Law and Economics, Vol. 12, no. 1, March 1992: 69-77.

          (9) “Do We Punish High Income Criminals too Heavily?” Economic Inquiry, Vol. 30,
               no. 4, October 1992: 583-608.

          (10) “The Reputational Penalty Firms Bear for Committing Fraud,” co-authored with
               Jonathan M. Karpoff, Journal of Law and Economics, Vol. 36, no. 2, October
               1993: 757-803, closely related version reprinted in The Economics of Organized
               Crime, edited by Gianluca Fiorentini and Sam Peltzman, London: Cambridge
               University Press, 1995: 199-246.

          (11) “The Expected Penalty for Committing a Crime: An Analysis of Minimum Wage
               Violations,” co-authored with Russell Roberts, Journal of Human Resources, Vol.
               30, no. 2, Spring 1995: 397-408.

          (12) “Should Criminal Penalties Include Third-Party Avoidance Costs?” co-authored
               with Kermit Daniel, Journal of Legal Studies, Vol. 24, no. 2, June 1995: 523-534.




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                                                                       John R. Lott, Jr. Page 6

      LAW AND ECONOMICS (CONTINUED):

           (13) “The Optimal Level of Criminal Fines in the Presence of Reputation,” Managerial
                and Decision Economics, invited conference volume, Vol. 17, no. 4, July-August,
                1996: 363-380.

          (14) “In Defense of Criminal Defense Expenditures and Plea Bargaining,” co-authored
               with Bruce Kobayashi, International Review of Law and Economics, Vol. 16, no.
               4, December 1996: 397-416.

           (15) “Crime, Deterrence, and Right-to-Carry Concealed Handguns,” co-authored with
                David Mustard, Journal of Legal Studies, Vol. 26, no. 1, January 1997: 1-68;
                portion reprinted in The Gun Control Debate: A Documentary History, edited by
                Marjolin Bijlefeld, Westport, CT.: Greenwood Publishing (1997): 88-91; single
                authored summary reprinted in the Valparasio University Law Review, Vol. 31, no.
                2 Spring 1997: 355-364; Reprinted in Guns in America: a reader. 1999. edited by
                Jan E. Dizard, Robert M. Muth, Stephen P. Andrews, NYU Press. Reprinted in The
                Economics of Crime. 2005. edited by Isaac Ehrlich and Zhiqiang Liu, The
                International Library of Critical Writings in Economics, Edward Elgar Pub..
                Reprinted in Economics, Law and Individual Rights, 2008, edited by Hugo M.
                Mialon, Paul H. Rubin, Routledge.

          (16) “The Concealed Handgun Debate,” Journal of Legal Studies, Vol. 27, no. 1, January
                1998: 221-243.

          (17) “Deterrence, Right-to-Carry Concealed Handgun Laws, and the Geographic
                Displacement of Crime,” co-authored with Stephen G. Bronars, American
                Economic Review, Vol. 88, no. 2 (May 1998): 475-479.

          (18) “Do Concealed Handgun Laws Save Lives?” American Journal of Public Health,
                Vol. 88, no. 6 (June 1988): 980-982.

          (19) “Punitive Damages: Their Determinants, Effects on Firm Value, and the Impact of
                Supreme Court and Congressional Attempts to Limit Awards,” co-authored with
                Jonathan M. Karpoff, Journal of Law and Economics, Vol. 42, no. 1 (part 2) (April
                1999): 527-573.

          (20) “Have changing Liability Rules Compensated Workers Twice for Occupational
                Hazards?: Earnings Premiums and Cancer Risks,” co-authored with Richard
                Manning, Journal of Legal Studies, Vol. 29, no. 1 (January 2000): 99-130.

          (21) “Does a Helping hand Put Others At Risk?: Affirmative Action, Police Departments,
                and Crime,” Economic Inquiry, Vol. 38, no. 2 (April 2000): 239-277; republished
                in The Economics of Affirmative Action, edited by Harry J. Holzer, Edward Elgar
                Publishing Ltd.: Surrey, UK (2004).

          (22) “The American Bar Association, Judicial Ratings, and Political Bias,” Journal of
                Law & Politics, (Winter 2001): 41-61.




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                                                                       John R. Lott, Jr. Page 7

      LAW AND ECONOMICS (CONTINUED):

           (23) “Safe Storage Gun Laws: Accidental Deaths, Suicides, and Crime,” co-authored
                with John Whitley, Journal of Law and Economics, Vol. 44, no. 2, part 2, (October
                2001): 659-689.

          (24) “Non-Voted Ballots and Discrimination in Florida.” Journal of Legal Studies, Vol.
                32, no. 1 (January 2003): 181-220.

           (25) “Measurement Error in County-Level UCR Data,” with John Whitley, Journal of
                Quantitative Criminology, Vol. 19, No. 2 (June 2003): 185-198.

          (26) “The Judicial Confirmation Process: The Difficulty in Being Smart,” Journal of
                Empirical Law and Economics, Vol. 2, no. 3, 2005: 407-447 (Lead article).

          (27)“The Reputational Penalties for Environmental Violations: Empirical Evidence,” with
             Jonathan Karpoff and Eric Wehrly, Journal of Law and Economics, Vol., no. 2
             (October 2005): 653-675.

          (28) “Abortion and Crime: Unwanted Children and Out-of-Wedlock Births,” co-authored
                with John Whitley, Economic Inquiry, Vol. 45, no. 2, (April 2007): 304-324.

          (29) “Peer Effects in Affirmative Action: Evidence from Law Student Performance,” co-
               authored with Mark Ramseyer and Jeffrey Standen, International Review of Law
               and Economics, Vol. 31, no. 1 (March 2011): 1-15 (Lead article).

          (30) “What a balancing test will show for Right-to-Carry Laws,” University of Maryland
                Law Review, Vol. 71, no. 4 (2012): 1205-1218.

      PUBLIC CHOICE AND PUBLIC FINANCE:

          (1) “Brand Names and Barriers to Entry in Political Markets,” Public Choice, Vol. 51,
               no. 1, 1986: 87-92.

          (2) “Political Cheating,” Public Choice, Vol. 52, no. 2, 1987: 169-186.

           (3) “The Effect of Nontransferable Property Rights on the Efficiency of Political
                Markets: Some Evidence,” Journal of Public Economics, Vol. 32, no. 2, March
                1987: 231-246.

          (4) “The Institutional Arrangement of Public Education: The Puzzle of Exclusive
               Territories,” Public Choice, Vol. 54, no. 1, 1987: 89-96.

          (5) “Why is Education Publicly Provided?: A Critical Survey,” Cato Journal, Vol. 7,
               no. 2, Fall 1987: 475-501, reprinted in The Economic Value of Education, edited
               by Mark Blaug, Cheltenham, U.K.: Edward Elgar Publishing Limited, 1992,
               Chapter 27.




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                                                                        John R. Lott, Jr. Page 8
     PUBLIC CHOICE AND PUBLIC FINANCE (CONTINUED):

           (6) “Explaining Challengers' Campaign Expenditures: The Importance of Sunk
                Nontransferable Brand Name,” Public Finance Quarterly, Vol. 17, no. 1, January
                1989: 108-118.

           (7) “Deadweight Losses and the Saving Response to a Deficit,” co-authored with
                Gertrud Fremling, Economic Inquiry, Vol. 27, no. 1, January 1989: 117-129.

          (8) “Shirking and Sorting in a Political Market with Finite-Lived Politicians,” co-
               authored with W. Robert Reed, Public Choice, Vol. 61, no. 1, April 1989: 75-96.

          (9) “Time Dependent Information Costs, Price Controls, and Successive Government
               Intervention,” co-authored with Gertrud Fremling, Journal of Law, Economics,
               and Organization, Vol. 5, no. 2, Fall 1989: 293-306.

          (10) “Attendance Rates, Political Shirking, and the Effect of Post-Elective Office
               Employment,” Economic Inquiry, Vol. 28, no. 1, January 1990: 133-150.

          (11) “An Explanation for Public Provision of Schooling: The Importance of
               Indoctrination,” Journal of Law and Economics, Vol. 33, no.1, April 1990: 199-
               231.

          (12) “Predation by Public Enterprises,” Journal of Public Economics, Vol. 43, no. 2,
               November 1990: 237-251.

          (13) “Does Additional Campaign Spending Really Hurt Incumbents?: The Theoretical
               Importance of Past Investments in Political Brand Name,” Public Choice, Vol. 72,
               October 1991: 87-92.

          (14) “A Critical Review and An Extension of the Political Shirking Literature,” co-
               authored with Michael L. Davis, Public Choice, Vol. 74, no. 4, December 1992:
               461-484, winner of the Duncan Black Award presented by the Public Choice
               Society for the best Public Choice paper of the year.

          (15) “Reconciling Voters’ Behavior with Legislative Term Limits,” co-authored with
               Andrew R. Dick, Journal of Public Economics, Vol. 50, no. 1, January 1993: 1-14,
               reprinted in Term Limits: A Public Choice Perspective, edited by Bernard
               Grofman, Dordrecht, Netherlands: Kluwer Academic Publishers, forthcoming
               1996.

          (16) “Time Series Evidence on Shirking by Members of the U.S. House of
               Representatives,” coauthored with Stephen G. Bronars, Public Choice, invited
               conference volume, Vol. 76, no. 1-2, June 1993: 125-149, reprinted in Foundations
               of Regulatory Economics, edited by Robert B. Ekelund, Jr., London: Edward Elgar
               Publishing Limited, 2000.

          (17) “An Explanation for Why Senators from the Same State Vote Differently So
               Frequently,” coauthored with Gi-Ryong Jung and Lawrence W. Kenny, Journal of
               Public Economics, Vol. 54, no. 1, May 1994: 65-96.



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                                                                       John R. Lott, Jr. Page 9

     PUBLIC CHOICE AND PUBLIC FINANCE (CONTINUED):

           (18) “Do Deficits Affect the Level of Insurance?” co-authored with Gertrud M.
                Fremling, Journal of Money, Credit, and Banking, Vol. 26, no. 4, November 1994:
                934-940.

          (19) “Are Government or Private Enterprises More Likely to Engage in Dumping?: Some
               International Evidence,” Managerial and Decision Economics, Vol. 16, no. 3,
               May-June 1995: 185-204.

          (20) “Legislator Voting and Shirking: A Critical Review of the Literature,” co-authored
               with Bruce Bender, Public Choice, Vol. 87, nos. 1 and 2, April 1996: 67-100.

          (21) “Term Limits and Electoral Competitiveness: Evidence from California’s State
               Legislative Races,” co-authored with Kermit Daniel, Public Choice, Vol. 90, nos. 1-
               4, March 1997: 165-184, reprinted in Constitutional Political Economy in a Public
               Choice Perspective, edited by Charles K. Rowley, Kluwer Academic Publishers:
               Boston, 1997, Chapter 7, pp. 165-184.

          (22) “Does Political Reform Increase Wealth?: Or, Why the Difference Between the
               Chicago and Virginia Schools is Really an Elasticity Question,” Public Choice, Vol.
               91, nos. 3-4, June 1997: 219-227.

          (23) “A Review Article on Donald Wittman’s The Myth of Democratic Failure,” Public
                Choice, Vol. 92, no. 1-2, July 1997: 1-13 (Lead article).

          (24) “How Term Limits Enhance the Expression of Democratic Preferences,” coauthored
               with Einer Elhauge and Richard Manning, Supreme Court Economic Review, Vol.
               5, 1997: 59-81.

           (25) “Do Campaign Donations Alter How a Politician Votes?,” coauthored with Steve
                Bronars, Journal of Law and Economics, Vol. 40, no. 2, October 1997: 317-350.

          (26) “Did Women’s Suffrage Change the Size and Scope of Government?,” co-authored
               with Larry Kenny, Journal of Political Economy, Vol. 107, no. 6, part 1, December
               1999: 1163-1198.

          (27) “Public Schooling, Indoctrination, and Totalitarianism,” Journal of Political
               Economy, Vol. 107, no. 6, part 2, December 1999: S127-S157.

          (28) “A Simple Explanation for Why Campaign Donations are Increasing: The
               Government is Getting Bigger,” Journal of Law and Economics., Vol. 42, no. 2,
               October 2000: 359-393.

          (29) “Documenting Unusual Declines in Republican Voting Rates in Florida’s Western
                Panhandle Counties in 2000,” Public Choice, Vol. 123, June 2005: 349-361.

          (30) “Campaign Finance Reform and Electoral Competition,” Public Choice: Vol. 129
                (3-4), 2006: 263-300.



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     PUBLIC CHOICE AND PUBLIC FINANCE (CONTINUED):

           (31) "Non-voted Ballots, The Cost of Voting, and Race," Public Choice, Vol. 138, no. 1,
                (January 2009): 171-197.

          (32) “What Does the American Bar Association Judicial Rating Really Measure?” Public
                Choice, 2013.

          (33) “Is Newspaper Coverage of Economic Events Politically Biased?” co-authored with
               Kevin Hassett, Public Choice, (July 2014): 65-108.

     INDUSTRIAL ORGANIZATION:

          (1) “Brand Names, Ignorance, and Quality Guaranteeing Premiums,” Applied
               Economics, Vol. 20, no. 2, February 1988: 165-176.

          (2) “Qualitative Information, Reputation, and Monopolistic Competition,” co-authored
               with Michael Darby, International Review of Law and Economics, Vol. 9, no. 1,
               June 1989: 87-103.

          (3) “A Guide to the Pitfalls of Identifying Price Discrimination,” co-authored with
               Russell D. Roberts, Economic Inquiry, Vol. 29, no. 1, January 1991: 14-23,
               reprinted in Who Sets Prices?, Pittsburgh, PA.: Enterprise & Education Foundation,
               1991.

          (4) “Do Some Firms Rely on Preferences Instead of Sunk Investments to Guarantee
               Performance?” coauthored with Andrew R. Dick, Managerial and Decision
               Economics, invited conference volume, Vol. 14, no. 2, March-April 1993: 109-118.

           (5) “Profiting from Induced Changes in Competitors’ Market Values: The Case of Entry
                and Entry Deterrence,” co-authored with Robert G. Hansen, Journal of Industrial
                Economics, Vol. 43, no. 3, September 1995: 261-276.

          (6) “Externalities and Corporate Objectives in a World with Diversified
               Shareholder/Consumers,” co-authored with Robert G. Hansen, Journal of
               Financial and Quantitative Analysis, Vol. 31, no. 1, March 1996: 43-68.

          (7) “Testing Whether Predatory Commitments are Credible,” co-authored with Tim
               Opler, Journal of Business, Vol. 69, no. 3, July 1996: 339-382.




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      OTHER AREAS:

          (1) “Why Do Workers Join Unions?: The Importance of Rent-Seeking,” co-authored
               with Stephen G. Bronars, Economic Inquiry, Vol. 27, no. 4, April 1989: 305-324.

          (2) “The Winner's Curse and Public Information in Common Value Auctions:
               Comment,” co-authored with Robert G. Hansen, American Economic Review, Vol.
               81, no. 1, March 1991: 347-361, reprinted in Recent Developments in
               Experimental Economics, Vol. II, edited by John D. Hey and Graham Loomes,
               Cheltenham, U.K.: Edward Elgar Publishing Limited, 1993, Chapter 9, pp. 154-168.

          (3) “The Bias Towards Zero in Aggregate Perceptions: An Explanation Based on
                Rationally Calculating Individuals,” co-authored with Gertrud Fremling, Economic
                Inquiry, Vol. 34, no. 2, April 1996: 276-295; “The Bias Towards Zero in
                Identifying Relationships: Reply to Kennedy,” co-authored with Gertrud Fremling,
                Economic Inquiry, Vol. 37, no. 2, April 1999: 385-386.


          (4) “The Effect of Macroeconomic News on Stock Returns: New Evidence from
                Newspaper Coverage,” co-authored with Gene Birz, Journal of Banking and
                Finance, Vol. 35, November 2011: 2791-2800 (Semifinalist for Best Paper in
                Investments Award at 2009 FMA Annual Meetings).

      SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS:

          (1) “A Note on Law, Property Rights, and Air Pollution,” Cato Journal, Vol. 3, no. 3,
               Winter 1983/1984: 875-878.

          (2) “Education,” Economics Research Directory, New York: Manhattan Institute, 1984:
               Chp. 7.

          (3) “Rates of Return Promised by Social Security to Today's Young Workers,” co-
               authored with Peter Ferrara, in Social Security: The Prospects for Real Reform,
               Peter Ferrara ed., Washington: Cato Institute, 1985: Chp. 1.

          (4) Review of Unnatural Monopolies, edited by Robert Poole, Southern Economic
               Journal, Vol. 53, no. 1, July 1986: 287-288.

          (5) “On Nationalizing Private Property and the Present Value of Dictators,” co-authored
               with David Reiffen, Public Choice, Vol. 48, no. 1, 1986: 81-87.

          (6) “Externalities, Agency Structure, and the Level of Transfers,” Public Choice, Vol.
               53, no. 3, 1987: 285-287.

          (7) “Televising Legislatures: Some Thoughts on Whether Politicians are Search Goods,”
               co-authored with Gertrud Fremling, Public Choice, Vol. 58, no. 1, July 1988: 73-
               78.




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                                            0012
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       SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

           (8) “Some Thoughts on Tullock's New Definition of Rent-Seeking,”
                Contemporary Policy Issues, Vol. 6, no. 4, October 1988: 48-49.

           (9) “Racial Employment and Earnings Differentials: The Impact of the Reagan
                Administration: Comment,” The Review of Black Political Economy, Vol. 17, no.
                4, Spring 1989: 83-84.

          (10) “Production Costs and Deregulation,” co-authored with Morgan Reynolds, Public
               Choice, Vol. 61, no. 2, May 1989: 183-186.

          (11) Review of Televised Legislatures: Political Information, Technology, and Public
               Choice by W. Mark Crain and Brian Goff, American Political Science Review, Vol.
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          (12) “Getting Tough on White-Collar Crime,” Regulation, Vol. 13, no. 1, Winter 1990:
               18-19.

          (13) “A Comment on ‘The Role of Potential Competition in Industrial Organization,’”
               co-authored with Andrew Dick, Journal of Economic Perspectives, Vol. 4, no. 2,
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          (15) “Nontransferable Rents and an Unrecognized Social Cost of Minimum Wage
               Laws,” Journal of Labor Research, Vol. 11, no. 4, Fall 1990: 453-460.

          (16) “The Effect of Conviction on the Legitimate Income of Criminals,” Economics
               Letters, Vol. 34, no. 12, December 1990: 381-385.

           (17) “Why the Commission’s Corporate Guidelines May Create Disparity,” Federal
                Sentencing Reporter, co-authored with Jonathan Karpoff, November/December
                1990: 140-141.

          (18) Review of Institutions, Institutional Change, and Economic Performance, by
               Douglas C. North, Journal of Policy Analysis and Management, Vol. 11, no. 1,
               1992: 156-159.

          (19) “Goring the U.S. Economy,” Review of Earth in the Balance: Ecology and the
               Human Spirit, by Senator Albert Gore, Jr., Regulation, Vol. 15, no. 3, Summer
               1992: 76-80.

          (20) Review of Reforming Products Liability, by W. Kip Viscusi, Journal of Policy
               Analysis and Management, Vol. 11, no. 4, 1992: 726-728.

          (21) Review of The Future of Economics, by John D. Hey (ed.), Public Choice, Vol. 75,
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       SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

           (22) “Regulatory Common Sense vs. Environmental Nonsense,” Reviews of
                Environmental Overkill: Whatever Happened to Common Sense? by Dixy Lee Ray
                with Lou Guzo and Science Under Siege: Balancing Technology and the
                Environment by Michael Fumento, Regulation, Vol. 16, no. 1, Fall 1993: 80-82.

          (23) “Regulating Indoor Air Quality: The Economist’s View,” coauthored with Robert G.
               Hansen, The EPA Journal, Vol. 19, no. 4 (October-December, 1993): 30-31.

          (24) “Environmental Economics: Fallacies and Market Incentives,” Chapter 3 in
               Balancing the Earth’s Economy and Ecology: Analysis and Constructive
               Alternatives to Earth in the Balance, John Baden (ed.), San Francisco: Pacific
               Research Institute, 1994: 77-89.

           (25) “The Regulatory Quest for Safety at Any Cost,” Review of Collision Course: The
                Truth About Airline Safety by Ralph Nader and Wesley J. Smith, Regulation, Vol.
                17, no. 1, Winter 1994: 80-81.

           (26) “Armen A. Alchian’s Influence on Economics,” Economic Inquiry , Vol. 34, no. 3,
                July, 1996: 409-411, reprinted in Uncertainty and Economic Evolution: Essays in
                Honor of Armen Alchian, John R. Lott, Jr. (ed.), Routledge Press: New York
                (1997): 1-3.

           (27) Moderated and Participated in “Roundtable discussion in Celebration of Armen
                Alchian’s 80th Birthday,” Economic Inquiry Vol. 34, no. 3 (July 1996): 412-426.

          (28) “Corporate Criminal Penalties,” Managerial and Decision Economics Vol. 17, no. 4
                (July-August 1996): 349-350.

          (29) “In Praise of Lost Mail and $900 Toilet Seats?” Review of The Myth of Democratic
               Failure: Why Political Institutions are Efficient, by Donald Wittman, Regulation,
               no. 1, 1996: 85-89.

          (30) “Concealed Handguns Can Save Lives,” Agenda, Vol. 3, no. 4, 1996: 499-502.

          (31) “Freedom, Wealth, and Coercion,” co-authored with Gertrud Fremling, in
               Uncertainty and Economic Evolution: Essays in Honor of Armen Alchian, John R.
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          (33) “The Reputational Penalty Imposed on Criminals,” The New Palgrave Dictionary
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          (34) “Do Concealed Handgun Laws Save Lives?,” Spectrum: The Journal of State
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       SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

           (35) “Who is Really Hurt By Affirmative Action?,” Police Executive Research Forum,
                Vol. 12, No. 5, May 1998: 1 and 3.

          (36) “How to Stop Mass Shootings,” The American Enterprise, Vol. 9, no.4,
               July/August 1998: 66-67.

          (37) “More Guns, Less Crime,” Letter to the Editor, The New England Journal of
               Medicine, May 20, 1999.

          (38) “Refusing to Let Facts Get In The Way of A Good Story,” The American
               Enterprise, Vol. 10, No. 3 (May/June 1999): p. 68.

          (39) “Public and Private Penalties: Introduction,” Journal of Law and Economics, Vol.
               42, June 1999: 239-243.

          (40) “Does Allowing Law-Abiding Citizens to Carry Concealed Handguns Save Lives?”
               in Guns in America: A Reader, edited by Jan Dizard, Robert Muth, and Stephen
               Andrews, New York University Press: New York (1999): 322-330.

          (41) “Violence Prevention and Concealed Weapons Laws,” Letter to the Editor, Journal
               of the American Medical Association, Vol. 283 No. 9, March 1, 2000.

          (42) “When Gun Control Costs Lives,” Phi Kappa Phi Journal, Vol. 80, Fall 2000: 29-
                32.

          (43) “Another Media Murder of the Truth,” The American Enterprise, Vol. 11, no.8,
                December 2000: p. 10.

          (1) “Impact of the Brady Act on Homicide and Suicide Rates,” Letters to the Editor,
              Journal of the American Medical Association, Vol. 284 No. 21, December 6, 2000,
              p. 2718.

          (2) “Carrying Concealed Weapons Prevents Crime,” Chapter 3, in Crime and Criminals,
              edited by Tamara L. Roeff, University of Michigan Press, 2000.

          (3) “Guns, Crime, and Safety: Introduction,” Journal of Law and Economics, Vol. 44,
              no. 2, part 2, (October 2001): 605-614.

          (47) “The Surprising Finding that ‘Cultural Worldviews’ Don’t Explain People’s Views
                 on Gun Control,” co-authored with Gertrud M. Fremling, University of
                 Pennsylvania Law Review, Vol. 151, no. 4 (April 2003): 1341-1348.

          (48) “Correcting ‘The March of Science’ Editorial,” Archives of Pediatrics & Adolescent
                 Medicine, June 2008: 589.

          (49) “Civil Rights: Racial Preferences in Higher Education,” Chapman Law Review,
                 Winter 2009: 344-350.




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       SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

          (50) “Reforms that ignore the black victims of crime,” Cato Unbound, March 13, 2009.

          (51) “An Unsatisfying Change?: Canadians’ satisfaction with their health care isn’t much
                 different from uninsured Americans,” Regulation, Summer 2009: 38-44.

          (52) Forward to From Luby's to the Legislature: One Woman's Fight Against Gun
                 Control, by Suzanna Gratia Hupp, Privateer Publications (December 1, 2009).

          (53) "Making Guns Less Available Does Not Reduce Gun Violence," in Opposing
                Viewpoints: Gun Violence, Louise Gerdes, editor, Gale Publishing: Dallas, Texas
                (2011).

          (54) Forward to Power Divided is Power Checked, Jason Lewis, Bascom Hill Publishing
                 (January 2011).

          (56) “How do Multiple Victim Public Shooters Decide Where to Attack?” ACJS
                (Academy of Criminal Justice Sciences) Today, September, 2012: pp. 14-17.

          (55) “The Cost-Benefit Analysis of Crime,” in Developing Standards for Benefit-Cost
                Analysis, Richard Zerbe, editor, the University of Washington Benefit-Cost Center
                (2011).

          (56) “How do Multiple Victim Public Shooters Decide Where to Attack?” Academy of
                 Criminal Justice Sciences Today, September, 2012: 14-17.

          (57) "Did John Lott Provide Bad Data to the NRC?: A Note on Aneja, Donohue, and
                Zhang," co-authored with Carlisle E. Moody and Thomas Marvell, Econ Journal
                Watch, January 2013.




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     REFEREED FOR:

          American Economic Review; American Economic Journal: Applied Economics;
          American Journal of Political Science; Contemporary Economic Policy; Criminology;
          Criminology & Public Policy; Eastern Economic Journal; Economic Inquiry;
          Economica; Economics of Education Review; Economics of Governance; International
          Economic Review; International Journal of Industrial Organization; International
          Review of Law and Economics; Journal of the American Medical Association; Journal of
          Corporate Finance; Journal of Economic Behavior and Organization; Journal of
          Economic Education; Journal of Human Resources; Journal of Interpersonal Violence;
          Journal of Law and Economics; Journal of Law, Economics, and Organization; Journal
          of Legal Studies; Journal of Financial and Quantitative Analysis; Journal of Policy
          Analysis & Management; Journal of Political Economy; Journal of Politics; Journal of
          Public Economics; Legislative Studies Quarterly; Managerial and Decision Economics;
          National Science Foundation; Oxford University Press; Policy Studies Journal; Public
          Choice; Public Finance Quarterly; Quarterly Journal of Economics; Quarterly Review of
          Economics and Finance; RAND Journal of Economics; Rationality and Society; Research
          in Law and Economics; Review of Economics and Statistics; Review of Economics of the
          Household; Social Choice and Welfare; Southern Economic Journal; and Regulation.

SELECTED PRESENTATIONS:

      PRESENTATIONS AT GOVERNMENT AGENCIES AND OTHER NON-UNIVERSITY INSTITUTIONS:

          Ad Hoc Working Group on the Economics of the Pharmaceutical Industry: 1995;
          American Legislative Exchange Council (National Meeting): 1998; Cato Institute: 1996,
          2000, 2007, 2010; City of Philadelphia Continuing Legal Education for Municipal
          Attorneys: 1999; Commodity Futures Trading Commission: 1991; Commonwealth Club
          of California (San Jose): 2008; Comstock Club (Stockton, California): 1997;
          Congressional Hispanic Caucus Institute: 2001; Contemporary Club (Charlottesville,
          Virginia): 2008; Doctors for Disaster Preparedness (San Francisco, Ca.): 2000; Eagle
          Council: 1999, 2000; Federal Trade Commission: 1990, 1992, 1996; Fortune Society
          debate on “Should Convicted Felons Have a Vote?”: 2004; Frontiers of Freedom: 2000;
          Goldwater Institute (Phoenix, Arizona): 1998; Heartland Institute: 1999, 2007, 2010;
          Heritage Foundation: 1997; Illinois Police Association Annual State Convention
          (Luncheon Keynote Speaker): 1997; Innocenzo Gasparini Institute for Economic
          Research (Milan, Italy): 1993; Intelligence Squared: 2008; Koch Crime Commission
          (Topeka, Kansas): 1998; Lone Star Foundation: 1999; National Association of Treasury
          Agents Annual Convention: 1997; New Jersey Conference of Mayors: 2000; New
          Zealand Department of Justice: 2006; Orange County Federalist Society: 2007, 2009,
          2013, 2016; “Bully Pulpit Speaker” series Sponsored by Wisconsin State House Speaker
          before legislative staff: 2000; Rand Corporation: 1991, 1999; Reason Weekend: 2000;
          Republican National Lawyers Association, National Summer Election Law Seminar &
          School: 2006; Seattle Economic Council: 2007; Souix Falls (South Dakota) City club:
          2000; St. Louis Police Officers Association: 1999; Sunday Morning Breakfast Club
          (Philadelphia): 2000; U.S. Department of Education: 1988; U.S. Department of Justice:
          1987, 1988, 1989, 1991, 1993; U.S. Office of Management and Budget: 1991; U.S.
          Securities and Exchange Commission: 1988, 1989; World Affairs Council of
          Philadelphia: 1993.



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     Conferences (Excluding Multiple Presentations at a conference):

           American Bar Association’s conference on Gun & Media Violence - Issues for the
           Litigator: 2001; American Criminology Society: 1996, 1998, 2003; American Economics
           Association: 1993, 1995, 1996, 1997, 1998, 1999, 2001, 2011; American Enterprise
           Institute’s Panel to Discuss my book entitled More Guns, Less Crime: 1998; American
           Enterprise Institute’s Panel to Discuss my paper on multiple victim shootings: 1999;
           American Enterprise Institute Conference on “Guns, Crime, and Safety”: 1999; American
           Law and Economics Association Annual Meeting: 1993, 1994, 1995, 1996, 1997, 2000,
           2001; American Statistical Association: 2001; Association of American Law Schools
           Meetings: 1999; Association of Managerial Economists Meetings: 1993; Association of
           Private Enterprise Economists: 2001 (Luncheon Speaker); Atlantic Economic Association
           Meetings: 1993; Cato Institute’s Conference on The U.S. Sentencing Commission’s
           Corporate Penalty Guidelines: 1991; Centre for Economic Policy Research Conference on
           the Economics of Organized Crime (Bologna, Italy): 1993; Constitutional Rights
           Foundation Youth Summit (Chicago), 2006; Cornell Political Forum: 2000; Economic
           Science Association Meetings: 1989; Federalist Society Faculty Division Conference:
           1999; Federalist Society Southern Leadership: 1999; Firearm Safety Seminar (Sponsored
           by the New Zealand Police): 2006; Guns, Crime, and Punishment in America (University
           of Arizona): 2001; Handgun Control, Inc. Sponsored Debate on my Concealed Handgun
           Research: 1996; Harvard Law School Conference on the Economics of Law Enforcement:
           1998; Heritage Foundation, Legal Strategy Form: 1999; International Symposium on
           Forecasting: 2007; Law and Economics Center’s Conference to Discuss the fourth Edition
           of Economic Analysis of Law by Richard Posner: 1993; Law and Economics Center’s
           National Conference on Sentencing of the Corporation: 1990; Missouri Farmer’s
           Association: 2005; Neoliberal Policies for Development: Analysis and Criticism,
           sponsored by the Program for Studies in Capitalism, Yale University and Faculdade de
           Direeito da Universidade de Sao Paulo (Sao Paulo, Brazil): 2000; Penalties: Public and
           Private (held at the University of Chicago): 1997; National Lawyers Convention: 1999;
           Public Choice: 1985, 1986, 1987, 1988, 1989, 1990, 1991, 1992, 1994, 1995, 1996, 1997,
           1999, 2001, 2005, 2011; Southern Economic Association: 1991, 1997; Strategy and
           Politics sponsored by the University of Maryland Collective Choice Center: 1996;
           Symposium on the Economic Analysis of Social Behavior to honor Gary Becker’s 65th
           Birthday: 1995; Symposium on Election Law, Federalist Society National Conference:
           2000; Symposium on Guns and Liability in America at the University of Connecticut
           School of Law: 2000; Western Economic Association: 1983, 1984, 1985, 1986, 1987,
           1988, 1989, 1990, 1991, 1992, 1993, 1994, 1995, 1996, 1997, 2007; Wharton Health Care
           Conference: 1992; Young Republican Conference, 2006.




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      PRESENTATIONS AT UNIVERSITIES (REFERS TO BUSINESS SCHOOLS OR ECONOMICS
           DEPARTMENTS UNLESS NOTED OTHERWISE AND EXCLUDES PRESENTATIONS AT HOME
           INSTITUTION):

          Arizona State University: 1988, 1989, 1991, 1998; Arizona State University Law School:
          2016; Auburn University: 1999; Australian National University: 1996; Baylor University:
          2007; Baylor University Law School: 2004, 2016; Boston University School of Law:
          1998; Boston University Law School: 2000; Brigham Young University: 1992; Brigham
          Young University Law School: 2002; California State University, East Bay: 2008;
          Campbell University Law School: 2008; Carnegie Mellon University: 1994; Case
          Western Reserve University Law School: 2002, 2012, 2015; Catholic University School
          of Law: 2003; Chicago-Kent School of Law: 2000; Claremont Graduate School: 1989,
          1998, 2012; Clemson University: 1988, 2008, 2010; Columbia University School of Law:
          1999, 2003; Cornell University: 1989, 1994; Cornell University School of Law: 1994,
          1998, 2005; California State University at Hayward: 1987, 1993, 2004, 2010; California
          State University at Northridge: 1984; Capitol University: 2000; Cardozo School of Law:
          1999, 2000, 2012; Catholic University Law School: 2003; Chapman University School of
          Law: 2005; Dartmouth College: 1985, 2000; Detroit Mercy Law School: 2007; Duke
          University School of Law: 1998, 2003, 2008; Duquesne Law School: 2012, 2015; Elon
          University Law School: 2008; Emory University: 1993, 1996; Florida Coastal University
          School of Law: 2006, 2009; Florida International University School of Law: 2006;
          Florida State University School of Law: 2005, 2009, 2016; Florida State University:
          2005, 2009; Fordham University School of Law: 1996; Furman University: 2009; George
          Mason University: 1988, 1989, 1991, 1994, 1995, 2001; George Mason University
          School of Law: 1988, 1990, 1992, 1993, 1996, 1999, 2001, 2005, 2008; George
          Washington University Law School: 2000; Georgetown University School of Law: 1997,
          2000; Golden Gate Law School: 2012; Gonzaga University: 2003, 2010; Hamline
          University School of Law: 2007; Harvard University School of Law: 1996, 1999;
          University of Hawaii Law School: 2011, 2011; Hillsdale College: 2004, 2007;
          Hitotsubashi University: 2007; Hoover Institution, Stanford University: 2001; Indiana
          University: 1994; Indiana University Law School: 2016; Indiana University-Purdue
          University at Indianapolis: 1997; Johns Hopkins University: 2001; Lewis & Clark Law
          School: 2004, 2007; Louisville University: 1999; Loyola College (Maryland): 2000;
          McGeorge Law School: 2012; McKendree College: 2001; Michigan State University:
          1997; University of Minnesota School of Law: 2007; Montana State University: 1986;
          University of Nevada at Las Vegas: 2010; New York University: 1988; New York
          University School of Law: 1998, 2001, 2008; North Carolina State University: 1990;
          Northwestern University: 1994; Northeastern University School of Law: 2016;
          Northwestern University School of Law: 1993, 1996, 2008; Northwestern University
          Medical School: 2003; Notre Dame University: 1995; Notre Dame University Law
          School: 2008; Nova Southeastern Law School: 2005; Ohio State University: 1989, 2000;
          Ohio State University Law School: 2000, 2003; Ohio University: 2003, 2004; Oklahoma
          City University School of Law: 1999; Pennsylvania State University: 1999; Pepperdine
          University: 1989; Pepperdine University Law School: 2012; Rice University: 1998;
          Roger Williams Law School: 2016; Rutgers University: 1991; Rutgers University Law
          School: 2012; Samford University Law School: 2005; St. Mary’s University Law School:
          2008, 2010; Santa Clara University: 1991, 2001; Santa Clara University Law School:
          2012; Savanah University Law School: 2016; Seattle University School of Law: 2003,
          2007; Simon Fraser University: 1991, 2001, 2007; South Dakota University: 2000;
          Southern Illinois University: 2000; Southern Methodist University: 1985, 1992;



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      PRESENTATIONS AT UNIVERSITIES (CONTINUED):

          Southern Methodist University School of Law: 1999, 2004; Stanford School of Law:
          1987, 1989, 1996, 2010; SUNY - Binghamtom: 1997; Texas A&M University: 1992;
          Texas Tech University: 2004; Trinity College: 2000; Tulane University: 1989; Touro Law
          School: 2012; University of Akron Law School: 2012; University of Alabama Law
          School: 2005; University of Alberta: 1991; University of Arizona: 1991; University of
          Arizona School of Law: 1991; University of Baltimore Law School: 2004; University of
          British Columbia: 2007; University of Canterbury (New Zealand): 2006; University of
          Chicago: 1990, 1992, 1993; University of Chicago Law School: 2004; UC Berkeley Law
          School: 1998, 2001, 2001, 2010; UC Davis: 1987, 1993, 1998; UC Irvine: 1989, 1991;
          UCLA: 1989, 1993, 1995, 1997; UCLA School of Law: 1991, 2005; UC Santa Barbara:
          1987, 1990; University of Colorado at Bolder: 2016; University of Florida: 1988, 2000,
          2009; University of Florida Law School: 2009; University of Georgia: 1992, 1993;
          University of Houston: 1984, 1985, 1986, 1987, 1992, 1999, 2010; University of Houston
          Law School: 1999; University of Idaho: 2003; University of Idaho Law School: 2004,
          2010, 2012; University of Illinois (Champaign-Urbana): 1994; University of Illinois
          School of Law (Champaign-Urbana): 1998; University of Illinois (Chicago): 1996;
          University of Iowa School of Law: 2003; University of Kansas: 1999; University of
          Kansas School of Law: 1999; University of Kentucky: 1995, 2008; University of Maine
          Law School: 2012; University of Maryland Computer Science Department: 2004;
          University of Miami: 1989, 1990, 1998, 2005, 2006, 2009; University of Miami School of
          Law: 2005; University of Michigan: 1995, 1997, 2001; University of Michigan School of
          Law: 2000, 2001; University of Missouri at St. Louis: 2001; University of Memphis:
          2005; University of Montana School of Law: 2003; University of Nebraska: 2016;
          University of New Hampshire Law School: 2016; University of New Mexico: 1984;
          University of Oklahoma: 1999; University of Oklahoma School of Law: 1999, 2012;
          University of Oregon School of Law: 2003, 2007; University of Pennsylvania: 1991;
          University of Pennsylvania School of Law: 1999; University of San Diego School of
          Law: 2000, 2003, 2005, 2008; University of South Carolina: 2005, 2010; University of
          Southern California: 1990, 1999; University of Southern California School of Law: 1999,
          2012; University of Utah School of Law: 2002; Saint Cloud State University: 2002; St.
          Louis University: 2001; St. Louis University (general University talk): 2002; St. Mary’s
          University Law School: 2015; St. Thomas University Law School: 2015; Stetson
          University School of Law: 2006, 2009; Thomas Cooley Law School (Grand Rapids:
          2007) (Lansing: 2007) (Oakland: 2007); University of Tennessee School of Law: 2005;
          University of Texas (Austin): 1985, 2004, 2007; University of Texas School of Law
          (Austin): 1999, 2004, 2010, 2016; University of Texas (Dallas): 1992, 1998, 2007; Tiffin
          University: 1999; University of Tokyo School of Law: 2007; University of Toronto:
          1991, 1995; University of Tulsa: 2012; University of Virginia: 1988; University of
          Virginia School of Law: 2000; University of Washington: 1990, 1997 (business school),
          1997, 2007 (economics);, 2004 (Law); University of Western Ontario: 1993, 2006;
          Vanderbilt University School of Law: 2005; West Virginia University School of Law:
          2003; Willamette University Law School: 2003, 2007; Williams College: 1999;
          University of Wisconsin (Madison): 1995; University of Wisconsin Law School
          (Madison): 1999; University of Wisconsin (Milwaukee): 1992; Virginia Polytechnic
          Institute: 1988; Wake Forest University: 1998; Washington State University:
          1990;Washington University in St. Louis: 2000;




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      PRESENTATIONS AT UNIVERSITIES (CONTINUED):

          Washington University in St. Louis School of Law: 2003; Wayne State University: 2000;
          Widener University Law School: 2016; College of William and Mary: 1999, 2006;
          William and Mary School of Law: 1999, 2007; William Mitchell Law School: 2003;
          Xavier University: 2004; Yale University School of Law: 1985, 1996.

      LEGISLATIVE TESTIMONY:

          U.S. House of Representatives, Subcommittee on Health and the Environment, Public
               Hearing on Prescription Drugs in the Health Security Act, Tuesday, February 8,
               1994.

          U.S. House of Representatives, Subcommittee on Health, Committee on Ways and
               Means, Public Hearing on Alternative Health Reform Proposals, Thursday,
               February 10, 1994.

          Nebraska State Senate, Judiciary Committee, Public Hearings on Concealed Handgun
               Permits, Thursday, February 6, 1997 (lead witness).

          Kansas State Senate, State and Federal Affairs Committee, Public Hearings on Concealed
              Handgun Permits, Monday, February 10, 1997 (lead witness).

          Kansas State House, State and Federal Affairs Committee, Public Hearings on Concealed
              Handgun Permits, Monday, February 10, 1997 (lead witness).

          Illinois State House, Transportation Committee, Public Hearings on Concealed Handgun
                Permits, Tuesday, March 18, 1997 (lead witness).

          California State Assembly, Committee on Public Safety, Public Hearings on Concealed
               Handgun Permits, Tuesday, November 18, 1997.

          City of Toledo (Ohio), City Council; Public Hearings on Ordinances to require handgun
                registration, require gun locks, and ban assault weapons; Monday, Dec. 13, 1998
                (lead witness).

          Minnesota Joint State Assembly and Senate Hearing, Committee on Public Safety, Public
              Hearings on Concealed Handgun Permits, February 19, 1999 (lead witness).

          Ohio State House, Judiciary Committee, Public Hearings on Concealed Handgun Permits,
               Tuesday, March 2, 1999 (lead witness).

          Maryland State House, Judiciary Committee, Public Hearings on Concealed Handgun
              Permits, Wednesday, March 17, 1999.

          Maryland State Senate, Judicial Procedures Committee, Public Hearings on Concealed
              Handgun Permits, Wednesday, March 17, 1999 (lead witness).




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      LEGISLATIVE TESTIMONY (CONTINUED):

          U.S. Senate, Rules and Administration Committee, Public Hearings on Campaign Finance
               Reform, Wednesday, March 24, 1999.

          Michigan State House, Conservation and Outdoor Recreation Committee, Public
              Hearings on Concealed Handgun Permits, Wednesday, April 22, 1999 (lead
              witness).

          U.S. House of Representatives, Judiciary Committee, Subcommittee on Crime, Public
               Hearing on Gun Control Legislation, Thursday, May 27, 1999.

          Utah Joint State Assembly and Senate Hearing, Committees on the Judiciary and Law
               Enforcement, Wednesday, July 21, 1999 (lead witness).

          Hawaii State Senate Joint Committee Hearing, Committee on the Judiciary and
              Committee on Transportation and Intergovernmental Affairs, Tuesday, February 15,
              2000.

          Maryland State House, Budget Committee, Public Hearings on Tax Credit for Gun Locks,
              Wednesday, February 16, 2000

          Wisconsin State House, Judiciary and Privacy Committee, Public Hearings on Concealed
              Handgun Law, Tuesday, February 29, 2000.

          Maryland State Senate, Judicial Procedures Committee, Public Hearings on Smart Gun
              Locks, Wednesday, March 15, 2000.

          New Jersey State Senate, Law and Public Safety Committee, Public Hearings on Smart
              Gun Locks and raising the age at which a gun can be purchased to 21, Thursday,
              May 15, 2000.

          Ohio State House, Civil and Commercial Law Committee, Public Hearings on Concealed
               Handgun Law, Wednesday, June 13, 2001 (lead witness).

          U.S. Senate, Rules and Administration Committee, Public Hearing to examine a report
               from the U.S. Commission on Civil Rights regarding the November 2000 election
               and election reform in general, Wednesday, June 27, 2001.

          U.S. House of Representatives, Judiciary Committee, Public Hearing on the “Help
               America Vote Act of 2001,” Wednesday, December 5, 2001.

          Wisconsin State Senate, Judiciary Committee, Public Hearings on Concealed Handgun
              Law, Saturday, March 9, 2002.

          Ohio State Senate, Judiciary – Civil Justice Committee, Public Hearing on Concealed
               Handguns – License to Carry, Wednesday, May 22, 2002.




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      LEGISLATIVE TESTIMONY (CONTINUED):

           Maryland State House, Judiciary Committee, Public Hearings on Concealed Handgun
               Law, Wednesday, March 16, 2004.

           U.S. Election Assistance Commission, Public Meeting on Voting Systems, Wednesday,
                February 23, 2005.

           U.S. House of Representatives, House Government Reform Committee, Public Hearing
                on the “District of Columbia Gun Ban,” Tuesday, June 28, 2005.

           U.S. Election Assistance Commission, Public Meeting on Voting Systems, Wednesday,
                August 23, 2005.

           Illinois State House, Special Committee on Concealed Carry, Monday, April 10, 2012
                 (lead witness).

           Governor's School Safety Task Force, Virginia, Hearing to examining Delegate Bob
               Marshall's bill to allow teachers to carry guns on school property, January 27, 2013,
               5:30 to 6:00 PM.

           U.S. Senate Judiciary Committee’s Subcommittee on the Constitution, Civil Rights, and
                Human Rights, Hearing on “‘Stand Your Ground’ Laws: Civil Rights and Public
                Safety Implications of the Expanded Use of Deadly Force,” October 29, 2013.

           Joint Mexican Senate and House Constitution Committee Hearing on rewriting Article 10
                 of the Mexican Constitution that deals with gun ownership, November 16, 2016.

      COURT TESTIMONY:
          California Pro-life Council Political Action Committee v. Jan Scully, et al., United States
               District Court, Eastern District of California, NO. CIV. S-96-1965 LKK/DAD.

           Colorado Right to Life Committee v. Buckley, United States District Court, District of
                Colorado, Case No. 96-S-2844.

           Florida Right to Life, Inc., et al. v. Sandra Mortham, etc. et al., United States District
                 Court, Central District of Florida , No. 98-770-CIV-ORL-19A.

           Montana Right to Life Association et. al. v. Robert Eddelman et. al., United States
               District Court, District of Montana, NO. CIV. 96-165-BLG-JDS.

           Daggett v. Webster, 74 F.Supp.2d 53(D.Maine 1999) and 81 F.Supp.2d 128 (D.Maine
               2000).

           Marcella Landell, et al. v. William Sorell, et al., United States District Court, District of
               Vermont , 118 F.Supp.2d 459 (D.Vt 2000).

           Stewart, et. al. v. J. Kenneth Blackwell, et al., United States District Court, Northern
                District of Ohio, Eastern Division (February 20, 2004 and September 30, 2004),
                Case No. 5:02 CV 2028.


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       DEPOSITIONS ONLY:

            Expert for the Virginia State Attorneys General, State Legislative Redistricting,
                 September 2001.

            Expert for National Middle School Association v. Lloyds London, Franklin County Court
                 of Common Pleas, August, 2012.

  CONFERENCES ORGANIZED AND RAISED MONEY:

            Corporate Sentencing: The Guidelines Take Hold, held at the Four Seasons Hotel under
                 the auspices of the Cato Institute, October 31, 1991.

             “Penalties: Public and Private,” held at the University of Chicago, December 1997 and
                 published in the Journal of Law and Economics, June 1999.

            “Guns, Crime, and Safety,” held at the American Enterprise Institute and co-sponsored
                with the Yale Law School, December 1999 and published in the Journal of Law
                and Economics, October 2001.

SELECTED PUBLIC APPEARANCES (all times are EST, except where otherwise noted, primarily limited to
                 National appearances):

            C-SPAN, Press conference presenting letter that I authored which was signed by 565
                economists on President Clinton’s Health-care Plan, 8:00 AM, Friday, January 14,
                1994 and 2:00 PM, Sunday, January 16, 1994.

            CNN and CNN Headline News, Thursday, January 13, 1994.

            All Things Considered, National Public Radio, Thursday, January 13, 1994.

            Market Place, Public Radio International, Thursday, January 13, 1994.

            The Nightly Business Report, National Public Television, Thursday, January 13, 1994.

            At least 50 local television stations around the nation covered the letter, from Thursday,
                  January 13, 1994 to Friday, January 14, 1994.

            Appeared on 61 radio talk shows around the nation to discuss the economists’ letter on
                President Clinton’s Health-care Plan from Friday, January 14, 1994 to Friday,
                January 28, 1994.

            CNN, Inside Business, Sunday, January 23, 1994.

            New Jersey Network and National Empowerment Television, National Policy Forum
                “Taxpayers, Speak Out!: A National Tax Day Policy Forum,” 1 to 3 PM, Friday,
                April 15, 1994.

            ABC National Evening News, Friday, August 2, 1996.



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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          British Broadcasting Corporation Radio, Sunday, August 4, 1996.

          Monitor Radio, Thursday, August 8, 1996.

          MSNBC, 10:05 AM and 3:05 PM, Thursday, August 8, 1996.

          NBC National Evening News, Thursday, August 8, 1996.

          CNN and CNN Headline News, Thursday, August 8, 1996.

          NBC - Nightside, Friday, August 9, 1996.

          NBC News at Sunrise, Friday, August 9, 1996.

          NBC Today Show, twice, Friday, August 9, 1996.

          C-SPAN, Presentation of Concealed Handgun Study, 11:30 AM, Friday, August 9, 1996.

          At least 41 local television stations around the nation (along with radio stations in at least
                New York, Los Angeles, Chicago, Hartford, and Miami) covered the findings of my
                concealed handgun study, from Thursday, August 8, 1996 to Saturday, August 10,
                1996.

          Appeared on approximately 100 radio talk shows around the nation to discuss the
              concealed handgun study from Thursday, August 8, 1996 to December 31, 1996.

          Australian Broadcasting Corporation, The Breakfast with Peter Thompson, National
               Morning Radio Broadcast, 8:05 AM, Thursday, August 15, 1996, Sydney time.

          As It Happens, Canadian Broadcasting Corporation, Tuesday, August 20, 1996.

          Morning Edition, “Study Says Concealed Weapons Law Decreases Crime Rate,” National
              Public Radio, Monday, September 23, 1996, 6:40, 8:40, and 10:40 AM.

          CNN Early Prime, “Handguns are Becoming More Powerful, But More Compact,”
             Monday, October 14, 1996, 4:38 PM.

          British Broadcasting Corporation Radio, Wednesday, October 16, 1996.

          C-SPAN, Presentation of Concealed Handgun Study, 9:00 AM, 2:30 PM, and 9:30 PM,
              Monday, December 9, 1996; 2:30 AM Tuesday, December 10, 1996; and 5:36 PM
              Saturday, December 14, 1996.

          Morning Edition, National Public Radio, “Concealed Weapons Laws,” Tuesday,
              December 10, 1996, 10:00 AM.

          MSNBC, 4:08 to 4:20 PM, Monday, February 24, 1997.



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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The O’Reilly Report, Fox News Channel, “Concealed Handguns and Crime,” 6:10 to
               6:17 PM, Thursday, April 10, 1997.

          The Impact of Term Limits, C-SPAN, 11:00 AM, Wednesday, August 27, 1997; 7:00 AM
               Thursday, August 28, 1997.

          The Hannity and Colmes Show, Fox News Channel, 9:30 to 10:00 PM, Tuesday, October
               7, 1997.

          Appeared on approximately 160 radio talk shows and 13 local television shows around
              the nation to discuss my book entitled More Guns, Less Crime, from Monday,
              March 30, 1998 to July 1, 1998.

          The O’Reilly Factor, Fox News Channel, 8:40 to 8:45 PM, Monday, March 30, 1998.

          The John Robbie Morning Radio Show (Johannesburg, Pretoria, and Cape Town), 5:44 to
               5:55 AM (South Africa), Wednesday, April 15, 1998.

          The John Mason Morning Radio Show (Cape Town), 6:38 to 6:49 AM (South Africa),
               Friday, April 17, 1998.

          America’s Voice Tonight, America’s Voice Channel, 8:35 to 8:45 PM, Tuesday, April 28,
              1998.

          MSNBC, 4:10 to 5:30 PM, Thursday, May 21, 1998.

          SkyNews Television, 4:51 to 4:55 PM (London), Friday, May 22, 1998.

          Fox News Channel, 2:40 to 2:50 PM, Friday, May 22, 1998.

          Anne Petrie’s TalkTV, Canadian Broadcasting Corporation Newsworld, 6:15 to 6:50 PM,
              Monday, May 25, 1998.

          American Family, America’s Voice Channel, 9:07 to 9:30 AM, Thursday, June 11, 1998.

          About Books, Discussion of More Guns, Less Crime at the American Enterprise Institute,
              C-SPAN2, 9:00 PM to 10:30 PM, Saturday, June 20, 1998; 12:00 AM to 11:30 AM
              and 10:00 AM to 11:30 AM, Sunday, June 21, 1998.

          The Today Show, NBC, 7:40 to 7:45 AM, July 21, 1998. Replayed several times on
               MSNBC on July 21, 1998.

          Interview with Philipa Thomas, The World Today, British Broadcasting Corporation,
                August 12, 1998.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Interview with Fred Graham, Washington Watch, Court TV, Friday, August, 28, 1998,
                7:30 PM; Saturday, August, 29, 1998, 5:30 PM; and Sunday, August, 30, 1998, 5:30
                PM.

          Politics, Canadian Broadcasting Corporation Newsworld, Tuesday, September 22, 1998,
                5:10 to 5:20 PM.

          Newsworld Reports, Canadian Broadcasting Corporation Newsworld, Tuesday,
              September 22, 1998, 7:05 to 7:15 PM.

          National Magazine, Canadian Broadcasting Corporation, Tuesday, September 22, 1998,
               9:10 to 9:20 PM.

          The CBS Morning News, “Cities to go after gun makers to convince them to change
               manufacturing and distribution policies,” Friday, December 11, 1998, 7:00 AM.

          About Books, More Guns, Less Crime, C-SPAN2, 10:50 AM to 12:17 PM and 3:12 PM
              to 4:39 PM, Saturday, February 20, 1999; 7:00 AM to 8:27 AM, Sunday, February
              21, 1998.

          Armstrong Williams Show, America’s Voice Channel, 6:40 to 7:00 PM, Monday, March
              15, 1999.

          Howard Stern Radio Show, 8:10 to 8:35 AM, Tuesday, March 30, 1999.

          Michael Medved Radio Show, 5:07 to 5:45 PM, Wednesday, April 6, 1999.

          “Should We Have More Gun Control?” Debates/Debates, National Public Television,
               Week of April 21, 1999.

          Interview, Canadian Television News, 8:05 to 8:12 PM, Thursday, April 22, 1999.

          Rush Limbaugh Radio Show, 2:30 to 2:45 PM, Friday, April 23, 1999.

          Sunday Morning Live, Canadian Broadcasting Corporation, 10:00 to 10:10 AM, Sunday,
              April 24, 1999.

          Fox News Channel, 10:05 to 10:10 PM, Tuesday, April 27, 1999.

          MSNBC, 6:08 to 7:00 PM, Tuesday, April 27, 1999.

          CNN’s “Talkback Live,” 3:00 to 4:00 PM, Wednesday, April 28, 1999.

          Fox News Channel, 10:15 to 10:30 AM, Thursday, April 27, 1999.

          NBC National Evening News, Friday, April 30, 1999.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Special on Columbine School Shooting, selective segments, Fox News Channel, 11:00 to
               11:30 PM, Friday, April 30, 1999.

          MSNBC, 11:45 to 11:55 AM, Saturday, May 1, 1999.

          Fox News Channel, 12:35 to 12:45 PM, Monday, May 3, 1999.

          The Fox News Report, Fox News Channel, 7:35 to 7:45 PM, Monday, May 3, 1999.

          MSNBC, 11:45 to 11:55 AM, Sunday, May 9, 1999.

          CNN & Company, 11:30 AM to 12:00 PM, Thursday, May 20, 1999.

          Interview with Tony Snow, Fox News Channel, 10:20 to 10:30 AM, Friday, May 21,
                1999.

          Fox News Channel, 3:10 to 3:16 PM, Friday, May 21, 1999.

          Internight with John Gibson, MSNBC, 7:00 to 7:30 PM, Friday, May 21, 1999.

          Fox News Channel, 4:10 to 4:15 PM, Sunday, May 23, 1999.

          Hardball with Chris Matthews, CNBC, Wednesday, May 26, 1999, 8:00 PM.

          C-SPAN, Testimony Before House Judiciary Committee’s Subcommittee on Crime, 2:00
              PM, Thursday, May 27, 1999; 12:16 AM Friday, May 28, 1999; 2:00 PM Saturday,
              May 29, 1999.

          Fox News Channel, 9:50 to 9:55 AM, Tuesday, June 1, 1999.

          Fox News Channel, 1:40 to 1:45 PM, Wednesday, June 16, 1999.

          “Gun Control Debate: Good Legislation or Bad Legislation?” CNN Today, CNN, 1:29
              TO 1:38 PM, Friday, June 18, 1999.

          Hardball with Chris Matthews, CNBC, Tuesday, June 22, 1999, 8:00 PM.

          “Airlines and Government,” C-SPAN3, 11:30 AM to 1:30 PM, Monday, June 28, 1999;
                C-SPAN, 9:20pm to 11:19 PM, Monday, June 28, 1999; C-SPAN2, 1:20 to 3:20
                AM, Tuesday, June 29, 1999.

          “Gun Life,” A&E series on “Guns in America,” 9:00 to 10:00 PM, Monday, June 28,
              1999.

          The Hannity and Colmes Show, Fox News Channel, 9:20 to 9:40 PM, Wednesday,
               August 11, 1999.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Hardball with Chris Matthews, CNBC, Wednesday, August 18, 1999, 8:40 to 9:00 PM.

          “Buckley V. Valeo Revisited: Are Existing Campaign Contribution Limits Consistent
               with the First Amendment?” C-SPAN1, 2:30 to 3:40 PM, Friday, September 10,
               1999; C-SPAN1, 3:48 to 5:00 AM, Tuesday, September 14, 1999.

          “Gunmakers Coming Under Increasing Pressure From All Areas to Make Guns Safer,”
              National Public Radio, Thursday, December 9, 1999.

          “Watch It” with Laura Ingraham, MSNBC, 6:15 to 6:30 PM, Thursday, December 9,
              1999.

          “Guns, Crime, and Safety,” Conference at the American Enterprise Institute, C-SPAN1,
              3:30 PM to 5:40 PM, Friday, December 10, 1999; C-SPAN2, 8:00 AM to 10:40
              AM, Monday, December 13, 1999. Also carried on C-SPAN radio.

          “A Society of Violence,” segment on The NewsHour with Jim Lehrer, 6:32 to 6:50 PM,
               Thursday, December 16, 1999.

          “The spotlight is back on US gun laws,” Australian Broadcasting Corporation’s AM
               program, 8:20 to 8:25 AM AEDT, March 2, 2000.

          “The Diane Rehm Show,” National Public Radio, 11:00 to 11:50 AM, Thursday, May 11,
               2000.

          “The Michael Reagan Show,” 7:30 to 8:00 PM, Friday, May 12, 2000.
          “The News with Brian Williams,” MSNBC, 9:15 to 9:22 PM, Friday, May 12, 2000.

           “Armed Informed Mothers March” C-SPAN1, 4:00 to 6:00 PM, Sunday, May 14, 2000;
               C-SPAN1, 2:00 to 4:00 AM, Monday, May 15, 2000; C-SPAN2, and 10:09 PM to
               12:44 AM, Monday, May 15, 2000.

          Australian Broadcasting Corporation’s “Late Line,” 10:45 to 11:15 AEDT, Monday, May
               15, 2000.

           “Special Report with Brit Hume,” Fox News Channel, 6:18 to 6:23 PM, Monday, May
               15, 2000.

          Gun Buyback Programs,” Fox Report, Fox News Channel, 7:15 to 7:17 PM, Thursday,
              June 1, 2000.

          The Hannity and Colmes Show, Fox News Channel, 9:00 to 9:15 PM, Friday, June 3,
               2000.

          Think Tank with Ben Wattenberg, National Public Television, Week starting June 8,
               2000.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          About Books, Discussion of More Guns, Less Crime at the Cato Institute, C-SPAN2, 1:20
              PM to 3:10 PM, Sunday, July 10, 2000.

          Fox Report, Fox New Channel, 7:50 to 7:55 PM, Thursday, October 19, 2000.

          “The Election and Guns,” CNN NewsStand, CNN, 10:32 to 10:55 PM, Tuesday, October
               24, 2000 and 1:32 to 1:55 AM, Wednesday, October 25, 2000.

          Politically Incorrect, ABC, 12:05 to 12:35 PM, Monday, February 26, 2001.

          “Reaction to Bancroft Winner Arming America,” Columbia College Conservative Club,
               C-SPAN2, 9:45 to 11:05 PM, Sunday, April 29, 2001; C-SPAN2, 5:30 to 6:50 PM,
               Monday, April 30, 2001.

          Special Report with Brit Hume, Fox News Channel, 6:25 to 6:27 PM, Tuesday, May 1,
               2001.

          “Zero Tolerance Policy,” The News with John Gibson, Fox News Channel, 5:35 to 5:38
               PM, Tuesday, June19, 2001.
          “Shifting Gun Control Policy,” To the Point, Public Radio International, 2:30 to 2:50 PM,
               Thursday, August 9, 2001.

          “Should Guns be Allowed Near Schools?” interviewed by Rick Sanchez, MSNBC, 1:33
               to 1:38 PM, Monday, August 21, 2001.

          The Sean Hannity Radio Show, 3:35 to 3:50 PM, Friday, September 28, 2001.

          “Can Guns Stop Terrorists?” interviewed by Neil Cavuto, Fox News Channel, 4:43 to
               4:46 PM, Monday, October 1, 2001.

          “The Terrorist Threat,” MSNBC, Thursday, October 11, 2001, 4:32 to 5:00 PM.

          “Mischaracterization of History?” Fox News Channel, Wednesday, January 9, 2002, 7:50
               to 7:53 PM.

           “Study: Guns No Safer When Locked Up,” Special Report with Bret Hume, Fox News
               Channel, Friday, July 5, 2002, 6:35 to 6:38 PM and July 6, 2002, 12:35 to 12:38
               AM; also presented on Fox Fair & Balanced, Fox News Channel, 3:55 to 3:58 PM.

          "The Abrams Report," MSNBC, Monday, October 7, 2002, 6:25 to 6:28 PM.

          Fox News, Friday, October 11, 2000, 1:50 to 1:56 PM.

          “Ballistic Fingerprinting,” Connie Chung Tonight, CNN, Wednesday, October 16, 2002,
               8:33 to 8:40 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Laura Ingraham Radio Show, 8:41 to 8:57 PM, Wednesday, October 16, 2002.

           “Advocates of Gun Control Use Killing Spree to Take Aim at Gun Lobby,” The Big
               Story with John Gibson, Fox News Channel, Friday, October 18, 2002, 5:13 to 5:16
               PM; also replayed on The Fox Report with Shepard Smith and other segments that
               day.

          Dennis Praeger Radio Show, 12:05 to 12:55 PM, Tuesday, October 22, 2002.

          “Interview with John Lott,” Special Report with Bret Hume, Fox News Channel,
                Tuesday, October 22, 2002, 6:19 to 6:29 PM.

          CNNfn, Thursday, October 24, 2002, 11:50 to 11:59 AM.

          “Political Bias in Publishing,” Fox Report, Saturday, January 19, 2003, 8:24 to 8:26 PM.

          Buchanan & Press, MSNBC, Monday, May 26, 2003, 3:30 to 3:35 PM.

          Scarborough Country, MSNBC, Tuesday, June 17, 2003, 10:03 to 10:11 PM and
               Wednesday, June 18, 2003, 1:03 to 1:11 AM.

          Hardball with Chris Matthews, MSNBC, Monday, June 30, 2003, 7:30 to 7:38 PM and
               11:30 to 11:38 PM.

          News Conference, Armed Pilots Program, Airline Pilots Security Alliance, C-SPAN2,
              5:12 AM to 5:52 AM, 8:48 AM to 9:28 AM, 1:20 PM to 2:00 PM, 8:48 PM to 9:28
              PM, Wednesday, August 27, 2003 and 12:28 AM to 1:08 AM, Thursday, August
              28, 2003.

          “Are the Skies Safe?” Lou Dobbs Moneyline, CNN and CNNfn, Tuesday, September 2,
               2003, 6:27 to 6:30 PM.

          “Will Democrat candidates opt out of public funding?” NPR’s Marketplace, Friday,
               October 17, 2003.

          “A ‘Jobless’ Recovery?” CNBC, Friday, January 23, 2004, 5:35 to 5:41 PM.

           “Granny Get Your Gun,” Fox Report with Shepard Smith, Fox News, Monday, February
               2, 2004; also replayed on Sunday Best, Fox News Channel, February 8, 2004, 9:35
               to 9:37 PM.

          “Big Story: Getting A Bead On The New Gun Control Law,” CNNfn, Friday, February
               27, 2004, 11:05 to 11:25 AM.

          “The Lars Larson Show,” nationally syndicated radio show, Monday, March 1, 2004,
               7:45 to 7:58 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          “Voting Rights for Felons,” National Public Radio’s The Connection, Monday, April 4,
               2004, 10:00 to 11:00 AM.

          “Ohio’s New Concealed Handgun Law,” National Public Radio’s Day to Day, Friday,
               April 8, 2004, 9:20 to 9:25 AM.

          “Five years after Columbine,” Tony Snow’s Radio Show, Tuesday, April 20, 2004, 10:50
               to 10:55 AM.

          “Guns: Self Defense or Public Health Crisis,” Duquesne University Debate,
              Pennsylvania Cable Network TV, Tuesday, April 27, 2004, 10:30 AM to 12:10 PM;
              Wednesday, April 28, 2004, 9:00 AM to 10:40 AM.

          “The Bias Against Guns: Why Almost Everything You've Heard About Gun Control Is
               Wrong,” Book TV, C-SPAN2, Saturday, May 15, 2004, 1:00 to 2:39 PM; Sunday,
               May 16, 1:00 to 2:39 AM; and Monday, May 31, 3:15 to 5:00 AM; C-SPAN Radio,
               Sunday, May 16, 5:00 to 6:39 PM; C-SPAN2, Saturday, August 28, 10:30 AM to
               12:09 PM.

          The Michael Dresser Show, Friday, May 29, 2004, 9:05 to 9:30 PM.

          “Electronic Voting Machines and Fraud,” State Circle, Maryland Public Television,
               Friday, June 4, 2004.

          Geoff Metcalf, nationally syndicated radio show, Friday June 18, 2004, 8:30 to 9:00 PM.

          “Preventing Another Florida?: Will the Changes Make Things Better?” C-SPAN1,
               Monday, June 21, 2004, 10:15 AM to 12:15 PM and 1:00 to 2:00 PM; C-SPAN3,
               Tuesday, June 22, 2004, 6:52 to 8:57 PM; C-SPAN2, Tuesday, June 29, 2004, 2:28
               to 4:30 PM; C-SPAN3, Wednesday, June 30, 2004, 5:50 to 7:45 PM; C-SPAN3,
               Tuesday, August 17, 2004, 4:12 to 6:03 PM.

          Linda Chavez’s nationally syndicated radio show, Friday, July 2, 2004, 11:15 to 11:30
               AM.

          Alan Colmes’ nationally syndicated radio show, Friday, July 2, 2004, 10:15 to 10:30 PM.

          “Electronic Voting Machines in Florida,” Nightly Business Report, National Public
               Television, Thursday, July 22, 2004.

          “Assault Weapons Ban,” On the Point, National Public Radio, Friday, August 13, 2004,
               7:29 to 7:33 PM.

          “The Quiet Death of the Assault Gun Ban,” The Connection, National Public Radio,
               Friday, September 10, 2004, 10 to 11 AM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

           “Media Bias,” MSNBC with Lester Holt, Monday, September 10, 2004, 5:45 to 5:52
              PM.

           “Assault Weapons Ban,” KNX Radio, Monday, September 10, 2004, 6:30 to 6:38 PM.

          “Assault Weapons Ban,” Larry Elder’s Radio Talk Show, Monday, September 10, 2004,
               7:10 to 7:30 PM.

          “Media Bias” CNBC, Thursday, September 16, 2004, 5:45 to 5:50 PM.

          “Gun Bias and the Media,” C-SPAN3, Monday, September 27, 2004, 2:00 to 3:30 PM.

          “Are the Elections any more Secure than 2000?” Lou Dobbs Tonight, Thursday, October
               21, 2004, 6:30 to 6:37 PM and 11:30 to 11:37 PM and Friday, October 22, 2004,
               4:30 to 4:37 AM.

          “Judicial Confirmation Process,” C-SPAN3, Monday, February 14, 2005, 9:00 to 10:30
               AM; C-SPAN2, Monday, February 14, 2005, 9:55 to 11:25 PM; C-SPAN2,
               Tuesday, February 15, 2005, 1:30 to 3:00 AM; C-SPAN3, Tuesday, February 15,
               2005, 12:30 to 2:00 PM; C-SPAN3, Tuesday, February 15, 2005, 7:00 to 8:30 PM;
               and C-SPAN3, Wednesday, February 16, 2005, 7:00 to 8:30 PM.

          “Michael Reagan Radio Show,” Friday, February 18, 2005, 7:45 to 8:30 PM.

          Joe Scaraborough’s national syndicated radio show, Tuesday, March 1, 2005, 10:15 to
               10:40 AM.

          Linda Chavez’s nationally syndicated radio show, Thursday, March 3, 2005, 8:15 to 8:30
               AM.

          Laura Ingraham’s national syndicated radio show, Thursday, March 3, 2005, 9:35 to 9:48
               AM.

          Connected: Coast to Coast, MSNBC, Tuesday, March 22, 2005, 12:03 to 12:20 PM.

          To the Point, Public Radio International, Tuesday, March 22, 2005, 2:03 to 12:30 PM.

          Scarborough Country, MSNBC, Tuesday, March 22, 2005, 10:50 to 10:58 PM.

          Interview With John Lott, The Big Story with John Gibson, Fox News Channel,
                Thursday, April 21, 2005, 7:50 to 7:53 PM.

          “Affirmative Action Factor in Atlanta Shooting?”Fox Report with Shepard Smith, Fox
               News Channel, Tuesday, April 26, 2005, 5:44 to 5:54 PM.

          “Guns,” Penn & Teller: BULLSHIT!: Gun Control,” Showtime, June 27, 2005, 10:00 to
              10:30 PM and 11:00 to 11:30 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

           “The Truth of Statistics: Freakonomics,” Culture Time, German Television 3sat-
               Suchmaschine, July 14th.

          “Campaign Spending Limits,” C-SPAN 1, Wednesday, August 3, 2005, 2:05 to 4:05 PM
              and C-SPAN 1, Wednesday, August 3, 2005, 4:21 to 6:21 AM.

          “Price Gouging,” Dateline, Radio America, September 21, 2005, 6:10 to 6:20 PM.

          “Brazilian Referendum Gun Ban Won’t Make Country Safer, says American,” British
               Broadcasting Corporation, October 18, 2005.

          “Guns and Road Rage,” The Lars Larson Show, February 2, 2006, 7:05 to 7:25 PM.

          “Convenor say gun safety conference not forum for pro-gun lobby,” Radio New Zealand,
              February 22, 2006, 8:15 AM (New Zealand time).

          Tom Gresham’s Gun Talk, March 26, 2006, 2:05 to 3:00 PM (on more than 100 radio
              stations).

          Alan Colmes’ Radio Show, April 18, 2006, 11:05 to 11:30 PM.

          Mayor Bloomberg’s Summit on Guns, Regional News Network (Cable News Channel in
              New York, New Jersey, and Connecticut), April 26, 2006, 5:05 to 5:15 PM.

          Concealed Handgun Laws, G. Gordon Liddy Radio Show, Talk American Radio
              Network, Thursday, April 27, 2006, 11:30 AM to 12:00 PM.

          “Special Report with Brit Hume,” Fox News Channel, 6:15 to 6:18 PM, Monday, May
               20, 2006.

          Gunlocks, G. Gordon Liddy Radio Show, Talk American Radio Network, Thursday,
               April 27, 2006, 11:20 AM to 11:30 AM.

          Abortion and Crime, Janet Parshall’s America, Salem Radio Network, Tuesday,
               September 5, 2006, 3:30 to 4:00 PM.

          Abortion and Crime, Lars Larson, nationally syndicated radio show, Friday, September
               22, 2006, 6:35 to 6:49 PM.

          Multiple Victim Public Shootings, Dennis Prager, nationally syndicated radio show,
               Tuesday, October 3, 2006, 1:35 to 1:42 PM.

          Electronic Voting Fraud Claims, The Greg Knapp Experience, nationally syndicated radio
                show, October 24, 2006, 3:35 to 3:49 PM.




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                                                                      John R. Lott, Jr. Page 34

      SELECTED PUBLIC APPEARANCES (CONTINUED):

           “Should Felons have the Right to Vote?” National Public Radio’s Justice Talking, play at
               various times nationally during the week of October 23, 2006, debate lasted 35
               minutes.

          “Guns in the Workplace,” the Jerry Doyle Show, February 13, 2007, 5:35 to 6:00 PM.

          The Lars Larson Show, March 30, 2007, 7:35 to 8:00 PM.

          The G. Gordon Libby Radio Show, April 11, 2007, 12:05 PM to 1:00 PM.

          Virginia Tech Shooting, Larry Elder, nationally syndicated radio show, Monday, April
               16, 2007, 4:05 to 4:42 PM.

          Virginia Tech Shooting, Lars Larson, nationally syndicated radio show, Monday, April
               16, 2007, 6:05 to 6:30 PM.

          Virginia Tech Shooting, The Mark Levine Show, nationally syndicated radio show,
               Tuesday, April 17, 2007, 6:05 to 6:24 PM.

          Guns and Crime, Al-Jazeera main news broadcast, Tuesday, April 17, 2007, 5:20 to 5:24
               PM.

          Virginia Tech Shooting, The Alan Colmes Show, nationally syndicated radio show,
               Tuesday, April 17, 2007, 11:05 to 11:30 PM.

          Virginia Tech Shooting, Wisconsin Public Radio, statewide syndicated radio show,
               Wednesday, April 18, 2007, 8:05 to 8:30 AM.

          Virginia Tech Shooting, Laura Ingraham, nationally syndicated radio show, Wednesday,
               April 18, 2007, 10:40 to 10:55 AM.

          Virginia Tech Shooting, Dennis Miller, nationally syndicated radio show, Wednesday,
               April 18, 2007, 11:05 to 11:30 AM.

          Virginia Tech Shooting, Sean Hannity, nationally syndicated radio show, Wednesday,
               April 18, 2007, 5:05 to 5:17 PM.

          Virginia Tech Shooting, Larry Elder, nationally syndicated radio show, Wednesday, April
               18, 2007, 6:40 to 6:48 PM.

          Gun Control, The John Gibson Show, nationally syndicated radio show, Thursday, April
              19, 2007, 7:35 to 7:47 PM.

          Virginia Tech Shooting, The Jerry Doyle Show, nationally syndicated radio show, Friday,
               April 20, 2007, 3:05 to 3:25 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Gun Control, The Bill Bennett Show, nationally syndicated radio show, Monday, April
              23, 2007, 7:35 to 7:47 AM.

          Virginia Tech Shooting, Mancow in the Morning, nationally syndicated radio show,
               Wednesday, April 25, 2007, 7:07 to 7:15 AM.

          The Jerry Doyle Show, May 31, 2007, 4:05 to 4:30 PM.

          The G. Gordon Liddy Show, Tuesday, June 5, 2007, 11:35 AM to 12:30 PM.

          Michael Medved Show, Wednesday, June 6, 2007, 5:05 to 6:00 PM.

          The G. Gordon Liddy Show, Friday, June 9, 2007, 12:05 to 1:00 PM.

          The Source with Paul Anderson, Sunday, June 10, 2007, 9:06 to 10:00 PM.

          Mike McConnell Show, Monday, June 11, 2007, 10:06 to 10:30 AM.

          Radio Rusy Humphries Show, Tuesday, June 12, 2007, 9:36 to 10:00 PM.

          The Jerry Doyle Show, Wednesday, June 13, 2007, 4:35 to 5:00 PM.

          The Christian Broadcasting Network, Friday, June 15, 2007, 2 minutes.

          Dennis Miller, Monday, June 18, 2007, 11:15 to 11:45 AM.

          Lars Larson, nationally syndicated radio show, Monday, June 16, 2007, 6:20 to 6:50 PM.

          Thom Hartman, Air America, Monday, June 16, 2007, 1:06 to 1:30 PM.

          “New Union Rules,” Kudlow & Company, CNBC, Monday, June 21, 2007, 4:42 to 4:47
              PM.

          Michael Medved Show, Friday, June 29, 2007, 4:05 to 5:00 PM.

          The Dennis Prager Show, July 2, 2007, 2:35 to 3:00 PM.

          The Laura Ingraham Show, Monday, July 16, 2007, 11:23 to 11:30 AM.

          Book TV, Discussion of Freedomnomics: Why the Free Market Works and Other Half-
              Baked Theories Don't at the Heritage Foundation, C-SPAN2, 11:00 AM to Noon,
              Sunday, August 12, 2007; Midnight to 1 AM, Sunday, August 12, 2007; and 7:00 to
              8:00 PM, Saturday, August 18, 2007; and 5:00 PM to 6:0 PM, Monday, September
              3, 2007.

          Lars Larson, nationally syndicated radio show, Monday, August 13, 2007, 6:20 to 6:30
               PM.

          The Dennis Prager Show, August 13, 2007, 12:35 to 12:45 PM.

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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The G. Gordon Liddy Show, Tuesday, August 14, 2007, 10:05 to 10:45 AM.

          Washington Post Radio, Tuesday, August 14, 2007, 4:08 to 4:15 PM.

          The Glenn Beck Show, CNN Headline News, Wednesday, August 29, 2007, 7:07 to 7:11
               PM and 9:07 to 9:11 PM.

          The Glenn Beck Radio Show, Thursday, August 30, 2007, 10:35 to 10:53 AM.

          Lars Larson Radio Show, Tuesday, September 18, 2007, 6:20 to 6:30 AM.

          Freedomnomics: Why the Free Market Works and Other Half-Baked Theories Don't at
               the Eagle Forum, C-SPAN2, 46 minutes, Friday, September 12, 2007; 7:00 PM to
               7:46 PM, Sunday, November 25, 2007.

          The G. Gordon Liddy Show, Monday, September 24, 2007, 10:05 to 10:45 AM.

          Hugh Hewitt, Monday, October 9, 2007, 8:34 to 8:50 PM.

          The Glenn Beck Show, CNN Headline News, Tuesday, October 10, 2007, 7:21 to 7:25
               PM and 9:21 to 9:25 PM, Monday, October 11, 2007, 12:21 to 12:25 AM Saturday,
               October 13, 2007, 7:21 to 7:25 PM and 9:21 to 9:25 PM; and Sunday, October 14,
               2007, 12:21 to 12:25 AM.

          Should teachers carry guns in US School, World Have Your Say, BBC World Service
               radio, Tuesday, October 24, 2007, 1:50 to 2:00 PM.

          The G. Gordon Liddy Show, Monday, November 12, 2007, 11:05 to 11:30 AM.

          Lars Larson Radio Show, Monday, November 12, 2007, 6:35 to 6:50 PM.

          Interview on carrying concealed handguns on university campuses, CNN Radio News,
                Wednesday, November 22, 2007.

          Women Voting and the Growth of Government, C-SPAN 1, Thursday, November 29,
             2007, 10:40 to 11:00 AM.

          Women Voting and the Growth of Government, The Thom Hartmann Show, Air
             America, November 29, 2007, 12:05 to 12:15 PM.

          The G. Gordon Liddy Show, Friday, November 30, 2007, 12:15 to 1:00 PM.

          The Dennis Prager Show, Thursday, December 6, 2007, 12:15 to 12:30 PM.

          Andrew Wilkow, The Wilkow Majority, Sirius Satellite Radio Patriot 144, Thursday,
              December 6, 2007, 1:40 to 2:00 PM.




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                                                                   John R. Lott, Jr. Page 37
      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Lars Larson Radio Show, Thursday, December 6, 2007, 6:35 to 7:00 PM.

          Bill Cunningham Radio Show, Premiere Radio Network, Sunday, December 9, 2007.

          The Greg Knapp Experience, Thursday, December 20, 2007, 5:07 to 5:20 PM.

          Lars Larson Radio Show, Monday, January 14, 2008, 6:20 to 6:30 PM.

          The G. Gordon Liddy Show, Tuesday, January 15, 2008, 11:35 AM to Noon.

          Dennis Miller Show, Wednesday, February 13, 2008, 10:35 AM to 10:50 AM.

          The G. Gordon Liddy Show, Wednesday, February 13, 2008, 12:35 PM to 12:48 PM.

          Dennis Miller Show, Monday, March 10, 2008, 11:35 AM to 11:42 AM.

          Martha Zoller Show, Wednesday, March 12, 2008, 1:15 PM to 1:50 PM.

          Rusty Humphries Show, Wednesday, March 12, 2008, 9:48 PM to 10:00 PM.

          The G. Gordon Liddy Show, Monday, March 17, 2008, 10:06 AM to 10:30 AM.

          Lars Larson Radio Show, Monday, March 17, 2008, 6:15 PM to 6:30 PM.

          Mancow in the Morning, nationally syndicated radio show, Tuesday, March 18, 2008,
              7:45 to 8:00 AM.

          Brian and the Judge, Fox News Radio, Tuesday, March 18, 2008, 9:22 to 9:30 AM.

          The Michael Reagan Show, Tuesday, March 18, 2008, 7:20 to 7:30 PM.

          Debate with Paul Helmke, the president of the Brady Campaign, Bloomberg Television,
               Tuesday, March 18, 2008, 9:35 to 9:41 PM.

          Greg Garrison Show, Wednesday, March 19, 2008, 10:35 to 11:00 AM.

          The Glenn Beck Show, Wednesday, March 19, 2008, 11:06 to 11:20 AM.

          Discussion on the Economy, Dennis Miller Show, Wednesday, April 2, 2008, 10:35 AM
               to 10:42 AM.

          Discussion on the Economy, Fox & Friends, Fox News, Thursday, April 3, 2008, 6:22
               AM to 6:27 AM.

          “Charlton Heston and Guns,” Weekend Breakfast, BBC Radio 5 Live, Sunday, April 6,
               2008, 2:06 AM to 2:15 AM EDT.

          The G. Gordon Liddy Show, Tuesday, April 15, 2008, 12:22 PM to 1:00 PM.



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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The G. Gordon Liddy Show, Tuesday, April 29, 2008, 10:35 AM to 10:50 AM.

          Lars Larson Radio Show, Tuesday, April 29, 2008, 7:35 PM to 7:45 PM.

          The G. Gordon Liddy Show, Tuesday, May 13, 2008, 12:07 PM to 12:19 PM.

          Lars Larson Radio Show, Friday, May 30, 2008, 6:23 PM to 6:30 PM.

          The G. Gordon Liddy Show, Monday, June 16, 2008, 10:06 AM to 10:30 AM.

          “The Cost of the Iraq War,” Lars Larson Radio Show, Monday, June 16, 2008, 6:20 PM
               to 6:50 PM.

          Supreme Court Decision on Heller, Michael Gallagher Radio Show, June 26, 2008, 10:45
               AM to 10:55 AM.

          Supreme Court Decision on Heller, Tom Sullivan Radio Show, June 26, 2008, 2:05 PM to
               2:15 PM.

          Supreme Court Decision on Heller, Kresta in the Afternoon, June 26, 2008, 4:07 PM to
               4:20 PM.

          Supreme Court Decision on Heller, The Jason Lewis Radio Show, June 26, 2008, 5:30
               PM to PM.

          Supreme Court Decision on Heller, Jerry Johnson Live, June 26, 2008, 6:15 PM to 6:30
               PM.

          Supreme Court Decision on Heller, The Rusty Humphries Show, June 26, 2008, 9:15 PM
               to 9:30 PM.

          Debate with Brady Campaign President Paul Helmke over Supreme Court Decision on
               Heller, The Alan Colmes Show, June 26, 2008, 9:15 PM to 9:30 PM.

          The Steve Malzberg Radio Show, Monday, June 30, 2008, 4:35 PM to 4:50 PM.

          Discussion about profits in health care, The Mark Levin Show, July 10, 2008, 7:35 to
               7:43 PM.

          Discussion of Oil Company Profits, The Thom Hartmann Show, Air America, July 18,
               2008, 1:06 to 1:16 PM.

          Tom Gresham Radio Show, Sunday, July 27, 2008, 2:06 PM to 3:00 PM.

          Lars Larson Radio Show, Thursday, July 31, 2008, 6:23 PM to 6:46 PM.




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                                                                    John R. Lott, Jr. Page 39
      SELECTED PUBLIC APPEARANCES (CONTINUED):

           “Handguns on College Campuses,” a debate with Paul Helmke, president of the Brady
               Campaign, C-SPAN1, Friday, August 1, 2008, 1:10 to 2:15 PM; reboadcast on C-
               SPAN1, Friday, August 1, 2008, 9:02 to 10:07 PM.

          “The Second Amendment, post Heller decision,” C-SPAN2, Monday, August 4, 2008,
               4:10 to 5:06 PM; rebroadcast 1:06 to 1:58 AM, Tuesday, August 19, 2008, C-
               SPAN2; 1:43 to 2:35 PM, Thursday, August, 21, 2008, C-SPAN2.

          The Mark Levin Show, Thursday, August 28, 2008, 7:35 to 7:50 PM.

          Obama on Gun Control, The Steve Malzberg Radio Show, Monday, September 1, 2008,
              5:35 PM to 5:50 PM.

          “The Cost of the Iraq War,” Lars Larson Radio Show, Wednesday, September 17, 2008,
               6:24 PM to 6:50 PM.

          “The Bailout Bill,” Lars Larson Radio Show, Thursday, October 2, 2008, 7:07 PM to 7:20
               PM.

          The Michael Medved Show, Tuesday, October 14, 2008, 5:05 PM to 6:00 PM.

          The Michael Medved Show, Friday, October 24, 2008, 5:05 PM to 6:00 PM.

          Jason Lewis Show, Friday, October 31, 2008, 6:05 PM to 7:00 PM.

          “Minnesota Ripe for Election Fraud,” Lars Larson Radio Show, Monday, November 10,
              2008, 8:20 PM to 8:30 PM.

          “Minnesota Ripe for Election Fraud,” Glenn Beck Show, Tuesday, November 11, 2008,
              10:45 to 10:52 AM.

          Thom Hartmann's Show, Air America, Tuesday, November 11, 2008, 2:09 to 2:30 AM.

          “Minnesota Ripe for Election Fraud,” interviewed by Neil Cavuto, Fox News Network,
              Tuesday, November 11, 2008, 4:37 to 4:41 PM.

          “Minnesota Ripe for Election Fraud,” Steve Malzberg Show, Wednesday, November 12,
              2008, 4:47 to 5:00 PM.

          “Minnesota Ripe for Election Fraud,” Bill Bennett's Morning In America, Thursday,
              November 13, 2008, 8:05 to 8:15 AM.

          “Minnesota Ripe for Election Fraud,” Mike Gallagher Show, Thursday, November 13,
              2008, 9:47 to 9:55 AM.

          “Minnesota Ripe for Election Fraud,” Dennis Prager Show, Thursday, November 13,
              2008, 2:06 to 2:16 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          “Minnesota Ripe for Election Fraud,” Fox News Live with Jamie Colby, Fox News,
              Sunday, November 16, 2008, 11:41 to 11: 45 AM.

          Terrorist Attack in India, The Steve Malzberg Show, Wednesday, December 3, 2008,
               3:35 to 3: 45 PM.

          Terrorist Attack in India, The Greg Knapp Experience, nationally syndicated radio show,
               Friday, December 6, 2008, 4:35 to 4:43 PM.

          Terrorist Attack in India, Lars Larson, nationally syndicated radio show, Friday,
               December 6, 2008, 7:35 to 7:45 PM.

          The G. Gordon Liddy Show, Monday, December 15, 2008, 12:35 PM to 1:00 PM.

          The Auto Bailout, The Steve Malzberg Show, Wednesday, December 16, 2008, 4:35 to 4:
               45 PM.

          Tim Farley, The Morning Briefing, POTUS, XM Radio, December 18, 2008, 6:20 AM to
               6:30 AM.

          The G. Gordon Liddy Show, Monday, December 22, 2008, 12:35 PM to 1:00 PM.

          Minnesota Recount and Gun Control, Dennis Miller Show, Tuesday, December 23, 2008,
              11:35 AM to 11:47 AM.

          Minnesota Recount, the Jerry Doyle Show, Tuesday, December 23, 2008, 4:05 to 4:30
              PM.

          The G. Gordon Liddy Show, Tuesday, January 13, 2009, 12:22 PM to 12:30 PM.

          Lars Larson Radio Show, Thursday, January 28, 2009, 6:38 PM to 6:53 PM.

          Gun Control, Coast to Coast AM, Thursday, February 5, 2009, 1:17 to 2:00 AM.

          Gun Control and Gangs in Canada, The Roy Green Show, Corus Radio Network
              (National Canadian Network), Saturday, February 7, 2009, 3:35 to 4:00 PM.

          A. Gordon Liddy, Tuesday, February 10, 2009, 12:35 PM to 12:55 PM.

          The Dennis Miller Show, Thursday, February 12, 2009, 10 minutes.

          “The Cost of the Stimulus Bill,” Fox News, Monday, February 16, 2009, 11:10 to 11:12
               AM; and other times during the day.

          “Nationalizing Banks,” Glenn Beck Show, Fox News, Monday, February 16, 2009, 5:04
               to 5:11 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The G. Gordon Liddy Show, Wednesday, February 25, 2008, 11:35 to 11:45 AM.

          Mancow in the Morning, Friday, February 27, 2009, 7:55 to 8:03 AM.

          The Jason Lewis Show, Thursday, March 12, 2009, 8:05 to 9:00 PM.

          G. Gordon Liddy, Wednesday, April 1, 2009, 11:35 AM to 12:00 PM.

          Gun Control, Coast to Coast AM, Saturday, April 4, 2009, 1:03 to 1:08 AM.

          The Jason Lewis Show, Monday, April 13, 2009, 8:05 to 9:00 PM.

          Washington Journal, C-SPAN, Tuesday, April 14, 2009, 8:02 to 8:30 AM.

          Freedomnomics and Gun Control, Coast to Coast AM, Monday, May 4, 2009, 1:15 to
               4:00 AM.

          Health care debate, Street Signs, CNBC, Friday, May 8, 2009, 2:20 to 2:30 PM.

          The Jason Lewis Show, Wednesday, May 13, 2009, 8:05 to 9:00 PM.

          The Dennis Miller Show, Tuesday, May 19, 2009, 11:34 to 11:46 AM.

          Gun Control, Coast to Coast AM, Thursday, May 21, 2009, 1:10 to 1:55 AM.

          Lars Larson Radio Show, Friday, May 29, 2009, 6:21 PM to 6:30 PM.

          “Discussing the Obama Administration’s spending policy when it comes to issues such as
               health care, U.S. automakers, & the financial system,” Washington Journal, C-
               SPAN, Sunday, June 14, 2009, 7:30 to 8:30 AM.

          G. Gordon Liddy, Wednesday, June 25, 2009, 11:35 AM to 12:00 PM.

          Greg Garrison Show, Wednesday, July 1, 2009, 10:35 to 11:00 AM.

          Steve Malzberg Show, Wednesday, July 1, 2009, 5:35 to 6:00 PM.

          The Jason Lewis Show, Tuesday, July 14, 2009, 8:05 to 9:00 PM.

          The G. Gordon Liddy Show, Monday, July 20, 2009, 11:35 AM to 12:00 PM.

          Gun Control, Coast to Coast AM, Wednesday, July 22, 2009, 1:10 to 1:15 AM.

          The Thom Hartmann Show, Air America, Monday, August 3, 2009, 12:06 to 12:17 PM.

          The G. Gordon Liddy Show, Tuesday, August 4, 2009, 11:05 AM to 12:00 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The John Gibson Show, Tuesday, August 4, 2009, 1:10 to 1:20 PM.

          Cash for Clunkers and Health care, FOX Business, Thursday, August 6, 2009, 7:05 to
               7:12 PM.

          The Jason Lewis Show, Friday, August 14, 2009, 8:05 to 9:00 PM.

          Greg Garrison Show, Thursday, August 20, 2009, 10:35 to 11:00 AM.

          Discussion of Health Care Debate, The Thom Hartmann Show, Air America, Thursday,
               August 20, 2008, 12:06 to 12:16 PM.

          The Thom Hartmann Show, Air America, Tuesday, September 1, 2009, 1:15 to 1:30 PM.

          Greg Garrison Show, Monday, September 7, 2009, 10:05 to 11:00 AM.

          The G. Gordon Liddy Show, Monday, September 7, 2009, 11:05 AM to 12:00 PM.

          The Jason Lewis Show, Monday, September 7, 2009, 8:05 to 9:00 PM.

          The G. Gordon Liddy Show, Thursday, September 17, 2009, 11:05 AM to 12:00 PM.

          Lars Larson Radio Show, Thursday, September 17, 2009, 6:35 PM to 6:45 PM.

          The Thom Hartmann Show, Air America, Monday, September 21, 2009, 1:05 to 1:15 PM.

          The Dennis Miller Show, Wednesday, September 23, 2009, 11:08 to 11:18 AM.

          Mancow & Cassidy, WLS, September 30, 2009, 11:33 to 11:43 AM.

          The Jason Lewis Show, Monday, October 5, 2009, 8:05 to 9:00 PM.

          The Thom Hartmann Show, Air America, Tuesday, October 20, 2009, 12:05 to 12:15 PM.

          The Thom Hartmann Show, Air America, Monday, October 27, 2009, 12:05 to 12:15 PM.

          The Thom Hartmann Show, Air America, Monday, November 9, 2009, 2:05 to 2:15 PM.

          Gun Control, Coast to Coast AM, Wednesday, November 18, 2009, 1:10 to 1:15 AM.

          "White House Aims to Cut Deficit With TARP Cash," FOX Business, Friday, November
              13, 2009, 7:02 to 7:15 PM.

          The G. Gordon Liddy Show, Tuesday, November 24, 2009, 12:15 to 1:00 PM.

          Climate-gate, The Ryan Doyle Show, simulcast in Montreal and Toronto, Friday,
               November 27, 2009, 8:05 to 8:22 PM.



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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The Jason Lewis Show, Wednesday, December 2, 2009, 8:05 to 9:00 PM.

          The Steve Malzberg Show, Wednesday, December 16, 2009, 4:34 to 4:49 PM.

          The Mark Levine Show, nationally syndicated radio show, Wednesday, December 16,
               2009, 8:35 to 8:45 PM.

          The Thom Hartmann Show, Tuesday, January 12, 2010, 1:05 to 1:15 PM.

          The Jason Lewis Show, Tuesday, January 19, 2010, 8:05 to 9:00 PM.

          The Thom Hartmann Show, Wednesday, January 27, 2010, 2:05 to 2:15 PM.

          Lars Larson Radio Show, Tuesday, March 2, 2010, 8:20 PM to 8:30 PM.

          Supreme Court Gun Control, Coast to Coast AM, Tuesday, March 2, 2010, 1:10 to 1:55
               AM.

          Supreme Court Gun Control, Freedom Watch, Judge Napolitano, Tuesday, March 2,
               2010, 1:15 to 1:30 PM.

          Supreme Court Gun Control, Lou Dobbs Radio Show, Tuesday, March 2, 2010, 4:20 to
               4:30 PM.

          Supreme Court Gun Control, Lars Larson Radio Show, Tuesday, March 2, 2010, 8:20 to
               8:30 PM.

          Supreme Court Gun Control, Jason Lewis Radio Show, Tuesday, March 2, 2010, 8:30 to
               9:00 PM.

          Supreme Court Gun Control, Ave Maria Radio Show, Wednesday, March 3, 2010, 7:30
               to 8:00 PM.

          Knowing Barack Obama at Chicago, Mark Levin Radio Show, Wednesday, March 3,
              2010, 7:30 to 8:00 PM.

          Steve Malzberg Show, Monday, April 5, 2010, 5:20 to 5:30 PM.

          Gun Control, Coast to Coast AM, Friday, April 9, 2010, 1:03 to 1:08 AM.

          The Lars Larson Radio Show, Friday, April 16, 2010, 7:35 PM to 7:46 PM.

          The Jason Lewis Show, Friday, April 16, 2010, 8:05 to 9:00 PM.

          The Thom Hartmann Show, Wednesday, April 28, 2010, 12:05 to 12:15 PM.

          The Jim Bohannon Show, Thursday, April 29, 2010, 10:05 to 11:00 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The Jason Lewis Show, Thursday, May 13, 2010, 8:05 to 9:00 PM.

          The Lars Larson Show, Monday, May 24, 2010, 7:35 to 7:45 PM.

          The Steve Malzberg Show, Tuesday, May 25, 2010, 4:35 to 5:00 PM.

          The Jim Bohannon Show, Tuesday, May 25, 2010, 11:05 PM to 11:58 PM.

          Coast to Coast AM, Wednesday, May 26, 2010, 1:10 to 1:15 AM.

          The Greg Garrison Radio Show, May 26, 2010, 10:05 to 10:30 AM.

          The Lou Dobbs Radio Show, Wednesday, May 26, 2010, 2:35 to 2:55 PM.

          The Ed Morrissey Hot Air Radio, Wednesday, May 26, 2010, 4:05 to 4:30 PM.

          The Dennis Miller Show, Friday, May 28, 2010, 11:35 to 11:57 AM.

          The G. Gordon Liddy Show, Wednesday, June 2, 2010, 12:05 AM to 1:00 PM.

          The Michael Savage Show, Thursday, June 3, 2010, during third hour.

          The Jason Lewis Show, Monday, June 21, 2010, 8:05 to 9:00 PM.

          The Steve Malzberg Show, Monday, June 28, 2010, 4:22 to 4:30 PM.

          American Family Radio, Monday, June 28, 2010, 6:15 to 6:30 PM.

          The Alan Colmes Show, Monday, June 28, 2010, 11:06 to PM.

          Coast to Coast AM, Tuesday, June 29, 2010, 1:10 to 2:00 AM.

          The Mancow Show, Tuesday, June 29, 2010, 7:05 to 7: AM.

          The John McCaslin Show, Tuesday, June 29, 2010, 8:15 to 8:30 AM.

          The Michael Savage Show, Tuesday, June 29, 2010, during third hour.

          Discussing Supreme Court Ruling on Gun Rights, Washington Journal, C-SPAN,
               Wednesday, June 30, 2010, 9:15 to 10:10 AM.

          Kagan’s Confirmation Hearing, CBS’s Unplugged, Wednesday, June 30, 2010, 1:15 to
              1:50 PM.

          The Jason Lewis Show, Monday, July 5, 2010, 8:05 to 9:00 PM.

          Fox News’ “Strategy Room,” Tuesday, September 7, 2010, 9:30 to 9:42 AM.



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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The Lou Dobbs Radio Show, Tuesday, September 7, 2010, 3:35 to 3:45 PM.

          Coast to Coast AM, Wednesday, September 8, 2010, 1:10 to 3:00 AM.

          Fox News’ “Strategy Room,” Thursday, September 23, 2010, 10:30 to 10:40 AM.

          The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
               Friday, October 22, 2010.

          The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
               Monday, November 1, 2010, 8:05 to 8:09 PM.

          The Jason Lewis Show, Friday, November 5, 2010, 8:05 to 9:00 PM.

          The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
               Wednesday, December 8, 2010, 7:32 to 7:42 PM.

          The Jason Lewis Show, Monday, December 13, 2010, 8:05 to 9:00 PM.

          The Lars Larson Show, Tuesday, December 14, 2010, 6:35 to 6:45 PM.

          The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
               Wednesday, December 22, 2010, 7:32 to 7:42 PM.

          The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
               Wednesday, December 29, 2010, 7:32 to 7:42 PM.

          “Should the debt limit be raised?” Fox News Live with Kimberly Guilfoyle, Fox News,
               Friday, January 7, 2011, 1:40 to 11: 47 PM.

          Discussion of Representative Gabrielle Giffords’ shooting, Fox News, Sunday, January 9,
               2011, 5:23 to 5:29 PM.

          Armed American Radio, Sunday, January 9, 2011, 8:30 to 9:00 PM.

          Arizona Shooting, Coast to Coast AM, Tuesday, January 11, 2011, 1:10 to 2:00 AM.

          The Jason Lewis Show, Tuesday, January 11, 2011, 8:05 to 9:00 PM.

          Gun Control Legislation after the Arizona Shooting, Bloomberg TV, Wednesday, January
              12, 2011, 5:00 to 5:30 PM.

          State and Federal Gun Laws, Washington Journal, C-SPAN, Thursday, January 22, 2011,
                7:51 to 8:36 AM; replayed C-SPAN, Thursday, January 13, 2011, 12:17 to 1:00 PM.

          The Jim Bohannon Show, Thursday, January 13, 2011, 10:05 to 11:00 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Fred Thompson Radio Show, Friday, January 14, 2011, 12:34 to 12:45 PM.

          Rusty Humphries Radio Show, Tuesday, January 18, 2011, 4:35 to 4:45 PM.

          Dennis Miller Radio Show, Wednesday, January 19, 2011, 11:07 to 11:39 PM.

          The G. Gordon Liddy Show, Friday, January 21, 2009, 10:35 to 11:00 AM.

          The Thom Hartmann Show, Thursday, February 3, 2011, 12:05 to 12:15 PM.

          The Steve Malzberg Show, Thursday, February 3, 2011, 4:05 to 4:15 PM.

          “Why Obama Can't Do the Math On Jobs?” Fox News Live, Tuesday, February 8, 2011,
              11:23 to 11:30 AM.

          “University of Guns,” Fox Business, Thursday, February 24, 2011, 8:42 to 8:47 PM.

          “Is our government seeing double?” Fox News Live, Wednesday, March 2, 2011, 12:24
                to 12:40 PM.

          “The Truth About Obama and Budget Cuts,” Fox News Live, Wednesday, March 9,
               2011, 12:50 to 12:57 PM.

          The Jason Lewis Show, Friday, March 25, 2011, 8:05 to 9:00 PM.

          S&P Warning on Downgrading US Debt, Fox News Live, Thursday, April 15, 2011,
              10:30 to 10:45 AM.

          Budget Deficit Debate, Fox News Live, Thursday, April 21, 2011, 9:35 to 9:45 AM.

          Gun Ownership, Coast to Coast AM, Tuesday, May 3, 2011, 1:10 to 3:00 AM.

          “Texas State Senate passes Concealed Carry on Campus,” Coast to Coast AM, Tuesday,
               May 10, 2011, 1:08 to 1:10 AM.

          “Gun Control,” Freedom Watch with Judge Andrew Napolitano, Fox Business Channel,
              Friday, May 20, 2011, 8:40 to 8:45 PM.

          The Jason Lewis Show, Wednesday, June 8, 2011, 8:05 to 9:00 PM.

          Coast-to-Coast AM, Thursday, June 16, 2011, 1:15 to 2 AM.

          “Winnipeg carried a handgun for protection,” The Caldwell Account, Sun News Network,
              June 28, 2011.

          “Gun Myths,” The Source with Ezra Levant, Sun News Network, July 5, 2011.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Discussion of Operation Fast and Furious, Fox News Live, Friday, July 8, 2011, 11:35 to
               11:45 AM.

          “Myths about Debt Ceiling ‘Disaster’,” Fox News Live, Monday, July 18, 2011, 10:30 to
              10:41 AM.

          Discussion of the Norway Bombing and Shooting, Al Jazeera Television, Saturday, July
               23, 2011, 2:30 to 2:45 AM.

          “Gang of Six Not Ready for Prime Time?” Fox News Live, Monday, July 25, 2011, 10:30
              to 10:41 AM.

          “Winners & Losers from the Debt Limit Deal,” Fox News Live, Wednesday, August 3,
              2011, 10:16 to 10:23 AM.

          Lars Larson, Wednesday, August 3, 2011, 7:35 to 7:55 PM.z

          “Guns on College Campuses,” a debate between myself and the Brady Campaign’s Colin
              Goddard took about 50 minutes of this conference, C-SPAN3, Monday, August 8,
              noon to 3:30 PM; replayed C-SPAN3, Tuesday, August 9, 2011, 6:44 to 10:03 AM;
              C-SPAN2, Tuesday, August 9, 2011, 9:57 to 11:07 AM; C-SPAN2, Wednesday,
              August 10, 2011, 3:45 to 5:43 PM.

          Lars Larson, Monday, September 19, 2011, 6:35 to 6:45 PM.

          The Jason Lewis Show, Monday, October 24, 2011, 7:05 to 8:00 PM.

          The Jason Lewis Show, Friday, November 11, 2011, 8:05 to 9:00 PM.

          Coast-to-Coast AM, Thursday, November 17, 2011, 1:07 to 1:10 AM.

          Lars Larson, Friday, December 3, 2011, 8:20 to 8:30 PM.

          The Jason Lewis Show, Friday, December 16, 2011, 8:05 to 9:00 PM.

          Discussing the January Unemployment Report, The Mark Levine Show, Friday, February
               3, 2012, 7:20 to 7:45 PM.

          Jason Lewis Show, Friday, February 10, 2012, 8:05 to 9:00 PM.

          Larry Elder Show, Tuesday, March 6, 2012, 8:35 to 8:45 PM.

          Crime after DC and Chicago Supreme Court Decisions, Fox News, Thursday, March 8,
              2012, 12:10 to 12:12 PM.

          Jason Lewis Show, Friday, March 11, 2012, 8:05 to 9:00 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The Kudlow Report, CNBC, Tuesday, March 13, 2012, 8:50 to 8:54 PM.

          The Dennis Miller Show, Wednesday, March 14, 2012, 12:07 to 1:00 PM.

          The G. Gordon Liddy Show, Thursday, March 15, 2012, 12:05 to 12:30 PM.

          Michael Medved Radio Show, Monday, March 19, 2012, 5:07 to 5:55 PM.

          Jason Lewis Show, Thursday, March 22, 2012, 8:05 to 9:00 PM.

          The Drive Home with Steve Ray and Rachel Crowson, Tuesday, March 27, 2012, 8:15 to
               8:25 PM.

          The Phil Valentine Show, Thursday, March 29, 2012, 4:35 to 4:50 PM.

          The Rusty Humphries Show, Friday, March 30, 2012, 6:10 to 6:20 PM.

          Discussing “Debacle: Obama's War on Jobs and Growth and What We Can Do Now to
               Regain Our Future,” Washington Journal, C-SPAN 2 Book TV, Saturday, March
               31, 2012, 2:00 to 3:04 PM; Sunday, April 15th at 12:15 AM and at 10:45 AM.

          Dateline Washington, Greg Comoros, national radio show, Wednesday, April 4, 2012,
               3:05 to 3:15 PM.

          The Dennis Miller Show, Friday, April 6, 2012, 11:35 to 11:45 AM.

          America’s Morning News with John McCaslin, Monday, April 9, 2012, 7:30 to 7:40 AM.

          Fox News Live, Monday, April 9, 2012, 10:40 to 10:45 AM.

          American Now with Andy Dean, Tuesday, April 10, 2012, 8:35 to 8:55 PM.

          Point of View with Kerby Anderson, Wednesday, April 11, 2012, 2:05 to 3:00 PM.

          Dateline Washington, Thursday, Wednesday, April 12, 2012, 2:05 to 2:20 PM.

          The Jason Lewis Show, Friday, April 20, 2012, 7:05 to 8:00 PM.

          Debate on Stand Your Ground Laws, The Sean Hannity Show, Monday, April 23, 2012,
               5:07 to 5:20 PM.

          Clothing being made for concealed handgun permit holders, BBC Radio Scotland,
               Wednesday, April 25, 2012, 12:45 to 12:55 PM.

          Discussion on Stand Your Ground Laws, The Phil Valentine Show, Friday, April 27,
               2012, 3:35 to 3:50 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Debate on Stand Your Ground Laws, The Daily Rundown, MSNBC, Tuesday, May 1,
               2012, 9:35 to 9:45 AM.

          The Jason Lewis Show, Wednesday, May 23, 2012, 8:20 to 9 PM.

          Coast-to-Coast AM, Tuesday, June 19, 2012, 1:10 to 1:12 AM.

          The Jason Lewis Show, Wednesday, June 27, 2012, 7:35 to 7:50 PM.

          The Lars Larson Show, Friday, July 6, 2012, 6:20 to 6:30 PM.

          The Jason Lewis Show, Friday, July 6, 2012, 8:05 to 9:00 PM.

          UN Arms Trade Treaty, Coast-to-Coast AM, Thursday, July 12, 2012, 1:15 AM to 2:00
              AM.

          UN Arms Trade Treaty, The Sean Hannity Show, Thursday, July 12, 2012, 5:05 to 5:20
              PM.

          Colorado Shooting, BBC World Radio Service, Friday, July 20, 2012, 12:15 to 12:50 PM.

          Colorado Shooting, Rusty Humphries Show, July 20, 2012, 3:07 to 3:20 PM.

          Colorado Shooting, BBC World Television News, Saturday, July 21, 2012, 8:10 to 8:15
               PM.

          Mark Levin Radio Show, Monday, July 23, 2012, 6:35 to 6:49 PM.

          Bret Baier’s Special Report, Fox News, Monday, July 23, 2012.

          Piers Morgan Tonight, CNN, Monday, July 23, 2012, 9:30 to 9:46 PM.

          Mike Huckabee Radio Show, Tuesday, July 24, 2012, 12:35 to 12:45 PM.

          Sean Hannity Radio Show, Tuesday, July 24, 2012, 5:05 to 5:21 PM.

          Dennis Miller Radio Show, Wednesday, July 25, 2012, 11:05 to noon.

          “More or Less,” BBC Radio 4, Wednesday, July 25, 2012.

          Laura Ingraham Show, Friday, July 27, 2012, 10:35 to 10:42 AM.

          Mike Huckabee Radio Show, Friday, July 27, 2012, 2:35 to 2:45 PM.

          Lou Dobbs Tonight, Fox Business, Friday, July 27, 2012, 7:07 to 7:15 PM.

          USA Radio Network, Thursday, August 2, 2012, 1:15 to 1:40 PM.



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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Sean Hannity Radio Show, Thursday, August 2, 2012, 5:36 to 5:52 PM.

          Outfront with Erin Burnett, CNN, Monday, August 6, 2012, 7:51 to 7:57 PM.

          Jason Lewis Radio Show, Monday, August 6, 2012, 8:05 to 9:00 PM.

          Coast to Coast AM, Tuesday, August 7, 2012, 1:05 to 1:08 AM.

          Wall Street Shuffle, Tuesday, August 22, 2012, 6:35 to 6:45 PM.

          Jason Lewis Radio Show, Tuesday, August 22, 2012, 8:05 to 9:00 PM.

          Coast to Coast AM, Tuesday, September 4, 2012, 1:09 to 1:13 AM.

          Hugh Hewitt Radio Show, Friday, September 8, 2012, 7:05 to 7:12 PM.

          Coast to Coast AM, Saturday, December 1, 2012, 1:05 to 1:08 AM.

          Mark Levin Radio Show, Monday, December 3, 2012, 6:05 to 6:14 PM.

          Jason Lewis Radio Show, Wednesday, December 12, 2012, 8:05 to 9:00 PM.

          Mark Levin Radio Show, Friday, December 14, 2012, 7:35 to 7:55 PM.

          Piers Morgan Tonight, CNN, Friday, December 14, 2012, 9:30 to 9:46 PM.

          Coast to Coast AM, Saturday, December 15, 2012, 1:12 to 2:00 AM.

          CTV (Canadian Television), Saturday, December 15, 2012, 7:15 to 7:19 PM.

          State of the Union, CNN, Sunday, December 16, 2012, 10:07 to 10:12 AM.

          BBC World Service Radio, Sunday, December 16, 2012, 3:35 to 3:40 PM.

          BBC Newsday, BBC, Sunday, December 16, 2012, 9:00 to 9:05 PM.

          Starting Point with Soledad O’Brien, CNN, Monday, December 17, 2012, 7:33 to 7:43
                AM.

          “Sandy Hook Massacre Changes Gun Control Conversations,” Talk of the Nation, NPR,
               Monday, December 17, 2012, 1:03 to 1:12 PM.

          “Would more guns make America safer?” Washington Post, Monday, December 17, 2012.

          Dennis Prager Show, Monday, December 17, 2012, 1:05 to 1:30 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Heated Gun Debate Begins, CNN International, Monday, December 17, 2012, 3:07 to
               3:17 PM.

          BBC Newsnight, television, BBC, Monday, December 17, 2012, 5:30 to 5:35 PM.

          Coast to Coast AM, Tuesday, December 18, 2012, 1:05 to 1:08 AM.

          Mark Levin Radio Show, Tuesday, December 18, 2012, 6:35 to 6:55 PM.

          “Kudlow Report,” CNBC, Wednesday, December 19, 2012, 7:00 to 7:05 PM.

          “Chat: Chat: Gun control, nation after Newtown,” Video conference call, USA Today,
               Wednesday, December 19, 2012, 2:00 to 2:45 PM.

          "Examining the Efficacy and Limitations of Gun Control Laws to Stop Violence," PBS
              Newshour, Wednesday, December 19, 2012, 7:12 to 7:20 PM.

          Piers Morgan Tonight, CNN, Wednesday, December 19, 2012, various points from 9:20 to
                9:50 PM.

          World Have Your Say, BBC World Service, Friday, December 21, 2012, 1:50 to 1:58 PM.

          Megan Kelly, Fox News, Friday, December 21, 2012, 2:10 to 2:20 PM.

          America’s Gun Debate, CBC, Friday, December 21, 2012, 5:12 to 5:18 PM.

          Today Show, NBC, Saturday, December 22, 2012, 7:03 to 7:07 AM.

          "Control de armas," Noticiero, Telemundo, Sunday, December 23, 2012, 12:05 to 12:10
               PM.

          Coast to Coast AM, Wednesday, December 26, 2012, 1:05 to 1:08 AM.

          Gun Control, The Bill Bennett Show, nationally syndicated radio show, Thursday,
              December 27, 2012, 7:05 to 7:12 AM.

          Byline, Sun News, Monday, December 31, 2012, 11:35 to 11:45 AM.

          Coast to Coast AM, Friday, January 4, 2013, 1:05 to 1:08 AM.

          Gun Control, The Bill Bennett Show, nationally syndicated radio show, Thursday,
              December 27, 2012, 8:05 to 8:15 AM.

          Kilmeade & Friends, nationally syndicated radio show, Friday, January 11, 2013, 9:20 to
              9:30 AM.

          Laura Ingraham, Friday, January 11, 2013, 9:35 to 9:45 AM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Geraldo Rivera, Friday, January 11, 2013, 10:12 to 10:20 AM.

          CNN, Saturday, January 12, 2013, 8:10 to 8:18 AM.

          CBS Radio, January 14, 2013, five minutes taped.

          Dennis Prager Show, Wednesday, January 16, 2013, 1:05 to 2:00 PM.

          Washington Journal, C-SPAN, Saturday, January 19, 2013, 8:30 to 9:15 AM.

          Fox News, Saturday, January 19, 2013, 4:30 to 4:40 PM.

          Coast to Coast AM, Friday, January 25, 2013, 1:05 to 1:08 AM.

          Geraldo Rivera, Thursday, January 31, 2013, 10:08 to 10:30 AM.

          Sean Hannity Radio Show, Friday, February 1, 2013, 5:07 to 5:20 PM.

          WSJ Live, Monday, February 11, 2013, 1:25 to 1:29 PM.

          WSJ Live, “Gun Control: Smart or Illegal,” Monday, February 11, 2013, 3:57 to 4:01
              PM.

          The Dennis Miller Show, April 2, 2013, 12:05 to 12:30 PM.

          Steve Malzberg’s Show on News Max, April 2, 2013, 3:35 to 3:45 PM.

          Geraldo Rivera Radio Show, April 4, 2013, 10:35 to 10:47 AM.

          The Dennis Miller Show, April 10, 2013, 11:05 to 11:30 AM.

          Mark Levin Show, Wednesday, April 10, 2013, 6:35 to 6:47 PM.

          Geraldo Rivera Radio Show, April 11, 2013, 11:35 to 11:45 AM.

          Senate Debate over Gun Control, Fox News Live, April 11, 2013, 12:10 to 12:17 PM.

          The Scott Hennen Show, April 11, 2013, 1:35 to 1:50 PM.

          Mike Huckabee’s Radio Show, Thursday, April 11, 2013, 2:35 to 2:47 PM.

          Jason Lewis Show, Thursday, April 11, 2013, 8:05 to 9:00 PM.

          BBC World TV, Thursday, April 11, 2013, 10:05 to 10:10 PM.

          The Rusty Humphries Show, Friday, April 12, 2013, 5:35 to 5:45 PM.




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      SELECTED NATIONAL PUBLIC APPEARANCES (CONTINUED):

          Bill Cunningham’s “The Great Show,” Sunday, April 14, 2013, 10:35 to 11:00 PM.

          “Am Agenda,” Sun News Network, Thursday, April 18, 2013, 9:20 to 9:28 AM.

          Senate Vote on Gun Control, Fox News Live, Thursday, April 18, 2013, 12:20 to 12:28
               PM.

          NY1's The Call Tonight: Senate votes against expanding background checks, Thursday,
              April 18, 2013, 9:15 to 9:20 PM.

          Jim Bohannon Show, Thursday, April 18, 2013, 10:35 to 11:00 PM.

          Coast to Coast AM, Wednesday, May 8, 2013, 1:15 to 2:00 AM.

          Lars Larson Show, Tuesday, June 11, 2013, 7:10 to 8:00 PM.

          Substitute host for Jason Lewis Show, Thursday, June 13, 2013, 6:05 to 9:00 PM.

          Substitute host for Jason Lewis Show, Friday, June 14, 2013, 6:05 to 9:00 PM.

          Mike Huckabee’s Radio Show, Tuesday, July 15, 2013, 12:35 to 12:47 PM.

          Wilkow!, The Blaze TV, Friday, July 19, 2013, 4:50 to 4:57 PM.

          Stand Your Ground Laws, C-SPAN Washington Journal, Saturday, July 20, 2013, 7:45 to
               9:15 AM.

          Steve Malzberg Show, News Max Radio, Tuesday, July 23, 2013, 3:45 to 3:55 PM.

          Coast to Coast AM, Wednesday, July 25, 2013, 1:07 to 1:10 AM.

          Steve Malzberg Show, News Max Radio, Wednesday, July 31, 2013, 5:32 to 5:45 PM.

          Dana Loesch Show, Thursday, August 1, 2013, 1:35 to 1:45 PM.

          “Opinion: Cory Booker: Reality v. Rhetoric,” WSJ Live, Thursday, August 15, 2013,
               1:10 to 1:15 PM.

          Byline, Sun News, Monday, August 29, 2013, 9:06 to 9:11 PM.

          Sandy Rios, American Family Radio, September 3, 2013, 8:45 to 8:55 AM.

          Steve Malzberg Show, News Max Radio, Tuesday, September 3, 2013, 5:32 to 5:45 PM.

          Coast to Coast AM, Friday, September 13, 2013, 1:07 to 1:10 AM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Shooting in Washington, DC, Sky News UK, Monday, September 16, 2013, 1:14 to 1:19
               PM.

          Shooting in Washington, DC, Sean Hannity Radio Show, Monday, September 16, 2013,
               5:32 to 5:50 PM.

          Shooting in Washington, DC, Piers Morgan Tonight, CNN, Monday, September 16,
               2013, 9:25 to 9:41 PM.

          Sandy Rios, American Family Radio, Tuesday, September 17, 2013, 8:20 to 8:45 AM.

          Dennis Miller Radio Show, Wednesday, September 18, 2013, 11:15 to 11:45 AM.

          Steve Malzberg Show, News Max Radio, Thursday, September 19, 2013, 4:20 to 4:30
               PM.

          Lou Dobbs, Fox Business, Thursday, September 19, 2013, 7:35 to 7:40 PM.

          Lars Larson Radio Show, Thursday, September 19, 2013, 8:08 to 8:30 PM.

          Bill Martinez Live!, Friday, September 20, 2013, 9:16 to 9:50 AM.

          Fox News, Friday, September 20, 2013, 1:40 to 1:45 PM.

          Dana Loesch Show, Friday, September 20, 2013, 2:35 to 2:50 PM.

          The Source, Sun New, Friday, September 20, 2013, 5 PM hour, 7 minutes.

          The Alan Colmes Radio Show, Friday, September 20, 2013, 7:06 to 7:30 PM.

          Jason Lewis Radio Show, Friday, September 20, 2013, 8:05 to 9:00 PM.

          Fox & Friends, Saturday, September 21, 2013, 6:45 to 6:49 AM.

          “Dumbing Down the Courts,” Federalist Society Teleforum, Wednesday, September 25,
              2013, 12:00 to 1:00 PM.

          “Obama’s call for continued gun control,” Voice of Russia, Moscow, Wednesday,
              September 25, 2013, 1:05 to 1:10 PM.

          Sun New, Wednesday, September 25, 2013, 3:17 to 3:23 PM.

          Glenn Beck, The Blaze TV, October 1, 2013, 3:20 to 3:25 PM.

          “Is the push for gun control over?” Fox News Live, Wednesday, October 2, 2013, 12:33
                to 12:40 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          “Book Discussion on ‘Dumbing Down the Courts,’” C-SPAN2, Saturday, October 20,
              2013, 11:00 PM to 12:06 AM; C-SPAN2, Sunday, October 21, 2013, 3:45 to 4:51
              PM; and C-SPAN2, Saturday, October 26, 2013, 9:45 to 10:51 AM.

          The Dennis Miller Show, Monday, October 22, 2013, 10:46 to 11:00 PM.

          “Gun sales a snap on Instagram,” New Day, CNN, Saturday, October 26, 2013, 9:15 to
              9:20 AM.

          “Stand Your Ground Laws,” Senate Judiciary Subcommittee on the Constitution, Civil
               Rights, and Human Rights, C-SPAN2, Thursday, October 31, 2013, 8:00 to 10:00
               AM; C-SPAN2, Thursday, October 31, 2013, 5:26 to 7:26 PM; C-SPAN3, Friday,
               November 1, 2013, 8:00 to 10:00 PM; and C-SPAN3, Saturday, November 2, 2013,
               2:00 to 4:00 AM.

          Steve Malzberg Show, News Max Radio, Thursday, November 21, 2013, 4:35 to 4:45
               PM.

          Mike Huckabee’s Radio Show, Friday, November 22, 2013, 11:35 to 1:45 PM.

          “Kudlow Report,” CNBC, Friday, November 22, 2012, 7:50 to 7:57 PM.

          Dana Loesch Show, Friday, December 6, 2013, 1:35 to 1:50 PM.

          Lars Larson Radio Show, Wednesday, December 11, 2013, 8:35 to 8:55 PM.

          Glenn Beck TV Show, Friday, December 13, 2013, 5:50 to 6:00 PM.

          The Jim Bohannon Show, Monday, December 16, 2013, 10:05 to 11:00 PM.

          Geraldo Rivera, Tuesday, December 17, 2013, 10:06 to 10:15 AM.

          Coast-to-Coast AM, Wednesday, December 18, 2013, 1:05 to 1:07 AM.

          The Jerry Agar Show, Sun News (Canada), Tuesday, December 24, 2013, 4:35 to 4:41
               PM.

          Lars Larson Radio Show, Friday, January 3, 2014, 6:22 to 6:30 PM.

          “Will More Guns Keep You Safe?” Outfront with Erin Burnett, CNN, Friday, January 3,
               2014, 7:33 to 7:40 PM.

          Jason Lewis Radio Show, Friday, January 3, 2014, 8:05 to 9:00 PM.

          “Gun Myths Shot Down,” Byline with Brian Lilley, Sun News (Canada), Tuesday,
              January 7, 2014, 6:03 to 6:10 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Coast-to-Coast AM, Wednesday, January 8, 2014, 1:06 to 1:09 AM.

          The Mancow Experience, Wednesday, January 29, 2014, 11:37 to 11:50 AM.

          Sean Hannity Show, Tuesday, March 4, 2014, 5:06 to 5:21 PM.

          Lars Larson Radio Show, Friday, March 7, 2014, 5:35 to 5:50 PM.

          Jason Lewis Radio Show, Friday, March 7, 2014, 7:35 to 8:00 PM.

          “Putting America Back to Work,” Byline with Brian Lilley, Sun News (Canada), Friday,
                March 7, 2014, 10:23 to 10:30 PM.

          The Source with Paul Anderson, Sunday, March 9, 2014, 10:05 to 10:40 PM.

          Dennis Miller Show, Monday, March 10, 2014, 12:35 to 12:50 PM.

          The Gary Nolan Radio Show, Thursday, March 13, 2014, 11:35 to noon.

          The Dana Show, Thursday, March 20, 2014, 1:36 to 1:47 PM.

          Sandy Rios’ Radio Show, Friday, March 21, 2014, 8:20 to 8:35 AM.

          The Steve Malzberg Show, Friday, March 21, 2014, 5:20 to 5:30 PM.

          Blaze TV, Friday, March 21, 2014, 5:21 to 5:26 PM.

          Coastal Daybreak, Tuesday, March 25, 2014, 8:45 to 9 AM.

          Bill Bennett’s Morning in America, Friday, March 28, 2014, 7:06 to 7:15 AM.

          The Lars Larson Show, Wednesday, April 2, 2014, 7:45 to 7:53 PM.

          The Jim Bohannon Show, Wednesday, April 2, 2014, 10:35 to 10:42 PM.

          WMAL, Thursday, April 3, 2014, 7:05 to 7:14 AM.

          KTSA Radio, Thursday, April 3, 2014, 7:36 to 7:45 AM.

          The Sandy Rios, Thursday, April 3, 2014, 8:36 to 8:51 AM.

          The Dana Show, Thursday, April 3, 2014, 1:35 to 1:48 PM.

          The Sean Hannity Show, Thursday, April 3, 2014, 3:35 to 3:51 PM.

          The Janet Mefferd Show, Thursday, April 3, 2014, 4:10 to 4:20 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Phil Valentine Show, Thursday, April 3, 2014, 4:35 to 4:48 PM.

          The Mark Levin Show, Thursday, April 3, 2014, 6:07 to 6:30 PM.

          The David Webb Show, Thursday, April 3, 2014, 10:05 to 10:15 PM.

          Big John and Amy Show, Friday, April 4, 2014, 7:35 to 7:45 AM.

          Michigan Talk Radio, Friday, April 4, 2014, 8:35 to 8:45 AM.

          “Fort Hood Shooting,” Jansing & Co with Chris Jansing, MSNBC, Friday, April 4, 2014,
                10:05 to 10:14 AM.

          The Jason Lewis Radio Show, Friday, April 4, 2014, 8:05 to 9:00 PM.

          Tom Gresham’s Gun Talk, Sunday, April 6, 2014, 3:35 to 3:45 PM.

          The Dennis Miller Show, Tuesday, April 8, 2014, 1:05 to 1:30 PM.

          Coast to Coast AM, Thursday, April 10, 2014, 1:08 to 1:11 AM.

          The Ed Morrissey Show, Tuesday, April 22, 2014, 4:48 to 5:00 PM.

          Jason Lewis Radio Show, Tuesday, April 22, 2014, 8:05 to 9:00 PM.

          Peter Schiff Radio Show, Wednesday, April 23, 2014, 10:35 to 11:00 AM.

          Phil Valentine Radio Show, Wednesday, April 23, 2014, 3:35 to 3:45 PM.

          Conservative News/Talk KNUS, Wednesday, April 23, 2014, 4:35 to 4:45 PM.

          Fox News, Thursday, April 24, 2014, 3:33 to 3:37 PM.

          The Michigan Talk Network, Thursday, April 24, 2014, 8:35 to 8:41 AM.

          Coast to Coast AM, Thursday, April 24, 2014, 1:08 to 1:10 AM.

          Greg Garrison Radio Show WIBC in Indianapolis, Thursday, April 24, 2014, 9:35 to
               10:00 AM.

          “New Georgia Law Expands Rights of Gun Owners,” The Real Story with Gretchen
              Carlson, Fox News, Thursday, April 24, 2014, 3:33 to 3:37 PM.

          Nancy Grace, CNN Headline News, Thursday, April 24, 2014, 10:40 to 10:45 PM.

          Justice with Judge Jeanine, Fox News, Saturday, April 26, 2014, 9:33 to 9:37 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Southern California Public Radio, KPCC, Monday, April 28, 2014.

          The Peter Boyle Show, Wednesday, April 30, 2014, 7:10 to 7:30 AM.

          The Source with Ezra Levant, Canada’s Sun News, Monday, May 5, 2014.

          Dennis Miller Radio Show, Wednesday, May 7, 2014, 2:06 to 2:30 PM.

          Dennis Miller Radio Show, Wednesday, May 14, 2014, 2:06 to 2:30 PM.

          Dennis Miller Radio Show, Friday, May 16, 2014, 12:33 to 1:00 PM.

          WMAL, Tuesday, May 20, 2014, 5:37 to 5:45 PM.

          Larry Elder Show, Tuesday, May 27, 2014, 7:14 to 7:21 PM.

          Lars Larson Show, Tuesday, May 27, 2014, 7:35 to 8:00 PM.

          The Real Side, Tuesday, May 27, 2014, 6:08 to 6:30 PM.

          The Marc Bernier Show, Tuesday, May 27, 2014, 5:20 to 5:30 PM.

          Dr. Gina Loundon Show, Tuesday, May 27, 2014, 4:20 to 4:30 PM.

          Istook Live!, Tuesday, May 27, 2014, 1:05 to 1:20 PM.

          John Gibson Radio Show, Tuesday, May 27, 2014, 12:35 to 12:50 PM.

          The C4 Show, WBAL, Tuesday, May 27, 2014, 11:05 to 11:20 AM.

          Doug McIntyre KABC Los Angeles, Tuesday, May 27, 2014, 9:05 to 9:14 AM.

          The Tom Woods Radio Show, Thursday, May 29, 2014.

          Byline with Brian Lilley, Canada’s Sun News Network, “Moncton Shooting,” Thursday,
               June 5, 2014, 6 to 7 PM.

          The Jason Lewis Radio Show, Thursday, June 5, 2014, 8:17 to 9 PM.

          The Sandy Rios Show, Monday, June 9, 2014, 8:40 to 9:00 AM.

          News Max, Midpoint, Monday, June 9, 2014, 12:15 to 12:26 PM.

          KTTH Radio in Seattle, Tuesday, June 10, 2014.

          The David Boze Show, Tuesday, June 10, 2014, 10:05 to 10:30 AM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The Arena with Michael Coren, Canada’s Sun News, “More Control, More Violence,”
               Wednesday, June 11, 2014.

          The Jim Bohannon Show, Monday, June 16, 2014, 10:35 to 11 PM.

          “Gun Rights” a presentation to a dinner for Gun Rights North Carolina, C-SPAN3,
              Saturday, July 5, 2014, 4:36 to 6:11 PM and C-SPAN2, Thursday, September 4,
              2014, 10:35 AM to 12:10 PM.

          The Jason Lewis Radio Show, Sunday, July 20, 2014.

          “Mayor Emanuel to blame for Chicago violence,” Fox TV Chicago, Monday, July 28,
              2014.

          WMAL, Tuesday, July 29, 2014, 5:07 to 5:15 PM.

          An interview with Cam & Company and Katie Pavlich, Monday, August 4, 2014, 2:40 to
               2:51 PM.

          Jim Bohannon Radio Show, Monday, August 4, 2014, 10:35 to 11:00 PM.

          Michigan Talk Network, Wednesday, August 13, 2014, 8:30 to 8:40 AM.

          KFI, John and Ken Show, Wednesday, August 13, 2014, 8:35 to 8:45 PM.

          Coast to Coast AM, Thursday, August 14, 2014, 1:07 to 1:09 AM.

          Sportsman Channel, Thursday, August 14, 2014, 5:15 to 5.25 PM.

          The Dana Loesch Show (radio), Tuesday, August 19, 2014, 2:06 to 2:20 PM.

          The Glenn Beck TV Show, Tuesday, August 19, 2014, 4:30 to 4:50 PM.

          The Lars Larson National Radio Show, Monday, August 25, 2014, 6:20 to 6:30 PM.

          Coast to Coast AM, Tuesday, August 26, 2014, 1:07 to 1:10 AM.

          Women stalking victims and guns used for self protection, The Blaze TV with Dana
             Loesch, Tuesday, August 26th, 2014, 5:20 to 5:40 PM.

          Washington, DC’s WMAL, Friday, August 29, 2014, 5:35 to 5:40 PM.

          The Michigan Talk Network, Friday, August 29, 2014, 8:35 to 8:55 AM.

          The Larry Elder Show, Wednesday, September 3, 2014, 8:20 to 8:30 PM.

          WVON, Thursday, September 4, 2014, 8:05 to 9:15 PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

           “Russian versus US murder rates,” Voice of Russia, Saturday, September 20th, 2014,
               9:07 to 9:16 AM.

          Mistakes by police and civilians using guns, The Blaze TV with Dana Loesch, Tuesday,
               September 30, 2014, 6:09 to 6:19 PM.

           “It’s a Mean, Mean World?” The John Stossel Show, Fox News, Saturday, October 4,
                 2014, 5 PM and 10 PM; Sunday, October 5, 2014, 10 PM; Monday, October 6,
                 2014, 1 AM. Also shown on Fox Business, Thursday, October 2, 2014, 9 PM;
                 Friday, October 3, 2014, 1 AM; Saturday, October 4, 2014, 9 PM and Midnight;
                 Sunday, October 5, 2014, 9 PM.

          Michael Smerconish Show, CNN, Saturday, October 11, 2014, 9:30 to 9:35 AM and 6:30
              to 6:35 PM.

          The Lars Larson National Radio Show, Tuesday, October 14, 2014, 6:35 to 6:43 PM.

          The Dennis Miller National Radio Show, Tuesday, October 14, 2014, 1:15 to 1:30 PM.

          The Tom Gresham’s National Radio Show, Sunday, October 19, 2014, 2:07 to 2:19 PM.

          The Sand Rios National Radio Show, Monday, October 20, 2014, 8:20 to 8:37 AM.

          Errors in FBI report on public shootings, The Blaze TV with Dana Loesch, Monday,
               October 20, 2014, 5:20 to 5:30 PM.

          Coast-to-Coast AM Radio, Thursday, October 14, 2014, 1:07 to 1:11 AM.

          The Lars Larson National Radio Show, Thursday, October 23, 2014 from 6:37 to 6:45
               PM.

          “Does gun control save lives or does it tilt the battlefield in favour of terrorists?” The
              Source with Ezra Levant, Sun News (Canada), Tuesday, November 3, 2014, 8:48
              PM.

          The Bill Martinez Live Radio Show, Tuesday, December 2, 2014, 9:20 to 9:45 AM.

          Coast-to-Coast AM Radio, Wednesday, December 3, 2014, 1:06 to 1:09 AM.

          The Lars Larson National Radio Show, Monday, December 8th, 2014, 6:35 to 6:44 PM.

          The Dennis Miller National Radio Show, Wednesday, December 10th, 2014, 2:05 to 2:30
               PM.

          The Lars Larson National Radio Show, Thursday, December 12th, 2014, 7:35 to 7:40
               PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The Sean Hannity Radio Show, Friday, December 19th, 2014, 5:09 to 5:16 PM.

          The Steve Malzberg Show, Monday December 22nd, 2014, 5:20 to 5:30 PM.

          Michigan Talk Network, Monday, December 22nd, 2014, 7:45 to 7:52 AM.

          The Flipside, Tuesday, December 23, 2014.

          “Shoot an intruder in Idaho & the intruder goes to jail. In Canada the shooter might,”
               Byline with Brian Lilley, Sun News (Canada), Monday, January 19, 2015.

          The Dana Loesch Radio Show, Thursday, January 22nd, 2015, 2:23 to 2:30 PM and 3:05
               to 3:16 PM.

          The Lars Larson National Radio Show, Thursday, January 22nd, 2015, 6:05 to 6:15 PM.

          Michigan Talk Network, Thursday, January 22, 2015, 8:35 to 8:41 AM.

          The Frank Beckmann Show on WJR, Friday, January 30th, 2015.

          The Lars Larson National Radio Show, Thursday, February 12th, 2015, 6:21 to 6:30 PM.

          The Jim Bohannon National Radio Show, Wednesday, February 18th, 2015, 10:05 to
               11:00 PM.

          Jim Bohannon’s America in the Morning, Friday, February 20th, 2015, 5 AM hour.

          John Gambling on WOR, Friday, February 27, 2015, 11:20 to 11:30 AM.

          Coast-to-Coast AM, Friday, February 27, 2015 from 1:07 to 1:09 AM.

          Wyoming Public Television, Friday, February 27th, 2015 at 8 PM.

          Mark Levin Radio Show, Tuesday, March 10th, 2015 from 7:35 to 7:46 PM.

          Sean Hannity Radio Show, Monday, March 16th, 2015, 5:06 to 5:20 PM.

          Steve Malzberg NewsMax TV Show, March 20, 2015.

          John Stossel’s Show on Fox News and Fox Business, March 22, 23, and 24, 2015.

          Lars Larson’s National Radio Show, Wednesday, March 25, 2015, 6:20 to 6:30 PM.

          The Jim Bohannon National Radio Show, Friday, March 13, 2015, 10:35 to 11:00 PM.

          The Jim Bohannon National Radio Show, Wednesday, March 18, 2015, 10:35 to 11:00
               PM.




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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          The Phil Valentine Show, Monday, March 30, 2015, 2:35 to 3:00 PM.

          Larry O’Connor’s Show, WMAL, Thursday, April 16th, 2015 from 5:35 to 5:50 PM.

          Michigan Talk Network, Tuesday, April 21, 2015 from 6:40 to 6:47 AM.

          Washington Journal, C-SPAN, April 25, 2015, 7:51 to 8:20 AM.

          Michigan Talk Network, Tuesday, April 28, 2015 from 7:35 to 7:43 AM.

          Coast-to-Coast AM, Tuesday, April 28th, 2015, 1:15 to 3:00 AM.

          Michigan Talk Network, Tuesday, May 5, 2015 from 6:40 to 6:47 AM.

          Lars Larson’s National Radio Show, Monday, May 4, 2015, 6:20 to 6:30 PM.

          “What National Crime Wave?” Wall Street Journal’s Opinion Journal, June 9, 2015.

          The Jim Bohannon National Radio Show, Wednesday, June 4, 2015, 11:05 to 12:00 PM

          Larry O’Connor’s Show, WMAL, Thursday, June 11th, 2015 from 5:07 to 5:14 PM.

          Lars Larson’s National Radio Show, Thursday, June 11th, 8:20 to 8:42 PM.

          Coast-to-Coast AM, Friday, June 12th, 1:07 to 1:10 AM.

          Coast-to-Coast AM, Friday, June 19, 2015 from 1:07 to 1:10 AM.

          Bill Bennett's Morning in America, Friday, June 19, 2015 from 7:05 to 7:16 AM.

          Lars Larson’s National Radio Show, Friday, June 19, 2015 from 6:22 to 6:30 PM.

          Dennis Prager National Radio Show, Monday, June 22, 2015 form 2:05 to 3:00 PM.

          Sean Hannity’s Television Show, Fox News, Monday, June 22, 2015 from 10:18 to 10:20
               PM.

          The Daily Wrap's co-hosted by Joe Concha and Rick Ungar, NewsMax TV, Tuesday,
               June 23, 2015 from 7:10 to 7:17 PM.

          Larry O’Connor’s Show, WMAL, Thursday, July 2nd, 2015 from 8:40 to 8:45 AM.

          Lars Larson Show on Thursday, July 16th, 2015 from 7:20 to 7:30 PM.

          Larry Elder Show on Friday, July 17th, 2015 from 3:20 to 3:30 PM.

          Laura Ingraham Radio Show, Friday, July 24, 2015 from 10:07 to 10:16 AM.



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      SELECTED PUBLIC APPEARANCES (CONTINUED):

          Coast-to-Coast AM, Tuesday, July 28, 2015 from 1:08 to 1:11 AM.

          The John Stossel Show on Fox News and Fox Business on Friday, July 31, 2015.

          Aljazeera America, Monday, August 10, 2015.

          Lars Larson’s National Radio Show, Thursday, August 13, 2015 from 6:22 to 6:30 PM.

          UN Arms Trade Treaty, Radio America, Thursday, August 27, 2015.

          Steve Malzberg’s Show, NewsMax TV, Thursday, August 27, 2015 from 7:34 to 7:40
               PM.

          CBS Evening News, Thursday, August 27th, 2015, 6:45 to 6:47 PM.

          Coast-to-Coast AM, Friday, August 28th, 2015 from 1:15 to 2 AM.

          Jim Bohannon’s America in the Morning, Tuesday, August 18, 2015, 5 AM hour.

          The Daily Wrap's co-hosted by Joe Concha and Rick Ungar, NewsMax TV, Friday,
               August 28, 2015, 6:05 to 6:09 PM.

          Sandy Rios National Radio Show, Tuesday, September 1, 2015, 8:15 to 8:50 AM.

          Dana TV, The Blaze, October 1, 2015.

          Aljazeera International, October 2, 2015 from 11:10 to 11:15 AM.

          CNN Newsroom with Carol Costello, CNN, October 2, 2015.

          Coast-to-Coast AM, Friday, October 2, 2015 from 1:07 to 1:10 AM.

          Mark Levin National Radio Show, Friday, October 2, 2015 from 6:35 to 6:53 PM.

          Laura Ingraham Radio Show, Friday, October 2, 2015 from 1:15 to 1:23 PM.

          John Gibson National Radio Show, Friday, October 2nd, 2012 from 1:05 to 1:17 PM.

          Sean Hannity Radio Show, Monday, October 6, 2015, 5:06 to 5:21.

          “The Danger of Gun-free Zones,” Wall Street Journal’s Opinion Journal, October 5,
               2015.

          NewsMax TV, Friday, October 5, 2015 from 8:24 to 8:29 PM.

          “Would New Guns Laws Make You Safer?” Fox & Friends, October 10, 2015.

          Not yet updated after this date.



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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS:

          “Stop Subsidizing the Future Rich,” USA Today, February 19, 1985, p. 8A.

           “Social Security’s a Bad Deal That’s Also Difficult to Justify,” Houston Post, Sunday,
               October 27, 1985, p. B3, also appeared in The Orange County Register and Peoria
               (Illinois) Star Journal, Sunday, November 3, 1985.

           “Competition Would Benefit Schools,” Bozeman (MT) Daily Chronicle, Thursday, July
               31, 1986, p. 4.

          “Teachers: They Could Stand Some Competition,” Detroit News, Thursday, July 17,
               1986, also appeared in the St. Louis Post-Dispatch, Friday, July 18, 1986;
               Pittsburgh Post-Gazette, Saturday, July 12, 1986; and the Washington Times,
               Monday, July 14, 1986.

          “Advantage, Incumbents,” coauthored with Gertrud Fremling, The Orange County
              Register, April 18, 1987, p. A28.

           “Incumbents Benefit if Spending Caps are Equal,” The Wall Street Journal, Wednesday,
                June 10, 1987, p. A10.

           “Academic Freedom at a Public University,” The Freeman, March 1990, pp. 112-115.

           “Blaming the Bad News Bearer,” Los Angeles Times, Monday, August 13, 1990, p. B5;
               also appeared in the Courier-Journal (Louisville, Kentucky), Tuesday, August 14,
               1990, p. 9A; the Sacramento Bee, Wednesday, August, 15, 1990, p. B7; and carried
               on Los Angeles Times newswire service.

           “Raising Commodity Prices Justifiable?” debate with U.S. Senator Joseph Lieberman,
               PM Editorial Services, August 1990.

          “What Should We Do About the Deficit?” United Press International Newswire,
              October 11, 1990.

           “Strong Arm of the Law Left Milken Defenseless,” The Orange County Register,
                Sunday, March 31, 1991, p. G1 and G2.

           “Is Curbing Crime Worth the Cost?” New York Times, coauthored with Michael Block,
                Sunday, May 5, 1991, p. F 13.

           “Our Economy is Still the World’s Leader,” New York Newsday, Tuesday, April 7, 1992,
               p. 85; also appeared in the Indianapolis Star, Wednesday, April 22, 1992, p. A13;
               carried on Los Angeles Times newswire service.

          “Clinton Economic Plan Won’t Work,” Philadelphia Inquirer, Sunday, April 19, 1992,
               p. D13, also appeared in the Richmond Times-Dispatch, Sunday, April 26, and
               carried on Knight-Ridder newswire service.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Czechoslovak Mutual Funds Fuel Reform,” The Wall Street Journal Europe,
               coauthored with Robert G. Hansen, Friday, July 17, 1992, p. 6.

           “Al Gore on the Environment: Warped and Extremist Thinking,” Philadelphia Inquirer,
               Friday, August 27, 1992, p. A23, also appeared in the Detroit News, Monday
               September 28, 1992, p.7A.

          “If Al Gore’s a Conservative, Clinton Must Be Waaay Out,” New York Newsday,
                Tuesday, October 6, 1992, p. 75, carried on Los Angeles Times-Washington Post
                newswire service.

           “But Look at the Price Tag,” Philadelphia Inquirer, Thursday, October 15, 1992, p.
               A23, also appeared in the St. Louis Post-Dispatch, Sunday, October 11, 1992, p.
               7E, The Seattle Times, Friday, October 23, 1992, and carried on Knight-Ridder
               newswire service.

           “Clinton’s ‘Big Lie’ on Economy,” Philadelphia Inquirer, Monday, November 2, 1992,
                p. A15.

          “Give Reagan-Bush Their Due: They Did Build Up the Economy,” Philadelphia
               Inquirer, Wednesday, January 20, 1993, p. A9; also appeared in the Orange County
               Register, Sunday, January 24, 1993; Long Beach (Ca.) Press-Telegram, Friday,
               January 22, 1993; Lexington (KY) Herald-Leader, Monday, January 25, 1993; The
               Wichita Eagle, Sunday January 24, 1993; Corpus Christi (TX) Caller Times,
               Saturday, January 23, 1993; News Sentinel (Fort Wayne, Indiana), Saturday,
               January 23, 1993; and carried on Knight-Ridder newswire service.“Energy Tax Hits
               the Middle Class,” Philadelphia Inquirer, Monday, February 8, 1993, p. A13; also
               appeared in the Orange County Register, Sunday, February 21, 1993, pp. J1 and J2;
               and carried on Knight-Ridder newswire service.

           “Drug Research: Pay Now or Later,” Philadelphia Inquirer, Saturday, March 20, 1993,
               p. A11, carried on Knight-Ridder newswire service.

           “Clinton: Proteger a EE UU,” Cinco Dias (Second largest business newspaper in Spain),
                Friday, April 16, 1993, pp. 2 and 3.

          “U.S. Taxpayers Will Pay Dearly for that Biodiversity Treaty,” Philadelphia Inquirer,
               Wednesday, May 19, 1993, p. A11; also appeared in the Washington Times,
               Tuesday, June 1, 1993, pp. E1 and E4; the Phoenix Gazette, Saturday, May 22,
               1993, p. A13; and the Montgomery County (PA.) Observer, Wednesday, May 26,
               1993, p. 11.

           “Who Gets Socked __ Salmon or Energy Consumers?: The True Cost of Clinton’s
              Energy Bill,” Philadelphia Inquirer, Thursday, June 10, 1993, p. A23.

           “Clinton Plan Isn’t Campaign Reform,” Philadelphia Inquirer, Saturday, August 21,
                1993, p. A7.



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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Toxic Land, Toxic Fears,” Reviews of Environmental Overkill: Whatever Happened to
               Common Sense? by Dixy Lee Ray with Lou Guzo and Science Under Siege:
               Balancing Technology and the Environment by Michael Fumento, Philadelphia
               Inquirer, Sunday, August 22, 1993, pp. K1 and K4.

          “Galbraith, Speculating About Economic Cycles,” Review of A Short History of
               Financial Euphoria by John Kenneth Galbraith, Philadelphia Inquirer, Sunday,
               September 5, 1993, p. K3.

          “Vouchers Would Foster A Healthy Competition,” Richmond Times-Dispatch, Tuesday,
              September 7, 1993 and the Daily Oklahoman, Saturday, October 9, 1993, p. 4.

          “Clinton’s Plan Needs a Doctor,” Philadelphia Inquirer, Thursday, September 23, 1993,
               p. A23; also appeared in the San Francisco Chronicle, Friday, September 24, 1993,
               p. A25; the Orange County Register, Wednesday, September 29, 1993; the
               Charlotte (N.C.) Observer, Wednesday, September 29, 1993; the Phoenix Gazette,
               Thursday, September 23, 1993, p. A27; the Milwaukee Sentinel, Thursday,
               September 30, 1993; the Daily Oklahoman, Monday, October 18, 1993, p. 6; and
               carried on Knight-Ridder newswire service.

           “Public Schools Need More Competition,” Philadelphia Inquirer, Wednesday, October
               13, 1993, p. A11.

          “Are Oxygenated Fuels Worth All the Extra Cost?: Drivers Pay 5 to 7 Cents More A
               Gallon, and The Special Fuel Isn’t Even Necessary,” Philadelphia Inquirer,
               Monday, November 1, 1993, p. A19; also appeared in the Washington Times,
               Monday, November 1, 1993, p. A17; the Phoenix Gazette, Tuesday, November 2,
               1993, p. B15; the Salt Lake City Tribune, Friday, October 29, 1993; and the
               Albuquerque Journal, Friday, December 17, 1993, p. A19.

          “Look at What Drugs Are Doing, and Elders’ Idea Doesn’t Look Bad,” Philadelphia
              Inquirer, Thursday, December 23, 1993, p. A15.

          “Rush Limbaugh Vents about Clinton, Gore and ‘the Decade of Fraud,’ ” Review of See,
               I Told You So by Rush H. Limbaugh, III, Philadelphia Inquirer, Sunday,
               December 26, 1993, p. C3.

           “Whitman Can Close the Gap Through School Choice,” Philadelphia Inquirer,
              Saturday, January 22, 1994, p. A9.

           “Drug Policy Frees Prisons for Real Criminals,” the Detroit News, Sunday, January 23,
               1994, p. B3.

           “The Government Exaggerates the Secondhand Smoke Threat,” Philadelphia Inquirer,
               Wednesday, April 6, 1994, p. A15; also appeared in the Cincinnati Post, Thursday,
               April 7, 1994, p. A14; and the Cythiana Democrat (Kentucky), April 14, 1994, p. 4.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “The Danger of Medical Price Controls,” Letters to the Editor, The Wall Street Journal,
               Monday, May 9, 1994, p. A15.

           “With Clinton’s Health Care, We also Get Price Controls,” Philadelphia Inquirer,
               Saturday, July 23, 1994, p. A7; also appeared in the Cythiana Democrat
               (Kentucky), June 23, 1994, p. 4.

           “On the World Bank’s Debit Side: Progress that Brings Problems,” Review of
               Mortgaging the Earth: The World Bank, Environmental Improverishment, and the
               Crisis of Development by Bruce Rich, Philadelphia Inquirer, Sunday, July 24,
               1994, p. H3.

           “Clinton Pollster Looks at Politics and Power,” Review of Middle Class Dreams: The
                Politics and Power of the New American Majority, by Stanley B. Greenberg,
                Philadelphia Inquirer, Sunday, March 12, 1995, p. H1.

           “An Environmental Optimist Sees A Good Earth Likely to Get Better,” Review of A
               Moment on the Earth: The Coming Age of Environmental Optimism, by Gregg
               Easterbrook, Philadelphia Inquirer, Sunday, April 30, 1995, p. M3.

           “An Assessment that Finds Fault with Liberal Social Policies,” Review of The Vision of
               the Anointed: Self-congratulations as a Basis for Social Policy, Thomas Sowell,
               Philadelphia Inquirer, Sunday, October 1, 1995, p. H3.

          “Laws that Permit Handguns Save Lives,” Seattle Times, Thursday, August 22, 1996, p.
              B5; Philadelphia Inquirer, Thursday, August 29, 1996, p. A23; Chicago Sun-
              Times, Sunday, October 13, 1996, p. 44.

           “Do Concealed Handgun Laws Save Lives?” The Wall Street Journal, Wednesday,
               August 28, 1996, p. A13; reprinted in Guns and Violence: Current Controversies,
               edited by Henny H. Kim (Greenhaven Press: San Diego, Ca., 1999) and also
               numerous other places.

           “It Would be Criminal to Ignore How Concealed-Carry Laws Cut Murder Rates,” Letters
                to the Editor, The Washington Times, Monday, September 9, 1996, p. A18.

          “America Still the Richest of Countries,” Philadelphia Inquirer, Sunday, September 29,
              1996, p. E6.

           “What Deters Criminals?” Letters to the Editor, The Washington Post, Thursday,
              October 31, 1996, p. 20.

           “Bulletproof,” Letters to the Editor, The Economist, January 11th-17th, 1997, pp. 6 and
               8.

           “Study on Handgun Permit Laws,” Letters to the Editor, Los Angeles Times, Sunday,
               February 2, 1997, p. M4.



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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Gun Study Extensive, Thorough,” Omaha World Herald, Sunday, March 9, 1997, p. B9.

          “Concealed Handguns; Letting citizens carry them leads to drop in murder rates,”
              Minneapolis Star Tribune, Friday, March 21, 1997, p. 21.

          “Concealed Handguns and Crime,” Letters to the Editor, Washington Post, Wednesday,
              April 9, 1997, p. A20; also appeared in Dallas Morning News, May 14, 1997.

           “Concealed Guns, Study finds they help keep peace,” The Honolulu Advertiser, Sunday,
               June 8, 1997, p. B3.

           “Childproof Gun Locks: Bound to Misfire,” The Wall Street Journal, Wednesday, July
               16, 1997, p. A22.

          “Unraveling Some Brady Law Falsehoods; Guns: Part of the National Drop in Crime is
               Because More Citizens are Lawfully Armed, Not Because of the Background
               Checks,” Los Angeles Times, Wednesday, July 2, 1997, p. B7; also appeared in
               Newsday (Long Island, New York), Tuesday, July 8, 1997, p. A30;The Times
               Union (Albany, NY), Tuesday, July 8, 1997, p. A9; Las Vegas Review-Journal
               (Las Vegas, NV), Tuesday, July 8, 1997, p. B9; The Houston Chronicle, Monday,
               July 21, 1997, p. 17; Sacramento Bee, Friday, July 25, 1997, p. B7; and the
               Bozeman Chronicle (Bozeman, Montana), Sunday, July 6, 1997.

          “Faulty Link on Guns and Death,” Chicago Tribune, Sunday, January 11, 1998, p. A20.

          “License to Kill?: Careful Look at Critical Study Actually Backs Gun Permit Holders,”
               Dallas Morning News, Sunday, February 8, 1998, p. J6.

           “Do Concealed Handgun Laws Save Lives?,” Intellectual Capital.Com, Thursday
               through Wednesday, March 26 through April 1, 1998.

           “The Real Lesson of the School Shootings,”The Wall Street Journal, Friday, March 27,
              1998, p. A14; also appeared in the South China Morning Post, Monday, May 25,
              1998, p. 13.

          “Citizens Packing Heat Reduce Murder Rates,” Letters to the Editor, The Wall Street
                Journal, Tuesday, April 14, 1998, p. A23.

           “Concealed Weapons,” Letters to the Editor, Chicago Sun-Times, Tuesday, April 14,
             1998, p. 24.

           “Gun Control Becomes a Shell Game,” Newsday, Wednesday, April 15, 1998, p. A43;
               also appeared in the Star Tribune (Minneapolis, MN), Sunday, April 26, 1998, p.
               A25; Las Vegas Review-Journal, Wednesday, April 22, 1998, p. 9B; St.
               Petersburg Times (Florida), April 18, 1998; Palm Beach Post (Florida), Sunday,
               April 19, 1998, p. 3E; Santa Rosa Press-Democrat (Santa Rosa, Ca.), Friday, April
               17, 1998; and carried on Los Angeles Times newswire service.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Bullet Points,” Letters to the Editor, The Economist, April 25, 1998, p. 8.

          “Do Guns Help Prevent Violence?: Areas that Allow Concealed Firearms Find Violent
              Crime Reduced,” St. Louis Post-Dispatch, Sunday, May 3, 1998, p. B3.

           “The Cold, Hard Facts About Guns,” Chicago Tribune, Friday, May 8, 1998, p. 27; as
               well as The Honolulu Advertiser, Sunday, May 24, 1998, p. 3 and Guns and
               Violence: Current Controversies, edited by Henny H. Kim (Greenhaven Press: San
               Diego, Ca., 1999).

          “Book carefully researched,” Letters to the Editor (Response to Op-ed by Tom Teepen),
              the Atlanta Journal and Constitution, Sunday, May 24, 1998, p. 6B; as well as the
              Commercial Appeal (Memphis, TN), Wednesday, May 27, 1998, p. A9; News &
              Record (Greensboro, NC), Monday, June 1, 1998, p. A6; Arizona Republic,
              Saturday, June 6, 1998, p. B7.

          “How to Stop Mass Public Shootings; When Citizens are Allowed to Carry Concealed
              Weapons, Deaths and Injuries from Shootings Decline,” Los Angeles Times,
              Monday , May 25, 1998, p. B5; also appeared in the Arizona Republic, Thursday,
              May 28, 1998, p. B5; the Denver Post, Thursday, May 28, 1998, p. B11; The
              Record (Bergen County, NJ), Thursday, May 28, 1998, p. L9; Raleigh News and
              Observer (North Carolina), Friday, May 29, 1998; Courier-Journal (Louisville,
              Kentucky), Saturday, May 30, 1998; Tulsa World (Oklahoma), Sunday, May 31,
              1998; Las Vegas Review-Journal (Las Vegas, NV), Monday, June 1, 1998, p. 9B.

           “Will Suing Gun Manufacturers Save Lives?” Inverstor’s Business Daily, Wednesday,
               May 27, 1998, p. A34; somewhat different version also appeared in the Detroit
               News, Friday, June 19, 1998, p. A19 and as a letter to the editor in the Chicago
               Sun-Times, Thursday, June 25, 1998, p. 38.

           “Gun Study Targeted All Counties in US,” Letters to the Editor, The Wall Street
              Journal, Tuesday, June 13, 1998, p. A23.

          “Trigger Happy,” National Review, June 22, 1998, pp. 49-50.

          “Keep Guns out of Lawyers’ Hands,” The Wall Street Journal, Tuesday, June 23, 1998,
              p. A20.

          “Revisiting the Five-day Waiting Period,” Intellectual Capital.Com, Thursday through
               Wednesday, July 2 through July 8, 1998.

           “Can Government Crime Data be Trusted?” Inverstor’s Business Daily, Thursday, July
               16, 1998, p. A32.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Armed Citizens Stop Mass Killings,” Omaha World Herald, Sunday, July 26, 1998.

          “More About Concealed Handguns,” Letters to the Editor, Time magazine, July 27, 1998,
              p. 8, also appeared in the International edition, August 3, 1998.

          “A well-armed public,” Letters to the Editor, Chicago Sun-Times, Wednesday, July 29,
              1998, p. 40.

          “Gun Lock Proposal Bound to Misfire,” Chicago Tribune, Thursday, August 6, 1998, p.
              23; also appeared in Washington Times, Friday, August 14, 1998, p. A17.

          “Research Data Show that Concealed Handguns Deter Crime,” St. Louis Post-Dispatch,
               Thursday, August 6, 1998, p. B7.

          “Concealed guns reduce crime: If people are packing, crooks think twice,” Minneapolis
              Star Tribune, Sunday, August 16, 1998, p. 25A; fairly similar pieces also appeared
              in the Albuquerque Journal, Sunday, October 18, 1998.

           “No gun toady,” Letters to the Editor, St. Louis Post-Dispatch, Monday, August 24,
               1998, p. B6

          Review of two books by David Kopel in “Breakthrough Books,” Linguafranca,
               September 1998, p. 17.

          “Study shows women safer packing a gun,” Letters to the Editor, Chicago Sun-Times,
               Thursday, September 24, 1998, p. 30.

          Response to editorial “Gun Policy That Misfires” attacking my research, Letters to the
               Editor, Los Angeles Times, Friday, October 2, 1998, p. B8.

          “Is Microsoft A Predator or Prey,” Inverstor’s Business Daily, Wednesday, October 21,
               1998, p. A24.

           “Gun Control Advocates Purvey Deadly Myths,” The Wall Street Journal, Wednesday,
               November 11, 1998, p. A22.

          “Will Suing Gunmakers Endanger Lives?” Chicago Tribune, Tuesday, November 17,
               1998, p. 19; also appeared in the Orange County Register, Sunday, November 29,
               1998, Commentary p. 5.

          “Cities Target Gun Makers in Bogus Lawsuits; More People are Killed by Cars; More
                Children Drown or Die in Fires,” Los Angeles Times, Tuesday, December 1, 1998,
                p. B7; also appeared in The News and Observer (Raleigh, NC), Thursday,
                December 10, 1998; the Houston Chronicle, Monday, December 28, 1998, p. A23;
                Idaho Statesman (Boise, Idaho), Saturday, December 5, 1998, p. 8B; Salt Lake City
                Tribune, December 6, 1998, page A-7; Cincinnati Enquirer, Thursday, February
                4, 1999, p. A12; and the Bozeman (MT) Daily Chronicle.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Defending Gun Study,” Letters to the Editor, The New York Times, Thursday,
               December 17, 1998, p. A32.

           “Gun Shy: Cities turn from regulation to litigation in their campaign against guns,”
               National Review, December 21, 1998, pp. 46-48.

          “Will More Guns Mean Less Crime?” Consumer’s Research, December, 1998: pp. 18-
               22.

          “Lethal handgun fears,” Review of Making A Killing: The Business of Guns in America
               by Tom Diaz, Washington Times, Wednesday, February 24, 1999: p. A17.

           “Suits Targeting Gun Makers are Off the Mark,” The Wall Street Journal, Tuesday,
                March 2, 1999: p. 18A.

           “Do Concealed Guns Deter Crime?” Kansas City Star, Saturday, March 20, 1999: p. B7.

           “Proposition B: More Security or Greater Danger?: Clear Evidence from States with
               Concealed Carry,” St. Louis Post-Dispatch, Sunday, March 21, 1999: p. B3; a
               related version also appeared in the Kansas City Star, Saturday, April 3, 1999.

           “Does News Coverage Endanger Lives?” Inverstor’s Business Daily, Thursday, April
               29, 1999, p. A20.

          “Think Twice On New Gun Laws,” Newsday (New York, NY), Friday, April 30, 1999,
               p. A53.

          “When self-defense is banned,” Washington Times, Wednesday, May 5, 1999, p. A19;
              also appeared in The Detroit News, Monday, May 3, 1999, p. A6 and the Orange
              County Register,.

          “Gun Laws Can Be Dangerous, Too,” The Wall Street Journal, Wednesday, May 12,
              1999: p. A22.

          “Guns and Crime and Traditional Myths,” Letters to the Editor, The Wall Street Journal,
              Tuesday, May 25, 1999: p. A27.

          “Gun Show: Why gun laws will not prevent public shootings,” National Review,
              Monday, May 31, 1999, No. 10, Vol. 51: p. 32.

          Voices From the Front, ABCNews.com, Monday, June 7, 1999.

          “New Gun Controls Will Pose Greater Dangers to Persons Threatened by Armed
              Criminals,” Insight Magazine, June 21, 1999, pp. 25 and 27.

          “Questions, gun experiences affect polls,” Detroit News, Wednesday, June 16, 1999, p.
              A8.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Disarming good people,” Washington Times, Wednesday, June 16, 1999, p. A17.

           “More Gun Controls?: They Haven’t Worked in the Past,” The Wall Street Journal,
               Thursday, June 17, 1999, p. A26.

          "More Laws Won't Cure Gun Problems," Los Angeles Times, Thursday, June 17, 1999, p.
              B9; also reprinted in the Atlanta Journal-Constitution, Monday, June 21, 1999 and
              Denver Post, Sunday, July 11, 1999, p. H1.

           “Guns and Crime,” Letters to the Editor, Chicago Tribune, Sunday, June 20, 1999,
               Magazine p. 4.

           “Bathtubs Kill More Babies than Guns Do,” Human Events, July 2, 1999, p. 6.

          “Shoot Down Anti-Gun Plans,” Inverstor’s Business Daily, Thursday, July 22, 1999:
               A22.

           “Should We Sue the Lawyers?,” Intellectual Capital.Com, Thursday through
               Wednesday, August 5 through August 11, 1999.

          “Anti-gun diatribe riddled with inaccuracies,” (Response to Op-ed by Molly Ivins),
               Denver Rocky Mountain News, Friday, September 3, 1999, p. 64A; also reprinted
               in the Fort Worth Star-Telegram, Thursday, August 26, 1999 and Chicago Sun-
               Times, Monday, September 13, 1999, p. 30.

          “Furor over firearms,” Newsweek, Letters, September 13, 1999, p. 16; reprinted in
               Newsweek,September 20, 1999, Atlantic Edition.

          “Will Gun Bans Stop Shootings?: Analysis of data hints they may not,” coauthored with
               William Landes, Honolulu Advertiser, Sunday, November 7, 1999, p. B1.

          “Don't chill debate on how to protect children,” Cincinnati Enquirer, Wednesday,
              November 17, 1999, p. A19.

          “Tighter Gun Laws are Not the Solution,” Letters to the Editor, The Wall Street Journal,
               Monday, November 22, 1999: p. A23.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “U.S. Aim is Bad in Gun Lawsuits,” Newsday, Thursday, December 23, 1999, p. A43;
               also reprinted in Union Leader (Manchester, New Hampshire), Tuesday, December
               28, 1999; Deseret News (Salt Lake City, UT), Tuesday, December 28, 1999, p. A11;
               Palm Beach Post (Palm Beach, Fla.), Tuesday, December 28, 1999; Birmingham
               News (Alabama), Wednesday, December 29; Saint Paul Pioneer Press
               (Minnesota), Thursday, December 30, 1999; Dallas Morning News, Friday,
               December 31, 1999; Fresno Bee (Fresno, Ca.), Sunday, January 2, 2000, p. G4;
               Cincinnati Enquirer, Sunday, January 2, 2000, p. B6; Post and Courier
               (Charleston, SC), Sunday, January 2, 2000, p. A11; News and Observer (Raleigh,
               NC), Wednesday, January 5, 2000, p. A17; Commercial Appeal (Memphis, TN),
               Sunday, January 16, 2000, p. B6; Calgary Journal (Calgary, Canada); Missoulian
               (Missoula, MT); Ogden Standard (Ogden, Utah).

          “Campaign Finance Reform?” Inverstor’s Business Daily, Thursday, January 27, 2000,
              p. A26. Also published in the Washington Times, Monday, February 16, 2000, p.
              A15 and the Hartford Courant.

          “Creating hysteria over guns,” Washington Times, Sunday, January 30, 2000, p. B4.

          “Not-So-Smart Locks,” Letters to the Editor, Washington Post, Tuesday, February 1,
               2000, p. A14.

           “Gun-safety laws proposed for Ohio only would backfire,” Columbus Dispatch
               (Columbus, Ohio), Tuesday, February 1, 2000, p. A9.

          “Sometimes, Guns can save lives,” Philadelphia Daily News, Wednesday, February 9,
              2000.

          “Gun locks will cost, not save, lives in Maryland,” Baltimore Sun, Friday, February 25,
              2000.

           “Gun control proposals will end up producing more violent crime,” Honolulu
               Advertiser, Sunday, February 27, 2000.

          “Guns Save Lives,” Guns in America, CBS News Interactive,
              http://cbsnews.cbs.com/now/story/0,1597,167661-412,00.shtml.

          “Gun Locks,” Letters to the Editor, Washington Post, Saturday, March 11, 2000, p. A18.

          “Clinton Shoots from Hip with Loaded Claims,” Los Angeles Times, Sunday, March 19,
               2000, p. M5.

          “Gun Locks Bound to Misfire,” New York Post, Monday, March 20, 2000.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          Interrogatory: Yale Law School's John Lott, National Review Online, Monday, April 3,
                2000.

          “Dangerous Myths About Guns,” Hartford Courant, Sunday, April 9, 2000.

           “How the Government Preyed on a ‘Predator,’” Review of Richard B. McKenzie’s
              “Trust on Trial,” The Wall Street Journal, Wednesday, April 12, 2000, p. A24;
              reprinted in Wall Street Journal Europe, Monday, April 17, 2000; Asian Wall
              Street Journal, Tuesday, April 18, 2000.

          “Rampage killing facts and fantasies,” Washington Times, Wednesday, April 26, 2000, p.
              A15.

          “Legal Tactic Destroys Lives and Businesses,” Letters to the Editor, The Wall Street
               Journal, Thursday, April 27, 2000, p. A27.

           “Gun Advocate Slams The New York Times,” APBnews.com’s special report on Truth
               in Crime Reporting, Thursday, May 18, 2000.

          “When It Comes to Firearms, Do As I Say, Not As I Do; Guns: Rosie O’Donnell, Who
              Opposes Handgun Permits for Others, Doesn’t See Problem with Her Bodyguards
              Having Them,” Los Angeles Times, Thursday, June 1, 2000, p. 11; reprinted in the
              National Review Online, Friday, June 2, 2000; Omaha World Hearld, Sunday,
              June 4, 2000; Dallas Morning News, Tuesday, June 6, 2000, p. 23A; Cincinnati
              Enquirer, Tuesday, June 6, 2000, p. A8; New Haven Register, Tuesday, June 6,
              2000; Insight on the News, Monday, July 3, 2000, p. 44.

           “Gun locks may increase crime,” Detroit News, Friday, June 2, 2000, p. A15.

           “Gore Doesn’t Seem to Trust People to Handle the Truth,” Hartford Courant, Tuesday,
               June 6, 2000, p. A9; Deseret News (Salt Lake City, Utah), Wednesday, June 6,
               2000, p. A15;Cincinnati Enquirer, Sunday, June 11, 2000, p. E7; Houston
               Chronicle, Friday, June 16, 2000, p. 43; and carried on Los Angeles Times-
               Washington Post newswire service.

          “‘The Patriot’ is right,” New York Post, Thursday, June 22, 2000; reprinted in the
               Philadelphia Inquirer, Friday, June 23, 2000; Washington Times, Friday, June 23,
               2000; Detroit News, Tuesday, July 4, 2000, p. 6; Boston Hearld, Tuesday, August
               1, 2000, p. 6.

          “The Gun-Shy Press: Few Stories Appear When Citizens Use Arms to Save Lives,”
               Inverstor’s Business Daily, Tuesday, July 18, 2000, p. A26.

          “Gun Control: Strictly Symbolism,” The Wall Street Journal, Tuesday, August 1, 2000,
              p. A22.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Fables that Aren't Worth The Price of a Tulip,” Review of Peter M. Garber’s “Famous
               First Bubbles,” The Wall Street Journal, Wednesday, August 2, 2000, p. A20.

          "Gun laws intimidate criminals," Cincinnati Enquirer, Monday, August 7, 2000, p. 11
              and Cincinnati Post, Friday, July 21, 2000.

          “One case for guns,” Christian Science Monitor, Monday, August 21, 2000, p. 9 and The
               Record (Bergen County, NJ), Friday August 25, 2000, p. L9.

          “Gun Licensing Leads to Increased Crime, Lost Lives,” Los Angeles Times, Wednesday,
              August 23, 2000, p. B9.

           “Gore's Threats Could Stop Drug Research, Cost Lives,” Hartford Courant, Friday,
               August 25, 2000; reprinted in the Washington Times, Sunday, September 3, 2000,
               p. B3; Boston Herald, Tuesday, September 5, 2000, p. 21; and Star-Telegram (Fort
               Worth, Texas), Tuesday, September 5, 2000, p. 11B.

           “Bush Is Not a Trigger-Happy Cowboy,” Newsday, Tuesday, August 29, 2000, p. A33;
               updated version published in the Philadelphia Daily News, Wednesday, October 4,
               2000, p. 18; Washington Times, Tuesday, October 10, 2000, p. A15..

          “Gore is Enamored of Price Controls,” Letters to the Editor, The Wall Street Journal,
               Thursday, September 14, 2000, p. A27; reprinted in Wall Street Journal Europe,
               Tuesday, September 19, 2000.

          “A Look into the Details Shows that Bush’s Plan on Taxes Tops Gore’s,” Philadelphia
              Inquirer, Sunday, September 17, 2000, p. D7.

          “Gun Locks can Kill,” Inverstor’s Business Daily, Friday, September 22, 2000, p. A24.

          “Gore-ing the Truth,” Hartford Courant, Friday, September 29, 2000, p. A15, also
               published in the Philadelphia Daily News, Tuesday, October 17, 2000.

          “Regulating gun show sales of firearms,” Oregonian, Friday, October 13, 2000.

           “Gore’s Social Security Scare Tactics,” Philadelphia Daily News, Thursday, November
               2, 2000.

           “Gore might lose a second round: Media suppressed the Bush vote,” Philadelphia
               Inquirer, Tuesday, November 14, 2000.

          “Was Gore Harmed by the Buchanan Vote?” National Review Online, November 15,
              2000.

           “Gore Rewrites the Rules to Win,” coauthored with Stephen Bronars, The Wall Street
              Journal, Tuesday, November 20, 2000, p. A26, also published on
              OpinionJournal.com.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Nation’s High Court Had to Stop Florida’s,” Hartford Courant, Tuesday, December 12,
               2000.

           “A recount not a sure victory for Gore,” coauthored with Stephen Bronars, Philadelphia
                Inquirer, Monday, December 18, 2000, a longer version of this was also published
                on NationalReview.com, Monday, December 18, 2000.

          “Its the Fraud, Stupid,” coauthored with Stephen Bronars, New York Post, Wednesday,
                 December 20, 2000.

          “What Can We do After Wakefield?” Boston Globe, Thursday, December 28, 2000, p.
              A15; also published in the San Diego Union-Tribune, Friday, December 29, 2000,
              p. B9; Chicago Sun-Times, Tuesday, January 2, 2001, p. 21.

          “Guns Decrease Crime,” Letters to the Editor, New York Times, Tuesday, January 9,
              2001, p. A18.

           “Should Michigan keep new concealed weapons law?: Don’t believe gun foe scare
               tactics; experience shows no horror stories,” Detroit News, Sunday, January 14,
               2001, p. 15.

          “The Real Extremists: Gun Control Crowd links John Ashcroft to a Mass Murderer,”
               Inverstor’s Business Daily, Wednesday, January 17, 2001, p. A24; a longer version
               is also published in Philadelphia Daily News, Wednesday, January 17, 2001, p. 19.

          “Some Time To Kill: In Waiting Periods, Gun Buyers Are At Mercy Of Criminals,”
              Inverstor’s Business Daily, Friday, March 3, 2001, p. A26.

          “What can be done to stop hate crimes?” San Diego Union-Tribune, Friday, February 23,
              2001, p. B-9; also published in the Boston Herald, Saturday, March 10, 2001, p.
              013 Philadelphia Daily News, Thursday, March 15, 2001, p. 17.

           “Others Fear Being Placed at the Mercy of Criminals,” Los Angeles Times, Friday,
               March 30, 2001, p. 9; also published in The Record (Bergen County, NJ), Tuesday,
               April 3, 2001, p. L19; Hartford Courant, Tuesday, April 3, 2001; Post and Courier
               (Charleston, SC), Wednesday, April 4, 2001; The Virginian-Pilot (Norfolk, Va.),
               Thursday, April 5, 2001; Dallas Morning News, Tuesday, April 10, 2001, p. 13A.

           “Do Donations Alter Votes?” National Review Online, Friday, March 30, 2001.

          “Gun Proponents Shoot Back,” Newsweek, letters to the editor, April 2, 2001, p. 16.

          “Less Gun Control Means Less Crime,” Reason Online, Tuesday, May 22, 2001.

          “The Effect is Clear: Disarming law-abiding citizens leads to more crime,” Reason
               Online, Thursday, May 24, 2001.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Cost of gun locks too high: More deaths, crime and reliability problems aren't worth it,”
               Philadelphia Inquirer, Saturday, June 2, 2001, p. ; similar expanded version in the
               San Diego Union-Tribune, Thursday, June 8, 2001.

          “When Gun Control Costs Lives,” National Review Online, June 12, 2001.

          “Zero Tolerance Equals Zero Thinking,” Los Angeles Times, Wednesday, June 13, 2001,
               part 2, pg. 13; also published in The Times Union (Albany, NY), Friday, June 15,
               2001, p. A17; San Jose Mercury News, Sunday, June 17, 2001, p. C7; The Record
               (Bergen County, NJ), Sunday, June 24, 2001, p. O6; Bismarck Tribune (Bismarck,
               North Dakota).

           “Gun Permit Statistics Shoot Down Unfounded Fears,” Albuquerque Journal, Sunday,
               June 24, 2001, p. B3.

          “Kmart Sells Out: Ammo Sales End, Under Pressure from PC Prankster,” Inverstor’s
              Business Daily, Tuesday, July 10, 2001, p. A18; related rewritten versions also
              published in the Philadelphia Daily News, Friday, July 20, 2001, p. 23; National
              Review Online, Friday, July 20, 2001.

           “Predictions of increased violence won't pan out,” Detroit Free Press, Wednesday, July
               11, 2001; also published in the Grand Rapids Press (Grand Rapids, Michigan),
               Tuesday, July 10, 2001.

          “Elections, Emotions & Stats,” National Review Online, Thursday, July 12, 2001.

           “Should Doctors Counsel Patients About Guns in the Home?: No,” Physician’s Weekly,
               July 16. 2001.

           “Small Arms Save Lives,” Wall Street Journal Europe, Monday, July 30, 2001; also
               reprinted on RealClearPolitics.com, Tuesday, July 31, 2001; FrontPageMag.com,
               Wednesday, August 1, 2001.

           “On Thin Ice; Florida Voter Discrimination Claims Groundless,” Washington Times,
               Tuesday, July 31, 2001, p. A17; also published in the Boston Herald, Tuesday, July
               31, 2001; RealClearPolitics.com, Sunday, August 5, 2001; Philadelphia Daily
               News, Tuesday, August 14, 2001, p. 19.

          “Insurance for school shootings?” Letters to the Editor, USA Today, Wednesday, August
               1, 2000, p. 10A.

          “Gun News You Never See,” New York Post, Monday, August 6, 2001; also published in
              the Chicago Sun-Times, Friday, August 10, 2001.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “The Great Gun Fight,” Reason Magazine, August/September 2001, pp. 52-60

          “The Quota Costs: Change Standards, And Quality Slips Across The Board,” Inverstor’s
                Business Daily, Tuesday, August 21, 2001, p. A18.

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          "Democrats Play Favorites On Jobs," Fox News, Tuesday, August 10, 2010.

          "Believe It or Not, the U.S. Is In Worse Financial Shape Than Greece," Fox News,
                 Thursday, August 19, 2010.

          "More Bad Economic News, Yet Here Comes ANOTHER Wall Street Bailout," Fox
                News, Tuesday, August 24, 2010.

          "You Call This a 'Recovery'?" Fox News, Friday, August 27, 2010.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          "President Obama, You're Not Fooling All of Us On Immigration," Fox News, Thursday,
                 September 02, 2010.

          "Obama Is Repeating the Mistakes of the 1937 Economic Collapse," Fox News, Friday,
               September 03, 2010.

          "Another Proposal From Obama to Throw Your Money Down the Drain," Fox News,
                Wednesday, September 08, 2010.

          "Austan Goolsbee -- Spinning Like a Top," Fox News, Monday, September 13, 2010.

          "The Recession May Be Over -- But the 'Recovery' Is Very Weak," Fox News, Monday,
                September 20, 2010.

          “Would Unemployment Really Have Been Worse Without the Stimulus?” Fox News,
                Monday, September 27, 2010.

          “Why Gun Bans Still Don't Work September," Fox News, Wednesday, September 29,
                2010.

          “Despite White House Spin, Obama Believes Government Should Run Our Economy,"
                 Fox News, Thursday, October 7, 2010.

          “The Worst Recovery on Record," Fox News, Tuesday, October 12, 2010.

          “If Republicans Win Big on Tuesday, Stocks Will Go Up,” Fox News, Sunday, October
                 31, 2010.

          “Promises, Promises: Will Obama, GOP Keep Theirs?” Fox News, Friday, November 5,
                2010.

          "We Don't Need More Inflation, We Need to Put An End to Obama's Job Killing Policies,"
               Fox News, Tuesday, November 16, 2010.

          "GM's Bailout Is a Financial Disaster," Fox News, Thursday, November 18, 2010.

          "Playing Chicken With China," Fox News, Friday, November 26, 2010.

          “Who Knew? Cutting Government Spending IS Actually Possible,” Fox News,
                Wednesday, December 1, 2010.

          “Assault Weapons and the Truth,” National Review Online, Thursday, December 2, 2010.

          “What the new job numbers mean,” Fox News, Friday, December 3, 2010.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Does President Obama Understand Economics?” Fox News, Tuesday, December 7,
                 2010.

          “The Democrats Flip-Flop On Tax Cuts,” Fox News, Friday, December 10, 2010.

          “The First Entirely ‘Temporary Help Service’ Job Recovery,” Fox News, Monday,
                 December 13, 2010.

          “Class Warfare May Make Good Politics But Is It Fair to the American Taxpayer?” Fox
                 News, Wednesday, December 15, 2010.

          “Americans very gloomy about the economy,” Fox News, Wednesday, December 29,
                2010.

          “Rationing Revealed at the Heart of Obamacare,” Fox News, Wednesday, December 29,
                 2010.

          "The Truth About Fox News Viewers," Fox News, Wednesday, January 5, 2011.

          “Obama Officials Play Chicken Little With the Debt Ceiling,” Fox News, Thursday,
               January 6, 2011.

          "Gun Control Debate: Political Opportunists Swarm In," AOL News, Tuesday, January 11,
                2011.

          “The Case for Arming Yourself,” New York Times website, Wednesday, January 12,
                2011.

          “Rounding Up the Guns: What not to do,” National Review Online, Thursday, January 13,
                2011.

          “The Arizona Shootings, Gun Violence Research and the Facts vs. The New York Times,”
                Fox News, Friday, January 14, 2011.

          “Gun Control Emotions vs. Gun Control Fact,” AOL News, Thursday, January 20, 2011.

          “After Tucson, a New Focus on Guns,” Letters, New York Times, Saturday, January 22,
                 2011, p. A16.

          "My Scary Encounter With Chicago's Mayor Richard Daley," Fox News, February 1,
                2011

          “Mayor Bloomberg's Arizona Gun Show P.R. Stunt,” Fox News, February 2, 2011

          “Another Mistake in The New York Times,” Fox News, February 5, 2011

          “Why Can't Obama Do the Math On Jobs?” Fox News, February 7, 2011




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “The Stimulus, Not Oil Prices, Is Hammering Consumers,” Fox News, February 23, 2011.

          “So How Much Do Public Union Workers Really Make?” Fox News, March 1, 2011.

          “GAO Report and Government Waste -- Can You Spell O-U-T-R-A-G-E?” Fox News,
               March 1, 2011.

          “Illinois Gun Info Plan Is Misguided and Dangerous,” Fox News, March 3, 2011.

          “The Truth About Obama, Democrats and Budget Cuts,” Fox News, March 8, 2011.

          “Should Bans Against Carrying Concealed Weapons Be Lifted On College Campuses?”
                Fox News, March 9, 2011.

          “Why Unions Are Harmful to Workers,” Fox News, March 18, 2011.

          “What's Really Behind Obama's New Push for Gun Control?” Fox News, March 24, 2011.

          “The Folly of Public Campaign Funding,” National Review Online, March 28, 2011.

          "Paul Ryan Is Right About the Budget -- Americans Cannot Afford Another Decade of
                 Massive Government Spending," Fox News, April 5, 2011.

          “Obama Lacks Credibility as a Leader on Spending Cuts,” National Review Online, April
               12, 2011.

          “If Obama Had Kept His Campaign Promises, We Wouldn't Have a Deficit Today,” Fox
                 News, April 14, 2011.

          “Don't Single Out Standard & Poor's for Being 'Political',” Fox News, April 19, 2011.

          “Where Are the Jobs, Mr. President? The Jobless Obama Recovery Continues,” Fox
                News, May 9, 2011.

          “Team Obama's Debt Limit Scare Tactics Are Getting Old -- Fast,” Fox News, May 19,
                2011.

          “Who Has the Best Plans to Rescue America from the Budget Crisis?” Fox News, May
                28, 2011.

          “Don't Single Out Standard & Poor's for Being ‘Political’,” Fox News, June 8, 2011.

          “Greece Needs to Pay Off Debts While It Still Has a Chance,” Fox News, June 22, 2011.

          “Canada's cold proof: Job growth without 'stimulus',” New York Post, Friday, July 8,
                2011.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “The Puzzle of 'Operation Fast and Furious',” Fox News, Friday, July 8, 2011.

          “Seven Myths About the Looming Debt-Ceiling 'Disaster',” Fox News, July 15, 2011.

           “Pelosi Is Right -- The Gang of Six Plan Is Not Ready for Prime Time,” Fox News, July
                 21, 2011.

          “Congress Can Learn From 1995-96 Debt-Ceiling Debate,” Fox News, July 26, 2011.

          “Risk of a U.S. default has been exaggerated: History and the bond markets contradict the
                 hype,” Philadelphia Inquirer, July 27, 2011.

          The Debt Deal's Three Biggest Winners and Losers, Fox News, Tuesday, August 02,
                2011.

          The S&P Downgrade Is a Wake Up Call for All Americans, Fox News, Friday, August 05,
                2011.

          Looks Like We're In a Recession, Not a 'Recovery', Fox News, Friday, August 05, 2011.

          The Texas Miracle Is No Myth, National Review Online, Friday, August 19, 2011.

          Liberals and the Texas Unemployment Miracle, Fox News, Friday, August 19, 2011.

          Obama Gets the Numbers Wrong In His Tax Plan!, Fox News, Monday, September 19,
               2011.

          Has Your Job Been 'Saved'?, Fox News, Tuesday, September 20, 2011.

          Media Silence Is Deafening About Important Gun News, Fox News, Friday, September
                30, 2011.

          The China Currency Bill Will Make Americans Poorer, Not Richer, Thursday, Fox News,
                October 06, 2011.

          Is the Public Sector Hurting?, National Review Online, Wednesday, October 26, 2011.

          Yes, the Economy Is Growing But Obama's Policies Are Not Helping, Fox News,
                 Thursday, October 27, 2011.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          Goolsbee’s Gaffes, National Review Online, Wednesday, November 2, 2011.

          Blame Bush -- Is That Holder's Strategy to Get Out of the 'Fast and Furious' Mess?, Fox
                News, Tuesday, November 08, 2011.

          What's Wrong With Making It Easier to Carry a Gun Across State Lines?, Fox News,
                 Tuesday, November 15, 2011.

          What the New Unemployment Numbers Are Telling Us, Fox News, Friday, December 02,
                 2011.

          Fast and Furious Scandal Cries Out for Answers, Fox News, Friday, December 09, 2011.

          President Obama’s Anti-gun Agenda Shows No Sign of Stopping, Fox News, Wednesday,
                 December 28, 2011.

          Obama has learned nothing from the Mortgage Meltdown, Fox News, Monday, January 2,
               2012.

          Should New York tourists have their lives destroyed because of concealed carry laws?,
                 Fox News, Wednesday, January 17, 2012.

          Lessons to be learned from Europe's debt downgrades, Fox News, Monday, January 23,
                2012.

          President Obama's strange definition of fairness, Fox News, Monday, January 26, 2012.

          The bad news behind the January jobs report, Fox News, Friday, February 3, 2012.

          David Brock, Media Matters and gun control hypocrisy, Fox News, Thursday, February
                16, 2012.

          Death of a Long-Gun Registry, National Review Online, co-authored with Gary Mauser,
                 Monday, February 20, 2012.

          Obama's contraception deception, Fox News, Thursday, March 1, 2012.

          What's the truth about the unemployment numbers?, Fox News, Sunday, March 4, 2012.

          Amendment II: The Right of the People to Keep & Bear Arms, Shall Not Be Infringed,
               Constituting America, Tuesday, March 6, 2012.

          Speculators smooth out the rough spots, Philadelphia Inquirer, co-authored with Grover
                 Norquist, Sunday, March 11, 2012.



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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          Yes, government policies could help bring down the price of gas -- today, Fox News,
                 Tuesday, March 13, 2012.

          If lead bullets are banned, it could compromise self-defense, Fox News, Friday, March 16,
                  2012.

          Where did stimulus money really go?, Fox News, Friday, March 23, 2012.

          Ask Canada -- gun registration won't make D.C. safer, Washington Examiner, co-
                authored with Gary Mauser, Tuesday, March 27, 2012.

          It’s not about Stand Your Ground, National Review Online, Wednesday, March 28, 2012.

          Big Labor's Endorsement For Obama Is All About Repaying Favors, Inverstor’s Business
                 Daily, co-authored with Grover Norquist, Wednesday, March 28, 2012.

          Author Claims Obama's War On Jobs and Growth a ‘Debacle,’ CNBC, Friday, March 30,
                 2012.

          Obama’s stimulus delayed recovery, Politico, co-authored with Grover Norquist, Monday,
               April 2, 2012.

          Trayvon Martin, George Zimmerman and the media's misleading rhetoric on guns, Fox
                News, Tuesday, April 3, 2012.

          Defending Fiscal Insanity “Demagoguery” is not too strong of a word to describe Obama’s
                speech, National Review Online, Thursday, April 5, 2012.

          Team Obama and the phantom jobs that never were, Fox News, Friday, April 6, 2012.

          Where’s the ‘Probable Cause’? The affidavit in the Zimmerman case fails to justify a
                second-degree-murder charge, Fox News, Friday, April 13, 2012.

          Krugman's bad predictions, Fox News, Friday, April 13, 2012.

          Stand Your Ground makes sense: These are sane laws that protect people, New York Daily
                 News, Tuesday, April 24, 2012.
          U.S. money give to GM has been a bad investment, Philadelphia Inquirer, Sunday, May
                6, 2012.
          Media Matters, 'Stand Your Ground' and me, Fox News, Tuesday, May 8, 2012.
          Obama and GM Cook the Books, National Review Online, Wednesday, May 16, 2012.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          What Zimmerman, Martin medical reports tell us and the media didn't, Fox News,
                Wednesday, May 16, 2012.
          Bloomberg’s Soda Ban, National Review Online, Tuesday, June 5, 2012.
          Two mistakes in Obama's press conference last week, Fox News, Monday, June 11, 2012.
          Obama's revisionism: He predicted a strong economy, but blames his failure on Bush,
                National Review Online, Monday, June 18, 2012.
          Fast and Furious -- Holder's day of reckoning has finally arrived, Fox News, Wednesday,
                 June 20, 2012.
          The Obama Debacle, National Review Online, Thursday, June 21, 2012.
          A Nation too scared to quit, New York Post, Monday, June 25, 2012.
          Holder contempt citation -- just remember that people died because of 'Fast and Furious,'
                 Fox News, Thursday, June 28, 2012.
          A disappointing jobs picture and no, we're not doing better than Europe, Fox News,
                 Friday, July 6, 2012.
          The truth about Obama's tax cut extension plan, Fox News, Monday, July 9, 2012.
          Austerity Works: It's Time to Give It a Try, co-authored with Sherwin Lott, Real Clear
                 Markets, Monday, July 16, 2012.
          Obama needs a history lesson on business and the US, Fox News, Monday, July 16, 2012.
          UN gun control treaty will reveal gun laws Obama really supports, Fox News, Thursday,
                July 19, 2012.
          Concealed Weapons Save Lives, New York Daily News, Wednesday, July 25, 2012.
          ‘Military-Style Weapons’: Function, not cosmetics, should govern gun policy, National
                  Review Online, Friday, July 27, 2012.
          New gun laws will do nothing to stop mass shooting attacks, Fox News, Monday, July 30,
                2012.
          What Mayor Bloomberg Doesn't Know About Police and Guns, Wall Street Journal,
                Wednesday, August 2, 2012, p. A13.
          President Obama, and the Myth About 4.5 Million New Jobs, Real Clear Markets,
                 Monday, August 13, 2012.
          “Guns in Schools can save lives,” USA Today, December 26, 2012.
          “After Newtown shooting, how should nation respond?” USA Today Roundtable on Guns
                 in America, USA Today, December 27, 2012, p. 9A.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “The Facts About Gun Bans,” Philadelphia Inquirer, January 2, 2013.
          "The Facts About Assault Weapons and Crime,” Wall Street Journal, Thursday, January
                 17, 2013.
          "The ‘40 Percent’ Myth: The figure gun-control advocates are throwing around is false,"
                 National Review Online, Thursday, January 25, 2013.
          “Don't Rush, but Really Think How to Reduce Murders,” Letters, Wall Street Journal,
                 Monday, January 28, 2013.
          “Obama’s spending failure,” Daily Caller, Wednesday, February 13, 2013.
          “Misleading claims about what new proposals will do,” Philadelphia Inquirer, Tuesday,
                 February 21, 2013.
          “Will Obama push us over the edge?,” Fox News, Friday, February 22, 2013.
          “Ted Cruz Sets the Record Straight on Guns,” National Review Online, Friday, February
                22, 2012, 2013.
          “Obama's Sequester Cuts Are A Mere 1% Of Budget,” Inverstor’s Business Daily,
               Monday, February 25, 2013.
          “The truth about assault weapons bans and background checks,” Fox News, Thursday,
                 February 28, 2013.
          “February's jobs report only looks good because our expectations are so low?” Fox News,
                 Friday, March 8, 2013.
          “Can poor people be trusted with guns?” Fox News, Tuesday, March 12, 2013.
          “Fact vs. fiction on background checks and the gun control debate,” Fox News, Tuesday,
                 April 9, 2013.
          “Who is really lying in the gun debate?” Fox News, Thursday, April 18, 2013.
          "What Should We Do about Guns?” National Review Online, Wednesday, May 1, 2013.
          "Children and Guns: The Fear and the Reality," National Review Online, Monday, May
                 13, 2013.
          “Why gun control just got even more difficult,” Fox News, Friday, May 31, 2013.
          “The real hole in the border bill,” New York Post, Monday, June 10, 2013.
          “Gabrielle Giffords and Mark Kelly are wrong about gun control,” New Hampshire
                 Union Leader, Thursday, July 4, 2013.
          “Polls give a skewed picture of gun issues,” Columbus Dispatch, Friday, July 5, 2013.
          “The Zimmerman trial is already over,” Fox News, Saturday, July 5, 2013.



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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Celebrating quasi-freedoms,” Philadelphia Inquirer, Saturday, July 6, 2013.
          “Trayvon Martin's testimony wouldn't have changed anything in Zimmerman trial,” Fox
                News, Wednesday, July 10, 2013.
          “We never should have witnessed a Zimmerman trial,” Fox News, Friday, July 14, 2013.
          “Focus is on the wrong law,” Fox News, Saturday, July 20, 2013.
          “What liberal media won't tell you -- blacks benefit most from Stand Your Ground laws,”
                 Fox News, Wednesday, July 31, 2013.
          Gun toting teachers' names must remain private,” Fox News, Friday, August 9, 2013.
          "Speeches won't boost economy,” Philadelphia Inquirer, Friday, August 23, 2013.
          “Don't Rush, but Really Think How to Reduce Murders,” Letters, Scientific American,
                 Friday, August 23, 2013.
          "Obama’s Racial Imbalance: He professes outrage when there’s little evidence of bias
               against blacks, but ignores attacks on whites," National Review Online, Saturday,
               August 24, 2013.
          “The truth about Obama's new executive orders targeting guns,” Fox News, Thursday,
                 August 29, 2013.
          “Jobs numbers reflect another bleak month for American workers,” Fox News, Friday,
                 September 6, 2013.
          “No, Obama’s judicial nominees don’t have unusually long confirmation times,” Daily
                Caller, Wednesday, September 11, 2013.
          “Democrats knew what they wanted in Colorado, but they overreached,” National Review
               Online, Wednesday, September 11, 2013.
          “What we've learned from the very partial government slimdown,” Fox News, Friday,
                October 11, 2013.
          “The dumbing down of America's judges,” Politico, Thursday, October 17, 2013.
          “In defense of stand your ground laws,” Chicago Tribune, Tuesday, October 28, 2013.
          "No Such Thing as a Free Lunch,” National Review Online, Thursday, October 31, 2013.
          “Are you a racist if you own a gun?” Fox News, Friday, November 1, 2013.
          "New gun rules for Neighborhood Watch volunteers in Sanford, Fla. about race, politics
                not saving lives," Fox News, Tuesday, November 5, 2013.
          “Why insurance companies who follow the ObamaCare 'fix' could face legal troubles,”
                Fox News, Friday, November 15, 2013.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “Blame the Dems for blocking judges,” New York Post, Thursday, November 21, 2013.
          “NFL hypocrisy -- Bloomberg anti-gun ads ok but ad about ‘protection’ is banned?,” Fox
                News, Wednesday, December 4, 2013.
           “Why insurance companies who follow the ObamaCare 'fix' could face legal troubles,”
                Fox News, Friday, November 15, 2013.
          “Blame the Dems for blocking judges,” New York Post, Thursday, November 21, 2013.
          “NFL hypocrisy -- Bloomberg anti-gun ads ok but ad about ‘protection’ is banned?,” Fox
                News, Wednesday, December 4, 2013.
          “1 year after Newtown, support for stricter gun control has disappeared,” Fox News,
                 Friday, December 13, 2013.
          “New York's Fact-Free Gun Ruling,” National Review Online, Friday, January 3, 2014.
          “Why most Americans believe the US economy is poor (and they're right),” Fox News,
               Monday, January 6, 2014.
          “Some realities to consider before passing more gun-control bills,” The Philadelphia
                Inquirer, Sunday, January 12, 2014.
          “How the Courts Got Dumbed Down,” Cato Unbound, Monday, January 13, 2014.
          “Potential concealed weapon databases by Civitas Media won't make US safer,” Fox
                 News, Saturday, January 25, 2014.
          “The Cruelty of Gun-Free Zones,” National Review Online, Friday, January 31, 2014.
          “ABC News reports on guns mislead Americans,” Fox News, Friday, February 7, 2014.
          “It may soon be easy to carry a permitted concealed handgun in California,” Fox News,
                 Thursday, February 13, 2014.
          “We're looking at 2.5 million discouraged workers thanks to ObamaCare,” Fox News,
                 Thursday, February 13, 2014.
           “Bloomberg's latest stats on school gun violence ignore reality,” Fox News, Monday,
                February 17, 2014.
          “Media cherry picks Missouri gun data to make misleading case for more control,” Fox
                News, Friday, February 21, 2014.
          “Piers Morgan's Revealing Rancor,” National Review Online, Monday, February 24,
                 2014.
          “Don't believe mainstream media mistruths about firearms research,” Fox News,
                 Thursday, February 27, 2014.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Brady Law Has Done Little To Keep Guns Out Of Criminals' Hands,” Inverstor’s
                 Business Daily, Monday, March 3, 2014.
          “The Police Should Carry Guns Off The Job To Protect Us,” Inverstor’s Business Daily,
                Thursday, March 13, 2014.
          “Surgeon General nomination forces Senate Democrats to hide gun views,” Fox News,
                Wednesday, March 19, 2014.
          “No more sitting ducks — we must arm our soldiers on their bases,” Pittsburgh Tribune,
                Saturday, March 22, 2014.
          “Michael Bloomberg, Gun Control And Fabricated Numbers,” Inverstor’s Business Daily,
                Thursday, April 3, 2014.
          “After Fort Hood: Should soldiers be allowed to bear arms on base?,” Fox News,
                 Wednesday, April 9, 2014.
          “Let soldiers carry guns on bases,” Chicago Tribune, Wednesday, April 9, 2014.
          “What the press is missing in Bloomberg's anti-gun push,” Fox News, Thursday, April 17,
                 2014.
          “Shaping the gun-control debate,” Pittsburgh Tribune-Review, Sunday, April 26, 2014.
           “Media bias on gun free zones,” Fox News, Thursday, May 1, 2014.
          “The Shaky Case against the Death Penalty,” National Review Online, Thursday, May 8,
                2014.
          “Another Round in the Death-Penalty Debate,” National Review Online, Tuesday, May
                13, 2014.
          “A Reply to The Atlantic on the Death Penalty,” National Review Online, Tuesday, May
                20, 2014.
          “Memo to gun-control advocates: Even Elliot Rodger believed guns would have deterred
               him,” Fox News, Wednesday, May 28, 2014.
          “Bloomberg's Bogus Gun-Control Numbers,” National Review Online, Thursday, May
                29, 2014.
          “Media feeding frenzy over open carry guns in restaurants much ado about nothing,” Fox
                News, Tuesday, June 3, 2014.
          “Killers seek gun-free zones for attacks,” Philadelphia Inquirer, Friday, June 13, 2014.
          “Making up facts about guns,” Fox News, Monday, June 16, 2014.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “What liberal media won't tell you: School shooting deaths down, not up, across
                 America,” Fox News, Friday, June 20, 2014.
           “What the Supreme Court still doesn't understand about guns,” Fox News, Wednesday,
                 June 25, 2014.
          “Beware of Populist Economics,” Barron's, Saturday, July 5, 2014.
          “Soccer may be 'in,' but it's not an injury-free sport,” Philadelphia Inquirer, Monday, July
                 7, 2014.
          “Mr. Obama, you can’t blame our economic troubles on weather,” Fox News, Monday,
                July 7, 2014.
           “Chicago violence: The buck stops with you, Rahm Emanuel.” Fox News, Wednesday,
                 July 16, 2014.
          “False claims may allow illegal immigrants to stay in the US,” Fox News, Tuesday, July
                 29, 2014.
          “Armed doctor saved lives,” Philadelphia Inquirer, Tuesday, July 29, 2014.
          “Why Legalizing Concealed Carry Is The Answer To Persistent Stalkers,” The Daily
                Caller, Tuesday, August 5, 2014.
          “The facts about Dartmouth student Taylor Woolrich and her stalker,” Fox News,
                 Tuesday, August 12, 2014.
          “Studies show right-to-carry laws reduce crime,” Indianapolis Star, Tuesday, August 19,
                 2014.
           “Violent Crime, Not Police Abuse, Is The Real Threat To Black Americans,” The Daily
                 Caller, Friday, August 22, 2014.
          “Michael Bloomberg's anti-gun propaganda,” Fox News, Monday, October 6, 2014.
          “The truth about young black men and police shootings.” Fox News, Wednesday, October
                 22, 2014.
          “Every time that guns have been banned murder rates go up,” co-authored with Kesten
                 Green, The Advertiser (Adelaide, South Australia), Thursday, October 23, 2014.

          “‘Lone Wolf’ terror attacks: We're sitting ducks and Americans with guns are last line of
                 defense.” Fox News, Thursday, October 30, 2014.
          “Hidden consequences of Washington State’s gun background check Initiative 594,” Fox
                News, Saturday, November 1, 2014.
          “It’s shocking how little was spent on the midterms,” with Bradley A. Smith, The Wall
                  Street Journal, Saturday, November 7th, 2014.




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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “America Should Make It Easier To Carry Guns,” Investors Business Daily, Thursday,
                November 20, 2014.

          “‘New’ research on gun laws and crime was flawed,” co-authored with Lloyd Cohen and
                Carl Moody, Washington Post, Letters, Tuesday, November 25, 2014.

          “Dangerous distortions about cops shooting black men,” New York Daily News, Tuesday,
                December 2, 2014.
          “Ferguson: Obama continues to undermine police departments around the country,” Fox
                 News, Wednesday, December 3, 2014.

          “Media Matters, the facts and me,” Fox News, Tuesday, December 9, 2014.

          “Expert: Blacks trust police more than whites do,” Fox News, Friday, December 19, 2014.

          “When Security Fails, Gun Rights Are The Last Line Of Defense,” Daily Caller, Friday,
                December 19, 2014.

          “Why most Americans oppose more gun control,” Fox News, Tuesday, December 30,
               2014.

          “Do Blacks Really Feel Especially Distrustful Of Cops?” Investors Business Daily,
                Tuesday, January 6, 2015.

          “There are limits to how well police and security agencies can protect us,” co-authored
                 with Kesten Green, The Advertiser (Adelaide, South Australia), Thursday, January
                 8, 2015.

          "The bias against guns: What the media isn't telling you,” Fox News, Friday, January 9,
                 2015.

          “Let’s not be so quick to believe gun-control rhetoric,” Fox News, Friday, January 16,
                  2015.

          “Terrorists can strike any time, anywhere: Self defense saves lives,” Fox News, Tuesday,
                 January 27, 2015.

          “Open Carry versus Campus Carry: What should be the priority,” Austin Statesman
                (Texas), Monday, February 12, 2015.

          “What is more likely to kill you-a gun or a car?” Fox News, Monday, February 12, 2015.




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                                             0116
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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Let’s not be so quick to believe gun-control rhetoric,” Fox News, Monday, February 16,
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                 Friday, May 1, 2015.

          “Hillary Clinton’s dishonest crime dodge: Her Columbia speech betrays a failure to
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                                          Exhibit 1
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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

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                 Fox News, Friday, May 29, 2015.

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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Gun-control Shills won’t let Roanoke journalists’ murders go to waste,” The Daily
                 Caller, Tuesday, September 1, 2015.

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                                                           John R. Lott, Jr. Page 119
      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

           “Keeping guns out gets us nowhere in staying safer,” Michigan Live, Tuesday, November
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          “As Paris attacks show, Europe in denial about gun rights,” Investor’s Business Daily,
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                                                           John R. Lott, Jr. Page 120
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      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

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                                                                       John R. Lott, Jr. Page 122

      SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

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          “Feds can fight gun crime by fixing flaws in universal background checks,” New York
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          “The Government May Be Allowed to Ban Books and Movies,” co-authored with Bradley
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          “Vote Fraud is not a Myth,” National Review Online, Tuesday, November 8, 2016.

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                                             0123
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 GRANTS:

               Political Economy Research Center, Summer 1987.
               Institute for Humane Studies, Summer 1990.
               University of Pennsylvania Research Foundation, Summer 1992.


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            Public Choice Society
            Western Economic Association

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                                             Exhibit 1
                                               0124
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              EXHIBIT "2"




                                    Exhibit 2
                                      0125
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U.S. Department of Justice
Office of Justice Programs
Bureau of Justice Statistics

JANUARY 2019
                                             Special Report                                                                NCJ 251776


   Source and Use of Firearms Involved in
   Crimes: Survey of Prison Inmates, 2016
Mariel Alper, Ph.D., and Lauren Glaze, BJS Statisticians




B
       ased on the 2016 Survey of Prison Inmates              Figure 1
       (SPI), about 1 in 5 (21%) of all state and federal     Percent of all state and federal prisoners who had
       prisoners reported that they had possessed or          possessed or used a firearm during their offense, 2016
carried a firearm when they committed the offense
for which they were serving time in prison (figure 1).               Possesseda
More than 1 in 8 (13%) of all prisoners had used                        Any gun
a firearm by showing, pointing, or discharging it
during the offense for which they were imprisoned.                     Handgun
Fewer than 1 in 50 (less than 2%) of all prisoners had        Gun they obtained
obtained a firearm from a retail source and possessed,         from retail source
carried, or used it during the offense for which they
were imprisoned.                                                         Usedb
An estimated 287,400 prisoners had possessed a                          Any gun
firearm during their offense. Among these, more than
half (56%) had either stolen it (6%), found it at the                  Handgun
scene of the crime (7%), or obtained it off the street        Gun they obtained
or from the underground market (43%). Most of                  from retail source
the remainder (25%) had obtained it from a family                                   0     5          10             15      20        25
member or friend, or as a gift. Seven percent had                                                         Percent
purchased it under their own name from a licensed             Note: See appendix table 1 for standard errors.
                                                              aIncludes prisoners who carried or possessed a firearm during the
firearm dealer.                                               offense.
                                                              bIncludes prisoners who showed, pointed, or discharged a firearm
                                                              during the offense.
                                                              Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


                                                      HIGHLIGHTS
     About 21% of state and 20% of federal prisoners said      Among prisoners who possessed a firearm during
       they possessed a gun during their offense, while            their offense, 0.8% obtained it at a gun show.
       79% of state and 80% of federal prisoners did not.        About 1 in 5 state and federal prisoners who
     About 29% of state and 36% of federal prisoners             possessed a firearm during their offense obtained it
       serving time for a violent offense possessed a gun          with the intent to use it during the crime.
       during the offense.                                       Among state prisoners who possessed a gun during
     About 1.3% of prisoners obtained a gun from a retail        their offense, 27% killed someone with it, another
       source and used it during their offense.                    12% injured someone, 7% fired the gun but did not
     Handguns were the most common type of firearm               injure anyone, and 54% did not fire it.
       possessed by state and federal prisoners (18% each);      State prisoners with no military service were more
       11% of all prisoners used a handgun.                        likely to possess a gun during their offense (21%) than
     Among prisoners who possessed a gun during their            prisoners who had served in the military (16%).
       offense, 90% did not obtain it from a retail source.



                                                        Exhibit 2
                                                          0126
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Statistics in this report are based on self-reported                    survey since the 1970s, with the most recent iteration
data collected through face-to-face interviews with                     fielded in 2004. The survey collects information from
a national sample of state and federal prisoners in the                 prisoners on a variety of topics, including firearm
2016 SPI. (See Methodology.)                                            possession during the crime for which a prisoner was
                                                                        serving time and how the firearm was used during
The 2016 SPI data collection was conducted from                         the crime. It also collects information on the method,
January through October 2016. The SPI was formerly                      source, and process that prisoners used to obtain the
known as the Survey of Inmates in State and Federal                     firearm. (See appendix 1, Questions related to firearms
Correctional Facilities (SISFCF). The Bureau of                         in the Survey of Prison Inmates, 2016.)
Justice Statistics (BJS) has periodically conducted the


  Terms and definitions
     Firearm − a weapon that uses gunpowder to                                 ——   Pawn shop – a business that offers secured
       shoot a bullet. Primary types are handguns, rifles,                            loans to customers, with personal property
       and shotguns:1                                                                 used as collateral. This personal property is
         ||   Handgun – a firearm which has a short stock                             sold to the public if the loan is not repaid.
              and is designed to be held and fired by the use                    ——   Flea market – a market that rents space to
              of a single hand.                                                       individuals to sell or barter merchandise.
         ||   Rifle – a firearm intended to be fired from the                    ——   Gun show – a temporary market where
              shoulder and designed to use the energy of an                           licensed dealers and unlicensed sellers can
              explosive to fire only a single projectile through                      rent tables or booths to sell firearms.
              a rifled bore for each single pull of the trigger.            ||   Obtained from an individual – includes
         ||   Shotgun – a firearm intended to be fired from                      purchasing, trading, renting, or borrowing
              the shoulder and designed to use the energy                        from a family or friend. Also includes when
              of an explosive to fire through a smooth                           the firearm was gifted to or purchased for
              bore either a number of ball shot or a single                      the person.
              projectile for each pull of the trigger.                      ||   Off the street or underground market – illegal
     Firearm possession – carrying or possessing at least                      sources of firearms that include markets for
       one firearm when the offense for which prisoners                          stolen goods, middlemen for stolen goods,
       were serving a sentence was committed.                                    criminals or criminal enterprises, or individuals
     Firearm use – showing a firearm to or pointing a                          or groups involved in sales of illegal drugs.
       firearm at anyone or discharging a firearm during the                ||   Theft – includes stealing the firearm during a
       offense for which a prisoner was serving time.                            burglary or from a retail source, family member,
     Source of the firearm – from where and how                                friend, or another source.
       prisoners reported obtaining the firearm they                        ||   Other sources – includes a firearm that a prisoner
       possessed during the crime for which they                                 obtained or found at the location of the crime,
       were imprisoned—                                                          including one that belonged to a victim or that
         ||   Purchased or traded from a retail source –                         someone else brought to the location of the
              includes a gun shop or store, pawn shop, flea                      crime. This category also includes sources for
              market, or gun show.                                               which there were few responses, such as for guns
                                                                                 bought online, and other sources that did not
              ——   Gun shop or store – a business                                fit into one of the existing categories. This also
                   establishment that sells firearms in an open                  includes instances where there was not enough
                   shopping format.                                              information to categorize the source, such as
  1The definitions of types of firearms in this section were taken               when a firearm was purchased from an unknown
                                                                                 source or obtained from another person by an
  from 18 U.S.C. § 921 (2009). They have been edited for length.
                                                                                 unknown method.




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                         2
                                                                     0127
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Controlling-offense characteristics                                             the crime. About 37% of state and 28% of federal
                                                                                prisoners serving time for homicide used a firearm
About 29% of state and 36% of federal prisoners                                 during the homicide.
serving a sentence for a violent offense in 2016
possessed a firearm during the crime (table 1). About                           Among those serving time for robbery, more than
a quarter of state (23%) and federal (25%) prisoners                            2 in 5 state prisoners (43%) and federal prisoners (46%)
serving time for a violent offense used a firearm during                        possessed a firearm during the offense, and nearly a
the crime. “Firearm use” is defined in this report as                           third of state (31%) and federal (32%) prisoners used
showing, pointing, or discharging a firearm during the                          a firearm during the robbery. Firearm possession was
offense for which a prisoner was serving a sentence.                            less common among state prisoners serving a sentence
                                                                                for rape or sexual assault (2%). Less than 1% of state
Among prisoners serving time for homicide, more                                 prisoners serving time for rape or sexual assault used a
than 2 in 5 (44%) state prisoners and more than 1 in 3                          firearm in the commission of their crime.
(36%) federal prisoners had possessed a firearm during

TABLE 1
Firearm possession and use among state and federal prisoners during the offense for which they were serving time,
by type of controlling offense, 2016
                                          Estimated        Percent of state prisoners who—         Estimated         Percent of federal prisoners who—
                                          number of          Possessed                             number of           Possessed
Controlling offensea                      state prisonersb   a firearmb Used a firearmc            federal prisonersb a firearmb        Used a firearmc
   Total                                    1,211,200           20.9%             13.9%                170,400            20.0%               5.0%
Violent*                                      667,300           29.1%             23.0%                 20,900            36.2%              25.3%
   Homicided                                  191,400           43.6              37.2                   3,800            35.9               28.4
   Rape/sexual assault                        144,800             2.0              0.8                   2,400                :                  :
   Robbery                                    149,600           43.3              31.5                  10,700            46.3               32.1
   Assault                                    149,400           25.0              20.6                   2,900            29.0               18.1
   Other violente                              32,200           17.0              12.6                   1,200            34.1                   :
Property                                      186,100             4.9% †           2.0% †               12,000             2.6% †                :
   Burglary                                    88,100             6.7              3.2                      300               :                  :
   Other propertyf                             98,000             3.3              1.0                  11,800             2.4                   :
Drug                                          180,800             8.4% †           0.8% †               80,500            12.3% †             0.6% †
   Traffickingg                               130,500             9.4              0.9                  72,300            12.9                0.7
   Possession                                  45,900             6.1                 :                  3,500                :                  :
   Other/unspecified drug                       4,300                :                :                  4,700                :                  :
Public order                                  158,300           21.5% †            5.6% †               52,900            30.2%               5.3% †
   Weaponsh                                    43,800           67.2              15.7                  22,200            66.9               11.3
   Other public orderi                        114,400             4.0              1.7                  30,700             3.6                   :
Other                                           3,900                :                :                  1,800                :                  :
Unknown                                        14,900             4.3% †              :                  2,200                :                  :
Note: See appendix table 2 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level across main categories, and no testing was done on subcategories
(e.g., homicide).
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aSee Methodology for information on how controlling offense was measured.
bExcludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession. Includes prisoners who were
missing responses on firearm use.
cExcludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession, and an additional 0.6% of state
prisoners and 0.7% of federal prisoners who were missing responses on firearm use.
dIncludes murder and both negligent and non-negligent manslaughter.
eIncludes kidnapping, blackmail, extortion, hit-and-run driving with bodily injury, child abuse, and criminal endangerment.
fIncludes larceny, theft, motor vehicle theft, arson, fraud, stolen property, destruction of property, vandalism, hit-and-run driving with no bodily injury,
criminal tampering, trespassing, entering without breaking, and possession of burglary tools.
gIncludes possession with intent to distribute.
hIncludes being armed while commiting a crime; possession of ammunition, concealed weapons, firearms and explosive devices; selling or trafficking
weapons; and other weapons offenses. Among federal prisoners, weapons offense include violations of federal firearms and explosives.
iIncludes commercialized vice, immigration crimes, DUI, violations of probation/parole, and other public-order offenses.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                                            3
                                                                        0128
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State and federal prisoners serving time for a violent                          Extent of firearm use among prisoners during
offense were much more likely to have possessed a                               the crime
firearm during the offense (29% state, 36% federal)
than prisoners serving time for a property (5% state,                           State and federal prisoners in 2016 who had possessed
3% federal) or drug (8% state, 12% federal) offense.                            a firearm during their offense were about equally
Among prisoners serving time for a public-order                                 likely to report that they had obtained the firearm
offense, about 1 in 5 (21%) state prisoners and nearly                          with the intent to use it during the offense (19% state,
1 in 3 (30%) federal prisoners reported that they                               20% federal) (table 2). However, state prisoners (68%)
possessed a firearm during the crime, and about 1 in 20                         who possessed a firearm were more than 2.5 times
reported they had used it. About two-thirds of state                            as likely as federal prisoners (26%) who possessed a
and federal prisoners sentenced for a weapons offense                           firearm to have used it during the crime.
said they possessed a firearm during the crime.2                                Nearly half of state prisoners (46%) serving a sentence
2In addition to prisoners serving a sentence in state or federal                for a crime during which they possessed a firearm
prison in 2016 who possessed a firearm during the offense, weapons              discharged the firearm when they committed the
offenses include prisoners who were convicted of trafficking                    crime, compared to 12% of federal prisoners. Among
firearms but did not possess them at the time of the offense and                state prisoners who possessed a firearm during their
prisoners who were convicted of a weapons offense that did not
involve a firearm.                                                              offense, 27% killed a victim with the firearm and
                                                                                another 12% injured or shot a victim but did not kill
                                                                                him or her. Federal prisoners who possessed a firearm
                                                                                when they committed their offense were much less
                                                                                likely to have killed (4%) or injured (2%) a victim with
                                                                                the firearm than state prisoners.

TABLE 2
Among state and federal prisoners who possessed a firearm during the offense for which they were serving time,
extent of firearm use, 2016
                                                                                            State prisoners                  Federal prisoners
                                                       State         Federal            Violent       Non-violent        Violent       Non-violent
Firearm use                                            prisoners*    prisoners          offense*      offensea           offense*      offensea
   Total                                                100%          100%                100%           100%             100%            100%
Obtained firearm because planned to use
 in controlling offenseb
  Yes                                                   19.3%         19.7%               17.7%          24.6% †          26.4%          18.0%
  No                                                    80.7          80.3                82.3           75.4 †           73.6           82.1
Used firearmc                                           68.0%         25.9% †             81.0%          24.8% †          72.5%          12.9% †
  Discharged                                            46.5%         11.9% †             55.9%          15.4% †          27.3%           7.5% †
     Killed victim                                      27.1           4.1 †              35.0               :            16.5               :
    Injured/shot victim but did not kill victim         12.4           2.2 †              14.5            5.3 †               :              :
    Discharged firearm but did not shoot anyone          7.0           5.6                 6.4            9.0              5.7            5.4
  Did not discharged                                    21.5%         14.0% †             25.2%           9.4% †          45.3%           5.4% †
Did not use firearm                                     32.0%         74.1% †             19.0%          75.2% †          27.5%          87.1% †
  Estimated number of prisoners who possessed
    a firearm (with valid data)e                       245,400         32,900           187,800         57,000             7,200          25,600
Note: Percentages are based on data reported on firearm possession, use, and controlling offense. Excludes 3.1% of state prisoners and 3.5% of federal
prisoners who possessed a firearm during the offense and were missing responses on firearm use and 0.3% of state prisoners and 0.7% of federal
prisoners who possessed a firearm and were missing a controlling offense. The sum of violent offense and non-violent offense does not equal the total
number of state and federal prisoners who possessed a firearm in this table due to an estimated 600 state and 100 federal prisoners whose offense
type was unknown. See appendix table 3 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aIncludes property, drug, public order, and other non-violent offenses.
bPercentages are based on the 246,200 state and 32,600 federal prisoners who reported they carried or possessed a firearm and whether they
obtained a firearm to use during the offense.
cIncludes prisoners who showed a firearm to anyone, pointed a firearm at anyone, or discharged the firearm during the offense.
dIncludes prisoners who showed or pointed a firearm at anyone during the offense but did not discharge it.
eIncludes prisoners who reported they carried or possessed a firearm. Excludes prisoners who were missing responses on firearm possession or use.
For violent offense and non-violent offense, also excludes prisoners who were missing a controlling offense.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.
                                                                    Exhibit 2
                                                                      0129
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Among prisoners who possessed a firearm during                               Type of firearm possessed by prisoners
a violent offense, a large majority of both state                            during offense
(81%) and federal (73%) prisoners used the firearm
during the offense, far more than the percentages for                        Handguns were by far the most common type of
non-violent offenders (25% state, 13% federal). More                         firearm possessed or used by prisoners during the
than half (56%) of state prisoners serving time for a                        crime for which they were sentenced. About 18% of all
violent offense who possessed a firearm during the                           state and federal prisoners in 2016 reported that they
crime discharged it, compared to fewer than a sixth                          had possessed a handgun during the crime for which
(15%) of non-violent offenders in state prison who                           they were serving a sentence (table 3). Two percent or
possessed a firearm. Violent offenders (27%) in federal                      fewer possessed a rifle or a shotgun. Twelve percent
prison who possessed a firearm during the crime were                         of state and 5% of federal prisoners used a handgun
about 3.5 times as likely to discharge it as non-violent                     during their offense. Most state (79%) and federal
offenders (8%). Among state prisoners who had                                (80%) prisoners did not possess any type of firearm
possessed a firearm during their offense, however,                           during the crime for which they were imprisoned.
non-violent offenders (25%) were more likely than
violent offenders (18%) to have planned to use the
firearm during the offense.

TABLE 3
Firearm possession and use among state and federal prisoners during the offense for which they were serving time,
by type of firearm, 2016
                                       Percent of prisoners who possessed a firearm                 Percent of prisoners who used a firearma
Type of firearm                    All prisoners          State*           Federal            All prisoners           State*             Federal
   Total                                100%              100%               100%                  100%               100%                100%
Firearmb                               20.8%              20.9%              20.0%                12.8%               13.9%                5.0% †
   Handgun                             18.4               18.4               18.3                 11.2                12.2                 4.6
   Rifle                                 1.5               1.4                2.0 †                 0.8                0.8                 0.4 †
   Shotgun                               1.6               1.6                1.7                   1.1                1.2                 0.4 †
No firearm                             79.2%              79.1%              80.0%                87.2%               86.1%               95.0%
   Estimated number of
    prisoners (with valid data)c     1,378,200         1,208,100          170,100               1,378,200          1,208,100            170,100
Note: Details on type of firearm may not sum to totals because prisoners could report more than one type of firearm. Percentages exclude missing data.
Excludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession during the offense and an additional
0.3% of state prisoners and 0.2% of federal prisoners who were missing responses on type of firearm. See appendix table 4 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
aPercentages exclude 0.6% of state prisoners and 0.7% of federal prisoners who were missing responses on firearm use.
bIncludes prisoners who reported a type of firearm that did not fit into one of the existing categories and those who did not provide enough
information to categorize the type of firearm. About 0.1% of state prisoners and 0.2% of federal prisoners reported another type of firearm or did not
report enough information to specify the type of firearm.
cExcludes prisoners who were missing responses on firearm possession or type of firearm. Counts are weighted to totals from the 2015 National
Prisoner Statistics Program; see Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web, July 2019).
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                                       5
                                                                      0130
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Demographic characteristics                                                 3 in 10 (29%) black prisoners serving a sentence in
                                                                            state prison in 2016 possessed a firearm during their
Male prisoners were more likely than female prisoners                       crime. White (12%) and Hispanic (21%) state prisoners
to have possessed a firearm during their crime. About                       were less likely to have possessed a firearm during
a fifth of male state and federal prisoners serving a                       their crime. Similarly, white (17%) and Hispanic (13%)
sentence in 2016 possessed a firearm during the crime                       federal prisoners serving a sentence in 2016 were less
(table 4). Males in state prisons in 2016 were about                        likely to have possessed a firearm during the crime
2.5 times as likely (22%) as females in state prisons                       than black (29%) federal prisoners. State prisoners who
(9%) to have possessed a firearm during the crime for                       served in the military were less likely to have possessed
which they were imprisoned. In federal prisons, males                       a firearm during their crime (16%) than state prisoners
(21%) were about three times as likely as females (7%)                      who had not served in the military (21%).
to have possessed a firearm during their crime. Almost

TABLE 4
Firearm possession among state and federal prisoners during the offense for which they were serving time, by
demographic characteristics, 2016
                                                                    State                                             Federal
                                                                    Percent of prisoners who                           Percent of prisoners who
                                                  Number of         possessed a firearm during         Number of       possessed a firearm during
Demographic characteristic                        prisoners         the offense                        prisoners       the offense
Sex
   Male*                                          1,124,200                  21.8%                     159,800                  20.9%
   Female                                            87,000                   9.5 †                     10,600                   6.6 †
Race/Hispanic origina
   White                                            383,300                  12.4% †                     35,400                 16.6% †
   Black*                                           401,500                  29.4                        53,800                 29.2
   Hispanic                                         247,200                  21.5 †                      62,600                 12.6 †
   American Indian/Alaska Native                     17,200                  14.8 †                       2,800                 23.8
   Asian/Native Hawaiian/Other Pacific Islander      10,700                  22.8                         2,600                     :
   Two or more races                                133,100                  19.1 †                      10,900                 29.3
Age at time of survey
   18–24*                                           123,800                  31.7%                        8,200                 30.1%
   25–34                                            389,100                  24.4 †                      47,700                 27.4
   35–44                                            318,800                  19.3 †                      58,800                 19.0 †
   45–54                                            224,800                  14.6 †                      36,700                 14.1 †
   55 or older                                      154,800                  16.0 †                      19,000                 12.2 †
Marital status
   Married*                                         168,500                  16.7%                       36,800                 14.4%
   Widowed/widowered                                 34,300                  18.3                         3,100                 21.7
   Separated                                         58,300                  12.7 †                       9,600                 12.8
   Divorced                                         233,300                  14.5                        30,900                 15.2
   Never married                                    715,900                  24.8 †                      90,000                 24.6 †
Educationb
   Less than high school*                           750,500                  23.1%                       94,900                 22.7%
   High school graduate                             273,700                  19.6 †                      36,500                 19.4
   Some college                                     133,900                  14.7 †                      23,100                 18.8
   College degree or more                            43,600                  11.0 †                      12,700                  6.3 †
Citizenship
   U.S. citizen*                                  1,156,800                  21.0%                     127,500                  24.2%
   Non-U.S. citizen                                  53,100                  18.5                       42,400                   7.2 †
Military service
   Yes*                                              95,200                  15.6%                       9,200                  15.9%
   No                                             1,115,900                  21.4 †                    161,200                  20.3
Note: Percentages and counts exclude missing data. Excludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on
firearm possession during the offense. Details for counts may not sum to totals due to missing data. See appendix table 5 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic/Latino origin, unless specified.
bBased on highest year of education completed.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.Exhibit 2
                                                                    0131
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In general, the likelihood of state and federal prisoners                    Method, source, and process used to obtain
having possessed a firearm during their crime decreased                      the firearm
with age. Firearm possession among state prisoners ages
18 to 24 (32%) in 2016 was more common than among                            Among prisoners who possessed a firearm when they
older prisoners. Federal prisoners ages 18 to 24 (30%)                       committed the offense for which they were imprisoned
were more likely to possess a firearm than those age 35                      and who reported the source from which they obtained
or older (16%, not shown in table).                                          it, the most common source (43%) was off-the-street or
                                                                             the underground market (table 5). Another 7% of state
The difference in firearm possession between                                 and 5% of federal prisoners stole the firearm, and 7%
U.S. citizens (21%) and non-citizens (18%) in state                          of state and 8% of federal prisoners reported that they
prisons in 2016 was not statistically significant. Among                     obtained the firearm at the location of the crime.
federal prisoners serving a sentence in 2016, firearm
possession was more than three times as high among
U.S. citizens (24%) as non-citizens (7%).

TABLE 5
Among state and federal prisoners who had possessed a firearm during the offense for which they were serving
time, sources and methods used to obtain a firearm, 2016
Source and method to obtain firearm                                     All prisoners                  State                       Federal
Purchased/traded at retail source                                            10.1%                     9.7%                         13.7%
  Gun shop/store                                                              7.5                      7.2                           9.6
  Pawn shop                                                                   1.6                      1.5                           2.2
  Flea market                                                                 0.4                         :                             :
  Gun show                                                                    0.8                      0.8                           1.4
Obtained from individual                                                     25.3%                    26.0%                         20.5%
  Purchased/traded from family/friend                                         8.0                      7.9                           9.1
  Rented/borrowed from family/friend                                          6.5                      7.0                           3.0
  Gift/purchased for prisoner                                                10.8                     11.2                           8.4
Off the street/underground marketa                                           43.2%                    43.2%                         42.9%
Theftb                                                                        6.4%                     6.6%                          4.7%
  From burglary                                                               1.5                      1.5                              :
  From retail source                                                          0.2                         :                             :
  From family/friend                                                          1.6                      1.8                              :
  Unspecified theftc                                                          3.1                      3.3                           1.8
Other source                                                                 17.4%                    17.1%                        20.1%
  Found at location of crime/victim                                           6.9                      6.7                           7.9
  Brought by someone else                                                     4.6                      4.7                           3.6
  Otherd                                                                      5.9                      5.6                           8.5
Multiple sourcese                                                             2.5%                     2.6%                          2.0%
  Estimated number of prisoners who possessed a firearm,
     excluding prisoners who did not report sourcef                        256,400                   227,100                      29,300
Note: Prisoners were asked to report all sources and methods of obtaining any firearm they possessed during the offense, so details may not sum to
totals. Each source is included in this table when multiple sources were reported. See Methodology. Percentages exclude missing data. Excludes 10.3%
of state prisoners and 14.1% of federal prisoners who possessed a firearm during the offense and were missing responses on either source or method
of obtaining the firearm. These prisoners were excluded either because they did not provide a valid response or they did not receive the questions
due to providing an open-ended response to the previous question about type of weapon. See appendix table 6 for standard errors.
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aIllegal sources of firearms that include markets for stolen goods, middlemen for stolen goods, criminals or criminal enterprises, or individuals or
groups involved in sales of illegal drugs.
bExcludes theft from victim.
cIncludes theft where the source could not be identified and theft other than from a burglary, retail location, family, or friend.
dIncluded if no source specified in the table was reported. Includes sources that did not fit into one of the existing categories, sources for which
there were few responses such as bought online, or if there was not enough information to categorize the source. Examples of other sources include
bought from an unknown source or obtained from a friend by an unknown method.
eIncludes prisoners who reported multiple sources or methods that fit into more than one of the categories. Each reported source is included in the
categories above.
fIncludes prisoners who reported they carried or possessed a firearm and prisoners who reported a source or method.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                                     7
                                                                     0132
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Among prisoners who possessed a firearm during the
                                                                      TABLE 6
offense for which they were imprisoned, 7% of state
                                                                      Among state and federal prisoners who had possessed
and 10% of federal prisoners serving a sentence in 2016               a firearm during the offense for which they were
bought or traded for the firearm from a gun shop or                   serving time, processes used to obtain a firearm, 2016
gun store. About 1% bought or traded for the firearm                                                        All
at a gun show. About a quarter (26%) of state prisoners               Process to obtain firearm             prisoners State         Federal
and about a fifth (21%) of federal prisoners obtained a                 Total                                 100%    100%           100%
firearm that they possessed during their offense from                 Not purchased or traded at retail
an individual in a non-retail setting, such as a friend or             source                                89.9%    90.3%          86.3%
                                                                      Purchased or traded at retail sourcea 10.1%      9.7%          13.7%
family member.
                                                                        Licensed firearm dealer at retail
                                                                          source                               8.2     7.9           10.9
Prisoners who reported that they had purchased or
                                                                           Purchased under own nameb           6.9     6.8            8.4
traded a firearm at a retail source were asked if they                     Background check was
had obtained the firearm from a licensed dealer or                          reportedly conductedc              6.7     6.3            9.4
private seller. Among prisoners who had possessed a                     Private seller at retail sourced       1.2     1.1            2.3
firearm during the offense for which they were serving                  Unknowne                               0.7     0.8               :
time, 8% of state and 11% of federal prisoners had                      Estimated number of prisoners
purchased it from or traded with a licensed firearm                       who possessed a firearm (with
                                                                          valid data)f                      256,400 227,100         29,300
dealer at a retail source (table 6).                                  Note: Percentages exclude missing data. Excludes 10.3% of state
                                                                      prisoners and 14.1% of federal prisoners who possessed a firearm
Prisoners who reported that they had purchased a                      during the offense and were missing responses on source or method of
                                                                      obtaining the firearm. See appendix table 7 for standard errors.
firearm from a licensed firearm dealer at a retail source             : Not calculated. Too few cases to provide a reliable estimate, or
were further asked whether they bought the firearm                    coefficient of variation is greater than 50%.
                                                                      aIncludes prisoners who purchased or traded from a retail source,
under their own name and whether they knew a
                                                                      including a retail store, pawn shop, flea market, or gun show.
background check was conducted. Among those who                       bIncludes prisoners who purchased from a retail source, including a
had possessed a firearm during the offense for which                  retail store, pawn shop, flea market, or gun show. Excludes prisoners
they were imprisoned, 7% of state and 8% of federal                   who traded for a firearm from a retail source.
                                                                      cIncludes prisoners who purchased from a retail source, including a
prisoners had purchased it under their own name                       retail store, pawn shop, flea market, or gun show. Excludes prisoners
from a licensed firearm dealer at a retail source, while              who traded for a firearm from a retail source and prisoners who reported
approximately 1% of state and 2% of federal prisoners                 that a background check was not conducted or who were unaware as to
                                                                      whether one was conducted.
had purchased a firearm from a licensed dealer at a                   dExcludes private sellers other than at a retail source.
retail source but did not purchase it under their own                 eIncludes prisoners who purchased or traded a firearm from a retail
name (not shown in table).                                            source and were missing responses on whether a firearm was purchased
                                                                      or traded from a licensed firearm dealer or a private seller at a retail
                                                                      source.
Among all prisoners who purchased or traded a                         fIncludes prisoners who reported they carried or possessed a firearm
firearm from a licensed firearm dealer at a retail source             and prisoners who reported a source or method.
(8.2%), the majority reported that a background check                 Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.
was conducted (6.7%).




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                                8
                                                                0133
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Use and source of firearms among all state and                              Thirteen percent of all state and federal prisoners
federal prisoners                                                           used a firearm during the offense for which they were
                                                                            serving time in 2016.
About 1% of all state and federal prisoners used a
firearm during the offense that they obtained from
a retail source (table 7). About 2% of prisoners
possessed a firearm that they obtained from a retail
source, including a retail store, pawn shop, flea market,
or gun show.

TABLE 7
Firearm possession and use among all state and federal prisoners during the offense for which they were serving
time, by type of controlling offense and source, 2016
                              Percent of state and federal prisoners who—                      Percent of state and federal prisoners who—
                                                    Possessed a firearm that they                                    Used a firearm that they
Controlling offensea       Possessed a firearmb obtained from a retail sourcec               Used a firearmd         obtained from a retail sourcee
   Total                        20.8%                         1.9%                              12.8%                              1.3%
Violent*                        29.3%                         2.8%                              23.1%                              2.3%
   Homicidef                    43.5                          5.9                               37.0                               5.2
   Robbery                      43.5                          1.8                               31.5                               1.3
Property                          4.8% †                      0.5% †                             1.9% †                               :
Drug                              9.6% †                      1.0% †                             0.8% †                            0.1% †
Public order                    23.6% †                       1.7% †                             5.5% †                            0.6% †
Note: Percentages exclude missing data. Excludes 2.8% of prisoners who were missing responses on firearm possession during the offense and 1.2% of
prisoners who had a valid response to firearm possession but were missing a controlling offense. Retail source includes purchasing or trading the
firearm from a retail store, pawn shop, flea market, or gun show. Use includes prisoners who showed a firearm to anyone, pointed a firearm at anyone,
or discharged a firearm during the controlling offense. See appendix table 8 for standard errors.
*Comparison group.
† Difference with comparison group is significant at the 95% confidence level across main categories, and no testing was done on subcategories
(e.g., homicide).
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aSee Methodology for more information on how controlling offense was measured.
bIncludes state and federal prisoners who reported a valid response to firearm possession.
cIncludes state and federal prisoners who reported a valid response to firearm possession and source.
dIncludes state and federal prisoners who reported a valid response to firearm possession and use.
eIncludes state and federal prisoners who reported a valid response to firearm possession, source, and use.
fIncludes murder and both non-negligent and negligent manslaughter.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                                      9
                                                                     0134
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Methodology                                                           state prisons and 100% among federal prisons).3
                                                                      A total of 24,848 prisoners participated (20,064 state
                                                                      and 4,784 federal) in the 2016 SPI based on a sample
Survey of Prison Inmates                                              of 37,058 prisoners (30,348 state and 6,710 federal).
The findings in this report are primarily based on data               The second-stage response rate (i.e., the response rate
collected through the 2016 Survey of Prison Inmates                   among selected prisoners) was 70.0% (69.3% among
(SPI). The SPI is a periodic, cross-sectional survey of               state prisoners and 72.8% among federal prisoners).4
the state and sentenced federal prison populations.                   Responses from interviewed prisoners in the 2016 SPI
Its primary objective is to produce national statistics               were weighted to provide national estimates. Each
of the state and sentenced federal prison populations                 interviewed prisoner was assigned an initial weight
across a variety of domains, including—but not limited                corresponding to the inverse of the probability of
to—demographic characteristics, current offense and                   selection within each sampled prison. A series of
sentence, incident characteristics, firearm possession                adjustment factors were applied to the initial weight
and sources, criminal history, socioeconomic                          to minimize potential bias due to non-response and to
characteristics, family background, drug and alcohol                  provide national estimates.
use and treatment, mental and physical health and
treatment, and facility programs and rule violations.                 For more information on the 2016 SPI methodology,
RTI International served as BJS’s data collection agent               see Methodology: Survey of Prison Inmates, 2016
for the 2016 SPI under a cooperative agreement (award                 (NCJ 252210, BJS web, July 2019).
no. 2011-MU-MU-K070). From January through
October 2016, data were collected through face-to-face
                                                                      Standard errors and tests of significance
interviews with prisoners using computer-assisted
personal interviewing (CAPI).                                         When national estimates are derived from a sample, as
                                                                      with the SPI, caution must be used when comparing
Prior iterations of the SPI were known as the
                                                                      one estimate to another or when comparing estimates
Survey of Inmates in State and Federal Correctional
                                                                      between years. Although one estimate may be larger
Facilities (SISFCF), which was renamed with the
                                                                      than another, estimates based on a sample rather than
2016 implementation. The first survey of state
                                                                      a complete enumeration of the population have some
prisoners was fielded in 1974 and thereafter in 1979,
                                                                      degree of sampling error. The sampling error of an
1986, 1991, 1997, and 2004. The first survey of federal
                                                                      estimate depends on several factors, including the size
prisoners was fielded in 1991, along with the survey
                                                                      of the estimate, the number of completed interviews,
of state prisoners, and since then both surveys have
                                                                      and the intracluster correlation of the outcome within
been conducted at the same time using the same
                                                                      prisons. When the sampling error around an estimate
questionnaire and administration.
                                                                      is taken into account, estimates that appear different
The target population for the 2016 SPI was prisoners                  may not be statistically different. One measure of
ages 18 and older who were held in a state prison                     the sampling error associated with an estimate is the
or had a sentence to federal prison in the United                     standard error. The standard error may vary from one
States during 2016. Similar to prior iterations, the                  estimate to the next. Standard errors in this report were
2016 survey was a stratified two-stage sample design                  estimated using Taylor Series Linearization to account
in which prisons were selected in the first stage and                 for the complex design of the SPI in producing the
prisoners within sampled facilities were selected in                  variance estimates.
the second stage. The SPI sample was selected from                    3A total of 15 prisons (12 state and 3 federal) that were sampled
a universe of 2,001 unique prisons (1,808 state and                   were deemed ineligible for the 2016 SPI. For more information,
193 federal) that were either enumerated in the                       see Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web,
2012 Census of State and Federal Adult Correctional                   July 2019).
                                                                      4There were 10,661 sampled prisoners who were eligible for the
Facilities or had opened between the completion of the                survey but did not participate. Another 1,549 sampled prisoners
census and July 2014 when the SPI sample of prisons                   were deemed ineligible for the survey. For more information, see
was selected. A total of 364 prisons (306 state and                   Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web,
                                                                      July 2019).
58 federal) participated in the 2016 survey out of the
385 selected (324 state and 61 federal) for interviewing.
The first-stage response rate (i.e., the response rate
among selected prisons) was 98.4% (98.1% among


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Readers may use the estimates and standard errors                     the estimated 1,421,700 state and federal prisoners in
of the estimates provided in this report to generate                  2016, an estimated 287,400 were armed with a firearm,
a 95% confidence interval around the estimates as a                   1,094,200 were not armed with a firearm, 23,800 did
measure of the margin of error. Typically, multiplying                not know or refused to answer the question, and
the standard error by 1.96 and then adding or                         16,300 were not asked the question because they were
subtracting the result from the estimate produces the                 not convicted or they stopped the interview before
confidence interval. This interval expresses the range                responding to the question.5
of values with which the true population parameter is
expected to fall 95% of the time if the same method is                To determine whether prisoners possessed a firearm
used to select different samples.                                     at the time of the offense for which they were serving
                                                                      time in prison, respondents were first asked whether
For small samples and estimates close to 0%, the use                  they had carried, possessed, or used a weapon when
of the standard error to construct the 95% confidence                 the controlling offense occurred. Respondents could
interval may not be reliable. Therefore, caution should               report that they carried, possessed, or used a firearm or
be used when interpreting the estimates. Caution                      another weapon such as a toy or BB gun, knife, other
should also be used if constructing a 95% confidence                  sharp object, or blunt object. Weapons other than
interval, which would include zero in these cases,                    firearms, including toy and BB guns, were excluded
because the estimate may not be distinguishable                       from this report. Multiple weapons and firearms could
from zero.                                                            be reported by respondents.

The standard errors have been used to compare                         Of the respondents who were asked about possessing
estimates of firearm possession during the offense,                   a firearm during the offense for which they were
firearm use during the crime, and type of firearm                     imprisoned, about 3.0% of state and 1.7% of federal
possessed. They have also been used to compare                        prisoners in 2016 were missing responses on firearm
firearm possession among selected groups of prisoners                 possession. These prisoners were excluded from the
that have been defined by demographic characteristics                 analyses in this report. All prisoners who reported they
and controlling offense. To facilitate the analysis, rather           carried, possessed, or used a firearm during the offense
than provide the detailed estimates for every standard                were asked whether they had obtained the firearm
error, differences in the estimates for subgroups in                  because they were planning to carry, possess, or use
the relevant tables in this report have been tested and               it during the offense. They were also asked whether
notated for significance at the 95% level of confidence.              they showed, pointed, or fired the firearm during
Readers should reference the tables for testing on                    the offense. Respondents who reported that they
specific findings. Unless otherwise noted, findings                   fired the firearm were also asked whether they shot
described in this report as higher, lower, or different               anyone and, if so, whether anyone they shot had died.
passed a test at the 0.05 level of statistical significance           Of the respondents who possessed a firearm during
(95% confidence level).                                               the offense, about 3.1% of state and 3.5% of federal
                                                                      prisoners in 2016 were missing responses on how they
Measurement of firearm possession and source                          used the firearm. These prisoners were excluded from
                                                                      the analyses in figure 1, tables 1 through 3, and table 7.
The 2016 SPI was restricted to prisoners age 18 or
older at the time of the survey. Firearms analyses                    To measure the type of firearm possessed by prisoners,
in this report were restricted to state and federal                   respondents were asked whether they had carried,
prisoners who were sentenced or state prisoners who                   possessed, or used a handgun, rifle, shotgun, or
were convicted but were awaiting sentencing. This                     some other type of firearm during the offense for
report excludes prisoners who were awaiting trial                     which they were imprisoned. About 0.3% of state
(i.e., unconvicted) or a revocation hearing or who                    prisoners and 0.2% of federal prisoners in 2016 were
were held for other reasons. Unconvicted prisoners,                   missing responses on the type of firearm that they
such as those awaiting trial or being held for other                  possessed. These prisoners, along with prisoners who
reasons like safekeeping or a civil commitment, were                  were missing a response on firearm possession, were
excluded from this report because they were not asked                 excluded from the analyses in table 3.
questions about firearm possession to protect against                 5The SPI sample was weighted to the state and federal prison
self-incrimination. (See appendix 1, Questions related                populations that were eligible to be sampled in the survey. See
to firearms in the Survey of Prison Inmates, 2016.) Of                Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web,
                                                                      July 2019).



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To measure the source and method of obtaining the                     Prisoners who reported purchasing or trading a
firearm possessed by prisoners during their crime, two                firearm from a retail source (gun shop or gun store,
separate questions were asked in the survey. The first                pawn shop, flea market, or gun show) were asked if
question asked how the prisoners obtained the firearm,                they purchased or traded it from a licensed firearm
and multiple responses could be reported in the                       dealer or a private seller. Prisoners who reported
2016 SPI. Possible responses included stole it, rented                they purchased a firearm from a retail source were
it, borrowed it from or were holding it for somebody,                 further asked whether they bought the firearm under
traded something for it, bought it, someone bought it                 their own name and whether the seller did a firearm
for them, someone gave it as a gift, found it or it was at            purchase background check before selling them the
the location where the offense occurred, it was brought               firearm. About 1% of the respondents who possessed a
by someone else, or other. If respondents specified                   firearm during the offense purchased or traded it from
an “other” method of obtaining the firearm, then the                  a retail source and were missing responses on whether
field interviewers entered the respondents’ answers                   they bought the firearm from a licensed dealer or
into a text field. These responses originally reported                private seller. About 1% of respondents who possessed
as “other” were coded to one of the existing response                 a firearm during the offense purchased it from a
categories if possible.                                               retail source and were missing responses on whether
                                                                      the firearm was purchased under their own name or
The second question asked where prisoners obtained                    whether a background check was conducted.
the firearm, and multiple responses could be reported
in the 2016 SPI. Respondents received this question if
they reported that they stole, rented, borrowed from                  Measurement of controlling offense
or were holding for somebody, traded something for,                   The way controlling offense was measured through
or bought the firearm. Possible responses included                    the 2016 SPI, and reflected in this report, varies
gun shop or gun store; pawn shop; flea market; gun                    by sentence status and the number of offenses
show; from a victim, family member, or friend; from a                 of prisoners:
fence (a middleman for stolen goods) or underground
market; off the street or from a drug dealer; in a                       For sentenced prisoners and those awaiting
burglary; online or the internet; or other. Fewer than                     sentencing with one offense, that offense is the
1% of state and federal prisoners reported obtaining a                     controlling offense.
firearm online. These responses were included in table
                                                                         For sentenced prisoners with multiple offenses and
5 in the “other” category due to the small number of
                                                                           sentences, the controlling offense is the one with the
sample cases. If respondents specified an “other” source
                                                                           longest sentence.
of obtaining a firearm, then the field interviewers
entered the respondents’ answers into a text field.                      For sentenced prisoners with multiple offenses and
Responses originally reported as “other” were coded to                     one sentence and those awaiting sentencing with
one of the existing response categories if possible.                       multiple offenses, the controlling offense is the most
                                                                           serious offense. For this report, violent offenses are
The responses from these two questions were used to                        considered most serious, followed by property, drug,
create the source and method categories in figure 1                        public-order, and all other offenses.
and tables 5 through 7. Approximately 10.3% of state
and 14.1% of federal prisoners in 2016 who possessed                  For prisoners who were convicted but awaiting
a firearm during the offense for which they were                      sentencing, the controlling offense is the most
serving a sentence were missing responses on source or                serious offense.
method of obtaining the firearm. These prisoners were
excluded from figure 1 and tables 5 through 7.




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 Appendix 1. Questions related to firearms in the Survey of Prison Inmates, 2016
This appendix includes the questions from the 2016 SPI                CJH5. (ASK IF RESPONDENT REPORTED “FIREARM” IN
that were used to measure the firearms' constructs in this            CJH2.) How did you obtain the (INSERT “firearm” OR
report. Text that appears in capital letters in the questions         “firearms”) that you carried, possessed, or used during the
was not read out loud to respondents. That text reflects              (INSERT CONTROLLING OFFENSE)? Any others? CHECK ALL
programming instructions for the CAPI instrument,                     THAT APPLY.
instructions to field interviewers who conducted the                     STOLE IT (GO TO CJH6)
interviews, or response options that were not read
out loud to respondents but were coded by the field                      RENTED IT (GO TO CJH6)
interviewers during the interviews.                                      BORROWED FROM OR WAS HOLDING FOR SOMEBODY
Questions                                                                  (GO TO CJH6)

CJ39. (ASK IF RESPONDENT REPORTED BEING SENTENCED                        TRADED SOMETHING FOR IT (GO TO CJH6)
IN CJ1 OR CJ3 OR IF RESPONDENT REPORTED HE/SHE WAS                       BOUGHT IT (GO TO CJH6)
AWAITING SENTENCING IN CJH2A.) Did you carry, possess,                   SOMEONE BOUGHT IT FOR ME (GO TO CJH7)
or use a weapon when the (INSERT CONTROLLING
OFFENSE) occurred?                                                       SOMEONE GAVE IT TO ME AS A GIFT (GO TO CJH9)

   YES                                                                 FOUND IT/WAS AT LOCATION WHERE OFFENSE
                                                                           OCCURRED (GO TO CJH9)
   NO (SKIP TO NEXT SECTION)
                                                                         WAS BROUGHT BY SOMEONE ELSE (GO TO CJH9)
CJH1. How many weapons did you carry, possess, or use
when the (INSERT CONTROLLING OFFENSE) occurred?                          OTHER

   ONE                                                                    ||   How did you obtain the firearm that you carried,
                                                                                 possessed, or used during the offense?
   TWO OR MORE
                                                                                 ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
CJH2. What (INSERT “kind of weapon was it?” OR “kinds of
weapons were they?”) CHECK ALL THAT APPLY.                            CJH6. (ASK IF RESPONDENT REPORTED “FIREARM” IN CJH2
                                                                      AND REPORTED IN CJH5 HE/SHE “STOLE IT”, “RENTED IT”,
   FIREARM                                                          “BORROWED FROM OR WAS HOLDING FOR SOMEBODY”,
   TOY OR BB GUN (INCLUDE FAKE OR REPLICA GUNS)                     “TRADED SOMETHING FOR IT”, OR “BOUGHT IT”.) Where
   KNIFE                                                            did you obtain the (INSERT TYPE OF FIREARM REPORTED
                                                                      IN CJH4)? CHECK ALL THAT APPLY.
   OTHER SHARP OBJECT (SCISSORS, ICE PICK, AX, ETC.)
                                                                         GUN SHOP OR GUN STORE (GO TO CJH6A)
   BLUNT OBJECT (ROCK, CLUB, BLACKJACK, ETC.)
                                                                         PAWN SHOP (GO TO CJH6A)
   ANOTHER WEAPON
                                                                         FLEA MARKET (GO TO CJH6A)
      ||   What kinds of weapons were they?
                                                                         GUN SHOW (GO TO CJH6A)
             ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
                                                                         FROM THE VICTIM(S) (GO TO CJH9)
CJH3. (ASK IF RESPONDENT REPORTED “FIREARM” IN
CJH2.) How many firearms did you carry, possess, or use                  FROM A FAMILY MEMBER (GO TO CJH9)
when the (INSERT CONTROLLING OFFENSE) occurred?                          FROM A FRIEND (GO TO CJH9)
   ENTER NUMBER OF FIREARMS                                            FROM A FENCE/BLACK MARKET SOURCE (GO TO CJH9)
CJH4. (ASK IF RESPONDENT REPORTED “FIREARM” IN                           OFF THE STREET/FROM A DRUG DEALER (GO TO CJH9)
CJH2.) What (INSERT “type of firearm was it?” OR “types of               IN A BURGLARY (GO TO CJH9)
firearms were they?”) CHECK ALL THAT APPLY.
                                                                         ONLINE/THE INTERNET (GO TO CJH9)
   A HANDGUN
                                                                         OTHER
   A RIFLE
                                                                            ||   Where did you obtain the (INSERT TYPE OF
   A SHOTGUN                                                                   FIREARM REPORTED IN CJH4)?
   SOME OTHER TYPE OF FIREARM                                                  ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
      ||   What type of firearm?
             ——   INTERVIEWER: RECORD RESPONSE VERBATIM.                                                  Continued on next page




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 Appendix 1. Questions related to firearms in the Survey of Prison Inmates, 2016 (continued)
CJH6a. (ASK IF RESPONDENT REPORTED IN CJH6 THAT                           OFF THE STREET/FROM A DRUG DEALER
THE FIREARM WAS FROM A “GUN SHOP OR GUN STORE”,                           IN A BURGLARY
“PAWN SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) When
you obtained the (INSERT TYPE OF FIREARM REPORTED                         ONLINE/THE INTERNET
IN CJH4) was it from a licensed firearm dealer or a                       OTHER
private seller?                                                              ||   Where did that person obtain the (INSERT TYPE OF
   LICENSED FIREARM DEALER                                                      FIREARM REPORTED IN CJH4)?
   PRIVATE SELLER                                                               ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
CJH6b. (ASK IF RESPONDENT REPORTED IN CJH5 THAT                        CJH8. (ASK IF RESPONDENT REPORTED “SOMEONE ELSE
HE/SHE “BOUGHT IT” AND IN CJH6 REPORTED THAT THE                       BOUGHT IT FOR ME” IN CJH5.) Why did someone else
FIREARM WAS FROM A “GUN SHOP OR GUN STORE”, “PAWN                      obtain the (INSERT TYPE OF FIREARM REPORTED IN CJH4)
SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) Did you buy the                  for you? CHECK ALL THAT APPLY.
(INSERT TYPE OF FIREARM REPORTED IN CJH4) under your                      COULD NOT TRAVEL TO WHERE THE SELLER WAS
own name?
                                                                          NOT ALLOWED BECAUSE TOO YOUNG
   YES
                                                                          NOT ALLOWED BECAUSE OF CRIMINAL RECORD
   NO
                                                                          THEY COULD GET IT MORE QUICKLY OR EASILY
   NO PAPERWORK WAS REQUIRED
                                                                          DID NOT WANT TO BE LINKED TO FIREARM PURCHASE
CJH6c. (ASK IF RESPONDENT REPORTED IN CJH5 THAT
HE/SHE “BOUGHT IT” AND REPORTED IN CJH6 THAT THE                          OTHER
FIREARM WAS FROM A “GUN SHOP OR GUN STORE”, “PAWN                            ||   Why did someone else obtain the (INSERT TYPE
SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) Did the seller do                           OF FIREARM REPORTED IN CJH4) for you?
a firearm purchase background check before selling you
                                                                                  ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
the gun?
                                                                       CJH9. Did you get the (INSERT TYPE OF FIREARM
   YES
                                                                       REPORTED IN CJH4) because you were planning
   NO                                                                to carry, possess, or use it during the (INSERT
CJH6d. (ASK IF RESPONDENT REPORTED IN CJH5 THAT                        CONTROLLING OFFENSE)?
HE/SHE “BOUGHT IT” AND REPORTED IN CJH6 THAT THE                          YES
FIREARM WAS FROM A “GUN SHOP OR GUN STORE”, “PAWN
                                                                          NO
SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) Did you buy the
(INSERT TYPE OF FIREARM REPORTED IN CJH4) directly or                  CJH10. Did you show or point (INSERT “the firearm”
did someone else buy it for you?                                       OR “any of the firearms”) at anyone during the (INSERT
                                                                       CONTROLLING OFFENSE)?
   INMATE BOUGHT
                                                                          YES
   SOMEONE ELSE BOUGHT
                                                                          NO
CJH7. (ASK IF RESPONDENT REPORTED “SOMEONE ELSE
BOUGHT IT FOR ME” IN CJH5.) Where did that person                      CJH11. Did you fire (INSERT “the firearm” OR “any of the
obtain the (INSERT TYPE OF FIREARM REPORTED IN CJH4)?                  firearms”) during the (INSERT CONTROLLING OFFENSE)?
   GUN SHOP OR GUN STORE                                                YES
   PAWN SHOP                                                            NO (SKIP TO NEXT SECTION)
   FLEA MARKET                                                       CJH12. Did you shoot anyone?
   GUN SHOW                                                             YES
   FROM THE VICTIM(S)                                                   NO (SKIP TO NEXT SECTION)
   FROM A FAMILY MEMBER                                              CJH13. Did anyone you shot die?
   FROM A FRIEND                                                        YES
   FROM A FENCE/BLACK MARKET SOURCE                                     NO




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APPENDIX TABLE 1
Standard errors for figure 1: Percent of all state and
federal inmates who had possessed or used a firearm
during their offense, 2016
Characteristic                       Possessed                Used
Any gun                                0.64%                  0.51%
Handgun                                0.59                   0.46
Gun they obtained from retail source   0.13                   0.12
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


APPENDIX TABLE 2
Standard errors for table 1: Firearm possession and use among state and federal prisoners during the offense for
which they were serving time, by type of controlling offense, 2016
                                            Estimated      Percent of state prisoners who—           Estimated        Percent of federal prisoners who—
                                            number of        Possessed                               number of          Possessed
Controlling offense                         state prisoners a firearm        Used a firearm          federal prisoners a firearm         Used a firearm
   Total                                        31,100          0.69%             0.57%                   8,300            1.76%              0.71%
Violent                                         22,400          0.90%             0.73%                   2,700            2.87%              2.83%
   Homicide                                     10,900          1.16              1.12                       700           6.53               4.75
   Rape/sexual assault                           9,900          0.36              0.22                       600               :                  :
   Robbery                                       6,700          1.32              1.28                    1,600            3.73               3.80
   Assault                                       5,900          1.34              1.24                       700           5.15               4.52
   Other violent                                 2,100          2.03              1.73                      300            8.42                   :
Property                                         7,800          0.53%             0.32%                   2,000            0.83%                  :
   Burglary                                      3,900          0.80              0.54                      100                :                  :
   Other property                                5,800          0.58              0.33                    2,000            0.81                   :
Drug                                            11,400          0.68%             0.20%                   5,400            0.87%              0.21%
   Trafficking                                   9,700          0.83              0.24                    5,000            0.88               0.21
   Possession                                    3,400          1.06                  :                     600                :                  :
   Other/unspecified drug                          700              :                 :                     600                :                  :
Public order                                     8,400          1.35%             0.58%                   3,600            3.55%              0.88%
   Weapons                                       3,000          2.02              1.70                    2,700            2.02               1.60
   Other public order                            7,200          0.70              0.42                    3,800            0.89                   :
Other                                              600              :                 :                     300                :                  :
Unknown                                          1,400          1.61%                 :                     400                :                  :
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                                      15
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APPENDIX TABLE 3
Standard errors for table 2: Among state and federal prisoners who possessed a firearm during the offense for
which they were serving time, extent of firearm use, 2016
                                                                                                State prisoners                  Federal prisoners
                                                        State           Federal            Violent        Non-violent        Violent       Non-violent
Firearm use                                             prisoners       prisoners          offense        offense            offense       offense
Obtained firearm because planned to use
  in controlling offense
   Yes                                                     0.81%          1.57%               0.81%            2.00%          4.01%          1.88%
   No                                                      0.81           1.57                0.81             2.00           4.01           1.88
Used firearm                                               1.11%          1.92%               0.85%            1.83%          3.86%          1.57%
  Discharged                                               1.34%          1.17%               1.36%            1.47%          3.58%          1.14%
    Killed victim                                          1.28           0.75                1.40                 :          2.49               :
    Injured/shot victim but did not kill victim            0.73           0.55                0.86             0.89               :              :
    Discharged firearm but did not shoot anyone            0.47           0.98                0.51             1.17           2.16           1.02
  Did not discharge                                        0.97%          1.60%               1.21%            1.24%          4.99%          0.87%
Did not use firearm                                        1.11%          1.92%               0.85%            1.83%          3.86%          1.57%
  Estimated number of prisoners who possessed
    a firearm (with valid data)                           10,100          3,100               9,200            3,400          1,200          2,200
: Not calculated. Too few cases to provide a reliable estimate or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


APPENDIX TABLE 4
Standard errors for table 3: Firearm possession and use among state and federal prisoners during the offense for
which they were serving time, by type of firearm, 2016
                                    Percent of prisoners who possessed a firearm                         Percent of prisoners who used a firearm
Type of firearm                 All prisoners          State            Federal                  All prisoners            State             Federal
Firearm                              0.64               0.69%             1.76%                       0.51                0.57%               0.71%
   Handgun                           0.59               0.64              1.63                        0.46                0.51                0.67
   Rifle                             0.10               0.10              0.28                        0.07                0.08                0.13
   Shotgun                           0.11               0.12              0.22                        0.09                0.10                0.09
No firearm                           0.64               0.69              1.76                        0.51                0.57                0.71
   Estimated number of
     prisoners (with valid data) 32,100               31,000             8,300                        32,100            31,000              8,300
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
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                                                                INMATES, 2016                                                                         16
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APPENDIX TABLE 5
Standard errors for table 4: Firearm possession among state and federal prisoners during the offense for which
they were serving time, by demographic characteristics, 2016
                                                                          State                                            Federal
                                                                           Percent of prisoners who                          Percent of prisoners who
                                                      Number of            possessed a firearm               Number of       possessed a firearm
Demographic characteristic                            prisoners            during the offense                prisoners       during the offense
Sex
   Male                                                 30,700                     0.74%                           8,200            1.88%
   Female                                                5,200                     0.96                            1,300            1.00
Race/Hispanic origin
   White                                                16,500                     0.64%                           3,900            2.28%
   Black                                                16,200                     0.91                            5,600            2.02
   Hispanic                                             12,400                     1.26                            8,000            1.70
   American Indian/Alaska Native                         2,500                     2.94                              800            5.18
   Asian/Native Hawaiian/Other Pacific Islander          1,600                     4.69                              600                :
   Two or more races                                     5,000                     1.19                            1,200            3.50
Age at time of survey
   18–24                                                 8,200                     1.71%                           1,000            5.69%
   25–34                                                13,700                     1.00                            3,200            2.57
   35–44                                                 9,500                     0.94                            3,400            1.68
   45–54                                                 9,100                     0.76                            2,400            1.68
   55 or older                                           7,700                     1.02                            2,200            2.02
Marital status
   Married                                               6,300                     1.06%                           3,100            1.77%
   Widowed/widowered                                     2,000                     2.10                              400            5.93
   Separated                                             2,700                     1.34                            1,200            3.11
   Divorced                                             10,600                     0.97                            2,200            1.58
   Never married                                        20,100                     0.81                            5,800            2.10
Education
   Less than high school                                21,500                     0.83%                           6,000            2.18%
   High school graduate                                  8,500                     0.88                            2,100            1.69
   Some college                                          5,000                     0.96                            2,000            2.08
   College degree or more                                2,500                     1.43                            2,000            1.83
Citizenship
   U.S. citizen                                         30,000                     0.69%                       10,700               1.87%
   Non-U.S. citizen                                      3,700                     2.04                         9,500               1.09
Military service
   Yes                                                   4,800                     1.07%                           1,200            2.98%
   No                                                   28,700                     0.72                            8,200            1.80
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
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                                                                INMATES, 2016                                                                     17
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APPENDIX TABLE 6
Standard errors for table 5: Among state and federal prisoners who had possessed a firearm during the offense for
which they were serving time, sources and methods used to obtain a firearm, 2016
Source and method to obtain firearm                                       All prisoners                      State   Federal
Purchased/traded at retail source                                             0.66%                          0.70%    2.07%
  Gun shop/store                                                              0.54                           0.56     1.87
  Pawn shop                                                                   0.27                           0.29     0.62
  Flea market                                                                 0.13                               :        :
  Gun show                                                                    0.16                           0.17     0.44
Obtained from individual                                                      0.87%                          0.94%    2.02%
  Purchased/traded from family/friend                                         0.59                           0.65     1.27
  Rented/borrowed from family/friend                                          0.47                           0.52     0.54
  Gift/purchased for prisoner                                                 0.69                           0.75     1.40
Off the street/underground market                                             1.07%                          1.13%    3.26%
Theft                                                                         0.48%                          0.53%    0.79%
  From burglary                                                               0.22                           0.24         :
  From retail source                                                          0.07                               :        :
  From family/friend                                                          0.26                           0.29         :
  Unspecified theft                                                           0.31                           0.34     0.53
Other source                                                                  0.78%                          0.85%    1.80%
  Found at location of crime/victim                                           0.50                           0.53     1.31
  Brought by someone else                                                     0.45                           0.49     0.87
  Other                                                                       0.51                           0.55     1.40
Multiple sources                                                              0.27%                          0.29%    0.50%
  Estimated number of prisoners who possessed a firearm,
     excluding prisoners who did not report source                           9,900                           9,500    2,800
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



APPENDIX TABLE 7
Standard errors for table 6: Among state and federal
prisoners who had possessed a firearm during the
offense for which they were serving time, processes
used to obtain a firearm, 2016
                                    All
Process to obtain firearm           prisoners        State      Federal
Not purchased or traded at retail
 source                              0.66%           0.70%       2.07%
Purchased or traded at retail source 0.66%           0.70%       2.07%
  Licensed firearm dealer at retail
    source                           0.60            0.63        2.08
     Purchased under own name        0.54            0.57        1.89
     Backgroundcheck was
       reportedly conducted          0.54            0.56        1.93
  Private seller at retail source    0.19            0.20        0.63
  Unknown                            0.21            0.24            :
  Estimated number of prisoners
    who possessed a firearm (with
    valid data)                      9,900           9,500        2,800
: Not calculated. Too few cases to provide a reliable estimate, or
coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                  18
                                                                          0143
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APPENDIX TABLE 8
Standard errors for table 7: Firearm possession and use among all state and federal prisoners during the offense for
which they were serving time, by type of controlling offense and source, 2016
                                           Percent of state and federal prisoners who—                    Percent of state and federal prisoners who—
                                                               Possessed a firearm that they                                Used a firearm that they
Controlling offense                      Possessed a firearm obtained from a retail source                Used a firearm obtained from a retail source
   Total                                       0.64%                    0.13%                                0.51%                        0.12%
Violent                                        0.88%                    0.23%                                0.72%                        0.21%
   Homicide                                    1.14                     0.63                                 1.10                         0.62
   Robbery                                     1.25                     0.29                                 1.22                         0.25
Property                                       0.50%                    0.15%                                0.30%                            :
Drug                                           0.52%                    0.17%                                0.15%                        0.04%
Public order                                   1.35%                    0.27%                                0.48%                        0.17%
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




                                                             Exhibit
SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISON            2| JANUARY 2019
                                                                INMATES, 2016                                                                      19
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              The Bureau of Justice Statistics of the U.S. Department of Justice is the principal
              federal agency responsible for measuring crime, criminal victimization,
              criminal offenders, victims of crime, correlates of crime, and the operation of
              criminal and civil justice systems at the federal, state, tribal, and local levels.
              BJS collects, analyzes, and disseminates reliable statistics on crime and justice
              systems in the United States, supports improvements to state and local criminal
              justice information systems, and participates with national and international
              organizations to develop and recommend national standards for justice statistics.
              Jeffrey H. Anderson is the director.
              This report was written by Mariel Alper and Lauren Glaze of BJS. Mariel Alper
              conducted statistical analyses. Marcus Berzofsky and John Bunker of RTI
              International provided statistical review. Danielle Kaeble, Laura Maruschak,
              Todd Minton, and Stephanie Mueller verified the report. Lauren Glaze was the
              BJS project manager for the 2016 Survey of Prison Inmates.
              Eric Hendrixson and Jill Thomas edited the report. Tina Dorsey and Morgan
              Young produced the report.
              January 2019, NCJ 251776




                                                   NCJ251776

                                      Office of Justice Programs
                  Building Solutions • Supporting Communities • Advancing Justice
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                                                 Exhibit 2
                                                   0145
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              EXHIBIT "3"




                                    Exhibit 3
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                                                                Exhibit 3
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                                                                               Case 3:19-cv-01226-L-AHG Document 21-17 Filed 11/12/19 PageID.4284 Page 166 of 222
Table 1
Crime in the United States
by Volume and Rate per 100,000 Inhabitants, 1998–2017
                                                                            Murder and                                  Rape                        Rape                                                                                                                                                                Motor
                                                  Violent      Murder and   nonnegligent                Rape          (revised         Rape        (legacy                                                                                  Property                                                         Motor      vehicle
                                   Violent         crime       nonnegligent manslaughter              (revised       definition)      (legacy     definition)                         Robbery       Aggravated Aggravated      Property      crime                   Burglary     Larceny-    Larceny-      vehicle      theft
                             1                                                                                   3                              4
     Year       Population                                     manslaughter                          definition)                    definition)                       Robbery                         assault                                            Burglary                   theft                     theft
                                         2                                                                                   3                            4
                                   crime            rate                        rate                                    rate                        rate                                rate                    assault rate    crime         rate                     rate                   theft rate                 rate
     1998       270,248,003        1,533,887        567.6            16,974          6.3                                                 93,144        34.5            447,186          165.5           976,583     361.4      10,951,827      4,052.5   2,332,735        863.2     7,376,311     2,729.5   1,242,781    459.9
     1999       272,690,813        1,426,044        523.0            15,522          5.7                                                 89,411        32.8            409,371          150.1           911,740     334.3      10,208,334      3,743.6   2,100,739        770.4     6,955,520     2,550.7   1,152,075    422.5
     2000       281,421,906        1,425,486        506.5            15,586          5.5                                                 90,178        32.0            408,016          145.0           911,706     324.0      10,182,584      3,618.3   2,050,992        728.8     6,971,590     2,477.3   1,160,002    412.2
     20015      285,317,559        1,439,480        504.5            16,037          5.6                                                 90,863        31.8            423,557          148.5           909,023     318.6      10,437,189      3,658.1   2,116,531        741.8     7,092,267     2,485.7   1,228,391    430.5
     2002       287,973,924        1,423,677        494.4            16,229          5.6                                                 95,235        33.1            420,806          146.1           891,407     309.5      10,455,277      3,630.6   2,151,252        747.0     7,057,379     2,450.7   1,246,646    432.9
     2003       290,788,976        1,383,676        475.8            16,528          5.7                                                 93,883        32.3            414,235          142.5           859,030     295.4      10,442,862      3,591.2   2,154,834        741.0     7,026,802     2,416.5   1,261,226    433.7
     2004       293,656,842        1,360,088        463.2            16,148          5.5                                                 95,089        32.4            401,470          136.7           847,381     288.6      10,319,386      3,514.1   2,144,446        730.3     6,937,089     2,362.3   1,237,851    421.5
     2005       296,507,061        1,390,745        469.0            16,740          5.6                                                 94,347        31.8            417,438          140.8           862,220     290.8      10,174,754      3,431.5   2,155,448        726.9     6,783,447     2,287.8   1,235,859    416.8
     2006       299,398,484        1,435,123        479.3            17,309          5.8                                                 94,472        31.6            449,246          150.0           874,096     292.0      10,019,601      3,346.6   2,194,993        733.1     6,626,363     2,213.2   1,198,245    400.2
     2007       301,621,157        1,422,970        471.8            17,128          5.7                                                 92,160        30.6            447,324          148.3           866,358     287.2       9,882,212      3,276.4   2,190,198        726.1     6,591,542     2,185.4   1,100,472    364.9
     2008       304,059,724        1,394,461        458.6            16,465          5.4                                                 90,750        29.8            443,563          145.9           843,683     277.5       9,774,152      3,214.6   2,228,887        733.0     6,586,206     2,166.1     959,059    315.4
     2009       307,006,550        1,325,896        431.9            15,399          5.0                                                 89,241        29.1            408,742          133.1           812,514     264.7       9,337,060      3,041.3   2,203,313        717.7     6,338,095     2,064.5     795,652    259.2
     2010       309,330,219        1,251,248        404.5            14,722          4.8                                                 85,593        27.7            369,089          119.3           781,844     252.8       9,112,625      2,945.9   2,168,459        701.0     6,204,601     2,005.8     739,565    239.1
     2011       311,587,816        1,206,005        387.1            14,661          4.7                                                 84,175        27.0            354,746          113.9           752,423     241.5       9,052,743      2,905.4   2,185,140        701.3     6,151,095     1,974.1     716,508    230.0
     2012       313,873,685        1,217,057        387.8            14,856          4.7                                                 85,141        27.1            355,051          113.1           762,009     242.8       9,001,992      2,868.0   2,109,932        672.2     6,168,874     1,965.4     723,186    230.4
     2013       316,497,531        1,168,298        369.1            14,319          4.5                 113,695           35.9          82,109        25.9            345,093          109.0           726,777     229.6       8,651,892      2,733.6   1,932,139        610.5     6,019,465     1,901.9     700,288    221.3
     2014       318,907,401        1,153,022        361.6            14,164          4.4                 118,027           37.0          84,864        26.6            322,905          101.3           731,089     229.2       8,209,010      2,574.1   1,713,153        537.2     5,809,054     1,821.5     686,803    215.4
     2015       320,896,618        1,199,310        373.7            15,883          4.9                 126,134           39.3          91,261        28.4            328,109          102.2           764,057     238.1       8,024,115      2,500.5   1,587,564        494.7     5,723,488     1,783.6     713,063    222.2
     20166      323,405,935        1,250,162        386.6            17,413          5.4                 132,414           40.9          96,970        30.0            332,797          102.9           802,982     248.3       7,928,530      2,451.6   1,516,405        468.9     5,644,835     1,745.4     767,290    237.3
     2017       325,719,178        1,247,321        382.9            17,284          5.3                 135,755           41.7          99,856        30.7            319,356           98.0           810,825     248.9       7,694,086      2,362.2   1,401,840        430.4     5,519,107     1,694.4     773,139    237.4
1
    Populations are U.S. Census Bureau provisional estimates as of July 1 for each year except 2000 and 2010, which are decennial census counts.
2
    The violent crime figures include the offenses of murder, rape (legacy definition), robbery, and aggravated assault.
3
    The figures shown in this column for the offense of rape were estimated using the revised Uniform Crime Reporting Program's (UCR) definition of rape. See data declaration for further explanation.
4
    The figures shown in this column for the offense of rape were estimated using the legacy UCR definition of rape. See data declaration for further explanation.
5
    The murder and nonnegligent homicides that occurred as a result of the events of September 11, 2001, are not included in this table.
6
    The crime figures have been adjusted.
NOTE: Although arson data are included in the trend and clearance tables, sufficient data are not available to estimate totals for this offense. Therefore, no arson data are published in this table.




                                                                                                                                                                        Exhibit 3
                                                                                                                                                                          0149
                                                                    Case 3:19-cv-01226-L-AHG Document 21-17 Filed 11/12/19 PageID.4285 Page 167 of 222
Table 1A
Crime in the United States
Percent Change in Volume and Rate per 100,000 Inhabitants for 2 years, 5 years, and 10 years
                                                         Murder and                              Rape                      Rape                                                                                                                        Motor
                         Violent        Murder and       nonnegligent           Rape           (revised        Rape       (legacy                                                            Propert Property         Burglar         Larceny- Motor vehicle
                 Violent crime          nonnegligent     manslaughter         (revised        definition)     (legacy definition)                   Robbery Aggravated Aggravated               y     crime              y    Larceny- theft   vehicle theft
                                                                                         2                              3
                 crime1                 manslaughter                         definition)                    definition)                 Robbery              assault                                          Burglary rate     theft           theft
                                                                                                      2                         3
Years                     rate                               rate                                rate                      rate                       rate             assault rate           crime    rate                             rate            rate
2017/2016          -0.2        -0.9            -0.7                -1.4             +2.5            +1.8          +3.0         +2.2         -4.0       -4.7           +1.0           +0.3       -3.0       -3.6    -7.6    -8.2    -2.2    -2.9    +0.8       *
2017/2013          +6.8        +3.7           +20.7               +17.3            +19.4           +16.0         +21.6        +18.2         -7.5      -10.1          +11.6           +8.4      -11.1      -13.6   -27.4   -29.5    -8.3   -10.9   +10.4    +7.3
2017/2008         -10.6       -16.5            +5.0                -2.0                                          +10.0         +2.7        -28.0      -32.8           -3.9          -10.3      -21.3      -26.5   -37.1   -41.3   -16.2   -21.8   -19.4   -24.7
1
    The violent crime figures include the offenses of murder, rape (legacy definition), robbery, and aggravated assault.
2
    The figures shown in this column for the offense of rape were estimated using the revised Uniform Crime Reporting Program's (UCR) definition of rape. See data declaration for further explanation.
3
    The figures shown in this column for the offense of rape were estimated using the legacy UCR definition of rape. See data declaration for further explanation.
*
    Less than one-tenth of 1 percent.




                                                                                                                                      Exhibit 3
                                                                                                                                        0150
Case 3:19-cv-01226-L-AHG Document 21-17 Filed 11/12/19 PageID.4286 Page 168 of 222
                   Uniform Crime Report
                   Crime in the United States, 2017



      Overview
      Table 1—Crime in the United States, by Volume and Rate per 100,000
      Inhabitants, 1998–2017

      Table 1A—Crime in the United States, Percent Change in Volume and Rate
      per 100,000 Inhabitants for 2 years, 5 years, and 10 years

      •    In 2017, the estimated number of violent crime offenses was 1,247,321, a decrease
           of 0.2 percent from the 2016 estimate.

      •    The violent crime of murder and nonnegligent manslaughter decreased
           0.7 percent in 2017 when compared with the 2016 estimate. Rape offenses (legacy
           definition) increased 3.0 percent, and aggravated assault offenses increased
           1.0 percent. The violent crime of robbery decreased by 4.0 percent when
           compared with the 2016 estimate.

      •    The 2017 violent crime rate was 382.9 per 100,000 inhabitants, down 0.9 percent
           when compared with the 2016 violent crime rate.

      •    The murder rate was 5.3 per 100,000 inhabitants in 2017, a 1.4 percent decrease
           when compared with the estimated rate for the previous year.

      •    The estimated number of property crimes in 2017 was 7,694,086, a 3.0 percent
           decrease from the 2016 estimate.

      •    Of the property crimes, the estimated number of burglary offenses decreased
           7.6 percent, and larceny-theft offenses declined 2.2 percent. The estimated
           number of motor vehicle thefts increased 0.8 percent.

      •    The 2017 property crime rate was 2,362.2 per 100,000, a 3.6 percent decrease
           when compared with the 2016 rate.




      Crime in the United States, 2017                 U.S. Department of Justice—Federal Bureau of Investigation
                                                                                              Released Fall 2018



                                                Exhibit 3
                                                  0151
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              EXHIBIT "4"




                                    Exhibit 4
                                      0152
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   POLICY BRIEF




   Can Mass Shootings
   be Stopped?
   To Address the Problem, We
   Must Better Understand the
   Phenomenon
   May 22, 2018

   Jaclyn Schildkraut
   Margaret K. Formica
   Jim Malatras




                                       1
                                    Exhibit 4
                                      0153
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                                                                        Columbine High School
                                                                        in Littleton, Colorado




                                       March for Our Lives in Albany, New York, on March 24, 2018



                                        2 4
                                    Exhibit
                                      0154
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   The mass shooting at Columbine High School in
   Littleton, Colorado, happened nearly two decades
   ago, yet it remains etched in the national
   consciousness. Columbine spurred a national
   debate — from personal safety to the security
   of schools, workplaces, and other locations and
   to broader considerations of guns and mental
   illness. To this day, communities still are grappling
   to find solutions to the complex and multifaceted
   nature of mass shootings.

   Exacerbating this already complex issue is the prevalence of social media and never-
   ending wall-to-wall media coverage. Mass shootings, and those that are particularly
   lethal, are amplified by the news cycle, making them appear more commonplace when
   they are, in fact, statistically rare. Despite their episodic and highly sensational nature,
   however, not all mass shootings garner the same attention by the media.1 Those
   shootings that are the most lethal may receive more coverage, while those events that
   are perceived as more “routine” by the media may not even be covered at all.
   As a result of the intense and often unbalanced media coverage of mass shootings,
   members of the public may hold disproportional attitudes about the events themselves.
   Certain shootings, for example, may be perceived as
   indicators of a broader social problem, while others are     ABOUT THE AUTHORS
   considered to be isolated events. Still, the collective
                                      2

   phenomenon of mass shootings has been found to               Jaclyn Schildkraut is an assistant
   produce a host of outcomes for the public, including fear    professor of public justice at SUNY
                                                                        Oswego and a national expert on
   1 Jaclyn Schildkraut, H. Jaymi Elsass, and Kimberly Meredith,        mass shootings.
     “Mass shootings and the media: why all events are not created
     equal,” online article, Journal of Crime and Justice, February     Margaret K. Formica is an assistant
     5, 2017, https://www.tandfonline.com/doi/full/10.1080/073564       professor of public health and
     8X.2017.1284689.                                                   preventive medicine at SUNY Upstate
   2 For example, the 2012 shooting at Sandy Hook Elementary School
     was identified as reflective of broader societal problems, while   Medical University.
     those events in Tucson, Arizona (2011), and Aurora, Colorado
     (2012), were perceived to be isolated events. See “Washington
                                                                        Jim Malatras is president of the
     Post-ABC News Poll,” WashingtonPost.com, accessed March 29,        Rockefeller Institute of Government.
     2018, http://www.washingtonpost.com/wp-srv/politics/polls/
     postabcpoll_20121216.html.

                                                         3
                                                      Exhibit 4
                                                        0155
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   Mass Shooting Myths




   MYTH Mass shootings only happen in         MYTH Mass shootings are only
   the United States.                         perpetrated by white men.
   REALITY Mass shootings occur in            REALITY Though mass shooters
   countries worldwide, including on six of   are most commonly (but not
   the seven continents.                      exclusively) male, only about half are
                                              white.




                                                                          1999

   MYTH Mass shootings are always             MYTH Columbine was the first (or
   carried out with assault rifles.           one of the first) mass shooting in the
   REALITY Handguns are nearly three          United States.
   times more likely to be used in mass       REALITY Mass shootings have
   shootings than rifles.                     been traced back to the 1800s.
                                              Columbine, however, was a
                                              watershed moment that redefined
                                              how Americans think about the
                                           4 4phenomenon of mass shootings.
                                       Exhibit
                                         0156
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   of crime, a potential moral panic, and the general belief that these events are more
   prevalent than their actual occurrence.3
   Like the public, policymakers also have struggled with how to respond to mass
   shootings. Most policies center on either further restricting or expanding rights related
   to gun ownership and carrying, with a lesser emphasis on mental health protocols,
   regulating violent media, or policies related to security practices. More often than not,
   in the immediate aftermath of a mass shooting, a flurry of bills are introduced, but
   few, if any, are ever enacted into legislation.4 Further compounding the issue is that
   the new laws that are passed, or even those that have been on the books for decades,
   often are not enforced, leading them to be ineffective at preventing the next mass
   shooting.5


   Problems Defining Mass Shootings
   A central challenge in developing public policy solutions to mass shootings in America
   is the absence of a precise and generally accepted definition. Without this, the result
   is a distorted understanding of the actual context of the problem of mass and school
   shootings. Put plainly, we cannot solve a problem we do not fully understand.
   There is wide variation on how mass shootings are defined. Various government
   organizations (e.g., the Centers for Disease Control, U.S. Department of Education),
   advocacy organizations (e.g., Everytown for Gun Safety), and other entities (e.g.,
   GunViolenceArchive.org’s Mass Shootings Tracker) offer data that are based on their
   own descriptions that vary based on the number of victims (either killed or total shot),
   location, and the like. As a result, these definitions — several of which are discussed

   3 See, for example, Robert J. Kaminski, Barbara A. Koons-Witt, Norma Stewart Thompson, and
     Douglas Weiss, “The impacts of the Virginia Tech and Northern Illinois University shootings on fear
     of crime on campus,” Journal of Criminal Justice 38, 1 (2010): 88-98; Ronald Burns and Charles
     Crawford, “School shootings, the media, and public fear: Ingredients for a moral panic,” Crime,
     Law and Social Change 32, 2 (1999): 147-68; and Jaclyn Schildkraut, H. Jaymi Elsass, and Mark C.
     Stafford, “Could it happen here? Moral panic, school shootings, and fear of crime among college
     students,” Crime, Law and Social Change 63, 1-2 (2015): 91-110.
   4 Jaclyn Schildkraut and Tiffany Cox Hernandez, “Laws That Bit The Bullet: A Review of Legislative
     Responses to School Shootings,” American Journal of Criminal Justice 39, 2 (2014): 358-74. There
     are, however, exceptions to this. After the Columbine shooting, the state of Colorado was successful
     in passing several gun control measures, including a reinstatement of background checks and
     prohibitions on “straw purchase” (the buying of a gun on someone else’s behalf). Similarly, after the
     Sandy Hook event, New York State enacted comprehensive antigun violence laws called the SAFE
     Act.
   5 When the investigation subsequent to the 2007 shooting at Virginia Tech revealed a loophole that
     prevented the shooter’s involuntary detention for mental health concerns from being reported
     into the National Instant Criminal Background Check System (NICS) — which, as required by the
     Gun Control Act of 1968, would have disqualified him from legally purchasing his firearms — new
     legislation was passed aimed at addressing the issue. By the time of the 2012 shooting at Sandy
     Hook Elementary School, it still was estimated that millions of records were missing from the
     system. In 2017, after a gunman killed twenty-six at a church in Sutherland Springs, Texas, it
     was revealed that his domestic violence conviction (another disqualifying factor) also had not
     been reported to the NICS by the U.S. Air Force. He too had legally purchased the gun used in the
     shooting. Similarly, in the aftermath of many high profile mass shootings, gun control proponents
     often call for a renewed assault weapons ban, even though one was in effect when the Columbine
     shooting happened and that one of the guns used in the attack (the Intratec TEC-DC) was on the list
     of prohibited weapons.

                                                           5
                                                        Exhibit 4
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   below — are inconsistent, overly broad, and ultimately lead to                     When the seventeen
   inflated statistics.
                                                                                      events reported by
   After the February 14, 2018, shooting at Marjory Stoneman Douglas
   High School in Parkland, Florida, for example, headlines around the                Everytown for 2018
   country reported it to be the seventeenth school shooting of the                   (through the Marjory
   year.6 Many news outlets relied on data from a prominent gun control
                                                                                      Stoneman Douglas
   organization, Everytown for Gun Safety. Everytown defines school
   shootings as “any time a firearm discharges a live round inside or                 shooting) are separated
   into a school building or on or onto a school campus or grounds, as                based on their context,
   documented by the press and, when necessary, confirmed through
   further inquiries with law enforcement or school officials.”7 Based
                                                                                      the number of school
   on this definition, and subsequently included in their compiled                    shootings in the more
   data, are attempted or completed suicides, accidental discharges,
                                                                                      “traditional”sense (using
   and purposeful discharges in which no one is injured or killed.
   When the seventeen events reported by Everytown for 2018                           Columbine as a template)
   (through the Marjory Stoneman Douglas shooting) are separated                      is reduced to three.
   based on their context, the number of school shootings in the
   more “traditional” sense (using Columbine as a template) is reduced to three. This,
   of course, creates issues developing appropriate policies and responses. Since these
   situations all required qualitatively different responses from school administrators,
   law enforcement officials, and other vested stakeholders, treating them all the same
   for the purpose of providing more compelling statistics is problematic.
   More broadly, mass shootings also suffer from the same definitional issues. Often,
   whether an event qualifies as a mass shooting is contingent upon how many people
   are killed without consideration of the context surrounding the attack. Like school
   shootings, however, there are situational differences between multiple victim fatality
   situations such as familicides (the killing of one’s family), gang shootings, and even
   terrorism events in terms of prevention and response.
   Further, events may not qualify as mass shootings when they do not meet a requisite
   number of fatalities (typically four, depending on the definition), despite that the intent
   and opportunity for the perpetrator was present. For example, a 2015 Congressional
   Research Service report defines a mass shooting as “a multiple homicide incident in
   which four or more victims are murdered with firearms, within one event, and in one
   or more locations in close proximity.”8 Such a definition, however, can be limited in
   that it misses events — thereby creating false negatives in the accompanying data.9
   The May 21, 1998, shooting at Thurston High School in Springfield, Oregon, highlights

   6 Chloe Aiello, “17 school shootings in 45 days — Florida Massacre is one of many tragedies in 2018,”
     CNBC, February 16, 2018, https://www.cnbc.com/2018/02/14/florida-school-shooting-brings-
     yearly-tally-to-18-in-2018.html.
   7 “School Shootings In America Since 2013,” Everytown For Gun Safety, accessed March 30, 2018,
     https://everytownresearch.org/school-shootings/5837/.
   8 William J. Krouse and Daniel J. Richardson, Mass Murder with Firearms: Incidents and Victims, 1999-
     2013 (Washington, DC: Congressional Research Service, July 30, 2015), https://fas.org/sgp/crs/
     misc/R44126.pdf.
   9 David Deacon, “Yesterday’s Papers and Today’s Technology: Digital Newspaper Archives and ‘Push
     Button’ Content Analysis,” European Journal of Communication 22, 1 (2007): 5-25.

                                                           6 4
                                                       Exhibit
                                                         0158
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    this issue. The fifteen-year-old shooter killed two students and wounded twenty-
    five others. Despite twenty-seven total victims, this case would have been excluded
    from this particular study for not having met the criteria for number of fatalities.
    Similarly, the twenty-two-year-old perpetrator in the December 11, 2012, shooting at
    the Clackamas Town Center in Clackamas, Oregon, killed two and wounded a third
    before his gun jammed. Despite that there were between 8,000 and 10,000 potential
    victims in the mall at the time of the event, this shooting too would have been excluded
    as a false negative.


    An Analysis of Mass Shootings
    In one of the most comprehensive studies of mass shootings in the United States to
    date, researchers Jaclyn Schildkraut and H. Jaymi Elsass evaluated existing definitions
    of mass shootings from a number of sources, identifying the benefits and deficiencies
    of each.10 In doing so, they crafted their own definition aimed at overcoming the
    limitations of these previous descriptors, which serves as the basis for this report:
      A mass shooting is an incident of targeted violence carried out by one or more
      shooters at one or more public or populated locations. Multiple victims (both injuries
      and fatalities) are associated with the attack, and both the victims and location(s)
      are chosen either at random or for their symbolic value. The event occurs within
      a single 24-hour period, though most attacks typically last only a few minutes.
      The motivation of the shooting must not correlate with gang violence or targeted
      militant or terroristic activity.
    In addition to definitional issues of school and mass                       In addition to definitional
    shootings, the absence of a single national database of mass
    shooting events makes it difficult to properly understand                   issues of school and
    and address the problem. Using the above criteria,                          mass shootings, the
    Schildkraut and Elsass created a comprehensive dataset
    of mass shootings. Identifying potential events through
                                                                                absence of a single
    media accounts, existing databases, and web searches,                       national database of
    they cross-referenced each shooting through at least three                  mass shooting events
    sources to ensure that it aligned with the definition.
                                                                                makes it difficult to
    What they found was that over a fifty-year period stretching
    between 1966 and 2016, a total of 340 mass shootings                        properly understand and
    occurred in the United States.11 Collectively, these events                 address the problem.
    resulted in 1,141 deaths and a total of 2,526 victims (both
    injured and killed). Across mass shooting events, the number of deaths ranged from
    zero to forty-nine, with the total number of victims (both injuries and fatalities) varying
    between two and 102. While the number of victims resulting from some events is high,

    10 Jaclyn Schildkraut and H. Jaymi Elsass. Mass Shootings: Media, Myths, and Realities (Santa Barbara:
       Praeger, 2016).
    11 Due to the primary reliance on media accounts to identify incidents, it is possible that not every
       single mass shooting event has been captured. Still, it is believed that these data are among the
       most comprehensive of sources, as all will have an inherent margin of error for missing events.

                                                           7
                                                        Exhibit 4
                                                          0159
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   the majority of shootings have far fewer victims, resulting in median number of deaths
   and total victims of two and five, respectively.


   Variation in Location Selection
                                                                                   TABLE 1. Mass Shooting by Location Type
   Mass shootings occur in a variety of locations, including (but
                                                                                     		                                                  % OF
   not limited to), schools; workplaces; places of worship (e.g.,                    LOCATION TYPE EVENTS                               TOTAL
   churches, temples); restaurants; nightlife establishments (e.g.,
                                                                                       Workplace                      101               29.7%
   bars, clubs); malls; movie theaters; airports; hospitals; and
                                                                                       School                             94            27.6%
   government buildings. In some instances, they may occur in
   residential areas or may span multiple locations, with shooters                     Other                              35                10.3%
   adopting a spree-like format by going mobile.12 Mass shootings                      Multiple Locations                 30                8.8%
   occurred most frequently at workplaces and schools, which                           Restaurant/Nightlife               24                 7.1%
   combined were the settings for more than 57 percent of events
                                                                                       Shopping/Entertainment             19                5.6%
   (Table 2). This finding is not entirely unexpected as the shooters
                                                                                       Government/Military                16                4.7%
   have relative ease of access to their victims in their roles as
   current or former employees or students.                                            Place of Worship                   12                3.5%
                                                                                       Residential                         9                2.6%

   Weapons Selection across Mass
   Shootings
   The majority of mass shooting events were carried out with a single firearm (67.1
   percent), although multiple weapons were used in approximately one-third of events
   (Figure 2). Handguns were the most commonly used weapon, with at least one being
   used in 75.6 percent of events (Figure 3). When only a single weapon was involved,
   handguns were significantly more likely to be used than any other type of gun (68.9
   percent of events).13 In 28.5 percent of events, at least one rifle, which may include
   assault-style weapons, was used. To a lesser extent (0.9 percent), other types of guns,
   such as machine guns, were used by shooters.



   FIGURE 1. Weapons Usage in Mass Shootings, 1966-2016                FIGURE 2. Types of Weapons Used in Mass Shootings
    80.0%                                                              80.0%      75.6%
                      67.1%
                                                                       70.0%
    60.0%                                                              60.0%
                                                                       50.0%

    40.0%                                                              40.0%
                                                 32.9%                                                        28.5%
                                                                       30.0%
                                                                                                  17.1%
                                                                       20.0%
    20.0%
                                                                        10.0%                                                    0.9%
                                                                        0.0%
     0.0%                                                                        At Least 1     At Least 1   At Least 1        At Least 1
                  Single Weapon            Multiple Weapons                      Handgun        Shotgun         Rifle          Other Gun




   12 One example of this is the 2014 shooting in the Isla Vista community of Santa Barbara, California.
   13 Based on author computations. This calculation is not included in the figures presented.

                                                             8 4
                                                         Exhibit
                                                           0160
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   Demographics of the Perpetrators
   Across the 340 mass shootings identified between 1966 and 2016, there were 352
   perpetrators. Just over 96 percent of the shooters were male, most of whom acted on
   their own (Figure 4). Conversely, there were just fourteen female offenders, twelve
   of whom acted alone. In just eight shootings (2.4 percent), multiple shooters were
   present. Mass shootings with co-offenders more commonly involved two or more
   males.
   The distribution of age of the shooters is presented in Figure 5. The average age of a
   mass shooter is 33.4 years. The youngest shooter was eleven years of age, while the
   oldest was eighty-eight. Nearly half (46 percent) of the 352 shooters were under the
   age of thirty at the time of their crimes, with 16 percent of those perpetrators being
   juveniles (those individuals under the age of eighteen).
   Race was reported for 304 (86 percent) of the shooters, the distribution of which is
   illustrated in Figure 6. Despite common misperceptions that all mass shooters are
   white, the findings indicate that while a majority are, this proportion is just over
   half of the perpetrators (53.9 percent). More than one in four shooters is black and
   nearly one in ten is of Hispanic descent. Fewer than 5 percent of mass shooters were
   classified as Asian, Native American, or of other racial or ethnic descent.


   FIGURE 3. Sex of Mass Shooters by Event Circumstance


                         1.8%         0.6%
             3.5%




                                                                         Solo Male

                                                                         Solo Female

                                                                         Two or More Males

                                                                         Male-Female Pair


                                                          94.1%




                                                   9
                                                Exhibit 4
                                                  0161
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   FIGURE 4. Distribution of Age across Mass Shooters

     25.0%                               23.6%

                                                    20.5%
     20.0%                                                         17.9%
                  15.6%
     15.0%

                                                                             9.4%
     10.0%
                               6.8%
                                                                                       4.5%
      5.0%
                                                                                              1.7%

      0.0%




   FIGURE 5. Distribution of Race/Ethnicity across Mass Shooters

                                           1.3%           4.3%
                               4.3%


                        9.0%




                                                                                    53.9%


                     27.0%




                                 White                               Black
                                 Hispanic or Latino/a                Asian
                                 Native American                     Other

                                                     10 4
                                                  Exhibit
                                                    0162
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   Mass Shooting Trends over Time
   Over the fifty-year period examined (1966-2016), mass shootings have been steadily
   increasing each year (Figure 7). While several of the earlier years experienced no
   mass shootings (based on the definition used here), five years exceeded twenty
   events, all of which occurred within a six-year period (2009-14). The most shootings
   in one year (twenty-two) took place in 2009.
   When examining the distribution of the number of events by decade, as illustrated
   in Figure 8, we again can observe the continual increase in mass shootings. While
   there were only twelve such events between 1966 and 1975, 183 mass shootings
   were identified during the period between 2006 and 2016. Additionally, there is a
   steady increase in the average number of events per year when examining mass
   shootings over the last five decades. Still, on average, there are fewer than twenty
   mass shootings annually.
   Finally, while the risk of becoming the victim of a
   mass shooting is extremely low, there has been
                                                           There is a steady increase in
   a similar increase in this rate over time (Figure       the average number of events
   9). Using data from the U.S. Census to account
   for changes in population over time, the average        per year when examining
   incidence rate for total victimization (both injuries
   and fatalities) due to mass shootings between 2006      mass shootings over the last
   and 2016 was nearly 0.04 per 100,000 people in
   the population, almost seven times greater than the     five decades. On average,
   incidence rate between 1966 and 1975. Since 1986,
   individuals victimized in a mass shooting were
                                                           under Schildkraut and
   more likely to be injured rather than killed. This is
   due, at least in part, to improvements in medical
                                                           Elsass’s definition, there are
   technology, advances in active shooter training and     between nineteen and twenty
   related protocols, and faster response times by law
   enforcement and other first responders.                 mass shootings annually.




                                                   11
                                                Exhibit 4
                                                  0163
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     FIGURE 6. Distribution of Mass Shootings by Year

         25


        20


              15


             10


                       5


                      0
                       1966                   1976             1986          1996          2006             2016



      FIGURE 7. Frequency of Mass Shootings by Decade and Average Number of Shootings by Year, 1966-2016

                                   200                                                                 18
                                   180
   Number of Shootings by Decade




                                                                                                       16


                                                                                                            Average # of Events by Year
                                   160                                                                 14
                                   140
                                                                                                       12
                                   120
                                                                                                       10
                                   100
                                                                                                       8
                                    80
                                                                                                       6
                                    60
                                    40                                                                 4

                                    20                                                                 2
                                    0                                                                  0
                                         1966-75     1976-85       1986-95   1996-2005     2006-16

                                            Frequency of Events          Average # of Events By Year

                                                                     12 4
                                                                  Exhibit
                                                                    0164
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    FIGURE 8. Average Annual Incidence Rates of Victimization Due to Mass Shootings by Decade

      0.04
     0.035
      0.03
    0.025
      0.02
     0.015
      0.01
    0.005
          0
                  1966-75             1976-85            1986-95           1996-2005            2006-16

                                        Average Annual Victimization Rate
                                        Average Annual Incidence of Deaths
                                        Average Annual Incidence of Injuries




   A Roadmap for Policymakers
   Knee-jerk reactions rooted in emotion will not solve the problem. The evidence produced
   to date shows that the problem requires solutions that are versatile and grounded in
   evidence in order to be effective. Although mass shootings occur considerably less
   frequently than portrayed by the media, the findings are that they have increased over
   time. While some of our most populous states have experienced a majority of the mass
   shootings over time, there are states that have never had one. Schools and workplaces
   are more likely to be the site of a mass shooting and policy efforts should focus more
   intensely in those areas. Further, although common public perceptions of mass shootings
   include use of assault rifles, more than three-quarters of mass shootings actually involve
   handguns. Therefore, it is incumbent to find evidence-based solutions to this growing
   problem. Given the regional, demographic, and type of gun used data, a one-size-fits-all
   approach may not work — tailored solutions may work better depending on the state and
   the community. Future works by the consortium will explore these issues.




                                                   13
                                                Exhibit 4
                                                  0165
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   ABOUT THE REGIONAL GUN VIOLENCE
   RESEARCH CONSORTIUM
   The Regional Gun Violence Research Consortium is dedicated to the reduction of
   gun violence involving firearms through interdisciplinary research and analysis.

   With the combined expertise of public health, social welfare, public policy, and
   criminal justice experts, the consortium informs the public and provides evidence-
   based, data-driven policy recommendations to disrupt the cycle of firearm-involved
   mass shootings, homicides, suicides, and accidents.

   The consortium is part of States for Gun Safety, a multistate coalition that aims to
   reduce gun violence by:

      + Creating a multistate database to supplement the federal National Instant
        Criminal Background Check System.

      + Tracking and intercepting guns that are used in crimes as well as guns
        transported across state borders.

      + Informing policymakers and the public through interdisciplinary research
        and analysis.

   Learn more at www.rockinst.org/gun-violence.
     @RockGunResearch

                                               14 4
                                            Exhibit
                                              0166
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   ABOUT THE ROCKEFELLER INSTITUTE

   Created in 1981, the Rockefeller Institute of Government is a public policy think
   tank providing cutting-edge, evidence-based policy. Our mission is to improve
   the capacities of communities, state and local governments, and the federal
   system to work toward genuine solutions to the nation’s problems. Through
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              EXHIBIT "5"




                                    Exhibit 5
                                      0169
                 Economic Inquiry
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                                            Filed published
                                                  11/12/19 June 29, 2006 Page 187 of 222
                                                            PageID.4305


                        ABORTION AND CRIME: UNWANTED CHILDREN AND
                                  OUT-OF-WEDLOCK BIRTHS
                                               JOHN R. LOTT JR. and JOHN WHITLEY*


                    Legalizing abortion can either increase or decrease investments in children’s human
                 capital. This article finds that abortion increases the number of out-of-wedlock births.
                 Using data that more directly links the criminal with age when the crime was
                 committed, not age when arrested, and fixing the assumption in previous research
                 that no abortions took place prior to the Roe v. Wade decision in the 45 states
                 affected by that decision, we find consistent significant evidence that legalizing
                 abortions increased murders by over 7%. Linear estimates indicate that legalization
                 increased total annual victimization costs by at least $3.2 billion. (JEL K42, K14, J24)

                           I. INTRODUCTION                                scholars agree that the crime reduction must
                                                                          be due to a range of factors, though they dis-
             With violent crime rates dropping by 31%
                                                                          agree on which ones are important.
         from their peak in 1991 to 1999 and murder
         rates declining by 42%, many explanations                           Recently Donohue and Levitt (2001) sug-
                                                                          gested that ‘‘legalized abortion may account
         have been offered. This drop is all the more
                                                                          for as much as one-half of the overall crime
         interesting because it occurred while some aca-
         demics had predicted the rise of super preda-                    reduction’’ during the 1990s, legalization ac-
                                                                          counted for even more of the drop in murder
         tors and an explosion of crime.1 In the debate,
                                                                          rates. One of their estimates implies legalizing
         many plausible explanations for this decline
                                                                          abortion accounts for 25 percentage points of
         have been advanced, such as increased arrest
                                                                          the 31-percentage-point drop in murder be-
         and conviction rates, longer prison sentences,
                                                                          tween 1991 and 1997 (2001, table IV, column 6).
         ‘‘broken windows’’ or ‘‘problem-oriented’’ po-
                                                                          Two possible hypotheses were advanced. Abor-
         lice policies, the ending of the crack epidemic,
                                                                          tion may have prevented ‘‘unwanted’’ children
         a strong economy, right to carry concealed
                                                                          from being born. These unwanted children
         handgun laws, and legalizing abortion during
                                                                          might, if born, have had smaller investments
         the early 1970s.2 Generally, all these explana-
         tions could be simultaneously true. Most                         in human capital by their parents and thus been
                                                                          more prone to end up in trouble when they
                                                                          grew older (e.g., Bouza (1990) or Morgentaler
             *We thank Mike McKee and an anonymous referee
         from Economic Inquiry, Alan Sykes, Richard Epstein,              (1998)).3 Second, there is the less savory issue of
         Ed Glaeser, Ted Joyce, Teb Marvell, David Murray, Sam            whether abortion simply heavily culls out cer-
         Peltzman, Florenz Plassmann, Mark Ramseyer, and Bob              tain groups disproportionately involved in
         Reed as well as participants at the American Law and Eco-        crime (e.g., poor black males).
         nomics Association meetings, George Mason University,
         New York University, SUNY Binghamton, Virginia Poly-
         technic and State University, and a conference on abortion
         and crime at the American Enterprise Institute for helpful           3. Henry Morgantaler, one of the leading proponents
         comments. The Yale Law School’s Center for Law, Eco-             of abortion in Canada for several decades, notes (1998)
         nomics, and Public Policy provided funding for this re-          that ‘‘it is well documented that unwanted children are
         search. Unfortunately, at the time that this article was         more likely to be abandoned, neglected and abused. Such
         originally written, Donohue and Levitt were unable to pro-       children inevitably develop an inner rage that in later years
         vide us with either all their data or their regressions.         may result in violent behaviour against people and soci-
                                                                          ety . . . . I predicted a decline in crime and mental illness
         Lott: Resident Scholar, American Enterprise Institute,           30 years ago when I started my campaign to make abor-
             Washington, DC 20036. Phone 1-202-862-4884,                  tion in Canada legal and safe. It took a long time for this
             E-mail johnrlott@aol.com                                     prediction to come true. I expect that things will get better
         Whitley: Received his Ph.D. from the University of               as more and more children are born into families that want
             Chicago, Taylor Run, Alexandria VA, 22314.                   and desire them, and receive them with joy and anticipa-
             1. Lynette Clemetson, ‘‘The Gospel According to              tion’’ (Morgentaler 1998). Similarly, Bouza, the Minneap-
         John,’’ Newsweek, February 12, 2001, p. 25.                      olis police chief, wrote (1990) that abortion is ‘‘arguably
             2. For evidence on all these explanations except for         the only effective crime-prevention device adopted in this
         abortion see Lott (2000, chap. 9).                               nation since the late 1960s.’’

                                                                      1

         Economic Inquiry                                                    doi:10.1093/ei/cbl003
         (ISSN 0095-2583)                                  Exhibit          5 2006 Western Economic Association International
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       2                                                  ECONOMIC INQUIRY


          Given the possible racial implications, it is                 children are ‘‘unwanted’’ ones whose parents
       important to separate these two hypotheses.                      would not have taken good care of them.8
       This concern has been particularly raised by                        But the legalization of abortion might also
       those pointing out that blacks account for                       cause women to have children out of wedlock.
       over 30% of the abortions since the early                        Akerlof et al. (1996) focus on the fate of the
       1970s.4 One simple test would have been to                       children who were born (not on what fate
       measure whether the drop in crime still oc-                      would have awaited each child had they not
       curred after directly accounting for the chang-                  been aborted). From the 1960s through to
       ing racial composition of the population.5                       the late 1980s (the last years in which births
          Although it is indeed quite plausible that                    could have any effect on crime rates during
       abortion would result in fewer unwanted chil-                    the 1990s), there has been a tremendous in-
       dren who have smaller investments in human                       crease in the rate of out-of-wedlock births.
       capital and higher probabilities of engaging                     On average during 1965–69, only 4.8% of
       in crime, the legalization of abortion may have                  whites were born out of wedlock, rising to
       increased the number of out-of-wedlock first                     16.1% 20 years later (1985 to 1989). For blacks,
       births.6 If true, the prediction for crime is the                the numbers rose from 34.9% to 61.8%. As
       opposite of the Bouza-Morgentaler-Donohue-                       Akerlof et al. (1996) point out, unmarried
       Levitt hypothesis. Others note that the legaliz-                 women used to be much more likely to put
       ing of abortion might contribute to a coarsening                 up their children for adoption. In 1969 only
       of society and thus lead to more crime.7                         about 28% of children born out of wedlock
          This article directly links the number of                     were being raised by mothers who were still un-
       abortions when a cohort was born to the crimes                   married within three years. By 1984, that same
       that cohort later commits using the Supple-                      fraction doubled to 56%. Hence, before legal-
       mental Homicide Report to more directly link                     ized abortion most of the children born out of
       murders to the age of the murderer and the                       wedlock ended up in families with a father.
       Centers for Disease Control (CDC) estimates                         To Akerlof et al., the legalization of abor-
       on the number of abortions. We find that legal-                  tion reduced women’s ability to withhold pre-
       izing abortion was associated with a statistically               marital sexual favors from men. Women who
       significant increase in murder rates.                            are willing to obtain an abortion are more likely
                                                                        to engage in premarital sexual activity without
           II. THE RELATIONSHIP BETWEEN LEGALIZING                      a promise of marriage should pregnancy occur.
                      ABORTION AND CRIME                                However, other women who are unwilling to
                                                                        obtain an abortion face competition from
          The central question is really how abortions                  women who are willing to obtain an abortion
       alter human capital investments in marginal                      as men ‘‘seek satisfaction elsewhere’’ (Akerlof
       children. To Donohue and Levitt, the marginal                    et al. 1996, pp. 296–97). Furthermore, as pre-
                                                                        marital sex and out-of-wedlock births became
           4. Abortion Surveillance: Preliminary Analysis—              more common, the stigma declined and social
       United States, 1996, CDC, December 4, 1998, 47(47);              pressure for couples to marry also declined,
       1025–1028, 1035.
           5. In a response to this article when it was presented at    hence reducing investment in the child.9
       the American Law and Economic Association meetings
       in 2001, Donohue argued, ‘‘If abortion is changing a state’s          8. They cite evidence that aborted pregnancies would
       demographics, then controlling for demographics is inap-         have resulted in children who ‘‘would have been 60 percent
       propriate when trying to measure the impact of legalized         more likely to live in a single-parent household, 50 percent
       abortion.’’ We argue that is precisely what you want to ac-      more likely to live in poverty, 45 percent more likely to be
       count for if youwant to see whether the impact of crime is due   in a household collecting welfare, and 40 percent more
       to the changing quality of people within groups as opposed       likely to die during the first year of life’’ (Gruber et al.
       to eugenics-type claim that the drop in crime results from       1999, p. 265). They point to evidence that unwanted chil-
       culling out those portions of the population who are likely      dren and those raised in ‘‘an adverse family environment’’
       to engage in crime. However this article goes further and        are ‘‘strongly linked to future criminality’’ (p. 11). How-
       examines the results both with and without demographics.         ever, the discussion relating human investments in crime
           6. Recent work by Klick and Stratmann (2003) indi-           is more complicated than this because assumptions must
       cates that sexual activity increased dramatically after legal-   be made about how the reduction reduces the return to
       ized abortion. Grossman and Joyce (1990, pp. 1000–1)             legitimate relative to illegitimate activities (Lott 1987).
       provide interesting results that the number of abortion               9. Contraceptives make abortion less of an issue, and
       providers in New York City is negatively related to birth        it seems likely that the knowledge and correct use of con-
       weight.                                                          traceptives is much higher among intelligent women. For
           7. George F. Will, ‘‘More Abortions, Fewer Crimes?’’         them the cost of premarital sex is lower, and they will face
       Newsweek, April 30, 2001, p. 84.                                 relatively few unwanted pregnancies.



                                                                Exhibit 5
                                                                  0171
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                                      LOTT & WHITLEY: ABORTION AND CRIME                                                    3


            Both effects are likely to be going on at the     lation the following year. The data used in
         same time. ‘‘Unwanted’’ children may indeed          their regressions assume that no abortions oc-
         become less common after abortion, with those        cur in any state other than these five prior to
         potential children avoiding the problems of an       1973.10 However, there are doubts whether
         adverse family environment and a higher likeli-      this simple classification accurately reflects
         hood of crime. At the same time, other women         the ease of obtaining abortions: abortion data
         who want children and are unwilling to have          from the CDC indicate that other states that
         abortions find that they are raising children        allowed abortions only when the life or health
         on their own, which also entails a smaller in-       of the mother was in danger actually had
         vestment in human capital compared to the            higher abortion rates than some states where
         situation that existed before abortion was           it was legal (see Table 1).11 For example, in
         legalized. It is unclear which effect will domi-     1972, Maryland, Oregon, New Mexico, Kan-
         nate, and thus whether the investment in child-      sas, and the District of Columbia had abortion
         ren’s human capital will increase or decline.        rates that were as high or higher than the states
            Both effects are also consistent with an ob-      where abortion was legal. Still other states
         served reduction in fertility rates. Women who       such as Wisconsin, Colorado, and Delaware
         do not want children obviously can terminate         were not very far behind.
         pregnancies. Women who do not want to avail             Overall, 23 states in 1972, 20 in 1971, and
         themselves of abortions are now more willing         5 in 1970 are incorrectly listed in their data
         to engage in risky premarital sex and more           as not having abortions. 12 Other publications
         likely to end up with more out-of-wedlock            also use Donohue and Levitt’s abortion data
         births, but this is still a less attractive option   (e.g., Joyce 2004; Garmaise and Moskowitz
         than they faced before abortion was legal            2004; though Joyce 2006 now makes similar
         when they would have been able to wait until         points to the ones raised here).
         marriage for sex and have had children within           The assumption of zero legal abortions in
         a marriage. Women with children may also             the late adopting states prior to Roe v. Wade
         find marriage at a later date more difficult.        is not a random error and systematically low-
            Finally, whereas Akerlof et al. don’t extend      ers their abortion rates relative to the early
         their discussion to crime, both theories relate      adopting states during the years between when
         abortion to crime rates through the level of in-     the early adopting states started allowing
         vestment in a child’s human capital. The per-        abortions and the Roe v. Wade decision.
         centage of children born out of wedlock and
         the rate at which those children are raised by
         their unwed birth mother are easily observable,          10. The correlation between the CDC’s measure of
         yet it is more problematic to link such time-        abortions and those used by Donohue and Levitt is 0.91
         series evidence to the legalization of abortion.     for abortions from 1973 to 1985, but it falls to 0.84 from
                                                              1970 to 1985 because of the assumption that there are no
         In contrast, the types of homes in which chil-       abortions in the nonlegalizing states prior to 1973. Using
         dren had they not been aborted would have            data we provided them, Donohue and Levitt (2004, p. 34)
         grown up in is even more hypothetical. By            do report three regressions with the CDC data up until
                                                              1981 (not 1985), but these are only for the regressions that
         1980, 665,747 children were born out of wed-         create their aggregate measure of abortion and not the ar-
         lock and almost 1.3 million were aborted; both       rest rate data that they also use that roughly tries to link the
         numbers are large, but more information is           criminal’s year of birth with the year of the murder. The
         needed to answer what happens to investment          estimates employed here will be more equivalent to their
                                                              more disaggregated regressions that use the arrest rate
         in human capital and thus crime.                     data, not their estimates using the aggregate effective abor-
                                                              tion rate. As will be discussed later, the Supplemental
                                                              Homicide Report is the standard data set used for linking
                                                              the characteristics of the murderer with the victim (not the
              III. CHANGES IN MURDER RATES BY                 Uniform Crime Report used by Donohue and Levitt),
                         AGE RANGE                            and that is the data set that we will use in this article.
                                                              One comment should also be made: We were the ones
                                                              who supplied Donohue and Levitt with the CDC data
            Five states are classified by Donohue and         on abortion rates.
         Levitt as legalizing abortion prior to the               11. We originally discovered the abortion data from
         Roe v. Wade decision in January 1973. Califor-       the CDC when the data that Donohue and Levitt used
         nia’s Supreme Court legalized abortion in late       from the Alan Guttmacher Institute was not made avail-
                                                              able to us when we put this article together.
         1969 and Alaska, Hawaii, New York, and                   12. Donohue and Levitt do not include data on the
         Washington legalized abortions through legis-        number of abortions prior to 1970.



                                                    Exhibit 5
                                                      0172
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                                                TABLE I
           Comparing Abortion Rates for States Where Abortions were Legal (in bold) versus Those
            where Abortions Could be Done When the Life or Health of the Mother is in Danger
                    1969                        1970                             1971                             1972
                    No. Abortions                    No. Abortions                    No. Abortions                    No. Abortions
                      per 1,000                        per 1,000                        per 1,000                        per 1,000
       State         Live Births        State         Live Births        State         Live Births        State         Live Births
       California          35       Alaska               120         Alabama                7         Alabama                19
       Colorado            25       California           172         Alaska               160         Alaska                169
       Georgia              2       Colorado              53         Arizona               20         Arizona                 7
       Maryland            31       D.C.                 268         Arkansas              18         Arkansas               24
                                    Delaware              55         California           344         California            420
                                    Georgia                7         Colorado             101         Colorado              136
                                    Hawaii               204         Connecticut           16         Connecticut            66
                                    Maryland             101         DC                   703         DC                   1801
                                    New Mexico            73         Delaware             114         Delaware              151
                                    New York             534         Georgia               17         Florida                42
                                    North Carolina        13         Hawaii               261         Georgia                29
                                    Oregon               199         Kansas               277         Hawaii                295
                                    South Carolina         8         Maryland             145         Kansas                369
                                    Virginia              14         Massachusetts         33         Maryland              178
                                    Washington            83         Mississippi            2         Massachusetts          41
                                                                     New Mexico           219         Mississippi             1
                                                                     New York             927         Nebraska               34
                                                                     North Carolina        46         New Mexico            291
                                                                     Oregon               206         New York             1183
                                                                     Pennsylvania          36         North Carolina         94
                                                                     South Carolina        14         Oregon                228
                                                                     Vermont                1         Pennsylvania           52
                                                                     Virginia              46         South Carolina         17
                                                                     Washington           265         Tennessee               0
                                                                     Wisconsin             65         Vermont                32
                                                                                                      Virginia               60
                                                                                                      Washington            377
                                                                                                      Wisconsin             116




          Donohue and Levitt have argued since the                       or whites. The evidence indicates that if any-
       publication of their article that excluding                       thing relatively poorer women made up a
       abortions in the ‘‘nonlegal’’ states is justified                 larger share of abortions in the nonlegal states.
       because only relatively well-to-do mothers                        Blacks and other women make 24% of the
       were able to ‘‘game the system’’ and obtain                       female population between 10 and 49 years
       abortions and that the offspring of these                         of age and the same percentage of live births,
       mothers were not the type who would likely                        but they account for 30% of the abortions in
       have engaged in criminal activity.13Although                      nonlegal states prior to 1973. By contrast, they
       there is no direct data on the wealth of the                      make up 32% of the female population and
       women who have abortions, we can proxy                            33% of live births in the five legal states, but
       their wealth by using information on a wom-                       only 21% of the abortions.
       an’s race. Two different racial categories are                       Although we will rely on Donohue and
       available from the CDC: blacks and others                         Levitt’s classification in this section, including
                                                                         other states as early adopters, with abortion
         13. Based on comments made at the 2001 American                 rates at least as high as those where it was legal,
       Law and Economics Association meetings.                           produces results that were more inconsistent


                                                               Exhibit 5
                                                                 0173
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                                                                        FIGURE 1
                                                 Timing of Changes in Murder Rates for Different Age Cohorts

                                                             35



                                                             30
                                                                                                         Total Murder Rate
                                                                                                         for 10 to 15 Year
                                                                                                         Olds
                          Murder Rates for Each Age Cohort




                                                             25
                                                                                                         Total Murder Rate
                                                                                                         for 16 to 20 Year
                                                                                                         Olds
                                                             20
                                                                                                         Total Murder Rate
                                                                                                         for 21 to 25 Year
                                                                                                         Olds
                                                             15
                                                                                                         Total Murder Rate
                                                                                                         for 26 to 30 Year
                                                                                                         Olds
                                                             10
                                                                                                         Total Murder Rate
                                                                                                         for Those Over 30
                                                                                                         Year Olds
                                                              5



                                                              0
                                                                  1980
                                                                  1981
                                                                  1982
                                                                  1983
                                                                  1984
                                                                  1985
                                                                  1986
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                                                                  1988
                                                                  1989
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                                                                  1991
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                                                                  1993
                                                                  1994
                                                                  1995
                                                                  1996
                                                                  1997
                                                                  1998




                                                                          Year

         with their hypothesis.14 We will graphically ex-                           each age for each state.15 Suppose the legaliza-
         amine the changes in crime rates, first compar-                            tion of abortion can explain up to 80% of the
         ing murder rates across different age groups in                            drop in murder during the 1990s, as suggested
         United States over time and second by com-                                 by Donohue and Levitt. Such a huge drop in
         paring crime rates in the states that first legal-                         crime should be readily observed first in the
         ized abortion to other states.                                             youngest age categories and then gradually ap-
            Also important, we will use the Supplemen-                              pear in progressively older age groups as they
         tal Homicide Reports instead of the arrest                                 were born after abortion was legalized. To
         reports in the Uniform Crime Reports because                               examine this, we broke down the number of
         they allow us to much more accurately disag-                               murderers into five age categories: 10- to 15-year-
         gregate the number of murders committed by                                 olds, 16- to 20-year-olds, 21- to 25-year-olds,
                                                                                    26- to 30-year-olds, and over age 30. By far the
                                                                                    highest murder rates (the number of murder-
             14. Joyce (2004) and Foote and Goetz (2006) argue                      ers in an age category divided by the number
         that the District of Columbia should also be included
         as an early adopter, and making this change would
         strengthen our findings that legalization increases crime.
         Simply to be consistent with Donohue and Levitt, we pri-                       15. Arrests are a poor measure of crimes because
         marily use the number of abortions reported in a state,                    arrests can frequently occur in different years from when
         though we also provide results that adjust for whether                     the crime took place. The Supplemental Homicide Re-
         people are coming from other states to have their abor-                    ports also do a much better and much more complete
         tion. We measure the total number of abortions by state,                   linking of the characteristics of the murderer with those
         though the results are extremely similar if we simply used                 of the victim. The simple arrest rate data from the Uni-
         the number of abortions for a state’s residents. This is                   form Crime Report contains many missing observations
         shown in Table 3, and doing so makes the affect of abor-                   for the age of the murder that are not found in the Sup-
         tion more positive and statistically significant.                          plemental Homicide Reports.



                                                                            Exhibit 5
                                                                              0174
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       6                                                    ECONOMIC INQUIRY


                                                         FIGURE 2
                                         Comparing Early versus Late Legalizing States

                                    A) Timing of Changes in Murder Rates for Murderers
                                                 Who are 10 to 15 Year Olds
                                5
                                       10 years after 1970, the year
                              4.5      when legalization of abortion
                                4      begins to apply to people in this
                              3.5      age range for early adopting
                Murder Rate




                                3                                                                         Early Murder
                                                                                                          Rate
                              2.5                                                                         Late Murder
                                2                                                                         Rate
                              1.5                               10 years after 1973, the year
                                1                               when legalization of abortion
                              0.5                               begins to apply to people in this
                                                                age range for late adopting states
                                0
                                    1976
                                    1977
                                    1978
                                    1979
                                    1980
                                    1981
                                    1982
                                    1983
                                    1984
                                    1985
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                                    1990
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                                    1992
                                    1993
                                    1994
                                    1995
                                    1996
                                    1997
                                    1998
                                                                 Year

                                    B) Timing of Changes in Murder Rates for Murderers
                                                 Who are 16 to 20 Year Olds
                              40              16 years after 1970, the
                                              year when legalization of
                              35              abortion begins to apply                                    Early Murder
                                              to people in this age                                       Rate
                              30                                                                          Late Murder
                                              range for early adopting
                Murder Rate




                                                                                                          Rate
                              25
                              20
                              15                                           16 years after 1973, the
                              10                                           year when legalization of
                                                                           abortion begins to apply
                               5                                           to people in this age
                                                                           range for late adopting
                               0
                                    1976
                                    1977
                                    1978
                                    1979
                                    1980
                                    1981
                                    1982
                                    1983
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                                    1991
                                    1992
                                    1993
                                    1994
                                    1995
                                    1996
                                    1997
                                    1998




                                                                 Year

                                    C) Timing of Changes in Murder Rates for Murderers
                                                 Who are 21 to 25 Year Olds
                                                                                                     Early Murder
                              25
                                                                                                     Rate
                                                                                                     Late Murder
                              20                                                                     Rate
                Murder Rate




                              15

                              10
                                           21 years after 1970, the year when
                                           legalization of abortion begins to            21 years after 1973, the year
                               5           apply to people in this age range             when legalization of abortion
                                           for                                           begins to apply to people in this
                                                                                         age range for late adopting
                               0
                                     1976
                                     1977
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                                     1979
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                                     1981
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                                     1997
                                     1998




                                                                 Year



                                                                   Exhibit 5
                                                                     0175
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                                                         LOTT & WHITLEY: ABORTION AND CRIME                                                                   7


                                                                                    FIGURE 2
                                                                                    Continued

                                               D) Timing of Changes in Murder Rates for Murderers
                                                            Who are 26 to 30 Year Olds
                                          18
                                          16                                                                                     Early Murder
                                          14                                                                                     Rate
                                                                                                                                 Late Murder
                            Murder Rate



                                          12                                                                                     Rate
                                          10
                                           8
                                           6                               26 years after 1970, the year when
                                           4                               legalization of abortion begins to
                                                                           apply to people in this age range
                                           2
                                                                           for early adopting states
                                           0




                                                                                                                         1996
                                               1976

                                                      1978

                                                             1980

                                                                    1982

                                                                             1984

                                                                                    1986

                                                                                           1988

                                                                                                    1990

                                                                                                           1992

                                                                                                                  1994



                                                                                                                                1998
                                                                                     Year

         of people of that age) are concentrated in two                                               The next set of figures contrasts the changes
         age categories 16–20 and 21–25, with the mur-                                            in crime over time for five early legalizing
         der rate for 26–30-year-olds ranking third.                                              states with all the other late legalizing states.
            Figure 1 shows how the murder rates varied                                            Figures 2A–2D make this comparison for
         by age for the period from 1976 to 1998. The                                             10–15-year-olds, 16–20-year-olds, 21–25-year-
         murder rate changes appear to be more consis-                                            olds, and 26–30-year-olds. We also investi-
         tent with the theory that legalizing abortion                                            gated murderers where the age of the murderer
         increased (rather than reduced) murder rates.                                            is not known were also examined, but not
         The murder rates for the two oldest age groups                                           shown. Murders by those over age 30 are ex-
         (26–30 and over 30 years of age) fall almost                                             cluded because no one in that category was
         over the entire time period. The next two                                                born after the legalization of abortion. Besides
         oldest age groups (16–20 and 21–25 years of                                              the murder rates for the early and late legal-
         age) both peak in 1993. Finally, the youngest                                            izers, the dotted vertical lines indicate the
         age group peaks last in 1994.16                                                          years when legalization begins to apply to peo-
                                                                                                  ple in the age range.17 For example, the first
                                                                                                  people born after the legalization of abortion
             16. Foote and Goetz (2006) provide similar figures for
         violent and property crime rates. Although we are focusing                               in the early legalizing states were born in 1970
         on who is committing the crimes, it is also possible to pro-                             and didn’t start to enter the 10–15 age cate-
         duce a figure for the victimization rate, and it produces                                gory until 1980. Because legalization is not
         a similar pattern where the victimization rate for the oldest                            assumed by Donohue and Levitt to have oc-
         people begins to decline first. Another way of summarizing
         this information is to examine the average age of murder-                                curred for the late adopters until 1973, there
         ers. If murder rates first declined among the youngest, the                              should be no affect on crime by 10–15-year-
         average age of murderers should be rising. Yet, as Figure 1                              olds in those states until 1983.
         implies, the average age of murderers fell almost con-
         tinually from the mid-1970s to the 1994, declining from                                      Figures 2A, 2B, and 2C show several strik-
         30.9 years of age in 1977 to 27 in 1994. Only after 1994                                 ing similarities. The patterns are remarkably
         has there been a slight rebound in the average age as the                                similar over time when one compares the
         younger age groups began to reverse their increase in rates
         of committing murder which began in the mid-1980s. By
                                                                                                  ‘‘early’’ legalization patterns across age groups
         1998, the average age of murderers had risen back up to                                  to each other. The 10 to 15 year olds in the
         28 years of age. This diagram also provides a caution for
         Donohue and Levitt’s use of an aggregate abortion rate
         that creates an index that assumes the share of murders                                      17. The numbers in Figure 2A prior to 1980 are cal-
         committed by different ages remains constant over time.                                  culated slightly differently than the other numbers because
         Using a constant weighting over time causes the early drop                               of the inability to precisely link the ages of population with
         in murder rates to be driven by the oldest cohort of crim-                               crimes by this age group. To make this link we assumed
         inals even though their theory depends on the drop occur-                                that the population group for 5–13-year-olds was uni-
         ring because of a change in the behavior of younger people.                              formily distributed.



                                                                              Exhibit 5
                                                                                0176
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                                               FIGURE 3
               Tracing Cohorts over Time by Using a Two-Year Period on Either Side of the
                                        Legalization of Abortion

                                                              A) Following Cohort Murder Rates for Those Born
                                                               Immediately Before and After the Legalization of
                                                              Abortion -- States that Legalized Abortion in 1970
                                                                                                               Born in 1968
                            Murder Rate per 100,000 People

                                                             25
                                                                                                               and 1969 prior
                                                                                                               to legalization
                                                             20                                                in 1970
                                    in that Cohort



                                                                                                               Born in 1971
                                                                                                               and 1972 after
                                                             15
                                                                                                               legalization
                                                                                                               in 1970
                                                             10

                                                              5

                                                              0
                                                                  13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28
                                                                                          Age
                                                                  B) Following Cohort Murder Rates for Those Born
                                                                  Immediately Before and After the Legalization of
                                                                  Abortion -- 45 States and the District of Columbia
                                                                       that Legalized Abortion in January 1973
                                                                                                              Born in 1971
                                                                                                              and 1972 prior
                                                                                                              to legalization
                            Murder Rate per 100,000 People




                                                             30
                                                                                                              in 1973
                                                             25                                               Born in 1973
                                                                                                              and 1974 after
                                    in that Cohort




                                                             20                                               to legalization
                                                                                                              in January
                                                                                                              1973
                                                             15

                                                             10

                                                              5

                                                              0
                                                                  10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26
                                                                                        Age

       early adopters in Figure A can not be affected                                         again over the last five years. The same simi-
       by abortions until 1980 and the early adopters                                         larity also holds true for the three late adopt-
       in the older age groups in Figures B and C can                                         ing patterns. All three decline from 1980 to
       not affected until 1986 and 1991, respectively.                                        1984, then rise, and then fall together again.
       Thus, if abortion is driving the murder rates                                             Figures 2A to 2D further show a remarkably
       for the early adopters in the first three figures,                                     similar pattern across early and late adopting
       the patterns should be lagged by about six                                             states despite abortion legalization affecting
       years for 16 to 20 year olds and then another                                          the late legalizers with a three-year lag. It is also
       five years for 21 to 25 year olds. Instead the                                         clear that despite legalization beginning to af-
       three early adopter patterns are remarkably                                            fect people in the different age groups at differ-
       similar to each other. All three rise from                                             ent times there is little obvious relation to any
       1976 to 1980, then fall from 1980 to 1984, then                                        changes in murder rates. Although murder rates
       rise into the 1990s, and finally fall together                                         declined when abortions were legalized for early


                                                                                   Exhibit 5
                                                                                     0177
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                                                                    LOTT & WHITLEY: ABORTION AND CRIME                                             9


                                                 FIGURE 4
                 Tracing Cohorts over Time by Using a Four-Year Period on Either Side of the
                                          Legalization of Abortion

                                                               A) Following Cohort Murder Rates for Those Born
                                                                Immediately Before and After the Legalization of
                                                               Abortion -- States that Legalized Abortion in 1970
                                                                                                                Born in the
                                                                                                                four years
                              Murder Rate per 100,000 People


                                                               25                                               prior to
                                                                                                                legalization
                                                                                                                in 1970
                                                               20                                               Born in the
                                     in that Cohort




                                                                                                                four years
                                                               15                                               after
                                                                                                                legalization
                                                                                                                in 1970
                                                               10

                                                                5

                                                                0
                                                                    13 14 15 16 17 18 19 20 21 22 23 24 25 26
                                                                                        Age
                                                               B) Following Cohort Murder Rates for Those Born
                                                               Immediately Before and After the Legalization of
                                                               Abortion -- 45 States and the District of Columbia
                                                                    that Legalized Abortion in January 1973
                                                                                                               Born in the
                                                                                                               four years
                                                                                                               prior to
                                                                                                               legalization
                              Murder Rate per 100,000 People




                                                               30                                              in 1973
                                                                                                               Born in the
                                                               25                                              four years
                                                                                                               after
                                     in that Cohort




                                                               20                                              legalization
                                                                                                               in January
                                                                                                               1973
                                                               15

                                                               10

                                                                5

                                                                0
                                                                    10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25
                                                                                        Age

         adopters for 10–15-year-olds and early and late                                      The murder rates for murderers of un-
         adopters for 21–25-year-olds, murder rates rose                                   known age also show a similar pattern in mur-
         after legalization for late adopters in the 10–15-                                der rates for both sets of states. The murder
         year-old age range and early and late adopters                                    rates peak in 1993 for the early adopters
         for 16–20-year-olds. Examining both early and                                     and 1994 for the late adopters. Again, the
         late adopters for the 26–30-year old age group,
         the legalization of abortion does not seem to                                         18. The gap between early and late adopters also does
         speed up what had been a fairly continuous drop                                   not vary in ways that can be explained by the legalization
         in murder rates over the whole period. If legal-                                  of abortion. For example, in Figures 2A and 2B the gap
                                                                                           between early and late adopters falls from 1980 to 1985 in
         izing abortion is having any effect on murder                                     both graphs even though legalization cannot possibly be-
         rates, it is not obvious from this raw data.18                                    gin to impact the 16–20-year-olds in Figure 2B until 1986.



                                                                                Exhibit 5
                                                                                  0178
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       timing of these peaks do not seem consistent                     creasing in the last half of the 1980s and the
       with legalized abortion: There is no difference                  dropping during the 1990s is driven by males.
       in when the peaks in murder rates occurred                       Breaking down murders for women and men
       and there is too long of a lag after legalization.               by the age of the killer (not shown here) again
          It is also possible to compare the murder                     confirms what was reported in Figure 1: The
       rates by people born immediately before and                      drop in murder rates is first observed for the
       after abortion legalization. The top panel in                    oldest age categories. The abortion argument
       Figure 3 is for people born immediately two                      does not seem to apply to abortions of females.
       years before or two years after the legalization
       of abortion in the five early adopting states.
                                                                              IV. HOW TO TEST THE RELATIONSHIP
       The second panel does the same thing for                                  BETWEEN ABORTION AND CRIME
       those living in the 45 states and the District
       of Columbia that were affected by Roe v.                           As just noted, the major benefit of the
       Wade. The graphs tack these cohorts crime                        Supplemental Homicide Report is to move
       rates from their teens through their twenties.                   beyond these aggregate crime and abortion
       There is some difference in murder rates as                      numbers and directly link the age of the
       these cohorts age, particularly during the late                  murderer with the year in which the crime
       teenage years. For example, in B, while the                      occurs.21 To use this data in a regression
       murder rate among those born after legaliza-
       tion rises faster up until age 18, this group also                   21. Donohue and Levitt create an ‘‘effective abortion
       has a slightly faster decline in murder rates                    rate’’ that weights the number of abortions in different
       after that point. In A, those born prior to le-                  past years by the percent of total arrests for a particular
                                                                        crime that occur for people who were born in that year.
       galization have higher murder rates for nine                     It is a creative approach, but as with most aggregation
       ages, and the reverse is true for five ages. It                  problems, there are risks. One of the dangers in using
       is possible to include additional years before                   the aggregate crime rate across all ages is that they may
       and after legalization, and this does show a                     incorrectly link changes in total crime rates to the wrong
                                                                        age groups. Donohue and Levitt also made other compro-
       somewhat higher murder rates during middle                       mises in creating the effective abortion rate. They assume
       age years for those born after legalization                      that the relative rates at which different age groups com-
       (e.g., see Figure 4 for a period of four years                   mit crime is not only the same across all states but is also
                                                                        constant over time. This assumption causes these results to
       before and after legalization), but allowing                     miss that it is the drop in murders by older people that is
       more years to elapse between cohorts makes                       responsible for the drop in murder rates to occur during
       comparisons more difficult because other fac-                    the early 1990s (Figure 1). For example, while murders by
                                                                        16–20-year-olds made up 12% of total identified murders
       tors may be changing.19                                          in 1984, they made up 21% in 1994. Similarly, the assump-
          Finally, a breakdown according to the sex of                  tion that crime is committed at the same rate by different
       the murderer is also possible. Some abortions                    age groups across states and over time is another over-
       are done to selectively choose the sex of infants,               simplification (see figure 5 at http://ssrn.com/abstract¼
                                                                        270126). We redid the results reported in Donohue and
       and this has become progressively easier over                    Levitt’s table IV: (1) assuming that no abortions occurred
       time. The presumption is usually that female                     when not defined as legal by Donohue and Levitt or using
       offspring are less desired than males and thus                   CDC abortion data for all years in calculating the effective
                                                                        abortion rate, (2) using national average weights for 1985
       aborted at relatively higher rates, possibly                     or state- and year-specific weights in calculating the effec-
       implying greater drops in violent crime by                       tive abortion rate, and (3) using either the Uniform Crime
       women.20 Yet murders by women fell contin-                       Report murder rate or the murder offender rate from
       ually during the 1980s and 1990s. The entire                     the Supplemental Homicide Report (more details are
                                                                        available in table 2 at http://ssrn.com/abstract¼270126).
       difference between overall murder rates in-                      Donohue and Levitt’s (2001) results in their table IV col-
                                                                        umn 6 implied a 0.43% drop in murder for each 1% in-
                                                                        crease in abortions. This accounts for 25% of the 30%
            19. Graphs showing one and also three years before          drop in murder between 1991 and 1997. By contrast, when
       and after the legalization are also available.                   we used all the abortion data available and used state and
            20. The explicit systematic use of abortion to select       year weights in determining the share of crimes committed
       male offspring appears most widespread in Asian coun-            by each age group instead of assuming constant shares
       tries and India, but discussions also arise in the U.S. press.   across states and years, the same specification implies
       See Michael Breen, ‘‘Daugthers Unwanted: Asian’s Pref-           that each 1% increase in abortion raises the murder rate
       erence for Sons Makes Abortion Rate Soar,’’ Washington           by 0.08%. Everything else equal, abortion slightly in-
       Times, February 13, 1993, p. A1; Sharon Rutenberg,               creased murder rates by 1.3% between 1991 and 1997.
       ‘‘ ÔCustom-MadeÕ Families by Sex Selection,’’ United Press       Results are available that examine how the results found
       International, May 31, 1983; Owen D. Jones, ‘‘Made-to-           by Donohue and Levitt change even when the FBI’s Uni-
       Orders Babies,’’ Connecticut Law Tribune, September 6,           form Crime rate data are used. See the discussion in sec-
       1993, p. 19.                                                     tion IV here: http://ssrn.com/abstracat-270126.



                                                                Exhibit 5
                                                                  0179
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         analysis, we set up panel data to examine the                their current values. This is probably less
         number of murders committed by each year of                  of a difficulty for execution rates because
         age by state by year. We break down the indi-                changes in who is governor or changes in
         vidual ages by year from 10 to 30 years of age               the composition of the state supreme court
         and then aggregate together all the murders                  can have a big impact on the number of exe-
         committed by those over age 30. The age                      cutions that take place. Using the general
         groupings are disaggregated by year born                     prison population as a percent of the total
         for those born when abortion may have been                   population also has the problem that only
         allowed. This panel allows us to track each co-              about 1% or 2% of prisoners are incar-
         hort as they age and account for the number of               cerated for murder and any changes in en-
         legal abortions in their state in their year of              forcement against murder are likely to have
         birth. If abortion eliminates those in the pop-              small changes in even this tiny fraction be-
         ulation who are most likely to commit murder,                cause prison sentences for murder are so
         we should observe a significantly lower mur-                 long.23
         der rate among those who were born immedi-                      The bottom line is that the variable we
         ately after legalization. Furthermore, that                  would like to measure—prison sentences as
         difference should be traceable over time as                  deterrence against murder—would likely be
         each cohort ages.                                            swamped by the changes in enforcement for
            In their estimates explaining arrests for vi-             other crimes. However, the results reported
         olent crime (table VII), Donohue and Levitt                  here are not much affected by the inclusion
         drop observations where there are zero arrests               of any of these variables, and we include the
         for a given age. Yet excluding observations                  percent of the population in prison simply
         based on on the realization of the dependent                 to make our results consistent with those of
         variable creates potential selection bias. This              Donohue and Levitt.
         problem is particularly acute for murder,                       Other factors that we account for are the
         which is less frequently committed than either               unemployment rate; the poverty rate; real
         overall violent or property crime, and it is the             per capita personal income; real per capita
         reason they cite for not reporting these esti-               government payments for income mainte-
         mates for murder. The distribution is clearly                nance; unemployment insurance and retire-
         not normal. In our sample, almost a third                    ment payments; state population density in
         of the observations by age by state by year                  miles; a set of demographic variables that
         have zero murders (see Appendix Figure A2                    subdivide a state’s population into 36 differ-
         at http://ssrn.com/abstract¼270126 for the en-               ent race, sex, and age groups (see Appendix
         tire distribution). Though the mean and vari-                Table 1);24 and the trends before and after
         ance of murders is consistent with a Poisson                 the passage of right-to-carry laws. With the
         distribution, we deal with the count nature                  exceptions of demographics and broader
         of the data by estimating both Poisson and                   measures of income, the variables are similar
         negative binomial regressions (Plassman and                  to those used by Donohue and Levitt. We have
         Tideman 2001).                                               included these other variables because they
            Obviously many factors affect the rate at                 have been used in our past work (e.g., Lott
         which people commit murder. The most basic                   2000) and because of the importance of demo-
         regressions include age, state, and year fixed               graphics in accounting for whether changes in
         effects. We also include the population in the               crime are simply due to groups that commit
         state that are the same age as the murderers.                crime at high rates being culled out of the pop-
         Law enforcement efforts against murder are                   ulation. Still, as we will show shortly, the
         measured by arrest rates for murder, the ex-
         ecution rate in the year that the crime oc-
         curred, and the percent of the population
         in prison.22 Both the last two variables are
                                                                          23. There are other theoretical problems with using the
         problematic because crime and enforcement                    prison population. For example, prison population is
         rates in the past as opposed to current efforts              a stock while the crime rate is a flow. The difficulty that this
         are much more important in determining                       creates is that the prison population is determined by en-
                                                                      forcement over many years, but it is the current level of en-
                                                                      forcement that is important for determining the crime rate.
                                                                          24. Available online at http://ssrn.com/abstract¼
           22. For discussions of these variables, see Lott (2000).   270126.



                                                           Exhibit 5
                                                             0180
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       results we report are not dependent on any                      cide Reports that distribute the unknown
       particular set of control variables.25                          murderers based on the known distribution
                                                                       by age/race/sex of offenders by state and
                                                                       year. The first two approaches create prob-
            V. MEASURING THE IMPACT OF ABORTION
                         ON CRIME
                                                                       lems by either censoring the endogenous vari-
                                                                       able or not being able to link the unknown
          The panel data set covers murders commit-                    murderer category to the abortion variable.
       ted by murderers in 22 age categories (by year                  The third approach is problematic because
       of age from 10 to 30 and over 30), 50 states and                unknown murderers may be different from
       the District of Columbia, and years from 1976                   murderers who have been identified if only
       to 1998. In addition, 23% of the murders are                    because they are more difficult cases.26 The
       in a twenty-third category covering murders                     chief advantage of the second approach is
       committed by criminals of unknown age. Po-                      that it does not discard any information.
       tentially there are 26,979 observations, though                 We primarily report the results using the sec-
       missing observations reduce it to 21,480, par-                  ond approach, but we tried all three, and the
       ticularly the population by year of age, which                  abortion variable estimate differed little
       is only available starting in 1980.                             across specifications.
          The first issue is what to do with the un-                      For the second approach, we estimated the
       known age category. There are several possi-                    following regression:

       ð1Þ    Murdersijk
                  ¼ b1 ðAbortions=1; 000 Females age 1544Þijk þ b2 Population of Age Cohortijk
                     þ b3 Control Variablesjk þ b4 ðState Fixed Effects
                      Time trend that is nonzero when the age of murderer is unknownÞ
                     þ b5 State Fixed Effects þ b6 Age Fixed Effects þ b7 Year Fixed Effects þ a þ eijk :

       ble approaches: (1) exclude murders where                          ‘‘Murders’’ are the number of murders
       the age of the criminal is unknown, (2) in-                     committed by a murderer of age i in state j
       clude all murders but use additional dummy                      and year k. ‘‘Abortions/1,000 Females age
       and trend variables to proxy for the impact                     15–44’’ are the abortions that took place in
       of abortion for those observations because                      that state when that cohort was born divided
       abortions numbers are not available for                         by the number of women age 15–44 in that
       murderers of unknown age, or (3) use esti-                      state and year (multiplied by 1,000),27 and
       mates included in the Supplemental Homi-                        ‘‘population’’ is the number of residents of

            25. Although it is difficult to directly measure the vi-   result in distributors sending cocaine to the city with
       olence caused by cocaine/crack, limited cocaine price data      the higher price until the price had fallen enough so that
       is available for a portion of the sample from 1980 to 1992      the prices between the two cities were equal. Distributors
       (with the exceptions of 1988 and 1989) to proxy for the         could even remove cocaine from the low-price city and
       relative accessibility of cocaine in different markets. Using   move it to were it could obtain a higher price. Sellers could
       yearly state-level pricing data (as opposed to more short-      also hold inventories and not sell their cocaine during
       run changes in prices) also has the advantage of picking up     periods with unusually low demand. To the extent that
       cost and not demand differences between counties, thus          it is costly to instantly move drugs between different cities
       measuring the differences in availability across counties.      or to store drugs, any price differentials in the short run
       The data was obtained from Grossman et al. (1996).              can be due to demand shifts, but because we are dealing
       The county level data is aggregated to the state level by       with a period of a year, it seems difficult to believe that
       weighting the prices by the population in the counties.         any noncost based price differentials will not be arbitraged
       The reduced number of observations provides an impor-           away.
       tant reason that we do not include this variable in the              26. Joyce (2004) uses the imputation method provided
       regressions shown in the text. Including it leaves the coef-    by the Supplemental Homicide Report and he is aware of
       ficient on abortions virtually unchanged. Whereas simply        the problems that this creates, though he appears to be un-
       using the price does not allow one to perfectly disentangle     aware that the data are available without this lumping of
       local differences in demand and supply, arbitrage basically     known and unknown data together.
       ensures that except for short periods of time the differ-            27. If the number of murders is regressed on the num-
       ences in prices between these local markets will equal          ber of abortions, there is a scaling problem. Estimates that
       differences in selling costs. If the total cost of selling      do those types of regressions produce similar results
       cocaine was the same in two different cities, any price dif-    to those reported here (see http://ssrn.com/abstract¼
       ferentials resulting from sudden shifts in demand would         270126).



                                                               Exhibit 5
                                                                 0181
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         age i in state j and year k. For murders where                cial factors might be changing over time that
         the age of the murderer is unknown, the abor-                 influence both the abortion rate and how chil-
         tion variable equals zero, but the vector of                  dren are raised. On the other hand, although
         state specific time trends for just that category             the dummy variable will give us a measure of
         is nonzero (to account for the otherwise un-                  the average impact of the law, the number of
         measured impact of abortion for unknown age                   abortions allows us to measure the differential
         murderers). We also have vectors of control                   impact of legalization across different states.
         variables and state, age, and year fixed effects.             The log specification not only allows the inter-
            Table 2 examines the simplest specifications               action of the abortion and population vari-
         that include all the variables and observations               ables, but it allows us to use nonlinear values
         and examines whether the results are affected                 for those variables and puts a smaller weight
         by how the law enforcement variables are                      on the impact of abortion in the larger states.
         accounted for. The columns show different                         The top row of Table 2 reports the per-
         specifications with various sets of control                   cent change in murders by people of a certain
         variables, though all include state, year, and                age from 1,000 abortions for people of that
         age fixed effects. Yet to account for clustering              age. These incident rate ratios are reported
         at the state level, STATA requires that a                     throughout the paper and indicate that mur-
         population-averaged estimator is included.                    ders are increasing when the coefficient is
         Clustering is used at the state level, and we                 greater than one and declining when the values
         use robust standard errors.28                                 are less than one. Interestingly, all the esti-
            The first column in Table 2 shows the rela-                mates imply that more abortions produce sig-
         tionship between the number of murders and                    nificantly more murderers when children get
         abortions, and the second specification in-                   older, and the coefficients for the first four
         cludes all the other control variables. One                   specifications are remarkably consistent.
         concern with this simple specification is that                    To interpret the coefficients, note that the
         the total arrest rate for all ages for murder                 average state had 25,443 abortions in 1980
         affects the number of murders, and the reverse                and 1,039,797 females age 15–44. The aver-
         is also true. Simultaneity also exists for the                age abortion rate (abortions per 1,000 females
         overall prison population, but it is much less                age 15–44) was thus 24.5 (the simple average
         of a problem because murderers make up only                   across states was 23). One more abortion
         1% or so of the total prison population. The                  per 1,000 females age 15–44 (i.e., about 4%
         next two columns deal with this problem.                      of the average) is associated with about
         The third specification uses lagged values                    a 0.9% increase in murders in any given year.31
         for the arrest rate and prison population,29                      The last two columns imply somewhat dif-
         whereas the fourth specification replaces the                 ferent impacts from abortion. The dummy
         arrest rate for murder with the arrest rate                   variable reported in column 5 indicates that
         for overall violent crimes. The arrest rate for               legalizing abortion was associated with, on
         violent crimes will still proxy for the effective-            average, a 7.2% increase in murder. Whether
         ness of police but avoids being very closely tied             this increase is due to the legalization of
         to current changes in the number of murders.                  abortion for the two sets of states in 1970
            The final two specifications use a dummy                   and 1973 and not other general cultural fac-
         variable for the legalization of abortion as well             tors that are also changing at about this same
         as the natural log of all the abortion and pop-               time is hard to say simply because there is so
         ulation variables.30 An advantage of using the                little difference in the adoption dates. When
         simple dummy variable is that it is more                      evaluated at the mean, the sixth column, which
         clearly exogenous, especially because other so-               examines the log of the number of abortions

             28. The results without clustering are available on re-
         quest, though the difference is that the estimates are much        31. One concern is whether the results are consistent
         more statistically significant.                               across states or are being driven by a few unusual outliers.
             29. Lagged values are problematic because in theory       To test this, we interacted the abortion variable with a set
         the current arrest and punishment levels should matter        of state dummy variables. With Alabama serving as the
         most in deterring criminals. The benefit from lagging the     left out state, 41 states have higher crime rates as abortion
         prison population also seems extremely small because          increases, 39 of them statistically significant at least at the
         murderers make up such a small portion of prisoners.          10% level for a two-tailed t-test. For six states the effect
             30. For observations where the abortion variable          was negative, but more abortions significantly reduced
         equals zero we added. 1 before taking the natural log.        murder rates in only two states (Nebraska and Vermont).



                                                            Exhibit 5
                                                              0182
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                                                TABLE 2
               Do Abortions Affect Murders?: Using Poisson or Negative Binomials Regressions
       Poisson Estimates                                                         No. of Murderers by Age by State by Year
       Variable                                                          (1)        (2)          (3)          (4)         (5)          (6)
       Number of abortions during the year in which                     1.405     1.3874       1.38753      1.3928
       people of that age were born/the number of births               (2.24)    (2.32)       (2.31)       (2.33)
       Dummy variable for whether abortions are legal in a state                                                         1.0718
                                                                                                                        (2.82)
       ln(Number of abortions rate during the year in which                                                                          1.105
       people of that age were born/the number of births)                                                                           (3.43)
       Population in state that is the age of the murders                         1            1            1            1
                                                                                (8.76)      (8.78)      (9.14)      (9.48)
       ln(Population in state that is the age of the murders)                                                                        0.71834
                                                                                                                                   (3.17)
       Population density per square mile in state                                1.00054      1.000622     1.000596     1.00047
                                                                                  (.95)       (1.11)       (1.08)       (0.85)
       ln(Population density in state)                                                                                               1.33101
                                                                                                                                    (7.06)
       Number of people in prison                                                 0.999995                  0.9999952 0.999995
                                                                                (6.18)                   (6.56)    (5.87)
       Number of people in prison lagged one year                                              0.999995
                                                                                             (6.26)
       ln(Number of people in prison)                                                                                                0.763888
                                                                                                                                   (3.34)
       Execution rate                                                              0.4925     0.3438       0.44016      0.4154       0.4907
                                                                                (0.47)    (0.7)       (0.58)      (0.59)       (0.43)
       Arrest rate for murder                                                      0.99977                              0.9998       0.999665
                                                                                (0.85)                              (0.85)       (1.12)
       Arrest rate for murder lagged one year                                                  .9996363                              0.999665
                                                                                           (1.39)                                 (1.12)
       Arrest rate for violent crime                                                                       0.9994108
                                                                                                        (0.7)
       Unemployment rate                                                           0.98944    0.98995       .0989052 0.9904           0.996341
                                                                                (0.86)    (0.85)      (0.83)      (0.78)       (0.28)
       Poverty rate                                                                0.99968    1.000162     1.00004      0.99975       0.99786
                                                                                (0.06)      (0.03)       (0.01)     (0.04)       (0.38)
       Per capita income                                                           1.00006    1.00005      1.000069     1.00006       1.00008
                                                                                  (1.8)      (1.57)       (2.26)       (1.90)        (2.5)
       Per capita income maintanence                                               0.99908    0.999047     0.99936      0.9991        0.998223
                                                                                 (.94)    (1.02)       (.71)      (0.90)       (1.79)
       Per capita unemployment insurance payments                                  1.00058    1.00043      1.00068      1.0006        1.00044
                                                                                  (0.81)     (0.64)       (0.86)       (0.84)         (.69)
       Per capita retirement payments for those over age 65                        0.999763 0.99968        0.9997545 0.9998           0.99988
                                                                                (2.09)    (2.98)      (2.4)       (2.01)       (0.96)
       Percent annual rate of change in murders after right-to-                  1.87      2.5         2.4         1.85         1.0
       carry law  annual rate of change in murders before                        (1.71)     (2.77)       (3.41)       (1.69)        (1.47)
       right-to-carry law (F-statistic in parentheses)
       Chi-square                                                      196144    2563166      1649367      1641310      2911502     237549.
       No. of observations                                             21756      21480        21411        21319        21480       21480

       Same as Above but Using Negative Binomials                        (7)        (8)          (9)         (10)         (11)        (12)
       Three different measures of abortion are used in                 1.29      1.317        1.3189       1.3165       1.127       1.097
       correspondence to the columns used above                        (4.18)    (3.18)       (3.15)       (3.21)       (8.21)      (4.64)

       Same as First Regressions but Using Number of Abortions (13)                (14)         (15)         (16)         (17)        (18)
       Number of abortions during the year in which                     1.00217 1.00179        1.0018       1.00182
       people of that age were born/1000                               (1.90)   (2.03)        (2.03)       (2.04)
       ln(Number of abortions during the year in                                                                                     1.033
       which people of that age were born/1000)                                                                                     (7.11)

          Notes: The coefficients are incident rate ratios, with absolute z-statistics reported in parentheses. Values of the
       coefficients greater than 1 show the percent increase in crime, and values less than 1 indicate the percent decline. The
       demographics and fixed age, state, and year effects are not reported. Robust SEs with clustering are reported and a
       population-averaged estimator is used. The last set of estimates using the number of abortions have a scaling problem,
       but are provided for comparison purposes.



                                                                   Exhibit 5
                                                                     0183
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         per 1,000 females age 15–44, implies that one                  births on the murder rate. The results continue
         more abortion per female age 15–44 is associ-                  to show a strong consistent positive relation-
         ated with an increase in murders of 0.12%,                     ship between abortions and murder. The aver-
         about one-seventh the magnitude estimated by                   age abortion ratio (abortions per 1,000 live
         the linear specification.32                                    births) was thus 359 (the simple average across
             The specifications corresponding to those                  states was 294). The estimate for the specifica-
         in Table 2 when we use the Supplemental                        tions where abortions enter linearly (columns
         Homicide Reports’ method of distributing un-                   1–4) imply that an increase of one abortion per
         known murderers or exclude murders where                       live birth (about 0.3% of the total) is associ-
         the age of the criminal is unknown are reported                ated with a 0.06% increase in murders, about
         in Appendix 2 (available from the authors). In                 the same magnitude of the results using abor-
         all but one of these specifications the impact of              tions per 1,000 females age 15–44. The log
         abortion is statistically significant at well above            specification with abortions per 1,000 live
         the 0.01 level for a two-tailed t-test, and the ef-            births is similar to the log specification with
         fect ranges from between 33% smaller than                      abortions per 1,000 females age 15–44.
         what was reported in Table 2 to 48% larger.33                      To put these results differently, if legalizing
             Most of the law enforcement variables have                 abortion meant that the abortions per female
         the expected effects, with more executions and                 and per birth went from zero to those observed
         more people in prison associated with reduc-                   from 1973 to 1988, Table 2’s estimates (spec-
         tions in murder, though the effect is not signif-              ifications 2, 6, 8, and 11) imply that there will
         icant for the execution rate (the arrest rate                  be between 854 and 1,916 more murders in
         effect appears positive, but statistically insig-              1998. The simply dummy estimate implies
         nificant). Consistent with past research, mur-                 about 1,543 more murders.35
         der rates fall at least 1% per year faster after                   The results in Table 3 correspond with
         the adoption of right-to-carry laws.34 The                     the sensitivity test provided in Donohue and
         population density coefficient estimates show                  Levitt’s Table V, with two exceptions: an addi-
         a negative relationship but are not statistically              tional row limiting the sample to just those of
         significant. Surprising results include the neg-               known ages affected by the legalization of
         ative relationship estimated for the unemploy-                 abortion and replacing all the nonage specific
         ment rate and the positive relationship for                    state-year level variables with state specific
         income levels, but these results are generally                 year fixed effects. For the linear and log spec-
         not statistically significant. Estimates using                 ifications, a column with results using abor-
         weighted least squares instead of the Poisson                  tions per 1,000 females age 15–44 and a column
         and negative binomial regression examined                      with results using abortions per 1,000 live
         here are reported in Appendix 3 found that                     births are presented. The full set of control var-
         five of the six results are similar in size to those           iables and sample is reported in the first row
         shown in Table 2 (available from the authors).                 as the baseline. Each row represents a separate
             The second section of Table 2 shows the                    specification. Donohue and Levitt tested
         impact of changes in abortions per 1,000 live                  whether the results were sensitive to ‘‘large
                                                                        states,’’ states with ‘‘very high or low abortion
                                                                        rates’’ as well as different types of trends and
             32. Though not reported, we also ran the simple            fixed effects. The large states excluded are Cal-
         dummy variable and natural log specifications that corre-      ifornia and New York, and the jurisdiction
         spond to specifications 1, 3, and 4 and the abortion results
         changed little from those reported in columns 5 and 6.         with the high abortion rate that is excluded
             33. However, as we were concerned that would hap-          is Washington, DC. Each is excluded sepa-
         pen, excluding those cases for which the age of the of-        rately, and then all three are excluded as
         fender was never known did alter other coefficients,
         such as the arrest and execution rates.                        a group. Individual state-specific trends and
             34. A data set with information on other gun control
         laws for a portion of the time period studied here from
         1980 to 1997 was also used to estimate these regressions,          35. If legalizing abortion meant that one went from
         but their inclusion had little impact on the size or signif-   zero abortions to the mean abortions per female and
         icance of the abortion variable. The data are discussed in     per birth seen in 1980, specifications 2, 6, 8, and 11, respec-
         Lott (2000) and include information on waiting periods,        tively, imply 22%, 27.5%, 20%, and 52% increases in mur-
         background checks, penalties for using guns in the com-        der rates. If instead of going from zero murders to those
         mission of crime, and so-called safe storage laws, which       that were actually allowed prior to legalization, specifica-
         impose penalties on adults who do not lock up there guns       tions 2, 6, 8, and 11, respectively, imply 16%, 16%, 6%, and
         if the guns are used improperly by a juvenile.                 9.3% increases in murder rates.



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                                                               0184
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                                                   TABLE 3
             Sensitivity of Abortion Coefficients for the Poisson Estimates Using the Alternative
            Specifications Used by Donohue and Levitt (Only Incident Rate Ratios for Abortion
                                                Effects Shown)
                                                                            Coefficient for the No. Abortions by In-State
                                                                           Residents (divided by 1000) Except Where Noted
                                                                              Incident Rate Ratio            Absolute
       Specification                                                               Coefficient              z-Statistic
       (1) Linear value of abortion rate
       (corresponding to specification 2 in Table 2)
       Baseline                                                                    1.3874                      2.32
       Exclude New York                                                            1.5155                      1.56
       Exclude California                                                          1.3391                      2.55
       Exclude District of Columbia                                                1.89695                     1.76
       Exclude New York, California, District of Columbia                          1.64996                     8.25
       Adjust abortion rate for nonresidents                                       1.99059                     3.57
       Include control for flow of immigrants                                      1.3868                      2.33
       Include state-specific trends                                               1.2575                      1.96
       Include region-year interactions                                            1.3878                      2.33
       Include control for overall fertility                                       1.1736                      3.02
       Limiting sample to only those ages affected by abortion                     1.4707                      2.62
       (eliminating observations for those over 29 and of unknown age)
       Allowing for state-specific year fixed effects in addition to the           1.388                       2.33
       number of abortions and the age specific population
       (2) Dummy variable for legalizing abortion
       (corresponding to specification 5 in Table 2)
       Baseline                                                                    1.0718                      2.82
       Exclude New York                                                            1.0701                      2.70
       Exclude California                                                          1.0621                      2.45
       Exclude District of Columbia                                                1.0711                      2.78
       Exclude New York, California, District of Columbia                          1.0594                      2.35
       Adjust abortion rate for nonresidents                                       1.1011                      3.43
       Include control for flow of immigrants                                      1.0717                      2.81
       Include state-specific trends                                               1.0997                      3.90
       Include region-year interactions                                            1.0706                      2.82
       Include control for overall fertility                                       1.0452                      1.84
       Limiting sample to only those ages affected by abortion                     1.0541                      2.21
       (eliminating observations for those over 29 and of unknown age)
       Allowing for state-specific year fixed effects in addition to the           1.0690                      2.77
       number of abortions and the age specific population
       (3) Natural logs of abortion rate and population variables
       (corresponding to specification 6 in Table 2)
       Baseline                                                                    1.105                       3.43
       Exclude New York                                                            1.125                       3.82
       Exclude California                                                          1.081                       3.35
       Exclude District of Columbia                                                1.104                       3.33
       Exclude New York, California,                                               1.094                       3.27
       District of Columbia
       Adjust abortion rate for nonresidents                                       1.0958                      3.30
       Include control for flow of immigrants                                      1.1053                      3.43
       Include state-specific trends                                               1.1105                      3.61
       include region-year interactions                                            1.1044                      3.45
       Include control for overall fertility                                       1.0105                      1.00
       Limiting sample to only those ages affected by abortion                     1.1066                      4.81
       (eliminating observations for those over 29 and of unknown age)
       Allowing for state-specific year fixed effects in addition to the           1.1044                      3.45
       ln(number of abortions) and the ln(age specific population)




                                                           Exhibit 5
                                                             0185
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         separate regional fixed effects by year are also            not obvious that the percentage increase in
         tried. Because of our statistical package’s                 crime should be the same for all ages. To do
         (STATA) limit on the number of control var-                 this, the five measures that we have been using
         iables using state-specific year fixed effects may          (abortions per 1,000 females age 15–44, abor-
         more effectively control for year-to-year varia-            tions per 1,000 live births, the natural log of
         tions in factors that affect the overall level of           these two measures, and the dummy variable
         crime, but it comes at a cost of having to restrict         for legalization) were interacted with the age
         the number of years that can be examined. The               dummy variables. The results (available from
         last row in each of the three sections in Table 3           the authors) imply a more complicated story
         reports regressions that account for the num-               than we have seen thus far. Although abor-
         ber of abortions, the age specific population,              tions imply more murders, the impact is not
         a state-specific trend variable for unknown age             the same for all ages nor consistent across
         murders, as well as state-specific year effects             all the specifications. The different specifica-
         for the period from 1989 to 1998.                           tions only consistently imply higher crime
             The results remain consistent across the var-           rates for criminals between the ages of 13
         ious sensitivity tests. Excluding the California,           and 17. (Comparing the rate regressions there
         the District of Columbia, and New York indi-                are consistently higher murder rates from for
         vidually or together generally increases the effect         abortions for ages 13–22 and ages 27–29.)
         of abortion. Controlling for fertility reduces              Only the coefficients for one year of age—
         the abortion coefficient and makes it statisti-             29-year-olds—show a consistent decline in
         cally insignificant in the log specification.               murder rates from abortions. The four regres-
             Other sensitivity tests are available. We cat-          sions on the number of abortions as well as the
         egorized the control variables used in Table 2              natural logs of those values show much more
         into 10 groups: the execution rate, prison                  consistency both in terms of the ages associ-
         population, arrest rate, the four measures of               ated with increases or decreases in crime.
         income, population density, unemployment                       There is a possible explanation for why the
         rate, poverty rate, right-to-carry laws, popula-            legalization dummy produces different results
         tion of the age group committing murder,                    from the abortion rate measures. As noted
         and the 36 demographic variables. Running                   earlier, abortion data from the CDC indicate
         all combinations of these groups results in                 that many states where abortions were illegal
         1,024 regressions. The estimates all account                actually had higher abortion rates than some
         for state, age, and year fixed effects. Doing this          states where it was legal. The dummy variable
         for all the linear, dummy variable, and the nat-            for the law wrongly assumes that legalization
         ural log specifications with abortions/1,000                always produces more abortions than when
         females age 15–44 triples the number of regres-             abortions were illegal (only allowed when
         sions. Adding the linear and natural log spec-              the life or health of mother are endangered),
         ifications with abortions/1,000 live births adds            and that is obviously not true. These results
         an additional 2,048 regressions. Altogether,                raise concerns with assuming that no abor-
         we ran 5,200 regressions.                                   tions took place in states prior to legalization.
             The results from this specification search
         show a very consistent set of results. The range
                                                                      VI. DISAGGREGATING CRIME AND ABORTION
         of coefficient estimates for the linear specifica-                    RATES BY RACE AND SEX
         tion for the number of abortions by in-state
         residents (/1,000) ranges from a low of 1.3449                 Legalized abortion need not affect all
         to a high of 1.4564, with a median of 1.4002.               population groups equally. Whites, blacks,
         For the dummy variable the estimates range                  and other groups obtain abortions and have
         from 1.069 to 1.087 and for the natural logs                out-of-wedlock births at different rates. The
         from 1.022 to 1.0275.36                                     net effect of legalization is unclear because
             We finally examined whether abortion had                the groups that have a high levels of abortions
         a different effect on crime as people aged. It is           also tend to have out-of-wedlock births more
                                                                     frequently. For example, whereas blacks ac-
                                                                     count for 29% of abortions during our sample,
            36. In an earlier version of the article, we ran these   they account for 40% of the out-of-wedlock
         6,144 specifications without the category of unknown
         murderers. The ranges of estimates were similar to those    births from 1980 to 1995. Fortunately, the
         reported here.                                              Supplemental Homicide Report disaggregates


                                                          Exhibit 5
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       murders by race and sex, as well as age. The                   VII. MEASURING THE IMPACT OF ABORTION ON
       CDC abortion data does list the number of                                    ARREST RATES
       abortions in each state by whether the mother                      Donohue and Levitt’s publications directly
       is white or nonwhite, though this information                  link abortions to the arrests by year for 15–
       is missing for 1969 and 1982–86. With the ex-                  24-year-olds using data from 1985 to 1996,
       ception of replacing the earlier endogenous                    though as Foote and Goetz (2006) discovered,
       variable for the total number of murders with                  they did not run the regressions that they
       the number of murder broken down by race                       thought they had and correcting the estimates
       and sex, replacing the total number of abor-                   showed a positive and significant increase in
       tions with the number of abortions by the                      violent crime.38 Also as noted earlier, there
       birth mother’s race, and examining only those                  are problems with using arrest rates as op-
       murders for which the race and sex of the mur-                 posed to the Supplemental Homicide Report
       der is available, the regressions correspond to                because arrest data do not directly link the
       those reported earlier in Table 2. Unfortu-                    criminal to the crime and arrests frequently
       nately, the abortion data does not disaggre-                   do not occur in the year the crime was commit-
       gate nonwhite abortions further by race.                       ted. Unfortunately, an equivalent of the Sup-
          The regressions imply that more abortions                   plemental Homicide Report does not exist for
       by white or nonwhite mothers are associated                    violent and property crimes.
       with more murders by people in their res-                          Although some control variables differ
       pective groups. White males consistently and                   between our studies (e.g., the lack of any de-
       statistically significantly are more adversely                 mographic variables in their regressions), the
       affected by higher abortion rates than white                   last two regressions reported at the end of
       females, and the difference are always statisti-               the sections for violent and property crime
       cally significant at least at the 5% level for                 and murder correspond to the odd numbered
       a two-tailed test. For nonwhites the difference                regressions in their table 4.39 The big differ-
       between males and females is more mixed: In                    ence between their results and ours stems from
       one case males face the significantly greater                  them assuming that no abortions took place
       loss, in two cases, females did.                               in the late adopting states from 1970 to 1973
          The different specifications do not imply that              and particularly that no observations were in-
       any one group is harmed consistently more than                 cluded for births that took place prior to 1970.
       another. The linear and natural log estimates                  Expanding the data set so that it covers arrests
       imply that on average additional abortions                     over the period 1980–96 also produces stron-
       harm nonwhites the most, whereas the dummy                     ger evidence that abortion increases arrests
       variable indicates that this is true for whites.               for violent crime and murder. The other esti-
          The bottom line is that increasing the abor-                mates are based on the Poisson and negative
       tion rate consistently results in more murderers               binomial regressions that we reported earlier.
       when the remaining offspring of that race come                 However, with few of the age groups examined
       of age, and the effect is larger for white males               experiencing zero violent crime arrests in any
       than for white females. Generally the coeffi-                  given state during a year and none of the age
       cients are similar in size to what was reported                groups experiencing this for property crime,
       earlier, though some are as large as two or three              the benefit from using the Poisson regressions
       times as much as the average effects reported                  is limited to analyzing murder.
       earlier. Why white males exhibit a larger per-                     The results generally show either a positive
       centage increase than white females in becom-                  relationship or no relationship between abor-
       ing murderers from additional abortions is not                 tion and arrests for violent crime and murder
       clear, but the effect is consistent and large.37

                                                                          38. We limited our sample to that reported by Donohue
           37. There is also the question of who the victims are of   and Levitt for consistency, but using a sample that for the
       this increased crime. We disaggregated murders by the          ages and years reported earler produces results, which are
       race of the victim and criminal. Abortions seem to produce     generally less consistent with their estimates.
       similar increases in murders by whites of both whites and          39. Our inability to replicate their ‘‘state  age inter-
       nonwhites. The data are more mixed for nonwhites and           actions’’ turns out to be because they did not estimate the
       others with the linear and natural log specifications imply-   regressions they said that they had run (Foote and Goetz
       ing much bigger percentage increases in murders of non-        2006). We were unable to determine this at the time we
       whites and others than for whites, but the reverse is true     wrote this article because we were not provided with
       for the dummy variable specification.                          the regressions that Donohue and Levitt estimated.



                                                              Exhibit 5
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                                                    TABLE 4
                    The Impact of Abortions on Out-of-Wedlock Births: Explaining the Number of
                                     Out-of-Wedlock Births by State by Year
                                                                                       Coefficients and Absolute z-Statistics
         Variable                                                                 1                      2                      3

         Number of in-state abortions during the year in which                1.006198                   ...                    ...
         people of that age were born/1000                                   (3.27)
         Dummy variable for whether abortions are legal in a state                ...                1.449155                   ...
                                                                                                    (8.82)
         ln(Number of abortions during the year in which people                  ...                    ...               1.035199
         of that age were born/1000)                                                                                     (7.45)
         Number of births                                                     0.9999989              1.000003             1.000004
                                                                             (0.35)                 (1.85)               (3.93)
         Population density in state                                          0.9999487              0.9998297            0.8965998
                                                                             (0.38)                 (1.28)               (2.16)
         Unemployment rate                                                    1.015146               1.005642             1.01354
                                                                             (2.66)                 (1.17)               (2.91)
         Poverty rate                                                         1.000791               1.002454             0.9999112
                                                                             (0.0011821)            (1.97)               (0.07)
         Per capita income                                                    1.000017               1.000008             1.000027
                                                                             (1.05)                 (0.62)               (1.92)
         Per capita income maintanence                                        1.000245               0.9998943            0.9997004
                                                                             (0.83)                 (0.30)               (0.80)
         Per capita unemployment insurance payments                           0.999859               0.9994682            0.9997257
                                                                             (9.59)                 (1.72)               (1.20)
         Per capita retirement payments for those over age 65                 1.000004                .9999284            1.00002
                                                                             (9.19)                 (2.60)               (9.57)
         Chi-square                                                            2453649               149eþ07              6.90eþ07
         No. of observations                                                     7640                  7640                 7640

           Notes: Again the coefficients are incident rate ratios. Demographics and fixed state and year effects are not reported.
         Robust SEs with clustering are reported and a population-averaged estimator is used.

         while suggesting a weak negative relation-                        There are difficulties with using arrests
         ship between abortion and property crime                       and not data such as that provided by the
         (available upon request). For the weighted                     Supplemental Homicide Report, but neither
         ordinary least squares regressions that most                   the different data source nor the limited sam-
         closely correspond with their original esti-                   ple alone is sufficient to explain the different
         mates, only the regressions for property crimes                results. Part of the difference between our re-
         imply that higher abortion rates reduce that                   sults and theirs goes away when we assume
         type of crime. Overall only the arrest for mur-                that abortions only occurred in the five states
         der regressions always imply the same relation-                they define as early legalizers, but that stil does
         ship between abortion and crime, and indeed                    not qualitatively change our results.
         the effect is similar to what we found using                      Combining our earlier results from Table 2
         the Supplemental Homicide Report, though                       with these general estimates for violent and
         this is really a result of the narrower age                    property crime allow some rough estimates of
         group being examined. It is unfortunate that                   the victimization costs of crime. Donohue and
         Donohue and Levitt do not provide results                      Levitt suggest that abortion reduces annual
         for this crime category so that we can make                    victimization costs by $30 billion, with most
         a comparison. Although there are estimates                     of this coming from reductions in murder
         for both violent and property crime that imply                 (Miller et al. 1993). Using their same calcula-
         both increases and decreases from abortion,                    tions for our results from Table 2 for 1998 im-
         one conclusion is clear: The effects are always                ply that abortion raises victimization costs
         small and imply that going from zero abortions                 from these higher murder rates alone by be-
         to the mean number in 1980 had only around                     tween $3.3 and $7.4 billion per year in 2003
         a percentage point or so effect on crime.                      dollars. Even if we take our estimates on the


                                                           Exhibit 5
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       most optimistic reductions in property crime,                    in out-of-wedlock births. With about 1.6 mil-
       the net effect of abortion is to increase victim-                lion abortions taking place a year from around
       ization costs by $3.2 to $7.3 billion per year.                  1980 on that implies about 9,600 more out-of-
                                                                        wedlock births annually. The linear estimates
             VIII.   DOES ABORTION LEAD TO MORE                         for abortion implied that legalization resulted
                     OUT-OF-WEDLOCK BIRTHS?                             in around 700 more murders annually in 1998,
           Akerlof et al. raise the issue of whether abor-              about 4% of a year’s worth of out-of-wedlock
                                                                        births. Obviously the effective rate of murder-
       tions and contraceptives lead to more out-of-
                                                                        ers is much lower as these people may commit
       wedlock births. Yet their empirical work is
                                                                        multiple murders over many different years. If
       based on purely time-series evidence.40 ARMA
                                                                        the higher estimates of around 1,000 more
       regressions are used to examine whether there
                                                                        murders per year arising from abortion are
       was a change in abortions, use of the Pill during
                                                                        true, this figure represents around 11% of the
       first intercourse, and the percent of women be-
                                                                        annual number of out-of-wedlock births, and
       fore and after 1970 or 1971 who had sex by 16
                                                                        this number only appears plausible if a small
       years of age. They also examine whether there
                                                                        number of these people are responsible for a
       was a change in so-called first-birth shotgun
       marriages, where couples were pressured to                       large number of murders over multiple years.
                                                                           The other estimates in the second and third
       marry, before and after 1968. All the variables
                                                                        columns indicate similarly small effects. They
       change in the expected way. Abortions, use of
                                                                        imply that it is not the legalization of abortion
       the Pill, and early intercourse are all higher af-
                                                                        per se that is associated with more out-of-
       ter the early 1970s, and shotgun marriages are
                                                                        wedlock births but that those states that had
       lower, but only for whites.
                                                                        the biggest increase in abortion are somehow
           Compared to panel data, it is rather diffi-
                                                                        different than other states. Higher unem-
       cult to disentangle different factors when using
                                                                        ployment, poverty, and income are associ-
       time-series data. Fortunately, state-level data
                                                                        ated with more out-of-wedlock births, though
       are available by year on the rate of out-of-
       wedlock births, and as we have discussed there                   surprisingly more densely populated states
                                                                        have slightly fewer out-of-wedlock births.
       is a clear difference over time and across states
                                                                           Other possible explanations for why abor-
       in abortion rates. Alternatively, state-level
       measures of the availability and use of contra-                  tions increase crime (e.g., the legalization of
                                                                        abortion leading to a coarsening of society)
       ceptives are less obvious, though year fixed
                                                                        are beyond the scope of this article, though
       effects combined with demographics and in-
                                                                        this section raises questions about exactly
       come data should serve as a proxy.
                                                                        how abortion increases crime.
           With a few exceptions, we estimated Poisson
       regressions that account for the same factors
       that we used in the earlier regressions.41 The                                  IX. CONCLUSION
       three differences are: excluding the deterrence
                                                                           There are many factors that reduce murder
       variables, including a variable for the number
                                                                        rates, but the legalization of abortion is not
       of births, and excluding the age fixed effects.
       Deterrence variables and age fixed effects                       one of them. Of the over 6,000 regressions that
                                                                        we estimated here, only one implied even a
       are no longer relevant to explaining out-of-
                                                                        small reduction in murder rate. All the other
       wedlock births.
                                                                        estimates implied significant increases in mur-
           The results in Table 4 provide support
                                                                        der rates: allowing abortions after 1973 implies
       for the Akerlof et al. hypothesis, though the
                                                                        at least 850 more murders in 1998. Donohue
       effect represents just a fraction of a per-
                                                                        and Levitt suggest that abortion reduces
       centage point. In column 1, each 1,000 more
                                                                        annual victimization costs by $30 billion,
       abortions is associated with a 0.6% increase
                                                                        with most of this coming from reductions in
                                                                        murder. Our results indicate that total annual
           40. Recent work by Alesina and Giuliano (2006), done
       after our paper was accepted, also finds that the legaliza-
                                                                        victimization costs rose by at least $3.2 billion
       tion of abortion increases out-of-wedlock births and             as a result of abortion.
       reduces births in marriages, thus confirming our results            Many times academics cannot avoid using
       here. Gruber et al. (1999) question Akerlof et al.’s findings.   aggregate crime data. Yet the linking of abor-
           41. Klick and Stratmann (2003) use weighted least
       squares to find that sexual activity greatly increased after     tion and crime is not such a situation: Exam-
       legalized abortion.                                              ining total crime rates and not directly linking


                                                                Exhibit 5
                                                                  0189
Case 3:19-cv-01226-L-AHG Document 21-17 Filed 11/12/19 PageID.4325 Page 207 of 222
                                               LOTT & WHITLEY: ABORTION AND CRIME                                                    21


         abortions and the crimes committed by indi-                         ———. ‘‘Further Evidence that Legalized Abortion Low-
         vidual cohorts missed catching obvious pat-                              ered Crime: A Reply to Joyce.’’ Journal of Human
                                                                                  Resources, 39(1), 2004, 29–49.
         terns and incorrectly attributes the initial                        Foote, Christopher L., and Christopher F. Goetz. ‘‘Test-
         drop in murder rates to older cohorts. Even                              ing Economic Hypotheses with State-Level Data.’’
         if Donohue and Levitt believe that the correct                           Federal Reserve Bank of Boston, March 16, 2006.
         approach links crimes committed by all ages                         Garmaise, Mark J., and Tobias J. Moskowitz. ‘‘More
         with their aggregate effective abortion rate,                            Banks, Less Crime? The Real and Social Effects of
                                                                                  Bank Competition.’’ University of Chicago Working
         sensible minor adjustments such as allowing                              Paper, January 13, 2005.
         the share of crime committed by different ages                      Grossman, Michael, Frank J. Chaloupka, and Charles C.
         to vary across states and years rather than as-                          Brown. ‘‘The Demand for Cocaine by Young Adults:
         suming that the weights are constant reverses                            A Rational Addiction Approach.’’ NBER Working
                                                                                  Paper, July 1996.
         their estimates.                                                    Grossman, Michael, and Theodore Joyce. ‘‘Unobserv-
            This is not to suggest that the hypothesis                            ables, Pregnancy Resolutions, and Birth Weight
         provided by Bouza-Morgentaler-Donohue-                                   Production Functions in New York City.’’ Journal
         Levitt is not plausible, but at least that it is                         of Political Economy, 98(5), 1990, 983–1007.
         not the most important part of the story.42                         Gruber, Jonathan, P. B. Levine, and D. Staiger. ‘‘Abor-
                                                                                  tion Legalization and Child Living Circumstances:
         Abortion can eliminate unwanted children                                 Who Is the ÔMarginal ChildÕ?’’ Quarterly Journal
         and can benefit many women, but it can also                              of Economics, 114(2), 1999, 263–91.
         make other women who are unable to bring                            Joyce, Ted. ‘‘Did Legalized Abortion Lower Crime?’’
         themselves to have an abortion worse off and                             Journal of Human Resources, 39(1), 2004, 1–28.
         more likely to have out-of-wedlock births.                          ———. ‘‘The Inconsequential Association between Le-
                                                                                  galized Abortion and Age-Specific Crime Rates.’’
         Like many laws there appear to be both win-                              Baruch College working paper, March 2006.
         ners and losers, but here the net effect appears                    Kahane, Leo H., David Paton, and Rob Simmons. ‘‘The
         to be a net reduction in human capital and                               Abortion-Crime Link: Evidence from England and
         an increase in crime.                                                    Wales.’’ California State University East Bay work-
                                                                                  ing paper, March 2006.
                                                                             Klick, Jonathan, and Thomas Stratmann. ‘‘The Effect of
                                REFERENCES                                        Abortion Legalization on Sexual Behavior: Evidence
                                                                                  from Sexually Transmitted Diseases.’’ Journal of
         Akerlof, George A., Janet L. Yellen, and Michael L. Katz.                Legal Studies, 32(2), 2003, 407–33.
              ‘‘An Analysis of Out-of-Wedlock Childbearing in the            Leo H. Kahane, David Paton, and Rob Simmons. ‘‘The
              United States.’’ Quarterly Journal of Economics,                    Abortion-Crime Link: Evidence from England and
              111(2), 1996, 277–317.                                              Wales.’’ Department of Economics Working Paper,
         Alesina, Alberto F., and Paulo Giuliano. ‘‘Divorce, Fer-                 California State University, January 2006.
              tility, and the Shot Gun Marriage.’’ Department of             Lott, John R. Jr. ‘‘Juvenile Delinquency and Education:
              Economics, Harvard University Working Paper,                        A Comparison of Public and Private Provision.’’ Inter-
              May 2006.                                                           national Review of Law and Economics, 7(2), 1987,
         Bouza, Anthony V. The Police Mystique: An Insider’s                      163–75.
              Look at Cops, Crime, and the Criminal Justice Sys-             ———. More Guns, Less Crime: Understanding Crime and
              tem. New York: Plenum Press, 1990.                                  Gun Control Laws, 2nd ed. Chicago: University of
         Donohue, John J., and Steven Levitt. ‘‘The Impact of                     Chicago Press, 2000.
              Legalizing Abortion on Crime Rates.’’ Quarterly                Miller, Ted, Mark Cohen, and Shelli Rossman. ‘‘Victim
              Journal of Economics, 116(2), 2001, 379–420.                        Costs of Violent Crime and Resulting Injuires.’’
                                                                                  Health Affairs, 12, 1993, 186–97.
                                                                             Morgentaler, Henry. ‘‘Message from Henry.’’ Online doc-
             42. Kahane et al. (2006) provide strong evidence using               ument available at http://prochoice.about.com/
         British data that abortion legalization did not reduce crime             newsissues/ prochoice/gi/dynamic/offsite.htm?site¼
         rates when abortion is treated as endogenous. They also                  http://www.morgentaler.ca, 1998.
         note (p. 26) the surprising point that ‘‘total recorded crime
                                                                             Plassmann, Florenz, and T. Nicolaus Tideman. ‘‘Does
         in the U.K. began to decrease at about the same time as in
                                                                                  the Right to Carry Concealed Handguns Deter
         the U.S., despite the fact that abortion legalization oc-
                                                                                  Countable Crimes? Only a Count Analysis Can
         curred about five years earlier.’’ Though the international
                                                                                  Say.’’ Journal of Law and Economics, 44(1), 2001,
         evidence that does exist has not allowed the panel analysis
                                                                                  771–98.
         by age offered here, it still does not really suggest a relation-
         ship between abortion and crime (Foote and Goetz 2006).
         The Romanian data do not differentiate the increase in
         crime that occurred after the fall in communism from
         the increase recorded all across Eastern Europe and Russia
         (an increase at least partly related to more accurately
         reported statistics). Foote and Goetz’s graphs of the Aus-
         tralian data make it very difficult to see any pattern. The
         Canadian data are mixed but are estimated differently than
         the Donohue and Levitt regressions.



                                                                 Exhibit 5
                                                                   0190
                             Case 3:19-cv-01226-L-AHG Document 21-17 Filed 11/12/19 PageID.4326 Page 208 of 222

Expanded Homicide Data Table 3
Murder Offenders
by Age, Sex, Race, and Ethnicity, 2017
                                                                       Sex                                Race                         Ethnicity1


                                                                                      Black                            Not
                                                                                    or African             Hispanic Hispanic
                                                                                                 2
Age                                              Total   Male Female Unknown White American Other Unknown or Latino or Latino Unknown
Total                                            17,251 10,665 1,443    5,143 5,125      6,444 314   5,368    1,505     6,324    5,353
                      3
 Percent distribution                              100.0     61.8        8.4        29.8     29.7        37.4    1.8    31.1    11.4        48.0     40.6
             4
Under 18                                             803      730         73            0     295        488      10     10     113          401      73
             4
Under 22                                           2,932 2,626          284           22 1,045          1,766     57     64     430        1,494     267
                 4
18 and over                                      10,669     9,264     1,351           54 4,736          5,464    301     168   1,336       5,621    1,082
Infant (under 1)                                      0         0         0            0     0              0      0       0       0           0        0
1 to 4                                                0         0         0            0     0              0      0       0       0           0        0
5 to 8                                                1         0         1            0     0              1      0       0       0           0        1
9 to 12                                               7         6         1            0     4              3      0       0       0           5        0
13 to 16                                            405       365        40            0   151            242      5       7      56         199       40
17 to 19                                          1,467     1,327       135            5   524            903     21      19     224         755      123
20 to 24                                          2,519     2,222       279           18   858          1,545     63      53     347       1,298      251
25 to 29                                          2,053     1,764       282            7   826          1,152     54      21     274       1,068      227
30 to 34                                          1,465     1,259       197            9   676            718     52      19     184         786      148
35 to 39                                          1,062       916       145            1   543            472     33      14     132         546      107
40 to 44                                            754       627       123            4   387            330     26      11      81         398       80
45 to 49                                            566       480        86            0   323            214     20       9      60         289       61
50 to 54                                            421       357        57            7   233            159     18      11      34         249       37
55 to 59                                            335       290        43            2   213            109      8       5      31         182       32
60 to 64                                            179       163        16            0   110             61      5       3      19         102       17
65 to 69                                             93        84         9            0    69             21      1       2       5          55        7
70 to 74                                             53        49         4            0    42              7      1       3       0          29        9
75 and over                                          92        85         6            1    72             15      4       1       2          61       15
Unknown                                           5,779       671        19        5,089    94            492      3   5,190      56         302    4,198
1
    Not all agencies provide ethnicity data; therefore, the race and ethnicity totals will not equal.
2
    Includes American Indian or Alaska Native, Asian, and Native Hawaiian or Other Pacific Islander.
3
    Because of rounding, the percentages may not add to 100.0.
4
    Does not include unknown ages.
                                                                                        Exhibit 5
                                                                                          0191
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              EXHIBIT "6"




                                    Exhibit 6
                                      0192
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                                  SENATE CO.MMITI££ ON PUBUC SAFETY
                                            Senator Nancy Skinner, Chair
                                                2017 - 2018 Regular

          Bill No:             SB 1100            Hearing Date:     April 17, 20 18
          Author:              Portantino
          Version:             March 19,2018
          Urgency:             No                                 Fiscal:             Yes
          Consultant:          GC

                                            Subject: Firearms: Transfers

                                                       HISTORY

          Source:         Author

          Prior Legislation:       AB 1674 (Santiago), 2015, vetoed
                                   AB 202 (Knox), Ch. 128, Stats. of 1999

           Support:       California Chapters of the Brady Campaign; Giffords Law Center to Prevent Gun
                          Violence

           Opposition:    Firearms Policy Coalition


                                                       PURPOSE

          The purpose of this bill is to extend the prohibition on purchasing more than one handgun a
          month to include all firearms and increases the age from 18 to 21 years for a person to
          purchase a firearm from a licensed dealer.

           Existing law prohibits a person from making more than one application to purchase a handgun
           within any 30-day period. (Pen. Code§ 27535.)

           Existing law prohibits a firearms dealer from delivering a handgun to a person whenever the
           dealer is notified by the Department of Justice that within the preceding 30-day period the
           purchaser has made another application to purchase a handgun that does not fall within an
           exception to the 30-day prohibition. A violation of that delivery prohibition by the dealer is a
           crime. (Pen. Code§ 27540.)

           This bill extends the prohibition on purchasing more than one handgun a month to all firearms,
           including long guns.

           Existing law exempts the following from the one handgun a month prohibition: (Pen. Code, §
           27535, subd. (b).)

               •    Any law enforcement agency.
               •    Any agency duly authorized to perform law enforcement duties.
               •    Any state or local correctional facility.

                                                      Exhibit 6
Provided by LRI History LLC                             0193                                  2018-894 Page 50 of 358
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          SB 1100 (Portantino)                                                                      Page 2 of7

              •   Any private security company licensed to do business in California.
              •   Any person who is properly identified as a full-time paid peace officer and who is
                  authorized to, and does carry a firearm during the course and scope of employment as a
                  peace officer.
              •   Any motion picture, television, or video production company or entertainment or
                  theatrical company whose production by its nature involves the use of a firearm.
              •   Any person who may make a valid claim an exemption from the waiting period set forth
                  in Section 27540.
              •   Any transaction conducted through a licensed firearms dealer pursuant to Chapter 5
                  (commencing with Section 28050).
              •   Any person who is licensed as a collector and has a current certificate of eligibility issued
                  by the Department of Justice.
              •   The exchange of a handgun where the dealer purchased that firearm from the person
                  seeking the exchange within the 30-day period immediately preceding the date of
                  exchange or replacement.
              •   The replacement of a handgun when the person's handgun was lost or stolen, and the
                  person reported that firearm lost or stolen prior to the completion of the application to
                  purchase to any local law enforcement agency of the city, county, or city and county in
                  which the person resides.
              •   The return of any handgun to its owner.
              •   A community college that is certified by the Commission on Peace Officer Standards and
                  Training to present the law enforcement academy basic course or other commission-
                  certified law enforcement training.

           This bill adds the following exceptions to the one gun a month prohibition:

              •   The purchase of a firearm, other than a handgun, by a person who possesses a valid,
                  unexpired hunting license issued by the Department of Fish and Wildlife.
              •   The acquisition of a firearm, other than a handgun, at an auction or similar event
                  conducted by a nonprofit public benefit or mutual benefit corporation to fund the
                  activities of that corporation or local chapters ofthat corporation.

           Existing law prohibits the sale or transfer of a handgun, except as specifically exempted, to any
           person below the age of21 years. (Pen. Code§ 27510.)

           Existing law also prohibits the sale or transfer of a firearm, other than a handgun, except as
           specifically exempted, to any person below the age of 18 years. (Pen. Code § 2751 0.)

           This bill prohibits the sale or transfer by a licensed dealer of a long gun to a person below the age
           of 21 years, increasing the age from 18 years to 21 years of age. The bill exempts long gun
           purchases or transfers when the purchaser or transferee has a valid, unexpired hunting permit.




                                                      Exhibit 6
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                                                    COMMENTS

          1. Need for This Bill

          According to the author:

                 While handguns are used in the majority of gun deaths, long guns have been used
                 to perpetrate many of the largest mass shootings in U.S. history, including the
                 tragic event that took place in San Bernardino, California.

                 California is home to the most stringent gun laws in the county. One example is
                 requiring an individual to be 21 years of age in order to purchase a handgun.
                 Another is the general limitation on a gun dealer delivery of only one handgun to
                 an individual in a 30 day period.

                 Since these laws have taken effect, data shows that there has been a successful
                 reduction in the incidence of gun trafficking while not burdening legitimate gun
                 owners or persons who wish to acquire guns.

                  In order to be uniformly consistent, California should apply the 30 day delivery
                  period and 21 year age limit to long guns.

                  Firearms will not be delivered whenever the dealer is notified by the DOJ that
                  within the preceding 30-day period the purchaser has made another application to
                  purchase a firearm. In addition, because of the interaction of state and federal law,
                  receivers or frames (the gun minus the barrel) are also applicable to the 30-day
                  purchase period. This bill will also define a frame or a receiver of a firearm.

                  Lastly, this bill would also prohibit the sale or transfer of any firearm by a
                  licensed dealer, except as specially exempted, to any person below the age of 21
                  years.

           2. One Gun a Month

           According to the Senate Public Safety Analysis of Assembly Bill 202 (Knox, of 1999), which
           created the one-handgun-a-month law in California:

                  The State of Virginia enacted a "one-handgun-a-month" law in 1993 (before the
                  Federal Brady Bill, which required at least a five day waiting period plus a
                  background check for states without such requirements). That state had weak
                  restrictions on handgun sales and it has been stated that gun traffickers from New
                  York City routinely traveled to Virginia to purchase quantities of weapons to take
                  back for illegal sale in other states. Purchases of more than one handgun per 30-
                  day period in Virginia is allowed upon completion of an "enhanced" background
                  check when the purchase is for lawful business or personal use, for purposes of
                  collectors, bulk sales and purchases from estates, to replace a lost or stolen
                  weapon, and similar situations.



                                                      Exhibit 6
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                  Supporters of limits on purchases of handguns assume that the Virginia limits and
                  the limits in this bill would only affect a very small proportion of legitimate
                  handgun purchasers. A family of two adults could still purchase 24 handguns a
                  year under the provisions of both this bill and the Virginia law.

          Virginia repealed this law in 2012. But, according to the Law Center to Prevent Gun Violence:

                  Virginia's one-gun-a-month law- which was in effect from 1993 to 2012 and
                  prohibited the purchase of more than one handgun per person in any 30-day
                  period- significantly reduced the number of crime guns traced to Virginia
                  dealers. Virginia initially adopted its law after the state became recognized as a
                  primary source of crime guns recovered in states in the northeastern U.S. After
                  the law's adoption, the odds of tracing a gun originally acquired in the Southeast
                  to a Virginia gun dealer (as opposed to a dealer in a different southeastern state)
                  dropped by:

                  •   71% for guns recovered in New York;
                  •   72% for guns recovered in Massachusetts; and
                  •   66% for guns recovered in New Jersey, New York, Connecticut, Rhode Island and
                      Massachusetts combined.

                  (http://smartgunlaws.org/multiple-purchases-sales-of-firearms-policy-summary/
                  [footnotes omitted].)

           Other states that have limits on the number of firearms that can be sold in one month include:

                  •   California: California law prohibits any person from purchasing more than one
                      handgun within any 30-day period. In addition, a licensed firearms dealer may not
                      deliver a handgun to any person following notification from the California
                      Department of Justice that the purchaser has applied to acquire a handgun within the
                      preceding 30-day period. Finally, firearms dealers must conspicuously post in their
                      licensed premises a warning, in block letters at least one inch in height, notifying
                      purchasers of these restrictions.

                  •   District of Columbia: A person may not register more than one handgun in the
                      District during any 30-day period. Since every handgun must be registered, this
                      amounts to a purchase and sale limitation of one handgun per 30-day period ...

                 ••   Maryland: Maryland prohibits any person from purchasing more than one handgun or
                      assault weapon within a 30-day period. Under limited circumstances, a person may be
                      approved by the Secretary of the Maryland State Police to purchase multiple
                      handguns or assault weapons in a 30-day period. Maryland also penalizes any dealer
                      or other seller who knowingly participates in an illegal purchase of a handgun or
                      assault weapon ...

                  •   New Jersey: New Jersey prohibits licensed firearms dealers from knowingly
                      delivering more than one handgun to any person within any 30-day period. With
                      limited exceptions, no person may purchase more than one handgun within any 30-
                      day period. New Jersey requires a handgun purchaser to obtain a separate permit for
                                                      Exhibit 6
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                          each handgun purchased, and present the permit to the seller. The seller must keep a
                          copy of each permit presented.

          (http://smartgunlaws.org/multiple-purchases-sales-of-firearms-policy-summary/[footnotes
          omitted].)

          Senate Bil/1674 (Santiago), of 2015: Veto Message

          The Governor stated in his veto message of Senate Bill 1674, which would have prohibited any
          person from making an application to purchase more than one firearm within any 30-day period:

                      This bill generally prohibits the purchase of more than one firearm within any 30-day
                      period. It should be noted that California already bans the purchase of more than one
                      handgun per month.

                      While well-intentioned, I believe this bill would have the effect of burdening lawful
                      citizens who wish to sell certain firearms that they no longer need.

                      Given California's stringent laws restricting gun ownership, I do not believe this
                      additional restriction is needed.

          3. Increasing the Age for Purchase of Long Guns

          This bill would increase the minimum age from 18 to 21 years for a person to purchase all
          firearms in California. The age restriction would also impact the ability to transfer a weapon.
          Under current law a person must be 21 years of age to purchase a handgun, and this bill applies
          those same rules to the purchase and transfer of all firearms (including long guns). The bill
          creates an exception to this rule when the purchaser or transferee has a valid, unexpired hunting
          license issued by the Department of Fish and Wildlife.

           On February 14, 2018 Nikolas Cruz shot and killed seventeen people and wounded an additional
           seventeen people at Marjory Stoneman Douglas High School in Parkland, Florida. The
           perpetrator was 19-years old at the time of the incident, and he used assault rifles. Following the
           incident Florida passed legislation to increase the minimum age for buying rifles to 21-years.
           The National Rifle Association challenged the law and filed a lawsuit in the United States
           District court for the Northern District of Florida alleging that the ban on gun sales to people
           under 21 years of age is unconstitutional because it violates their rights under the Second and
           Fourteenth Amendments to the U.S. Constitution because 18-year-olds are classified as adults.

           On March 1, 2018 George Skelton wrote an editorial for the LA Times 1 on this bill. He stated the
           following regarding this provision:

                      In Sacramento, state Sen. Anthony Portantino (D-La Cafiada Flintridge) proposes
                      taking an even bigger step. He introduced legislation Wednesday to increase the
                      legal age to 21 in California for buying any gun, including a shotgun or rifle with
                      low ammo capacity. A shooter with a hunting license would be exempt because
                      he'd taken a gun safety course.

           1
               http:l/www.latimes.com/politics/la-pol-ca-skelton-guns-schools-teachers-20 18030 1-story.html
                                                               Exhibit 6
Provided by LRI History LLC                                      0197                                          2018-894 Page 54 of 358
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                  What about a skeet shooter? Or someone who just likes to plink tin cans out by
                  the barn?

                  Doesn't make sense that an 18-year-old can enlist in the Army and be armed with
                  an automatic M-16 to fight terrorists, but can't buy a bolt-action plinker back
                  home until he's 21.

                  In Florida, where the gun lobby usually prevails in the Legislature, a House
                  committee bucked the NRA on Tuesday and approved a bill to raise the rifle-
                  buying age from 18 to 21. This came after emotional testimony from parents of
                  students killed in the school shooting.

                  The committee also voted to allow arming of teachers. But it rejected a ban on
                  assault weapons.

                  Everyone needs to get their priorities straight: Let the teachers teach. Treat 18-
                  year-olds like adults. Get rid of all assault weapons.

          However, there are a number of instances when lawmakers have limited the ability of person's
          under the age of21 to engage in activities which are otherwise lawful. Notably, persons under
          the age of21 are not allowed to ingest alcohol or marijuana under California law.

          4. California Hunting Licenses

          This bill creates an exemption from the prohibition on persons under the age of 21 purchasing or
          receiving a long gun if the person under the age of 21 has a valid, unexpired hunting license. In
          order to obtain a hunting license in California a person must:

              •   Complete the California Hunter Education Certification requirements
              •   Choose the correct type of hunting license.
              •   Purchase a license through the California Department of Fish and Wildlife website or a
                  California approved agent.

          The Official California Hunter Safety Course is an online course that costs $28.95. There is no
          minimum age for the course. The course requires a follow-up course that is a 4-hour review of
          the online course with a certified hunter education instructor. The course includes a student
          demonstration of safe firearm handling and a test. Following completion of the follow-up course
          the enrollee receives a Hunter Education Certificate.

           5. Argument in Support

          According to the California Chapters of the Brady Campaign:

                  The California Brady Campaign generally believes that handguns and long guns
                  (rifles, shotguns and lower receivers) should be subject to the same laws. Modern
                  sporting rifles are often high powered semi-automatic weapons with exchangeable
                  magazines that can pose a greater threat than handguns. In the early 1990s, it was
                  thought that handguns made up an overwhelming share of crime guns, but the
                  data shows that is no longer the case. Of the 26,682 crime guns entered into the
                                                      Exhibit 6
Provided by LRI History LLC                             0198                                   2018-894 Page 55 of 358
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                   Department of Justice Firearms Systems database in 2009, 11,500 were long
                   guns.i

                   Existing law prohibits the sale or transfer of a handgun to a person below the age
                   of 21 years. SB 1100 will similarly prohibit, with exceptions, the sale or transfer
                   of a long gun by a licensed firearm dealer to a person under age 21. Additionally,
                   the bill will require those who manufacture or assemble a long gun to be at least
                   21 years old in order to obtain a serial number for the firearm and register it with
                   the California Department of Justice. These provisions makes sense as those
                   under age 21 are disproportionally linked to crime. In 2015,23.4 percent ofthose
                   arrested for murder and non-negligent manslaughter in the U.S. were under
                   21 ii and 26.5 percent of those arrested for "weapons carrying, possession, etc."
                   were under age 21.iii Individuals age 18 to 20 comprise only 4% of the population
                   but commit 17% of gun homicides. 1v

                   Maturity, impulsive or reckless behavior, and responsibility vary greatly among
                   18-20 year olds. This is recognized in other areas -those under age 21 cannot buy
                   alcohol, rent a car, or purchase a handgun- and the same age restriction should
                   apply to long guns.

                   Additionally, SB 1100 will limit purchases of long guns from licensed firearms
                   dealers in California to no more than one gun per person per 30-day period, with
                   appropriate exemptions. This is current law for handguns and is a recognized
                   strategy for curbing the illegal flow of guns by taking the profit out of selling
                   guns from bulk purchases on the black market. It stands to reason that a person
                   buying large quantities of guns at one time may be acting as a straw purchaser or
                   gun trafficker. Moreover, many of these bulk purchases are for lower receivers,
                   which can be built up into military-style weapons and sold for a big profit.
                   Firearms acquired in bulk are frequently used in crime. A University of
                   Pennsylvania report found that a quarter of all guns used in crime were purchased
                   as part of a multiple-gun sale and that guns purchased in bulk were up to 64%
                   more likely to be used for illegal purposes than guns purchased individually.v
                   Limiting multiple-gun sales within a short period of time for all firearm, including
                   long guns, is clearly in the interest of public safety.


                                                                   --END-




          'Data provided by the California Department of Justice, April 6, 2010.
          " FBI 2015 Crime in the United States, https://ucr.tbi.gov/crime-in-the-u.s/20 15/crime-in-the-u.s.-20 15/tables/table-
          41.
          iiiIbid.
          iv "Uniform Crime Reporting Program Data: Supplementary Homicide Reports, 20 15," US Department of Justice,
          Federal Bureau of Investigation, https://ucr. fbi.gov/nibrs/addendum for-submitting-cargo-theft-datalshr.
          v Koper, Christopher S.; Jerry Lee Center of Criminology, Univ. of Penn., Crime Gun Risk Factors: Buyer. Seller,

          Firearm, and Transaction Characteristics Associated with Gun Trafficking and Criminal Gun Use --A report to the
          National Institute of Justice, U.S. Department of Justice (2007). https://www.ncjrs.gov/pdffiles I /nij/grants/221 074. pdf.



                                                                 Exhibit 6
Provided by LRI History LLC                                        0199                                             2018-894 Page 56 of 358
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              EXHIBIT "7"




                                    Exhibit 7
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     46 6Ucc6 1G1gd                    fg fU1c3 1Gc1d
     4g 6U77g 1G10d                    fe eU341 1G76d
     4e gUfge 1G6fd                    ff eUe77 1Gf6d
     4f eU4f4 1Gegd                    f7 eU666 1Gefd
     47 eU4c4 1Gegd                    fc gU3c0 1Ggfd
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     43 eUg01 1Gecd                    70 eU011 1Ggfd
     60 eUfc4 1Gffd                    71 eU0gc 1Ggcd
     61 fU073 1G7cd                    74 6Ueg0 1G06d
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     gg fUf07 1G36d                    ce         e60 0G1ed
     ge fU343 4G06d                    cf         g4c 0G16d
     gf 7U670 4G1ed                    c7         61e 0G03d
     g7 7Ufcg 4G4ed                    cc         46e 0G07d
     gc 7U677 4G1fd                    c3         1c6 0G0ed
     g3 fU333 4G0ed                    30         110 0G06d
     e0 fUf3e 1G3fd                    31         101 0G06d
     e1 fU7ec 1G3cd                    34          e7 0G04d
     e4 fUf10 1G36d                    36          64 0G01d
     e6 fU334 4G0gd                    3g          41 0G01d
     eg 7U1e1 4G03d                    3e          10 0G00d
     ee 7U6g4 4G1ed                    3f            e 0G00d
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     ee         f0 eF3gd               g6          1 0F0cd
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     ef         61 eF4hd               gh          4 0F1hd
     eh         e1 4F6hd               gg          1 0F0cd
     eg         60 eF1cd               gc          4 0F1hd
     ec         eh 4Fchd               g3          1 0F0cd
     e3         43 4Fe1d               c0          1 0F0cd
     60         4c 4F4ed               c1          4 0F1hd
     61         4e 1Fced               c4          1 0F0cd
     64         e0 4Fecd               ce          0 0F00d
     6e         41 1Fhgd               c6          0 0F00d
     66         4f 1F33d               cf          0 0F00d
     6f         eh 4Fchd               ch          0 0F00d
     6h         e1 4F6hd               cg          0 0F00d
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     4g         f3 4Gg0c               ff         16 0Gdec
     4f         f7 4Gdfc               fe         1d 0Gg1c
     4e         e1 4Ggec               f7         1d 0Gg1c
     47         70 4G30c               f3         17 0Gfgc
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     60        113 dG61c               e1         14 0Gd6c
     61         eg 4Ge4c               e4          e 0G4gc
     64         f7 4Gdfc               e6          1 0G0dc
     66         3f 6Gd7c               ed          g 0G17c
     6d        103 6G3gc               eg          3 0G66c
     6g         30 6G4fc               ef          6 0G11c
     6f         3f 6Gd7c               ee          4 0G0ec
     6e         3d 6Gd0c               e7          g 0G17c
     67         70 4G30c               e3          4 0G0ec
     63         71 4G36c               70          4 0G0ec
     d0         e0 4Ggdc               71          0 0G00c
     d1         36 6G6ec               74          0 0G00c
     d4         ff 4G63c               76          0 0G00c
     d6         gg 1G33c               7d          0 0G00c
     dd         f4 4G4gc               7g          0 0G00c
     dg         ee 4Ge3c               7f          0 0G00c
     df         g3 4G1dc               7e          0 0G00c
     de         g0 1G71c               77          4 0G0ec
     d7         gf 4G06c               73          0 0G00c
     d3         gf 4G06c               30          0 0G00c
     g0         g6 1G34c               31          0 0G00c
     g1         g1 1G7gc               34          0 0G00c
     g4         63 1Gd1c               36          0 0G00c
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              EXHIBIT "8"




                                    Exhibit 8
                                      0204
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Expanded Homicide Data Table 2
Murder Victims
by Age, Sex, Race, and Ethnicity, 2017
                                                                    Sex                                Race                       Ethnicity


                                                                                  Black                             Not
                                                                                or African             Hispanic Hispanic
                                                                                              1
Age                                             Total Male Female Unknown White American Other Unknown or Latino or Latino Unknown
Total                                           15,129 11,862 3,222    45 6,579     7,851  456     243     2,354     9,761    2,085
 Percent distribution2                           100.0     78.4     21.3         0.3   43.5        51.9       3.0   1.6    16.6        68.7    14.7
            3
Under 18                                         1,208      864      341           3    512        642        33    21     215         754     178
            3
Under 22                                         2,994 2,405         583           6 1,113       1,767        73    41     548        1,863    429
                3
18 and over                                     13,754   10,893    2,840          21 6,010       7,149        417   178   2,120       8,941   1,840
Infant (under 1)                                   167       93       74           0    85          74          6     2      25         103      31
1 to 4                                             248      150       97           1 127           108          7     6      41         153      41
5 to 8                                              91       56       35           0    44          41          5     1      15          59      11
9 to 12                                             61       29       31           1    31          22          1     7       9          36      11
13 to 16                                           365      298       67           0 136           218         10     1      77         226      46
17 to 19                                         1,132      985      146           1 373           734         16     9     204         712     156
20 to 24                                         2,428    2,055      369           4 827         1,513         54    34     453       1,532     311
25 to 29                                         2,457    2,059      397           1 840         1,526         63    28     379       1,557     317
30 to 34                                         1,790    1,441      348           1 719           983         68    20     282       1,188     230
35 to 39                                         1,508    1,191      315           2 637           810         44    17     259         958     216
40 to 44                                         1,077      834      242           1 521           507         37    12     187         672     141
45 to 49                                           928      684      238           6 479           393         31    25     134         610     125
50 to 54                                           832      622      204           6 475           310         30    17     101         549     120
55 to 59                                           691      515      176           0 426           235         24     6      75         483      89
60 to 64                                           456      324      132           0 286           143         21     6      47         318      63
65 to 69                                           314      206      108           0 204            97         11     2      29         219      53
70 to 74                                           151       91       60           0 100            41          9     1       6         113      14
75 and over                                        266      124      142           0 212            36         13     5      12         207      43
Unknown                                            167      105       41          21    57          60          6    44      19          66      67
1
    Includes American Indian or Alaska Native, Asian, and Native Hawaiian or Other Pacific Islander.
2
    Because of rounding, the percentages may not add to 100.0.
3
    Does not include unknown ages.



                                                                              Exhibit 8
                                                                                0205
